           Case 17-52865-pmb                                     Doc 86             Filed 03/21/17 Entered 03/21/17 15:53:14                                                           Desc Main
                                                                                   Document     Page 1 of 724
 Fill in this information to identify the case:

 Debtor name            A-1 Express Delivery Service, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)               17-52865
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,212,406.36

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,212,406.36


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,296,147.41


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            32,454.05

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,679,020.22


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           6,007,621.68




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         A-1 Express Delivery Service, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         17-52865
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     SunTrust                                                Checking                        2126                                    $43,054.05




           3.2.     PNC                                                     Checking                        2058                                    $10,553.21




           3.3.     Fifth Third Bank                                        Checking                        8246                                    $14,055.94



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $67,663.20
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     1450 W Peachtree Street LLC                                                                                                     $17,000.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           A-1 Express Delivery Service, Inc.                                         Case number (If known) 17-52865
                  Name




           7.2.     Donlen                                                                                                          $250,000.00




           7.3.     917 & 925 Hyde Park Properties LLC                                                                                  $7,253.00




           7.4.     Cypress Street LLC                                                                                                  $1,300.00




           7.5.     325-327 Pleasant Ave HDFC                                                                                           $2,700.00




           7.6.     Union Real Estate                                                                                                   $1,092.00




           7.7.     DCT Williams Street                                                                                                 $2,800.00




           7.8.     Westgate San Leandro                                                                                                $1,163.80




           7.9.     Orcas Business Park LLC                                                                                             $1,482.00



           7.10
           .    855 Mahler Road                                                                                                       $18,500.00



           7.11
           .    Long Buildings Technology                                                                                               $2,000.00



           7.12
           .    2150 TXB LLC                                                                                                            $5,156.00



           7.13
           .    Airpost Industrial Complex                                                                                              $2,730.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Snelling Walters - February 14-28 insurance                                                                       $66,442.77


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
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 Debtor         A-1 Express Delivery Service, Inc.                                                    Case number (If known) 17-52865
                Name



 9.        Total of Part 2.                                                                                                                  $379,619.57
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         1,476,123.59        -                                   0.00 = ....               $1,476,123.59
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                    93,685.88   -                           93,685.88 =....                              $0.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                $1,476,123.59
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                               Valuation method used    Current value of
                                                                                                               for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:


           14.1.     Stock in Archway captive fund                                                             Estimate                           $36,000.00



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership

 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                   $36,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used    Current value of
                                                      physical inventory             debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 19.       Raw materials

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 3
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 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Vases, baskets, supplies                                                      $30,000.00     Estimate                             $30,000.00



 23.       Total of Part 5.                                                                                                              $30,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           105 chairs, 55 desks, 26 tables, 4 sofas                                      $14,000.00     Liquidation                          $14,000.00



 40.       Office fixtures
           Shelves, racks, cabinets, TV, refrigerator,
           microwave, floral coolers                                                     $50,000.00     Liquidation                          $50,000.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           54 computers, 87 monitors, 95 office phones,
           11 printers, 3 servers, 8 network pieces
           (routers, switches), 400 barcode scanners, 9
           old cell phones                                                               $50,000.00     Liquidation                          $50,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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 43.       Total of Part 7.                                                                                                             $114,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Leased vehicles - see attached list                                    $0.00                                                 $0.00


           47.2.     C-Max hybrid vehicle (VIN
                     1FADPSAU3DLS)                                                      $9,000.00    Estimate                               $9,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                             $9,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 Debtor         A-1 Express Delivery Service, Inc.                                            Case number (If known) 17-52865
                Name

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Atlanta office - 1450
                     W Peachtree Street,
                     Atlanta, GA 30309
                     (lease)                                                                $0.00                                                   $0.00


           55.2.     WLA
                     office/warehouse -
                     917 West Hyde Park,
                     Inglewood, CA
                     (lease)                                                                $0.00                                                   $0.00


           55.3.     Hermosa Beach
                     office - 545 Cypress
                     Ave, Hermosa Beach,
                     CA 90254 (lease)                                                       $0.00                                                   $0.00


           55.4.     Pitt parking - 633
                     Napor Blvd,
                     Pittsburgh, PA 15205
                     (lease)                                                                $0.00                                                   $0.00


           55.5.     Pitt office - 2500
                     Baldwick Road, #201,
                     Pittsburgh, PA 15205
                     (lease)                                                                $0.00                                                   $0.00


           55.6.     Seattle office - 5700
                     6th Ave S, #200,
                     Seattle, WA 98108
                     (lease)                                                                $0.00                                                   $0.00


           55.7.     Seattle parking - 5700
                     Denver Ave S,
                     Seattle, WA 98108
                     (lease)                                                                $0.00                                                   $0.00


           55.8.     NYC office - 325
                     Pleasant Ave, New
                     York City, NY 10035
                     (lease)                                                                $0.00                                                   $0.00


           55.9.     San Leandro parking
                     - 2001 Williams
                     Street, San Leandro,
                     CA 94577 (lease)                                                       $0.00                                                   $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 6
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            55.10 San Leandro office -
            .     1933 Davis Street,
                     Suite 305, San
                     Leandro, CA (lease)                                                    $0.00                                                 $0.00


            55.11 Irvine office - 17981
            .     Sky Park Circle, Bldg
                     39 J, Irvine, CA 92614
                     (lease)                                                                $0.00                                                 $0.00


            55.12 Burlingame office -
            .     855 Mahler Road,
                     Burlingame, CA
                     (lease)                                                                $0.00                                                 $0.00


            55.13 San Jose office -
            .     2150 Trade Zone
                     Blvd, Suite 105, San
                     Jose, CA 95113
                     (lease)                                                                $0.00                                                 $0.00




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            1-800Courier, A-1Express, AQuickDelivery                                        $0.00      Estimate                                   $0.00



 61.        Internet domain names and websites
            a1express.com, aquickdelivery.com,
            1-800courier.com, peachtreepetals.com,
            socalpetals.com, 1-800Courier domain and
            phone number                                                             $100,000.00       Estimate                          $100,000.00



 62.        Licenses, franchises, and royalties


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 7
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 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                      $100,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 8
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 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $67,663.20

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $379,619.57

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,476,123.59

 83. Investments. Copy line 17, Part 4.                                                                             $36,000.00

 84. Inventory. Copy line 23, Part 5.                                                                               $30,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $114,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $9,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $100,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,212,406.36            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,212,406.36




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 9
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  Vehicle ID          HUB        VIN       License Plate       Model          Van Type   nterprise/Donlen       Status          Manager
PTP1           ATL          NM0LS6BN6AT0 PNU2360           Transit Connect City                             Leased
PTP2           ATL          NM0LS7DN6DT1 PVE3458           Transit Connect City                   472963 Leased              Donlen
PTP3           ATL          NM0LS7F70E115PKU2538           Transit Connect City                   498689 Leased              Donlen
A002           DLA8         3C6TRVNG2GE156473X1            2016 PRO MAST Cargo                    557637 Leased              Donlen
A003           DLA8         3C6TRVNG6GE156475X1            2016 PRO MAST Cargo                    557634 Leased              Donlen
A004           DLA8         3C6TRVNG0GE156717X1            2016 PRO MAST Cargo                    558722 Leased              Donlen
A005           DLA8         3C6TRVNG8GE155495Y1            2016 PRO MAST Cargo                    557682 Leased              Donlen
A006           DLA8         3C6TRVNG2GE156476X1            2016 PRO MAST Cargo                    557636 Leased              Donlen
A007           DLA8         3C6TRVNG9GE155497Y1            2016 PRO MAST Cargo                    557685 Leased              Donlen
A008           DLA8         3C6TRVNG1GE155491Y1            2016 PRO MAST Cargo                    557683 Leased              Donlen
A009           DLA8         3C6TRVNG7GE155492Y1            2016 PRO MAST Cargo                    557680 Leased              Donlen
A010           DLA8         3C6TRVNGXGE155493Y1            2016 PRO MAST Cargo                    557684 Leased              Donlen
A019           DLA8         3C6TRVNG6GE154719Y1            2016 PRO MAST Cargo                    557681 Leased              Donlen
A026           DLA8         3C6TRVNGXHE555946D2            2017 Ram ProMa Cargo                   667605 Leased              Donlen
A027           DLA8         3C6TRVNG4HE5 55929D2           2017 Ram ProMa Cargo                   667234 Leased              Donlen
A028           DLA8         3C6TRVNG7HE5 55930D2           2017 Ram ProMa Cargo                   667232 Leased              Donlen
A029           DLA8         3C6TRVNG6HE5 55947D2           2017 Ram ProMa Cargo                   667605 Leased              Donlen
A030           DLA8         3C6TRVNG4HE5 55931D2           2017 Ram ProMa Cargo                   667234 Leased              Donlen
A031           DLA8         3C6TRVNG4HE5        1.89E+06 2017 Ram ProMa Cargo                     673095 Leased              Donlen
A032           DLA8         3C6TRVNG8HE5        1.89E+06 2017 Ram ProMa Cargo                     673096 Leased              Donlen
A033           DLA8         3C6TRVNG1HE5        1.89E+06 2017 Ram ProMa Cargo                     673097 Leased              Donlen
A034           DLA8         3C6TRVNG6HE5        1.89E+06 2017 Ram ProMa Cargo                     673147 Leased              Donlen
A036           DLA8         3C6TRVAG9HE5 53801A2                       2017 Cargo        7NMYH1             Monthly Rental   Enterprise
A037           DLA8         3C6TRVD8HE51252821A2                       2017 Cargo        7NGW3C             Monthly Rental   Enterprise
P02            DPT1         3C6TRVNG6HE5 ZJV 0067          2016 PRO MAST Cargo                    667634 Leased              Donlen
P04            DPT1         3C6TRVNG4GE1ZHW6496            2016 PRO MAST Cargo                    573160 Leased              Donlen
P05            DPT1         3C6TRVAG4GE1 ZHY6815           2016 PRO MAST Cargo                    573157 Leased              Donlen
P06            DPT1         3C6TRVAG4GE1 ZHY6820           2016 PRO MAST Cargo                    573155 Leased              Donlen
P07            DPT1         3C6TRVNG0GE1ZHW6497            2016 PRO MAST Cargo                    573161 Leased              Donlen
P08            DPT1         3C6TRVAG2GE107930              2016 PRO MAST Cargo                    573156 Leased              Donlen
P36            DPT1         3C6TRVAG4GE1 ZHY6817           2016 PRO MAST Cargo                    573154 Leased              Donlen
P10            DPT1         3C6TRVAG6GE1 ZHY6812           2016 PRO MAST Cargo                    573158 Leased              Donlen
P11            DPT1         3C6TRVAG5GE1 ZHY6819           2016 PRO MAST Cargo                    573159 Leased              Donlen
P12 E          DPT1         1FTYE9ZM2HKA ZJV5110           Ford Transit Van Cargo        7N5JRL             Monthly Rental   Enterprise
P13 E          DPT1         1FTYR2ZM4HKA ZJL7245           Ford Transit Van Cargo        7N24N8             Monthly Rental   Enterprise
P17            DPT1         3C6TRVAG9GE1 ZJR0568           2016 PRO MAST Cargo                    573153 Leased              Donlen
P20 E          DPT1         1FTYE92M4HKA2ZJS8595           Ford Transit Van Cargo        7N6MSN             Monthly Rental   Enterprise
P21            DPT1         3C6TRVNG1HE5 ZJV0068           2016 PRO MAST Cargo                  667633 Leased                Donlen
P23            DPT1         3C6TRVAG8GE1 ZHY6817           2016 PRO MAST Cargo                  573152 Leased                Donlen
P27 E          DPT1         1GCWGAFF7H11ZJL7227            Chevy Express C Cargo         7NC7R0        Monthly Rental        Enterprise
P30            DPT1         3C6TRVNG5HE5 ZJV 0071          ProMaster       Cargo                667635 Leased                Donlen
P 34           DPT1         3C6TRVNG3HE5 ZJV 0070          2017 Ram ProMa Cargo                 667632 Leased                Donlen
P 35           DPT1         3C6TRVNG4GE1ZJV 0069           2017 Ram ProMa Cargo                 667636 Leased                Donlen
P38            DPT1         3C6TRVNG8GE1ZJV0092            2017 Ram ProMa Cargo                 673023 Leased                Donlen
P39            DPT1         3C6TRVNG4HE5 ZJV0093           2017 Ram ProMa Cargo                 673024 Leased                Donlen
P40            DPT1         3C6TRVNG7HE5 ZJV0094           2017 Ram ProMa Cargo                 673025 Leased                Donlen
P41            DPT1         3C6TRVNG3HE5 ZJV0091           2017 Ram ProMa Cargo                 673026 Leased                Donlen
P42            DPT1         3C6TRVNG5HE5 ZJV0090           2017 Ram ProMa Cargo                 673027 Leased                Donlen
SE002          DSE2         3C6TRVNG9GE1COO845H            2016 PRO MAST Cargo                  628079 Leased                Donlen
SE003          DSE2         3C6TRVNG7GE1CO0846H            2016 PRO MAST Cargo                  628077 Leased                Donlen
SE004          DSE2         3C6TRVNG7GE1C76333F            2016 PRO MAST Cargo                  562556 Leased                Donlen
SE005          DSE2         3C6TRVNG3GE1C76332F            2016 PRO MAST Cargo                  562557 Leased                Donlen
SE006          DSE2         3C6TRVNG5GE1C76330F            2016 PRO MAST Cargo                  562558 Leased                Donlen
SE007          DSE2         3C6TRVNG1GE1AYS0517            2016 PRO MAST Cargo                  562548 Leased                Donlen
SE009          DSE2         3C6TRVNG1GE1C90037F            2016 PRO MAST Cargo                  563172 Leased                Donlen
SE014          DSE2         ZFBERFAT1G6B C14487G           1500 Promaster CCity          7MGRB5        Monthly Rental        Enterprise
SE015          DSE2         3C6TRVNG4GE1C54035H            2016 PRO MAST Cargo                  634589 Leased                Donlen
SE021          DSE2         3C6TRVAG1GE1 C97451G           PRO MASTER Cargo              7MJW88        Monthly Rental        Enterprise
SE022          DSE2         3C6TRVAG9GE1 C77429H           2016 PRO MAST Cargo                  634588 Leased                Donlen
SE024          DSE2         ZFBERFAT9G6B 85D164            1500 Promaster CCity          7MWMNC        Monthly Rental        Enterprise
SE026          DSE2         ZFBERFAT4G6B 499JBU            1500 Promaster CCity          7MR6VX        Monthly Rental        Enterprise
SE027          DSE2         ZFBERFAT5G6B 37452X1           1500 Promaster CCity          7M83RP        Monthly Rental        Enterprise
SE029          DSE2         ZFBERFAT9G6B C71032F           1500 Promaster CCity          7MY50V        Monthly Rental        Enterprise
SE031          DSE2         3C6TRVNG3GE1C54034H            2016 PRO MAST Cargo                  634591 Leased                Donlen
SE032          DSE2         3C6TRVAG2GE1 C69540F           PRO MASTER Cargo              7MJNXV        Monthly Rental        Enterprise
SE033          DSE2         3C6TRVNG6GE1C72731F            2016 PRO MAST Cargo                  563174 Leased                Donlen
SE034          DSE2         ZFBERFAT0G6B C14364G           1500 Promaster CCity          7M8THR        Monthly Rental        Enterprise
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SE035       DSE2     ZFBERFATXG6B 342JCV           1500 Promaster CCity      7MGQL2          Monthly Rental   Enterprise
SE037       DSE2     3C6TRVNG6GE1C76331F           PRO MASTER Cargo                 562554   Leased           Donlen
SE040       DSE2     3C6TRVNG4GE1C76334F           PRO MASTER Cargo                 562560   Leased           Donlen
SE041       DSE2     3C6TRVNG5GE1C47488H           PRO MASTER Cargo                 628143   Leased           Donlen
SE043       DSE2     3C6TRVNG6GE1C54033H           PRO MASTER Cargo                 634590   Leased           Donlen
SE044       DSE2     3C6TRVNG3GE127677             PROMASTER         Cargo          634683   Leased           Donlen
SE045       DSE2     3C6TRVNG7GE127861             PROMASTER         Cargo          634684   Leased           Donlen
SE046       DSE2     3C6TRVNG3GE1C47489H           PROMASTER         Cargo          628142   Leased           Donlen
SE049       DSE2     ZFBERFATXG6B C14146G          1500 Promaster CCity      7MD9CM          Monthly Rental   Enterprise
SE051       DSE2     ZFBERFATXG6B C19195F          1500 Promaster CCity      7MHFYY          Monthly Rental   Enterprise
SE056       DSE2     3C6TRVNG3GE1AYS0518           PRO MASTER Cargo                 562547   Leased           Donlen
SE057       DSE2     ZFBERFAT2G6B V27250           Ram PRMC          City    7MTDQJ          Monthly Rental   Enterprise
SE059       DSE2     1GCWGBFF1H11C75722G           Chevy 2500        Cargo   7NR396          Monthly Rental   Enterprise
SE060       DSE2     1FTNE2EW5EDAC86619H           Ford Transit Carg Cargo   7LSMGD          Monthly Rental   Enterprise
SE061       DSE2     3C6TRVNG3GE1C90036F           2016 Ram 1500 Cargo              563173   Leased           Donlen
SE062       DSE2     3C6TRVNGXGE1C97450G           1500 Promaster CCargo     7MKG04          Monthly Rental   Enterprise
SE066       DSE2     1FTNR1ZM7FKA C29953H          Ford Transit Carg Cargo   7NRYTQ          Monthly Rental   Enterprise
AMZ047      DSF3     3C6TRVNG1GE117325Z1           2016 PRO MAST Cargo              562074   Leased           Donlen
AMZ048      DSF3     3C6TRVNGXGE117326Z1           2016 PRO MAST Cargo              562072   Leased           Donlen
AMZ049      DSF3     3C6TRVNG7GE117213Z1           2016 PRO MAST Cargo              562025   Leased           Donlen
AMZ051      DSF3     3C6TRVNG4GE117314Z1           2016 PRO MAST Cargo              562020   Leased           Donlen
AMZ052      DSF3     3C6TRVNG5GE117585Z1           2016 PRO MAST Cargo              562024   Leased           Donlen
AMZ053      DSF3     3C6TRVNG1GE117583Z1           2016 PRO MAST Cargo              562023   Leased           Donlen
AMZ054      DSF3     3C6TRVNG0GE117582Z1           2016 PRO MAST Cargo              562022   Leased           Donlen
AMZ056      DSF3     3C6TRVNGXGE117938Z1           2016 PRO MAST Cargo              562575   Leased           Donlen
AMZ059      DSF3     3C6TRVNG8GE117641Z1           2016 PRO MAST Cargo              562573   Leased           Donlen
AMZ095      DSF3     3C6TRVNG6GE130302C2           2016 PRO MAST Cargo              594759   Leased           Donlen
AMZ096      DSF3     3C6TRVNGXGE130492C2           2016 PRO MAST Cargo              594760   Leased           Donlen
AMZ097      DSF3     3C6TRVNG8GE130489C2           2016 PRO MAST Cargo              594761   Leased           Donlen
AMZ100      DSF3     3C6TRVNG0GE170025C2           2016 PRO MAST Cargo              594752   Leased           Donlen
AMZ101      DSF3     3C6TRVNG6GE130486C2           2016 PRO MAST Cargo              594762   Leased           Donlen
AMZ102      DSF3     3C6TRVNG1GE130485C2           2016 PRO MAST Cargo              594763   Leased           Donlen
AMZ103      DSF3     3C6TRVNG9GE130491C2           2016 PRO MAST Cargo              594765   Leased           Donlen
AMZ112      DSF3     3C6TRVNG1HE5 47314D2          2017 Ram ProMa Cargo             659472   Leased           Donlen
AMZ114      DSF3     3C6TRVNG1HE5 54935D2          2017 Ram ProMa Cargo             659235   Leased           Donlen
AMZ115      DSF3     3C6TRVNGXHE554936D2           2017 Ram ProMa Cargo             659239   Leased           Donlen
AMZ116      DSF3     3C6TRVNG1HE5 54937D2          2017 Ram ProMa Cargo             659237   Leased           Donlen
AMZ117      DSF3     3C6TRVNG0HE5 47315D2          2017 Ram ProMa Cargo             659471   Leased           Donlen
AMZ118      DSF3     3C6TRNVG6HE5 54939D2          2017 Ram ProMa Cargo             659230   Leased           Donlen
AMZ121      DSF3     3C6TRVNG8HE5 54934D2          2017 Ram ProMa Cargo             659240   Leased           Donlen
AMZ122      DSF3     3C6TRVAG7FE5 C20932E          2017 Ram ProMa Cargo      7L8X1Q          Monthly Rental   Enterprise
GSX074      DSF3     NM0LS7DNXDT1       7.58E+05   2013 Transit Con City            447786   Leased           Donlen
GSX076      DSF3     NM0LS7DNXDT1       7.58E+05   2013 Transit Con City            447787   Leased           Donlen
GSX082      DSF3     NM0LS7BN7DT1 52779L1          2013 Transit Con City            447012   Leased           Donlen
GSX083      DSF3     NM0LS7DN2DT1 52781L1          2013 Transit Con City            447002   Leased           Donlen
GSX084      DSF3     NM0LS7DNXDT152983L1           2013 Transit Con City            446992   Leased           Donlen
GSX087      DSF3     NM0LS7DN2DT1 88185P1          2013 Transit Con City            446995   Leased           Donlen
GSX090      DSF3     NM0LS7DN5DT1 52788L1          2013 Transit Con City            446998   Leased           Donlen
GSX092      DSF3     NM0LS7DN3DT1 88186P1          2013 Transit Con City            447000   Leased           Donlen
GSX093      DSF3     NM0LS7DNXDT152792L1           2013 Transit Con City            447001   Leased           Donlen
GSX094      DSF3     NM0LS7DN6DT1 87106P1          2013 Transit Con City            447003   Leased           Donlen
GSX097      DSF3     NM0LS7DNXDT186347M1           2013 Transit Con City            447006   Leased           Donlen
GSX098      DSF3     NM0LS7BN7DT1 52791L1          2013 Transit Con City            447009   Leased           Donlen
GSX099      DSF3     NM0LS7BN9DT1 88183P1          2013 Transit Con City            447010   Leased           Donlen
GSX102      DSF3     NM0LS7BN8DT1 8M34834          2013 Transit Con City            447014   Leased           Donlen
GSX112      DSF3     NM0LS7BN9DT1 86350M1          2013 Transit Con City            447025   Leased           Donlen
GSX119      DSF3     NM0LS7BN9DT1 02528R1          2013 Transit Con City            447032   Leased           Donlen
GSX120      DSF3     NM0LS7DN3DT1       7.58E+05   2013 Transit Con City            447034   Leased           Donlen
GSX121      DSF3     NM0LS7DN1DT1       7.58E+05   2013 Transit Con City            447035   Leased           Donlen
GSX122      DSF3     NM0LS7DNXDT1       7.58E+05   2013 Transit Con City            447036   Leased           Donlen
GSX123      DSF3     NM0LS7DN3DT1       7.58E+05   2013 Transit Con City            447037   Leased           Donlen
GSX128      DSF3     NM0LS7BN7DT1       7.58E+05   2013 Transit Con City            447043   Leased           Donlen
GSX129      DSF3     NM0LS7BN1DT1       7.58E+05   2013 Transit Con City            447044   Leased           Donlen
GSX145      DSF3     NM0LS7BN8DT1 81687F1          2013 Transit Con City            447060   Leased           Donlen
GSX146      DSF3     NM0LS7BNXDT1 81688F1          2013 Transit Con City            447061   Leased           Donlen
AMZ045      DSF4     3C6TRVNG6GE116883Z1           2016 PRO MAST Cargo              561403   Leased           Donlen
AMZ046      DSF4     3C6TRVNG2GE172201Z1           2016 PRO MAST Cargo              562021   Leased           Donlen
AMZ055      DSF4     3C6TRVNG0GE117937Z1           2016 PRO MAST Cargo              562571   Leased           Donlen
AMZ057      DSF4     3C6TRVNG4GE117801Z1           2016 PRO MAST Cargo              562565   Leased           Donlen
AMZ060      DSF4     3C6TRVNG6GE172030Z1           2016 PRO MAST Cargo              562578   Leased           Donlen
AMZ061      DSF4     3C6TRVNG6GE117643Z1           2016 PRO MAST Cargo              562576   Leased           Donlen
AMZ094      DSF4     3C6TRVNG8GE130301C2           2016 PRO MAST Cargo              594758   Leased           Donlen
AMZ098      DSF4     3C6TRVNGXGE130484C2           2016 PRO MAST Cargo              594764   Leased           Donlen
AMZ099      DSF4     3C6TRVNG4GE170099C2           2016 PRO MAST Cargo              594751   Leased           Donlen
AMZ113      DSF4     3C6TRVNG9HE5 47313D2          2017 Ram ProMa Cargo             659473   Leased           Donlen
AMZ119      DSF4     3C6TRVNG8HE5 54938D2          2017 Ram ProMa Cargo             659232   Leased           Donlen
AMZ120      DSF4     3C6TRVNG0HE5 54940D2          2017 Ram ProMa Cargo             659234   Leased           Donlen
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ASL051      DSF4     3C6TRVNG2GE197918X1           2016 PRO MAST Cargo                548019   Leased           Donlen
ASL052      DSF4     3C6TRVNG8GE197902X1           2016 PRO MAST Cargo                548001   Leased           Donlen
ASL053      DSF4     3C6TRVNG7GE197917X1           2016 PRO MAST Cargo                548020   Leased           Donlen
ASL054      DSF4     3C6TRVNG9GE197912X1           2016 PRO MAST Cargo                548021   Leased           Donlen
ASL055      DSF4     3C6TRVNG4GE197914X1           2016 PRO MAST Cargo                548140   Leased           Donlen
ASL056      DSF4     3C6TRVNGXGE197915X1           2016 PRO MAST Cargo                548099   Leased           Donlen
ASL057      DSF4     3C6TRVNG1GE197905X1           2016 PRO MAST Cargo                548017   Leased           Donlen
ASL058      DSF4     3C6TRVNG6GE197913X1           2016 PRO MAST Cargo                548016   Leased           Donlen
ASL059      DSF4     3C6TRVNG1GE197916X1           2016 PRO MAST Cargo                548018   Leased           Donlen
ASL060      DSF4     3C6TRVNG3GE197950X1           2016 PRO MAST Cargo                548659   Leased           Donlen
ASL061      DSF4     3C6TRVNG1GE197907X1           2016 PRO MAST Cargo                548002   Leased           Donlen
ASL062      DSF4     3C6TRVNG7GE197904X1           2016 PRO MAST Cargo                548003   Leased           Donlen
ASL063      DSF4     3C6TRVNG2GE198065X1           2016 PRO MAST Cargo                548944   Leased           Donlen
ASL064      DSF4     3C6TRVNGXGE198066X1           2016 PRO MAST Cargo                548945   Leased           Donlen
ASL065      DSF4     3C6TRVNG5GE198280X1           2016 PRO MAST Cargo                548842   Leased           Donlen
ASL069      DSF4     1FTYE1ZM3GKB 61G325           Ford Transit Carg Cargo   7MFY8K            Monthly Rental   Enterprise
ASL106      DSF4     NM0LS7DN0DT1 88184P1          2013 Transit Con City              447005   Leased           Donlen
ASL109      DSF4     NM0LS7BN5DT1 63301M1          2013 Transit Con City     WA8D88            Leased           Enterprise FM
ASL110      DSF4     NM0LS7BN8DT1 63302M1          2013 Transit Con City     WA8D86            Leased           Enterprise FM
ASL111      DSF4     NM0LS7BN8DT1 63307M1          2013 Transit Con City     WA8D87            Leased           Enterprise FM
ASL114      DSF4     NM0LS7DN9DT1       7.58E+05   2013 Transit Con City              447784   Leased           Donlen
ASL115      DSF4     NM0LS7DN9DT1       7.58E+05   2013 Transit Con City              447789   Leased           Donlen
ASL116      DSF4     NM0LS7BN8DT1 02533R1          2014 Transit Con City                       Leased           Donlen
ASL117      DSF4     NM0LS7BN3DT1 02530R1          2013 Transit Con City              447029   Leased           Donlen
ASL118      DSF4     NM0LS7DN8DT1       7.58E+05   2013 Transit Con City              447038   Leased           Donlen
ASL119      DSF4     NM0LS7BN3DT1 81677F1          2013 Transit Con City              447046   Leased           Donlen
ASL120      DSF4     NM0LS7BN2DT1 81681F1          2013 Transit Con City              447054   Leased           Donlen
ASL121      DSF4     NM0LS7DN1DT1 81684F1          2013 Transit Con City              447039   Leased           Donlen
ASL122      DSF4     NM0LS7BN9DT1       7.58E+05   2013 Transit Con City              447049   Leased           Donlen
ASL123      DSF4     NM0LS7BNXDT1 81686F1          2013 Transit Con City              447059   Leased           Donlen
ASL124      DSF4     NM0LS7BN8DT1 81694F1          2013 Transit Con City              447063   Leased           Donlen
ASL125      DSF4     NM0LS7BN6DT1 81691F1          2013 Transit Con City              447066   Leased           Donlen
ASL128      DSF4     1GCWGAFF3H1145553W1           Express Cargo Cargo       7NNXLX            Monthly Rental   Enterprise
ASL130      DSF4     1GCWGAFF7G1 80837W1           Express Cargo Cargo       7LW7L7            Monthly Rental   Enterprise
ASL132      DSF4     1GCWGBFF3G1 11997S1           Express Cargo Cargo       7LWQ58            Monthly Rental   Enterprise
ASL133      DSF4     1FTYR1ZM6GKB 10610A2          Ford Transit Carg Cargo   7MS3T1            Monthly Rental   Enterprise
OD1         WLA      NM0LS7BN2DT1 51164L1          2013 Transit Con City     WA4G19            Leased           Enterprise FM
OD2         WLA      NM0LS7BN6DT1 51167L1          2013 Transit Con City     WA4G20            Leased           Enterprise FM
SCP101      WLA      NM0LS7BN2DT1 86359M1          2013 Transit Con Cargo             447013   Leased           Donlen
SCP91       WLA      NM0LS7DN8DT1 8M34836          2013 Transit Con City              446999   Leased           Donlen
SPTP1       WLA      NM0LS7DN3DT1 28971N1          2013 Transit Con Cargo             472589   Leased           Donlen
SPTP2       WLA      NM0LS7DN1DT1 28972N1          2013 Transit Con Cargo             472590   Leased           Donlen
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 Fill in this information to identify the case:

 Debtor name         A-1 Express Delivery Service, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)             17-52865
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   ACH Capital LLC                                Describe debtor's property that is subject to a lien                          $0.00               Unknown
       Creditor's Name                                Alleged to be all assets of Debtor
       11 Broadway
       Suite 814
       New York, NY 10004
       Creditor's mailing address                     Describe the lien
                                                      Blanket lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.2   CapFusion                                      Describe debtor's property that is subject to a lien               $1,200,000.00                  Unknown
       Creditor's Name                                Alleged to be all assets of Debtor
       2310 W. 75th Street
       Prairie Village, KS 66208
       Creditor's mailing address                     Describe the lien
                                                      Blanket lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 7
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           Case 17-52865-pmb                         Doc 86            Filed 03/21/17 Entered 03/21/17 15:53:14                              Desc Main
                                                                     Document      Page 15 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                       Case number (if know)      17-52865
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




       De Lage Landen Financial
 2.3                                                                                                                             $2,062.41        Unknown
       Serv                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                Leased computer equipment
       1111 Old Eagle School
       Road
       Wayne, PA 19087
       Creditor's mailing address                     Describe the lien
                                                      Supports lease
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Funding Strategy Partners,
 2.4                                                                                                                                 $0.00        Unknown
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Alleged to be all assets of Debtor
       18 S. State Street
       Newtown, PA 18940
       Creditor's mailing address                     Describe the lien
                                                      Blanket lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.5   Kings Cash Group                               Describe debtor's property that is subject to a lien                     $546,000.00        Unknown
       Creditor's Name                                Alleged to be all assets of Debtor
       30 Broad Street
       12th Floor
       New York, NY 10004
       Creditor's mailing address                     Describe the lien
                                                      Blanket lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 7
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                                                                     Document      Page 16 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                       Case number (if know)     17-52865
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.6   Rapid Advance                                  Describe debtor's property that is subject to a lien                          $0.00             $0.00
       Creditor's Name
       4500 East West Highway
       6th Floor
       Bethesda, MD 20814
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.7   Shopify                                        Describe debtor's property that is subject to a lien                     $49,803.00        Unknown
       Creditor's Name                                Certain credit card receivables
       33 New Montgomery Street
       Suite 750
       San Francisco, CA 94105
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 7
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           Case 17-52865-pmb                         Doc 86            Filed 03/21/17 Entered 03/21/17 15:53:14                             Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                       Case number (if know)     17-52865
              Name

       Summit Financial
 2.8                                                                                                                       $1,327,031.00         Unknown
       Resources, LP                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                All assets of Debtor
       2455 East Parleys Way
       Suite 200
       Salt Lake City, UT 84109
       Creditor's mailing address                     Describe the lien
                                                      Blanket lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.9   SunTrust Bank                                  Describe debtor's property that is subject to a lien                     $39,251.00        Unknown
       Creditor's Name                                Alleged to be all assets of Debtor
       211 Perimeter Center
       Parkway
       Atlanta, GA 30346
       Creditor's mailing address                     Describe the lien
                                                      Blanket lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.1   Susquehanna Commercial
 0     Finance                                        Describe debtor's property that is subject to a lien                     $33,000.00        Unknown
       Creditor's Name                                Computer equipment
       2 Country View Road
       Suite 300
       Malvern, PA 19355
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 7
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 Debtor       A-1 Express Delivery Service, Inc.                                                       Case number (if know)     17-52865
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Wells Fargo Financial
 1     Leasing                                        Describe debtor's property that is subject to a lien                     $33,000.00        Unknown
       Creditor's Name                                Computer equipment
       800 Walnut Street
       MAC N0005-044
       Des Moines, IA 50309
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Western Equipment
 2     Finance, Inc                                   Describe debtor's property that is subject to a lien                     $33,000.00        Unknown
       Creditor's Name                                Computer equipment
       PO Box 640
       Devils Lake, ND 58301
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 3     Wintrust Capital                               Describe debtor's property that is subject to a lien                     $33,000.00        Unknown




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 5 of 7
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 Debtor       A-1 Express Delivery Service, Inc.                                                       Case number (if know)       17-52865
              Name

       Creditor's Name                                Computer equipment
       Div of Schaumburg Bank &
       Trust
       9700 West Higgins Rd, 10th
       Fl.
       Rosemont, IL 60068
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                               $3,296,147.4
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          1

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        AccuCredit Associates LLC
        21 Main Street                                                                                          Line   2.4
        Hackensack, NJ 07601

        Corporation Service Company
        801 Adlai Stevenson Drive                                                                               Line   2.4
        Springfield, IL 62703

        Corporation Service Company
        801 Adlai Stevenson Drive                                                                               Line   2.11
        Springfield, IL 62703

        Corporation Service Company
        801 Adlai Stevenson Drive                                                                               Line   2.12
        Springfield, IL 62703

        Corporation Service Company
        PO Box 2576                                                                                             Line   2.6
        Springfield, IL 62708

        Corporation Service Company
        801 Adlai Stevenson Drive                                                                               Line   2.6
        Springfield, IL 62703

        CT Lien Solutions
        PO Box 29071                                                                                            Line   2.8
        Glendale, CA 91209-9071



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              Name

        CT Lien Solutions
        PO Box 29071                                                                            Line   2.9
        Glendale, CA 91209-9071

        CT Lien Solutions
        PO Box 29071                                                                            Line   2.10
        Glendale, CA 91209-9071

        CT Lien Solutions
        PO Box 29071                                                                            Line   2.13
        Glendale, CA 91209-9071

        CT Lien Solutions
        PO Box 29071                                                                            Line   2.1
        Glendale, CA 91209-9071

        De Lage Landen Financial Serv
        PO Box 41602                                                                            Line   2.3
        Philadelphia, PA 19101-1902

        Shopify Capital Agreement
        150 Elgin Street                                                                        Line   2.7
        8th Floor
        Ottowa, Ontario Canada K2P 1L4

        Susquehanna Commercial Finance
        PO Box 896534                                                                           Line   2.10
        Charlotte, NC 28289

        Wells Fargo
        800 Walnut Street                                                                       Line   2.11
        4th Floor
        Des Moines, IA 50309

        Western Equipment Finance
        PO Box 640                                                                              Line   2.12
        503 Hwy 2 West
        Devils Lake, ND 58301

        Wintrust Capital
        9700 West Higgins Road                                                                  Line   2.13
        Rosemont, IL 60018




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 Fill in this information to identify the case:

 Debtor name         A-1 Express Delivery Service, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)           17-52865
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           California Dept of Revenue                                Check all that apply.
           Franchise Tax Board                                          Contingent
           PO Box 942840                                                Unliquidated
           Sacramento, CA 94240-0040                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           California Dept of Revenue                                Check all that apply.
           Employment Develop Dept                                      Contingent
           PO Box 826880                                                Unliquidated
           Sacramento, CA 94280-0001                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 681
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 Debtor       A-1 Express Delivery Service, Inc.                                                              Case number (if known)   17-52865
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          California Dept of Revenue                                 Check all that apply.
          State Board of Equilization                                   Contingent
          PO Box 942879                                                 Unliquidated
          Sacramento, CA 94279-0001                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          California Labor & Workforce                               Check all that apply.
          Attn: PAGA Administrator                                      Contingent
          1515 Clay Street, Suite 801                                   Unliquidated
          Oakland, CA 94612                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Georgia Department of Labor                                Check all that apply.
          148 Andrew Young Int'l Blvd.                                  Contingent
          Suite 826                                                     Unliquidated
          Atlanta, GA 30303                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Georgia Department of Revenue                              Check all that apply.
          1800 Century Boulevard, NE                                    Contingent
          Suite 9100                                                    Unliquidated
          Atlanta, GA 30345                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 681
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 Debtor       A-1 Express Delivery Service, Inc.                                                              Case number (if known)   17-52865
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency                                        Contingent
          P.O. Box 7346                                                 Unliquidated
          Philadelphia, PA 19101-7346                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          401 W. Peachtree St., NW                                      Contingent
          Stop 334-D                                                    Unliquidated
          Atlanta, GA 30308                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          New York Dept Taxation/Finance                             Check all that apply.
          Attn: Office of Counsel                                       Contingent
          Bldg 9, WA Harriman Campus                                    Unliquidated
          Albany, NY 12227                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          New York State Dept of Labor                               Check all that apply.
          Building 12                                                   Contingent
          W.A. Harriman Campus                                          Unliquidated
          Albany, NY 12240                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 681
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 Debtor       A-1 Express Delivery Service, Inc.                                                              Case number (if known)   17-52865
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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $454.05       $454.05
          Pennsylvania Dept of Revenue                               Check all that apply.
          Bureau Business Trust Fund Tax                                Contingent
          PO Box 280904                                                 Unliquidated
          Harrisburg, PA 17128-0904                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Washington DC Dept Employment                              Check all that apply.
          4058 Minnesota Avenue, NE                                     Contingent
          Washington, DC 20019                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Washington DC Ofc Tax/Revenue                              Check all that apply.
          1101 4th Street, SW                                           Contingent
          Suite 270 West                                                Unliquidated
          Washington, DC 20024                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Washington St. Dept of Revenue                             Check all that apply.
          Cash Management Section                                       Contingent
          PO Box 47464                                                  Unliquidated
          Olympia, WA 98504-7464                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor        A-1 Express Delivery Service, Inc.                                                             Case number (if known)          17-52865
               Name

 2.15       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $32,000.00    $0.00
            Washington State Dept of Labor                           Check all that apply.
            PO Box 34022                                                Contingent
            Seattle, WA 98124                                           Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $315,000.00
           1450 West Peachtree Street LLC                                              Contingent
           1450 West Peachtree Street                                                  Unliquidated
           Atlanta, GA 30309                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Real estate lease for Atlanta office - 22 months
           Last 4 digits of account number                                         remaining
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $5,516.00
           2150 TZB Inc                                                                Contingent
           2150 Trade Zone Blvd                                                        Unliquidated
           Ste 299                                                                     Disputed
           San Jose, CA 95131
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $116,184.45
           53rd CC                                                                     Contingent
           PO Box 740523                                                               Unliquidated
           Cincinnati, OH 45274                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $913.10
           90 Minute Courier Inc                                                       Contingent
           6883 Ne 3rd Ave                                                             Unliquidated
           Miami, FL 33138                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $8,986.60
           917 & 925 W Hyde Park Properties LLC                                        Contingent
           2459 W 208th Street Ste 203                                                 Unliquidated
           Torrance, CA 90501                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AALIYHA L BRIGHAM                                                     Contingent
          4609 BOND ST APT 212
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaliyha L Brigham                                                     Contingent
          4609 BOND ST APT 212
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaron Aleksandr Sturm                                                 Contingent
          400 WOODLAND PARK
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AARON ALLEN RUSHIN                                                    Contingent
          1033 43RD STREET APT B
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaron Allen Rushin                                                    Contingent
          1033 43RD STREET APT B
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaron Christian Cayabyab                                              Contingent
          1933 DRUMHEAD CT
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaron Courtland Kahn-Mortimer                                         Contingent
          700 CANYON OAKS DR APT G
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaron Deon Seymour                                                    Contingent
          1635 W 110TH ST APT Q
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaron Evan Vance                                                      Contingent
          3187 WOODCREST DR
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaron James Pederson                                                  Contingent
          3936 SUNNY RD
                                                                                Unliquidated
          STOCKTON, CA 95215
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AARON LOVE                                                            Contingent
          16048 47TH AVE S
                                                                                Unliquidated
          TUKWILA, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AARON MATTHEW FRAZIER                                                 Contingent
          2715 74TH AVENUE
                                                                                Unliquidated
          OAKLAND, CA 94605-9460
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaron Matthew Frazier                                                 Contingent
          2715 74TH AVENUE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aaron Michael Parees                                                  Contingent
          399 CALADO AVE
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDALLAHI ABDI                                                        Contingent
          6804 S 123RD ST 86
                                                                                Unliquidated
          SEATTLE, WA 98178
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abdifatah Hassan                                                      Contingent
          1010 LARCH STREET APT 14
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDIFATAH HUSSEIN                                                     Contingent
          3235 S 152ND ST 205
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDIFATAH M HASSAN                                                    Contingent
          400 NW GILMAN BLVD #2
                                                                                Unliquidated
          ISSAQUAH, WA 98027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDIKADIR ALI                                                         Contingent
          9061 SEWARD PARK AVE S 24-258
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDIKANI ABDIRHMAN                                                    Contingent
          3240 S 152ND STREET APT 15
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDILLAHI S ISMAIL                                                    Contingent
          1399 PACIFIC AVE APT 207
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abdillahi S Ismail                                                    Contingent
          1399 PACIFIC AVE APT 207
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDIRABI MUSE                                                         Contingent
          4704 164TH ST
                                                                                Unliquidated
          TUKWILA, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDIRASHID OSMAN                                                      Contingent
          3002 S 208TH 35
                                                                                Unliquidated
          SEATAC, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDIRISAQ OSMAN                                                       Contingent
          5218 35TH AVE S
                                                                                Unliquidated
          SEATTLE, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDIWALI ALI                                                          Contingent
          3726 180TH ST APT G103
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abdol Amir M Albou Khanfar                                            Contingent
          1588 KOSSER RD APT 16
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abdul Hasib Qazizada                                                  Contingent
          PO BOX 55164
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDUL KANU                                                            Contingent
          20832 31ST LANE SOUTH APT D
                                                                                Unliquidated
          SEATAC, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abdul Razaq Mominzada                                                 Contingent
          6 LANCASTER CIR APT 210
                                                                                Unliquidated
          BAY POINT, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDULKADIR MOHAMED                                                    Contingent
          3730 S 148TH ST #33 33
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDULKADIR NOOR                                                       Contingent
          17231 32ND AVE S D3
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDULKARIM YUSU ADAM                                                  Contingent
          1399 PACIFIC AVE APT 207
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abdulkarim Yusuf Adam                                                 Contingent
          1399 PACIFIC AVE APT 207
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abdullah Syed Gowhary                                                 Contingent
          3205 FIJI LANE
                                                                                Unliquidated
          ALAMEDA, CA 94502
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDULLAHI FARAH                                                       Contingent
          13332 32ND AVE S
                                                                                Unliquidated
          SEATTLE, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDULLAHI SHIRE                                                       Contingent
          12601 68TH AVE S APT 1C
                                                                                Unliquidated
          SEATTLE, WA 98178
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDULQADIR A ABDULLE                                                  Contingent
          14828 MILITARY RD S APT 219
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abdulqadr Imam Aberra                                                 Contingent
          453 NEPTUNE GARDEN AVE APT C
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDULWALI ABDULLAHI                                                   Contingent
          7411 ROCKERY DR S
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABDUNASIR MOHAMMED                                                    Contingent
          5110 S GARDEN ST 4
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abigail Vargas Valerio                                                Contingent
          2220 SITKA ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABIY BIZUNEH                                                          Contingent
          8670 FRANCIS LEWIS BLVD. A-25
                                                                                Unliquidated
          QUEENS VILLAGE, NY 11427
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abraham Chavez                                                        Contingent
          10347 HICKORY ST
                                                                                Unliquidated
          LOS ANGELES, CA 90002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abraham Huruyteklu                                                    Contingent
          261 Fairmount Ave
                                                                                Unliquidated
          Oakland, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ACCACIA TARA DOWNER                                                   Contingent
          P.O. BOX 24831
                                                                                Unliquidated
          OAKLAND, CA 94623
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Accacia Tara Downer                                                   Contingent
          P.O. BOX 24831
                                                                                Unliquidated
          OAKLAND, CA 94623
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $445.10
          Acme Logistics Inc                                                    Contingent
          PO Box 142                                                            Unliquidated
          Greenville, SC 29602                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $676.50
          Action Logistics                                                      Contingent
          PO Box 510535                                                         Unliquidated
          New Berlin, WI 53151-0535                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adam Deron Bridewell                                                  Contingent
          3430 JASMINE AVE APT 201
                                                                                Unliquidated
          TORRANCE, CA 90501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adam Magsaysay                                                        Contingent
          253 DOLLAR MOUNTAIN DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adam Richard Koscielniak                                              Contingent
          6553 FALL RIVER DR
                                                                                Unliquidated
          SAN JOSE, CA 95120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adam Shea Wicklander                                                  Contingent
          14569 CHARMERAN AVE
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adam William Smith                                                    Contingent
          701 CURTNER AVE APT 268
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ade B Bakari                                                          Contingent
          1942 47TH AVE APT 16
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adekunle Olubunmi Ogunnowo                                            Contingent
          5916 LANKERSHIM BLVD #222
                                                                                Unliquidated
          NORTH HOLLYWOOD, CA 91601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADELE FELIX                                                           Contingent
          146-33 224TH STREET
                                                                                Unliquidated
          JAMAICA, NY 11413
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADEN NUR                                                              Contingent
          3002 S 208TH ST APT J5
                                                                                Unliquidated
          SEATAC, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adil Joan Saed                                                        Contingent
          920 BROOKCLIFF CIR
                                                                                Unliquidated
          SAN RAMON, CA 94582
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $592.40
          Admin American                                                        Contingent
          1720 Windward Concourse #290                                          Unliquidated
          Alpharetta, GA 30005                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adolfo Loza                                                           Contingent
          1923 LOYOLA DR                                                        Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Class List
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADONIS D NABONG                                                       Contingent
          1775 MILMONT DR APT O 201
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adonis D Nabong                                                       Contingent
          1775 MILMONT DR APT O 201
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADP 401K                                                              Contingent
          1 ADP Blvd                                                            Unliquidated
          Roseland, NJ 07068                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADRIAN ALEXANDE HERNADI                                               Contingent
          34768 BOWIE COMMON
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adrian Alexande Hernadi                                               Contingent
          34768 BOWIE COMMON
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adrian Alexander Ruiz                                                 Contingent
          9454 SIDEVIEW DR
                                                                                Unliquidated
          DOWNEY, CA 90240
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adrian Arias                                                          Contingent
          936 AZURE STREET A11
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adrian Castillo de Jesus                                              Contingent
          28665 HARVEY AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADRIAN JESUS VALENZUELA                                               Contingent
          27322 TYRRELL AVE APT E8
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adrian Jesus Valenzuela                                               Contingent
          27322 TYRRELL AVE APT E8
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADRIAN LAMAR PYLES                                                    Contingent
          444 GROVE WAY
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adrian Lamar Pyles                                                    Contingent
          444 GROVE WAY
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADRIAN MORA SANCHEZ                                                   Contingent
          2685 VILLA MONTEREY
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adrian Mora Sanchez                                                   Contingent
          2685 VILLA MONTEREY
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADRIAN SALAZAR SATRUSTEGUI                                            Contingent
          581 CALLAN AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adrian Salazar Satrustegui                                            Contingent
          581 CALLAN AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ADRIANA SOFIA FALCON                                                  Contingent
          1477 HUBBARD AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adriana Sofia Falcon                                                  Contingent
          1477 HUBBARD AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AFREEK SINGH                                                          Contingent
          1180 BACCHUS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AFTIN ALI ABDI                                                        Contingent
          3815 S OTHELLO ST APT 100-187
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AFZAL RAHAMAN                                                         Contingent
          2065 WATSON AVE
                                                                                Unliquidated
          BRONX, NY 10472
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ahmad Abdeljawad                                                      Contingent
          PO Box 360162
                                                                                Unliquidated
          Milpitas, CA 95036
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AHMAD ALBAKSMAWI                                                      Contingent
          2436 COLUMBINE CT
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ahmad Albaksmawi                                                      Contingent
          2436 COLUMBINE CT
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ahmad Jawad Naimee                                                    Contingent
          24547 AMADOR ST APT 12
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AHMAD TAJGARDOUN                                                      Contingent
          108 SCHOOL ST APT 2
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ahmad Tajgardoun                                                      Contingent
          108 SCHOOL ST APT 2
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ahmed Abdalla Alghrably                                               Contingent
          900 Mansell St.
                                                                                Unliquidated
          San Francisco, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AHMED B SHEIKH MOHAMED                                                Contingent
          4124 MLK JR WAY
                                                                                Unliquidated
          SEATTLE, WA 98108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AHMED OSMAN                                                           Contingent
          14432 MILITARY RD SOUTH 5
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,254.82
          AIC Owner, LLC                                                        Contingent
          PO Box 842821                                                         Unliquidated
          Los Angeles, CA 90084-2821                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Akeisha G Melfort                                                     Contingent
          2402 MLK JR WAY
                                                                                Unliquidated
          BERKELEY, CA 94704
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Akina Latoya Langston                                                 Contingent
          2128 BONAR ST APT 2
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AL PRICE                                                              Contingent
          2520 CHRUCH ST APT 407
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Al Price                                                              Contingent
          2520 CHRUCH ST APT 407
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Al Vaughn A Rodgers                                                   Contingent
          1648 ROMA DR
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alan Amir                                                             Contingent
          275 GEORGIA AVE
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alan Kirk Tolbert                                                     Contingent
          175 6TH ST APT 510
                                                                                Unliquidated
          SAN FRANCISCO, CA 94103
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alan Mitchell                                                         Contingent
          704 EAST IMPERIAL HIGHWAY
                                                                                Unliquidated
          LOS ANGELES, CA 90059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alan Wang                                                             Contingent
          34077 PASEO PADRE PKWY
                                                                                Unliquidated
          APT 137
          FREMONT, CA 94555                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Albert Alexander Castaneda                                            Contingent
          1549 ORLANDO DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALBERT ANTONE                                                         Contingent
          346 105TH AVE APT E
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Albert Antone                                                         Contingent
          346 105TH AVE APT E
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Albert Haylock                                                        Contingent
          1264 WEST 83RD PLACE
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Albert W. Chan                                                        Contingent
          PO BOX 280212
                                                                                Unliquidated
          SAN FRANCISCO, CA 94128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Albert William Johnson                                                Contingent
          100 IRENE CT APT 2
                                                                                Unliquidated
          BELMONT, CA 94002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALBERTO ARJON                                                         Contingent
          14190 WOODHAVEN DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alberto Arjon                                                         Contingent
          14190 WOODHAVEN DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALBERTO LUNA                                                          Contingent
          1286 TUCSON AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alberto Luna                                                          Contingent
          1286 TUCSON AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alberto Rios                                                          Contingent
          675 WARDEN AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALBERTO RODRIGUEZ                                                     Contingent
          31 MIDLAND AVE
                                                                                Unliquidated
          WHITE PLAINS, NY 10606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alcides Martinez Vasquez                                              Contingent
          24 BOSTON AVENUE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALDO ARGENES BOBADILLA                                                Contingent
          4716 FISHER STREET
                                                                                Unliquidated
          LOS ANGELES, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aldo Argenes Bobadilla                                                Contingent
          4716 FISHER STREET
                                                                                Unliquidated
          LOS ANGELES, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEJANDRO ARREOLA PARBOL                                              Contingent
          1223 VINE ST APT A
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alejandro Arreola Parbol                                              Contingent
          1223 VINE ST APT A
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alejandro Cervantes                                                   Contingent
          844 W FLORENCE
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEMNEW BELAY                                                         Contingent
          3024 S BRIGHTON ST
                                                                                Unliquidated
          SEATTLE, WA 98108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alen Yousefpour                                                       Contingent
          20710 BASSETT STREET
                                                                                Unliquidated
          WINNETKA, CA 91306
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alessandra Ibeth Ayala                                                Contingent
          2224 MENALTO AVE
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alex Guzman Abaja                                                     Contingent
          737 HANOVER ST
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEX LAMAR JONES                                                      Contingent
          2032 CULLIVAN ST
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alex Lamar Jones                                                      Contingent
          2032 CULLIVAN ST
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alex Merino                                                           Contingent
          1611 PRINCE ST
                                                                                Unliquidated
          BERKELEY, CA 94703
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alex Oleg Drobot                                                      Contingent
          5645 EVERGREEN TER
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alex Phi Hoang                                                        Contingent
          937 B BRANHAM LN
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alex Samuel Haynes                                                    Contingent
          145 WESTLAKE AVE
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander Deven Garfield                                              Contingent
          2361 CABRILLO AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEXANDER DIAZ                                                        Contingent
          941 W CARSON ST UNIT 302
                                                                                Unliquidated
          TORRANCE, CA 90502
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEXANDER GREGO CRANDALL                                              Contingent
          1707 MERRILL CREEK PARKWAY
                                                                                Unliquidated
          APT 626
          EVERETT, WA 98023                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEXANDER JAMES LEE                                                   Contingent
          1970 S ROBERTSON BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander James Lee                                                   Contingent
          1970 S ROBERTSON BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander Joseph Berru                                                Contingent
          1737 ADDISON ROAD
                                                                                Unliquidated
          PALOS VERDES ESTATES, CA 90274
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander Kamal Gamoney                                               Contingent
          2691 STAMFORD ROW
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander Kapolchok                                                   Contingent
          601 Van Ness Ave.
                                                                                Unliquidated
          San Rafael, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander Khaziri                                                     Contingent
          3222 TRELLIS PLACE
                                                                                Unliquidated
          SAN JOSE, CA 95135
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander Kiyoshi Jenkins                                             Contingent
          11329 CHARNOCK RD
                                                                                Unliquidated
          LOS ANGELES, CA 90066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEXANDER MARTI UHLIG                                                 Contingent
          3674 OAKES DR
                                                                                Unliquidated
          HAYWARD, CA 94542
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander Marti Uhlig                                                 Contingent
          3674 OAKES DR
                                                                                Unliquidated
          HAYWARD, CA 94542
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander Nefedov                                                     Contingent
          12306 GALE AVE 110
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEXANDER REGGE                                                       Contingent
          10319 SE 185 PL
                                                                                Unliquidated
          RENTON, WA 98055
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEXANDER STEPH HELRIEGEL                                             Contingent
          623B NORTH LUCIA AVE
                                                                                Unliquidated
          REDONDO BEACH, CA 90277
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander Stephen Helriegel                                           Contingent
          623B NORTH LUCIA AVE
                                                                                Unliquidated
          REDONDO BEACH, CA 90277
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexandra Brandao                                                     Contingent
          1753 139th ave
                                                                                Unliquidated
          San Leandro, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexis Rae Finnie                                                     Contingent
          1410 YOSEMITE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexis S Carlson                                                      Contingent
          550 BERRY AVE APT 25
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALEXIS SALAZAR                                                        Contingent
          1842 W BAYSHORE RD APT 5
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexis Salazar                                                        Contingent
          1842 W BAYSHORE RD APT 5
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexzia Broussard                                                     Contingent
          P O BOX 51519
                                                                                Unliquidated
          PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alfred Calvin Lim                                                     Contingent
          359 NORTHAVEN DR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alfred Lee Hines                                                      Contingent
          5560 ACKERFIELD AVE APT 314
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALFRED PEREZ                                                          Contingent
          8785 ANADA CT
                                                                                Unliquidated
          RANCHO CUCAMANGA, CA 91730
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALFREDO ALVARADO                                                      Contingent
          9548 ALEXANDER AVE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alfredo Alvarado                                                      Contingent
          9548 ALEXANDER AVE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALFREDO MOUSSET                                                       Contingent
          4551 W. 170TH ST
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alfredo Mousset                                                       Contingent
          4551 W. 170TH ST
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ali Adnan M Alshaikhli                                                Contingent
          1306 SCENICVIEW DR
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ali Esmaeilshirazi                                                    Contingent
          23104 SAMUEL ST APT 115
                                                                                Unliquidated
          TORRANCE, CA 90505
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALI HASSAN MOHAMUD                                                    Contingent
          13445 MLK JR WAY S APT A402
                                                                                Unliquidated
          SEATTLE, WA 98178
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ali Ibrahim                                                           Contingent
          3279 KAREN DR
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALI JORFI                                                             Contingent
          808 SARATOGA AVE APT 0310
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ali Jorfi                                                             Contingent
          808 SARATOGA AVE APT 0310
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALICIA ELIZABET MONTERO                                               Contingent
          506 EUCALYPTUS DR
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alicia Elizabet Montero                                               Contingent
          506 EUCALYPTUS DR
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALICIA LORRAINE BAYARD                                                Contingent
          2130 E 115TH ST APT 13
                                                                                Unliquidated
          LOS ANGELES, CA 90059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alicia Lorraine Bayard                                                Contingent
          2130 E 115TH ST APT 13
                                                                                Unliquidated
          LOS ANGELES, CA 90059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alipate Iulisesil Faletau                                             Contingent
          267 WILLOW RD
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALIREZA SHAHVERDI                                                     Contingent
          1750 STOKES STREET
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alireza Shahverdi                                                     Contingent
          1750 STOKES STREET
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alisha Ann Stephens                                                   Contingent
          2170 CLARKE AVE
                                                                                Unliquidated
          E PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALISHA GREENE PHILLIPS                                                Contingent
          5205 87TH PL SW
                                                                                Unliquidated
          MUKILTEO, WA 98275
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alisha Wilcox                                                         Contingent
          319 WISTERIA DR
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Allen Bruce Cox                                                       Contingent
          24165 Summit Woods Drive
                                                                                Unliquidated
          Los Gatos, CA 95033
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALLEN CASBORN                                                         Contingent
          2424 WILSHIRE BLVD APT 819
                                                                                Unliquidated
          LOS ANGELES, CA 90057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Allen Casborn                                                         Contingent
          2424 WILSHIRE BLVD APT 819
                                                                                Unliquidated
          LOS ANGELES, CA 90057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALLEN LAMONT JAMES                                                    Contingent
          3115 MEADOWS AVE APT 48
                                                                                Unliquidated
          MERCED, CA 95348
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Allen Lamont James                                                    Contingent
          3115 MEADOWS AVE APT 48
                                                                                Unliquidated
          MERCED, CA 95348
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALPA GAJJAR                                                           Contingent
          3158 BRIARCLIFF RD NE APT D
                                                                                Unliquidated
          ATLANTA, GA 30329
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $75.00
          Alpha Courier Solutions                                               Contingent
          PO Box 10233                                                          Unliquidated
          Nashville, TN 37939                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALTON DEVANTE JONES                                                   Contingent
          4141 PALM AVE APT 276
                                                                                Unliquidated
          SACRAMENTO, CA 95842
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alton Devante Jones                                                   Contingent
          22826 VERMONT ST APT 203
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alvaro Posada                                                         Contingent
          135 FRANKLIN ST #324
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,127.34
          Always Reliable Delivery Serv.                                        Contingent
          PO Box 2424                                                           Unliquidated
          Morristown, NJ 07962                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,272.67
          Am Tran                                                               Contingent
          3975 Pacific Blvd                                                     Unliquidated
          San Mateo, CA 94403                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amanda Aguilar                                                        Contingent
          152 W 59TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AMANDA KAY DANCISIN                                                   Contingent
          1637 ORLEANS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amanda Kay Dancisin                                                   Contingent
          1637 ORLEANS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amanda Page Kuehl                                                     Contingent
          3757 WESTWOOD BLVD APT 5
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AMARIUS MILLER                                                        Contingent
          905 1/2 EAST HYDE PARK
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amarius Miller                                                        Contingent
          905 1/2 EAST HYDE PARK
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AMBER MOHAMMAD ABDEL-RAHMAN                                           Contingent
          234 E GISH APT 200
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amber Mohammad Abdel-Rahman                                           Contingent
          234 E GISH APT 200
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AMELIA DELGADILLO RODRIGUEZ                                           Contingent
          1072 S 11TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amelia Delgadillo Rodriguez                                           Contingent
          1072 S 11TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,162.47
          American Expediting Company                                           Contingent
          801 N Primos Ave                                                      Unliquidated
          Folcroft, PA 19032                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $168,433.70
          American Express                                                      Contingent
          PO Box 1270                                                           Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $216,861.00
          American Express @ Work                                               Contingent
          PO Box 1270                                                           Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aminata Moussa Diabate                                                Contingent
          930 84TH AVE APT 107
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amir Shafiee                                                          Contingent
          21845 SATICOY ST APT 303
                                                                                Unliquidated
          CANOGA PARK, CA 91304
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amna Mahmoud Hamid                                                    Contingent
          1201 HASKELL ST APT 4
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amos Kigenyi                                                          Contingent
          20641 VANOWEN STREET APT 108
                                                                                Unliquidated
          WINNETKA, CA 91306
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amritpal Singh                                                        Contingent
          2585 ALVIN AVENUE EAST 111
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $330,000.00
          Amtrust North America                                                 Contingent
          800 Superior Avenue E                                                 Unliquidated
          Cleveland, OH 44114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANA GILMA IRAHETA                                                     Contingent
          1216 MARIN AVE
                                                                                Unliquidated
          MODESTO, CA 95358
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ana Gilma Iraheta                                                     Contingent
          1216 MARIN AVE
                                                                                Unliquidated
          MODESTO, CA 95358
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANA LOURDES LOYA                                                      Contingent
          455 LAUFALL LANE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ana Lourdes Loya                                                      Contingent
          455 LAUFALL LANE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Analy Y Cruz Esparza                                                  Contingent
          4071 HOBART AVE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anderson Videsh Ramlogan                                              Contingent
          2264 Greenwich Rd
                                                                                Unliquidated
          San Pablo, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANDRE ATKINS                                                          Contingent
          1510 NW 52ND ST A4
                                                                                Unliquidated
          SEATTLE, WA 98107
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andre Cardin Rogers                                                   Contingent
          1876 NORSEMAN DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andre Grinberg                                                        Contingent
          310 S PROSPECT AVE APT 36
                                                                                Unliquidated
          REDONDO BEACH, CA 90277
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANDRE HICKS                                                           Contingent
          33 SARATOGA AVE 5C
                                                                                Unliquidated
          BROOKLYN, NY 11233
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrea Ines Soto Garcia                                               Contingent
          855 TURLEY DR
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andres Prieto Sanchez                                                 Contingent
          1184 HERALD AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Bravo                                                          Contingent
          2328 SOUTH DUNSMUIR AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Chacon                                                         Contingent
          606 N OXFORD AVE APT 302
                                                                                Unliquidated
          LOS ANGELES, CA 90004
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANDREW CHIEN-AN LAI                                                   Contingent
          2059 BLUEJACKET WAY
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Chien-An Lai                                                   Contingent
          2059 BLUEJACKET WAY
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANDREW HIEUANH LAM                                                    Contingent
          3145 EDENBANK DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Hieuanh Lam                                                    Contingent
          3145 EDENBANK DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Joel Cotti                                                     Contingent
          1659 E. SAN ANTONIO ST
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Juan Lopez                                                     Contingent
          358 SPRINGPARK CIR
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANDREW KENTRELL WEST JR                                               Contingent
          1350 E 32ND ST
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Kentrell West Jr                                               Contingent
          1350 E 32ND ST
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANDREW LAKE                                                           Contingent
          214 JOSEPH DRIVE
                                                                                Unliquidated
          CANONSBURG, PA 15317
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Lee Davis                                                      Contingent
          12306 GALE AVE APT 225
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Lee Rosas                                                      Contingent
          127 SMITHWOOD ST
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Mikael Danh                                                    Contingent
          1610 FLANIGAN DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANDREW MONTES                                                         Contingent
          1585 MARSH ST
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Montes                                                         Contingent
          1585 MARSH ST
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Thomas Lerma                                                   Contingent
          768 MELANNIE CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANDREW TZU-SHYANG LIN                                                 Contingent
          949 POLK ST
                                                                                Unliquidated
          ALBANY, CA 94706
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Tzu-Shyang Lin                                                 Contingent
          949 POLK ST
                                                                                Unliquidated
          ALBANY, CA 94706
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Villaflor Tambanillo                                           Contingent
          166 WYANDOTTE DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andy Chau                                                             Contingent
          37515 SOUTHWOOD DR
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andy Phuc Nguyen Truong Le                                            Contingent
          5466 LEAN AVE BLDG 8 APT 102
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANGEL GOMEZ                                                           Contingent
          130 ABBOT AVE
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Angel Gomez                                                           Contingent
          130 ABBOT AVE
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Angel Munoz Garcia                                                    Contingent
          2245 LANAI AVE APT 74
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Angela Lucia Martin                                                   Contingent
          21690 MARYDEE CT
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANGELICA ALEJAN MARTINEZ                                              Contingent
          735 TUDOR RD APT 1
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Angelica Alejandra Martinez                                           Contingent
          735 TUDOR RD APT 1
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Angelica Esperan Galvan-Vieyra                                        Contingent
          PO BX 373
                                                                                Unliquidated
          MORGAN HILL, CA 95038
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Angelina Lee Williams                                                 Contingent
          229 WISTAR RD
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANGELIQUE S PHILIP                                                    Contingent
          204-19 JAMAICA AVENUE
                                                                                Unliquidated
          HOLLIS, NY 11423
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Angelita Jerrollyn Bratcher                                           Contingent
          5349 DIAMOND HEIGHTS BLVD
                                                                                Unliquidated
          APT D
          SAN FRANCISCO, CA 94131                                               Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anh Tan Huynh                                                         Contingent
          3373 LINDMUIR DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANH-THU HOANG LE                                                      Contingent
          1164 CRESTON LANE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anh-Thu Hoang Le                                                      Contingent
          1164 CRESTON LANE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANIL MANHAS                                                           Contingent
          980 HENDERSON AVE APT 3
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anil Manhas                                                           Contingent
          980 HENDERSON AVE APT 3
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANISA ALI                                                             Contingent
          2323 SW 352ND ST APT 5D
                                                                                Unliquidated
          FEDERAL WAY, WA 98023
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anita Marie Jackson                                                   Contingent
          2011 VILLA DR APT 108
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ann Teresa Kipp                                                       Contingent
          3677 JASMINE AVE #11
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anna Maria Ofa Ki Alta Mesa Uhatafe                                   Contingent
          2737 GONZAGA ST
                                                                                Unliquidated
          E PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANNETTE EVETTE CHANDLER                                               Contingent
          1763B STERLING PLACE
                                                                                Unliquidated
          BROOKLYN, NY 11234
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Annette Logan                                                         Contingent
          9414 SOUTH SAN PEDRO STREET
                                                                                Unliquidated
          #2
          LOS ANGELES, CA 90003                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Annette Lynn Valle                                                    Contingent
          2 CLARK DRIVE #302
                                                                                Unliquidated
          SAN MATEO, CA 94401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTENEH BISHU                                                         Contingent
          4549 34TH AVE S
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY ACREY                                                         Contingent
          23928 109TH AVE S E
                                                                                Unliquidated
          APT 2D-203
          KENT, WA 98031                                                        Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Alexander Shaw                                                Contingent
          14706 DARIUS WAY
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY AROON PHOMMACHIT                                              Contingent
          3364 LANDESS AVE APT D
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Aroon Phommachit                                              Contingent
          3364 LANDESS AVE APT D
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY BREED                                                         Contingent
          1029 S 116TH ST
                                                                                Unliquidated
          SEATTLE, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY CHOIMUN LING                                                  Contingent
          38623 CHERRY LN APT 150
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Choimung Ling                                                 Contingent
          38623 CHERRY LN APT 150
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Estus Marshall                                                Contingent
          3317 ARKANSAS ST
                                                                                Unliquidated
          OAKDLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY J STREET                                                      Contingent
          3438 WILSON AVE APT 38
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony J Street                                                      Contingent
          3438 WILSON AVE APT 38
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY JERROD AUTRY JR                                               Contingent
          2481 GROVE WAY APT 34
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Jerrod Autry Jr                                               Contingent
          2481 GROVE WAY APT 34
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Jonathon Hernandez                                            Contingent
          3612 KENDRA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY JOSE OLMOS                                                    Contingent
          150 SARATOGA AVE APT 323
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Jose Olmos                                                    Contingent
          150 SARATOGA AVE APT 323
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY KERR                                                          Contingent
          259 CATANEY LANE
                                                                                Unliquidated
          BULGER, PA 15019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY LUCERO JR                                                     Contingent
          7709 LOWER RIDGE RD
                                                                                Unliquidated
          EVERETT, WA 98203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Mai Nguyen                                                    Contingent
          15233 DOTY AVE
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY MENDOZA                                                       Contingent
          791 E DUANE AVE APT B
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Mendoza                                                       Contingent
          791 E DUANE AVE APT B
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Michael Raphael Stamps                                        Contingent
          2461 SHIELD DR
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Navarro Manganaan                                             Contingent
          33869 WASHINGTON AVE
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Philip Rodriguez                                              Contingent
          2155 LANAI AVE APT 73
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY RENE JOHNSTON                                                 Contingent
          810 BEACON AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90017
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Rene Johnston                                                 Contingent
          810 BEACON AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90017
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY RIVERA                                                        Contingent
          4050 MILLER STREET APT 2
                                                                                Unliquidated
          PITTSBURGH, PA 15221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY SELTZ                                                         Contingent
          796 SOUTH GRAY AVENUE
                                                                                Unliquidated
          BRIDGEVILLE, PA 15017
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTHONY SMITH                                                         Contingent
          39 SOUTH 11 AVENUE
                                                                                Unliquidated
          MOUNT VERNON, NY 10550
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Vallarta                                                      Contingent
          2705 GOMES DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Vernon Spearman                                               Contingent
          PO BOX 881033
                                                                                Unliquidated
          LOS ANGELES, CA 90009
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Viet Nguyen                                                   Contingent
          2756 BELLAIRE PL
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTON COLLINS                                                         Contingent
          7164 CABERNET AVE
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anton Collins                                                         Contingent
          7164 CABERNET AVE
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTON ULASOVICH                                                       Contingent
          4230 TERMAN DR APT 201
                                                                                Unliquidated
          PALO ALTO, CA 94306
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anton Ulasovich                                                       Contingent
          4230 TERMAN DR APT 201
                                                                                Unliquidated
          PALO ALTO, CA 94306
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Antone Elias Abuyaghi                                                 Contingent
          940 WILDWOOD AVE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTONIA AHMED                                                         Contingent
          829 E 19TH ST APT B
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Antonia Ahmed                                                         Contingent
          829 E 19TH ST APT B
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTONIO AGUSTIN LOPEZ                                                 Contingent
          523 BUENA VISTA AVE APT 304
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Antonio Agustin Lopez                                                 Contingent
          523 BUENA VISTA AVE APT 304
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTONIO GA                                                            Contingent
          336 BELSHAW DRIVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Antonio Ga                                                            Contingent
          336 BELSHAW DRIVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTONIO LOWE                                                          Contingent
          533 OSAGE AVE APT 4
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Antonio Lowe                                                          Contingent
          533 OSAGE AVE APT 4
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTONIO WYSS                                                          Contingent
          1041 MAYWOOD LN APT 223
                                                                                Unliquidated
          MARTINEZ, CA 94553
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Antonio Wyss                                                          Contingent
          1041 MAYWOOD LN APT 223
                                                                                Unliquidated
          MARTINEZ, CA 94553
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Antonique B Robinson                                                  Contingent
          2121 WOOLSEY ST
                                                                                Unliquidated
          BERKELEY, CA 94705
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTWAN O COLEMAN                                                      Contingent
          1440 E 115TH ST APT 102
                                                                                Unliquidated
          LOS ANGELES, CA 90059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Antwan O Coleman                                                      Contingent
          1440 E 115TH ST APT 102
                                                                                Unliquidated
          LOS ANGELES, CA 90059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANTYWANE DEMETR ROSS                                                  Contingent
          1203 HASKELL ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Antywane Demetric Ross                                                Contingent
          1203 HASKELL ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          APRIL A KEHM                                                          Contingent
          702 DUPONT AVE
                                                                                Unliquidated
          DU PONT, WA 98327
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AQIYLIMAH PARKER                                                      Contingent
          331 EAST 146 STREET 5D
                                                                                Unliquidated
          BRONX, NY 10451
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arad Tarkhan                                                          Contingent
          5207 TERNER WAY APT 211
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AREANA BELL                                                           Contingent
          1514 W 137TH STREET
                                                                                Unliquidated
          COMPTON, CA 90222
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Areana Bell                                                           Contingent
          1514 W 137TH STREET
                                                                                Unliquidated
          COMPTON, CA 90222
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Areli Fernandez Hernandez                                             Contingent
          3190 HOMESTEAD RD APT 1
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ariana Chatea Denise Patterson                                        Contingent
          344 13TH ST APT 216
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ARJAY ATCHIVARA MALOLOT                                               Contingent
          19658 ROGGE ROAD
                                                                                Unliquidated
          SALINAS, CA 93906
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arjay Atchivara Malolot                                               Contingent
          19658 ROGGE ROAD
                                                                                Unliquidated
          SALINAS, CA 93906
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86            Filed 03/21/17 Entered 03/21/17 15:53:14                                    Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Armando Cruz                                                          Contingent
          1391 GLENA COURT
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Armando Maciel Jr                                                     Contingent
          2171 CAPITOL AVE
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Armando Padilla                                                       Contingent
          751 VONNA CT
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Armando Pedro Garcia                                                  Contingent
          906 WILLOW ST 3102
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ARNOLD STA ANA                                                        Contingent
          1736 BURROWS ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arnold Sta Ana                                                        Contingent
          1736 BURROWS ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aron Alvarez Ayala                                                    Contingent
          2987 MISSION ST APT 303
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arthur Alexander Mansilla                                             Contingent
          32595 CARMEL WAY
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arthur Lee Jones                                                      Contingent
          406 LINDEN AVE APT # 9
                                                                                Unliquidated
          LONG BEACH, CA 90802
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arthur Leroy Norton III                                               Contingent
          840 E ST JAMES ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ARTIST JAMMAL BATTLE                                                  Contingent
          956 GRETCHEN LN
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Artist Jammal Battle                                                  Contingent
          956 GRETCHEN LN
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ARTUR KOSHALEU                                                        Contingent
          400 COCHRAN RD
                                                                                Unliquidated
          PITTSBURGH, PA 15228
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arturo Jarzinio Gutierrez                                             Contingent
          2345 BELLA VISTA AVE
                                                                                Unliquidated
          MARTINEZ, CA 94553
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arturo Pena                                                           Contingent
          2137 S MANSFIELD AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arturo Roman                                                          Contingent
          10242 SAN ANTONIO AVENUE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ARTURO SHEPHERD                                                       Contingent
          299 EAST 48TH STREET
                                                                                Unliquidated
          BROOKLYN, NY 11203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ASA ARCHIBALD                                                         Contingent
          2223 BENSON RD S V101
                                                                                Unliquidated
          RENTON, WA 98055
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ashanti Sutherlin                                                     Contingent
          4310 CAHUENGA BLVD APT 103
                                                                                Unliquidated
          TOLUCA LAKE, CA 91602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ashley Brooke Schumacher                                              Contingent
          124 FARRAGUT AVE 14
                                                                                Unliquidated
          VALLEJO, CA 94590
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ASHLEY DAY                                                            Contingent
          2406 MILLS BEND
                                                                                Unliquidated
          DECATUR, GA 30034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ashley Denise McCord                                                  Contingent
          1501 Almaden Expy 6252
                                                                                Unliquidated
          San Jose, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ashley Elizabeth Vance                                                Contingent
          3187 WOODCREST DR
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ashley Nicole Smith                                                   Contingent
          2040 LOTUS WAY
                                                                                Unliquidated
          TRACY, CA 95376
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ashley Nicole Zuniga                                                  Contingent
          425 WESSEX WAY
                                                                                Unliquidated
          BELMONT, CA 94002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ASHLEY SLAUGHTER                                                      Contingent
          7024 UPLAND ST
                                                                                Unliquidated
          PITTSBURGH, PA 15208
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ashley Tera Bolton                                                    Contingent
          PO BX 6592
                                                                                Unliquidated
          VALLEJO, CA 94591
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ASHLEY WHISLER                                                        Contingent
          255 CORONADO DR
                                                                                Unliquidated
          CORONA, CA 92879
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ashley Whisler                                                        Contingent
          255 CORONADO DR
                                                                                Unliquidated
          CORONA, CA 92879
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ASHLEY WILLIAMS                                                       Contingent
          2180 GRAND CONCOURSE 6A
                                                                                Unliquidated
          BRONX, NY 10457
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ASIA DAVIS                                                            Contingent
          1086 HOME ST APT4H
                                                                                Unliquidated
          BRONX, NY 10459
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Assegedetch Assefa Desta                                              Contingent
          1211 Garbo way #304
                                                                                Unliquidated
          San Jose, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $184.59
          AT&T                                                                  Contingent
          PO Box 105262                                                         Unliquidated
          Atlanta, GA 30348-5262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ATAKILTE BERHANE                                                      Contingent
          1105 E FIR ST. UNIT 613
                                                                                Unliquidated
          SEATTLE, WA 98122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ATHANASIOS ZOURZOUKIS                                                 Contingent
          1637 ORLEANS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Athanasios Zourzoukis                                                 Contingent
          1637 ORLEANS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          August Max Fleishman                                                  Contingent
          1871 PATIO DR
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AUNDREA DEJUANA BOYKIN                                                Contingent
          3024 FRUITVALE AVE APT 13
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aundrea Dejuana Boykin                                                Contingent
          3024 FRUITVALE AVE APT 13
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AUNG KYAW THANT                                                       Contingent
          204 CAMPANA AVE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aung Kyaw Thant                                                       Contingent
          204 CAMPANA AVE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AURLETTE DENISE BROWN                                                 Contingent
          564 VAN SICLEN
                                                                                Unliquidated
          BROOKLYN, NY 11207
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AUSTIN ONWUKA                                                         Contingent
          1180 CYPRESS ST
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Austin Onwuka                                                         Contingent
          1180 CYPRESS ST
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Avtar Singh Bath                                                      Contingent
          4261 Stevenson Blvd Apt. 181
                                                                                Unliquidated
          Fremont, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AWET HAGOS                                                            Contingent
          5502 RAINIER AVE S
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ayaz Azad Khan                                                        Contingent
          30166 INDUSTRIAL PKWY APT 177
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AYESHA MELISSA LEWIS                                                  Contingent
          635 CENTER AVE
                                                                                Unliquidated
          MARTINEZ, CA 94553
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ayesha Melissa Lewis                                                  Contingent
          635 CENTER AVE
                                                                                Unliquidated
          MARTINEZ, CA 94553
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aymard Kenne Ngankam                                                  Contingent
          7620 NORTH EL DORADO APT 161
                                                                                Unliquidated
          STOCKTON, CA 95207
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ba Giang                                                              Contingent
          1520 E CAPITOL EXPWY 129
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Babaka Kankolongo Futa                                                Contingent
          138 E 36TH PLACE
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BAMRUNG OLSON                                                         Contingent
          2670 OLIVESTONE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bamrung Olson                                                         Contingent
          2670 OLIVESTONE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barny Duch                                                            Contingent
          1649 SEATTLE ST.
                                                                                Unliquidated
          MODESTO, CA 95358
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,036.81
          Baron Messenger                                                       Contingent
          386 NE 191 Street
                                                                                Unliquidated
          Miami, FL 33179
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




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 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BASHA ABDELLA                                                         Contingent
          1757 STURGUS AVE S APT 1
                                                                                Unliquidated
          SEATTLE, WA 98144
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bashar Abdulameer Sahio                                               Contingent
          1577 POMEROY AVE APT 303
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $630.00
          Bay Area Express                                                      Contingent
          753 Jefferson Street
                                                                                Unliquidated
          Napa, CA 94559
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BEATRIZ ELIZABE RODRIGUEZ                                             Contingent
          5708 6TH AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Beatriz Elizabeth Rodriguez                                           Contingent
          5708 6TH AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $836.00
          Beaver Express Inc                                                    Contingent
          PO Box 5216                                                           Unliquidated
          Alpha, OR 97006                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BEE VANG                                                              Contingent
          2576 GARETH CIRCLE
                                                                                Unliquidated
          STOCTON, CA 95210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bee Vang                                                              Contingent
          2576 GARETH CIRCLE
                                                                                Unliquidated
          STOCTON, CA 95210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Beecher Maurice Anderson                                              Contingent
          1110 W. 61st Street
                                                                                Unliquidated
          Los Angeles, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BEHAILU KASSE                                                         Contingent
          4775 TOPAZ ST S APT 45
                                                                                Unliquidated
          LAS VEGAS, NV 89121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Behzad Hosseini                                                       Contingent
          193 IMAGES CIR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BELALL NAWABI                                                         Contingent
          4008 CARIBBEAN COMMON
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Belall Nawabi                                                         Contingent
          4008 CARIBBEAN COMMON
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Belinda Jeanisha Salter                                               Contingent
          532 16TH ST APT 302
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BELLARDO SABINI BAUTISTA                                              Contingent
          2132 MORRILL AVE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bellardo Sabini Bautista                                              Contingent
          2132 MORRILL AVE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BEN PEELER                                                            Contingent
          6970 NORTH GREEN DRIVE
                                                                                Unliquidated
          SANDY SPRINGS, GA 30328
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BENITA JEAN FOX                                                       Contingent
          5890 ED DORI DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benita Jean Fox                                                       Contingent
          5890 ED DORI DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benjamin Gerald Corpuz                                                Contingent
          385 HEIDI DRIVE
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benjamin Hernandez                                                    Contingent
          1424 SHAFFER DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BENJAMIN PAUL PRUDENCE                                                Contingent
          210 SAN ANTONIO CIR APT 132
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benjamin Paul Prudence                                                Contingent
          210 SAN ANTONIO CIR APT 132
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benjamin Richard Daly                                                 Contingent
          431 IMPERIAL DR
                                                                                Unliquidated
          PACIFICA, CA 94044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BENJAMIN ROSENBAUM                                                    Contingent
          1287 PELHAM PKWY N
                                                                                Unliquidated
          BRONX, NY 10469
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BENJAMIN RUSSELL                                                      Contingent
          10114 PEARL RD
                                                                                Unliquidated
          PITTSBURGH, PA 15235
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BENJAMIN S ROBERTS                                                    Contingent
          690 15TH ST APT 405
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benjamin S Roberts                                                    Contingent
          690 15TH ST APT 405
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benjamin Tran Quoc Tran                                               Contingent
          3327 Cannongate Ct
                                                                                Unliquidated
          San Jose, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BENJAMIN TURNER                                                       Contingent
          210 HUNTERS TRACE LANE
                                                                                Unliquidated
          SANDY SPRINGS, GA 30328
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BENJI ESTEBAN JACINTO                                                 Contingent
          2319 ZOE AVE
                                                                                Unliquidated
          HUNTINGTON PARK, CA 90255
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benji Esteban Jacinto                                                 Contingent
          2319 ZOE AVE
                                                                                Unliquidated
          HUNTINGTON PARK, CA 90255
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bennie Smith                                                          Contingent
          1735 MCKEE RD #12
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benton Chen                                                           Contingent
          553 WINCHESTER ST
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BENYAM BERHANE KIDANE                                                 Contingent
          3250 RED CEDAR TERRACE
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benyam Berhane Kidane                                                 Contingent
          3250 RED CEDAR TERRACE
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BERAN CHAMBERS                                                        Contingent
          115-11 230 STREET
                                                                                Unliquidated
          CAMBRIA HEIGHTS, NY 11411
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Berlin Calderon                                                       Contingent
          1954 Ninfatino st.
                                                                                Unliquidated
          Stockton, CA 95206
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BERNADETTE MEND MANALO                                                Contingent
          8 SANTA BARBARA AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bernadette Mendoza Manalo                                             Contingent
          8 SANTA BARBARA AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BERNARD JAVIER TAYAG                                                  Contingent
          757 PETTIS AVENUE
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bernard Javier Tayag                                                  Contingent
          757 PETTIS AVENUE
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bernardino Ramirez                                                    Contingent
          1043 S FRESNO ST
                                                                                Unliquidated
          LOS ANGELES, CA 90023
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bernardo Butler                                                       Contingent
          15934 HESPERIAN BLVD APT 236
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bernardo Guzman Zaragoza                                              Contingent
          2016 DALY ST APT#303
                                                                                Unliquidated
          LOS ANGELES, CA 90031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Berthamalia Carmen Reyes                                              Contingent
          1308 HAWES ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bertila Del Carmen Arevalo                                            Contingent
          1012 EAST FAIRVIEW BLVD
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,108.68
          Best Courier                                                          Contingent
          PO Box 30251                                                          Unliquidated
          Gahanna, OH 43230                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bethelhem Berhane Gidey                                               Contingent
          768 DELAND AVE APT 3
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Betty Wong                                                            Contingent
          5686 ALLEN AVE APT 4
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Beverly Bridget Bautista Berioso                                      Contingent
          998 CRESTWOOD CT
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BHAWANDEEP SINGH                                                      Contingent
          4458 S 188TH PL
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bi Van Nguyen                                                         Contingent
          1200 RAVENSCOURT AVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BIANCA BLAIR RUFFIN                                                   Contingent
          1313 PARKER ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bianca Blair Ruffin                                                   Contingent
          1313 PARKER ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bianca Dyann Borque                                                   Contingent
          13743 Cordary Ave                                                     Unliquidated
          Hawthorne, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Class List
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bijan Francis Soroush Sepehri                                         Contingent
          503 CURTNER CT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bill Jay Herman                                                       Contingent
          657 CAMBRIDGE DR
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BILL MCDONALD                                                         Contingent
          6769 MCCORMICK WOODS DR SW
                                                                                Unliquidated
          PORT ORCHARD, WA 98367
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BILLY CHAN                                                            Contingent
          39 ATLAS AVE APT 10
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Billy Chan                                                            Contingent
          39 ATLAS AVE APT 10
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Billy Robert Gonzales                                                 Contingent
          209 E HAZEL ST
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bilma Aliaga                                                          Contingent
          2534 Greenstone ct
                                                                                Unliquidated
          San Jose, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Birch Connect                                                         Contingent
          320 Interstate N Cir SE                                               Unliquidated
          #300                                                                  Disputed
          Atlanta, GA 30339
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blaise Enonchong                                                      Contingent
          2108 SCENIC AVE
                                                                                Unliquidated
          MARTINEZ, CA 94553
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BLAISE NGOC HOANG                                                     Contingent
          3059 WETMORE DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blaise Ngoc Hoang                                                     Contingent
          3059 WETMORE DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blanca De Jesus Merlos Salgado                                        Contingent
          16700 LOS BANOS ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BLANCA DE JESUS SALGADO                                               Contingent
          16700 LOS BANOS ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $701.96
          Blaze Logistics LLC                                                   Contingent
          PO Box 23165                                                          Unliquidated
          Harahan, LA 70183                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $86.96
          Blue Marble Logistics LLC                                             Contingent
          800 King Street                                                       Unliquidated
          Wilmington, DE 19801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,227.20
          Blue Sky Courier                                                      Contingent
          830 S Bellevue Blvd                                                   Unliquidated
          Memphis, TN 38104-4646                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,734.60
          Bob Rocco Enterprises Inc                                             Contingent
          5901 Benjamin Center Drive                                            Unliquidated
          Ste 105                                                               Disputed
          Tampa, FL 33634
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bobby David Santa Ana-Fernandez                                       Contingent
          4032 PRUNETREE LN
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Boonsom Ruenhunsa                                                     Contingent
          1124 DELNA MANOR LN APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brad Otis Hillinger                                                   Contingent
          28631 SLOAN CANYON RD
                                                                                Unliquidated
          CASTAIC, CA 91384
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bradfield Thompson                                                    Contingent
          63 BOVET RD #416
                                                                                Unliquidated
          SAN MATEO, CA 94402
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Braeanna Laprice Taylor                                               Contingent
          2763 76TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDEN TEMPLE                                                        Contingent
          888 KINCAID AVE APT 3
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Branden Temple                                                        Contingent
          888 KINCAID AVE APT 3
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandom Rakim Archer                                                  Contingent
          12010 S VERMONT AVE #207
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON A BENTON                                                      Contingent
          3101 FOSTER AVE 4B
                                                                                Unliquidated
          BROOKLYN, NY 11210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Alan Smith                                                    Contingent
          133 BERKELEY WAY
                                                                                Unliquidated
          SAN FRANCISCO, CA 94131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON CONN                                                          Contingent
          1226 MELROSE FOREST LN SE
                                                                                Unliquidated
          LAWRENCEVILLE, GA 30045
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON E BRADFORD                                                    Contingent
          2305 HAUSER BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon E Bradford                                                    Contingent
          2305 HAUSER BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Gong Chinh                                                    Contingent
          49043 FEATHER GRASS TERRACE
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON JAMAL GRIFFITH                                                Contingent
          2600 SAN LEANDRO BLVD APT 506
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Jamal Griffith                                                Contingent
          2600 SAN LEANDRO BLVD APT 506
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Jamall Mobley                                                 Contingent
          1111 W 51ST
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON LEMAR THOMPSON                                                Contingent
          2143 MITCHELL ST
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Lemar Thompson                                                Contingent
          2143 MITCHELL ST
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Michael Brierley                                              Contingent
          961 WAINWRIGHT DR
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Mills                                                         Contingent
          190 Starling Way                                                      Unliquidated
          Hurcules, CA 94547
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Class List
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Mister                                                        Contingent
          255 WEST 5TH ST 521
                                                                                Unliquidated
          SAN PEDRO, CA 90731
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON NOHE                                                          Contingent
          506 NORDEN DRIVE
                                                                                Unliquidated
          WEST MIFFLIN, PA 15122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Oliver Moore                                                  Contingent
          11936 BLOOMINGTON WAY
                                                                                Unliquidated
          DUBLIN, CA 94568
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Rong Bin Huang                                                Contingent
          170 HALE ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON SCOTT ROSS                                                    Contingent
          47623 ZUNIC DR
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Scott Ross                                                    Contingent
          47623 ZUNIC DR
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON SHA RON HAYES-MOORE                                           Contingent
          14670 CYPRESS ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Sha Ron Hayes-Moore                                           Contingent
          14670 CYPRESS ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON SMITH                                                         Contingent
          487 HARMAN ST 2R
                                                                                Unliquidated
          BROOKLYN, NY 11237
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON SWAN                                                          Contingent
          7510 S HALLDALE AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Swan                                                          Contingent
          7510 S HALLDALE AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON TERREL MATTHEWS                                               Contingent
          529 E QUEEN ST APT 2
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Terrel Matthews                                               Contingent
          529 E QUEEN ST APT 2
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRANDON TRAMAIN SMITH                                                 Contingent
          6401 SHELLMOUND ST APT 6118
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Tramain Smith                                                 Contingent
          6401 SHELLMOUND ST APT 6118
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Tramaine Smith                                                Contingent
          6401 SHELLMOUND ST APT 6118
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandy Brashawn Whittle-Johnson                                       Contingent
          4803 CASTILLA AVE
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brant Creamer                                                         Contingent
          707 LAKEFAIR DR
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRAXTON JAMES BLAMER                                                  Contingent
          135 S CLAREMONT AVE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Braxton James Blamer                                                  Contingent
          135 S CLAREMONT AVE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,800.00
          BRCP San Leandro Industrial, LLC                                      Contingent
          Attn Access Manager                                                   Unliquidated
          PO Box 515056                                                         Disputed
          Los Angeles, CA 90051
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,065.92
          Breakaway Courier Systems                                             Contingent
          444 W 36th Street                                                     Unliquidated
          New York, NY 10018-6344                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bree Carl Micah Norman                                                Contingent
          11606 CHERRY AVE
                                                                                Unliquidated
          INGLEWOOD, CA 90303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Breida Christina Monge Arizaga                                        Contingent
          1990 LATHAM ST #23
                                                                                Unliquidated
          MOUNTAINVIEW, CA 94040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRENDAN MILLS FALLON                                                  Contingent
          575 E DUANE AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brendan Mills Fallon                                                  Contingent
          575 E DUANE AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRENDEN DEVON HAROLD                                                  Contingent
          5210 ROUNDUP WAY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brenden Devon Harold                                                  Contingent
          5210 ROUNDUP WAY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brenna Renee Pratt                                                    Contingent
          160 KIELY BLVD #C
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRENNON SHANARD HAWKINS                                               Contingent
          2776 JO ANN DR
                                                                                Unliquidated
          RICHMOND, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brennon Shanard Hawkins                                               Contingent
          2776 JO ANN DR
                                                                                Unliquidated
          RICHMOND, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRENT CORNEL WILKERSON                                                Contingent
          740 E ADAMS BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brent Cornel Wilkerson                                                Contingent
          740 E ADAMS BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Breonna Brejae Alexander                                              Contingent
          6342 JOAQUIN MURIETA APT #J
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRETT ANDREW PELLEMEIER                                               Contingent
          462 CLIFTON AVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brett Andrew Pellemeier                                               Contingent
          462 CLIFTON AVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brett Carl Lueckfeld                                                  Contingent
          140 LOCKSUNART WAY APT 4
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Briahna Unique Lomax                                                  Contingent
          7911 BANCROFT AVE APT 306
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Charles Cali                                                    Contingent
          820 QUINCE AVE APT 3
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Edwin Blanco                                                    Contingent
          950 PINE ST APT# 307
                                                                                Unliquidated
          SAN FRANCISCO, CA 94108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Hooker Romero                                                   Contingent
          1675 CLOVIS AVE
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian James Keith                                                     Contingent
          630 SAN ANTONIO RD APT 203
                                                                                Unliquidated
          PALO ALTO, CA 94306
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Jeffery Hagen                                                   Contingent
          843 IRIS AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian John Gerales                                                    Contingent
          133 E 35TH ST
                                                                                Unliquidated
          LONG BEACH, CA 90807
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian John Mcgoldrick                                                 Contingent
          1539 ALISAL AVE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRIAN JONES                                                           Contingent
          307 NORTH AVE
                                                                                Unliquidated
          PITTSBURGH, PA 15112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Keith Barnes                                                    Contingent
          346 105TH AVE APT I
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRIAN KEITH MULVEY                                                    Contingent
          3713 BRIGHTON RD
                                                                                Unliquidated
          PITTSBURGH, PA 15212
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRIAN LOUIS ACKERMAN                                                  Contingent
          174 CARROLL ST APT 340
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Louis Ackerman                                                  Contingent
          174 CARROLL ST APT 340
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRIAN NGUNYI                                                          Contingent
          8401 RANIER PL S APT 7
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Nguyen                                                          Contingent
          596 LA CONNER DR APT 14
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Rios                                                            Contingent
          374 RODEO CT
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRIAN ROBLES                                                          Contingent
          859 W 81ST
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Robles                                                          Contingent
          859 W 81ST
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Sanchez                                                         Contingent
          807 EAST 27 STREET
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRIAN TRUONG TRAN                                                     Contingent
          577 FANELLI CT
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian Truong Tran                                                     Contingent
          577 FANELLI CT
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Briana Glenisa Spotwood                                               Contingent
          1619 Princeton Dr
                                                                                Unliquidated
          San Jose, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRIANNA D ASHLEY                                                      Contingent
          829 E 19TH STREET APT 8
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brianna D Ashley                                                      Contingent
          829 E 19TH STREET APT 8
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brianna Marissa Gonzalez                                              Contingent
          2420 PACIFIC DR APT 46
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRICE VESTER PROCTOR                                                  Contingent
          12218 BLAKLEY AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brice Vester Proctor                                                  Contingent
          12218 BLAKLEY AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRIDGET PASTER BROWN                                                  Contingent
          884 DAVIS ST APT 307
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bridget Paster Brown                                                  Contingent
          884 DAVIS ST APT 307
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bridgett Monique Thomas                                               Contingent
          10314 S GRAMERCY PL
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRITTANY DEAN                                                         Contingent
          3109 MRYTLE AVE
                                                                                Unliquidated
          TEMPLE HILLS, MD 20748
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRITTANY LEVIGN SPEARS                                                Contingent
          3619 SUNRISE CT
                                                                                Unliquidated
          RICHMOND, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brittany Levign Spears                                                Contingent
          3619 SUNRISE CT
                                                                                Unliquidated
          RICHMOND, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRITTANY NICOLE BROWN                                                 Contingent
          4700 BLACKBURN PEAK CT
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brittany Nicole Brown                                                 Contingent
          4700 BLACKBURN PEAK CT
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRITTANY RENEE BECKWITH                                               Contingent
          835 LAKE SHORE DRIVE
                                                                                Unliquidated
          MITCHELLVILLE, MD 20721
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRITTNEY RAYCHE PHILLIPS                                              Contingent
          300 N MARKET ST APT 1
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brittney Raychelle Phillips                                           Contingent
          300 N Market St Apt.1
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brittney Renee Green                                                  Contingent
          126 MONROE DR
                                                                                Unliquidated
          PALO ALTO, CA 94306
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRITTNEY TANISH BRYAN                                                 Contingent
          2295 CAPISTRANO DR
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brittney Tanisha Bryan                                                Contingent
          2295 CAPISTRANO DR
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Broc Andrew Orozco                                                    Contingent
          1240 N Flores St
                                                                                Unliquidated
          West Hollywood, CA 90067
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRUCE J GUILLORY                                                      Contingent
          27340 TYRRELL AVE APT 16
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bruce J Guillory                                                      Contingent
          27340 TYRRELL AVE APT 16
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bryan Alexander Dejano                                                Contingent
          641 PARADISE BLVD
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BRYAN BACANI DEVICENTE                                                Contingent
          6130 MONTEREY HWY SPC 207
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bryan Bacani Devicente                                                Contingent
          6130 MONTEREY HWY SPC 207
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bryan Nathan Gonzalez                                                 Contingent
          2322 THOMPSON PL
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bryan Onome Asagba                                                    Contingent
          1501 ALMADEN EXPY 3224
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bryan Roach                                                           Contingent
          2131 MARLBORO CT APT 2
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bryant Dewan Price                                                    Contingent
          1650 PINE ST APT K4
                                                                                Unliquidated
          CONCORD, CA 94520
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bryant Whitfield                                                      Contingent
          827 REDONDO AVENUE UNIT 7
                                                                                Unliquidated
          LONG BEACH, CA 90804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Budi Hotmartua Silalahi                                               Contingent
          8048 LUBEC ST
                                                                                Unliquidated
          DOWNEY, CA 90240
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,441.40
          Business Express Courier SVS                                          Contingent
          PO Box 720477                                                         Unliquidated
          Atlanta, GA 30358-2477                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BYRON ARTHER ELMORE                                                   Contingent
          1973 CARDIFF DR
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Byron Arther Elmore                                                   Contingent
          1973 CARDIFF DR
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Byron Elizandro Mejia Aguilar                                         Contingent
          1287 SILVER AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,080.00
          C P Delivery LLC                                                      Contingent
          3541 Kings Canyon Court                                               Unliquidated
          Pleasanton, CA 94588                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CAIRBRE A H FANSLOW                                                   Contingent
          1232 SOCORRO AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cairbre A H Fanslow                                                   Contingent
          1232 SOCORRO AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CALEB BOGGS                                                           Contingent
          604 CENTENNIAL ST APT 1
                                                                                Unliquidated
          NEW CASTLE, PA 16101
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CALEB MESSELE                                                         Contingent
          5090 LICK MILL BLVD APT #342
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Caleb Messele                                                         Contingent
          5090 LICK MILL BLVD APT #342
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Callie Karina Lim                                                     Contingent
          850 PROSPECT AVE
                                                                                Unliquidated
          OAKLAND, CA 94610
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Calvin Boissiere                                                      Contingent
          1123 CHULA VISTA AVE #5
                                                                                Unliquidated
          BURLINGAME, CA 94010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CALVIN DENNIS ADAMS III                                               Contingent
          1200 DAVIS ST APT 40
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Calvin Dennis Adams III                                               Contingent
          1200 DAVIS ST APT 40
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CALVIN GANTT                                                          Contingent
          1623 LAKETON RD
                                                                                Unliquidated
          PITTSBURGH, PA 15221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CALVIN PIETER M LATOUR                                                Contingent
          369 CLUB DR
                                                                                Unliquidated
          SAN CARLOS, CA 94070
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Calvin Pieter M Latour                                                Contingent
          369 CLUB DR
                                                                                Unliquidated
          SAN CARLOS, CA 94070
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Calvin Soohoo                                                         Contingent
          2558 38TH AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CAMERON ANTHONY JACKSON                                               Contingent
          276 WOODRUFF WAY
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cameron Anthony Jackson                                               Contingent
          276 WOODRUFF WAY
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cameron Phillip Smith                                                 Contingent
          1998 Vining Dr
                                                                                Unliquidated
          San Leandro, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Camila Roxana Ayala Delgado                                           Contingent
          1437 CHINOOK CT UNIT A
                                                                                Unliquidated
          SAN FRANCISCO, CA 94130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Canieshia Lashone Kahn                                                Contingent
          251 E 105TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $729.23
          Capital Delivery Systems                                              Contingent
          PO Box 10720                                                          Unliquidated
          Harrisburg, PA 17105                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CAPRICIA JOHNSON                                                      Contingent
          2238 S 116TH ST
                                                                                Unliquidated
          BURIEN, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CAPRISHA TIERRA GREEN                                                 Contingent
          442 ARCH ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Caprisha Tierra Green                                                 Contingent
          442 ARCH ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CARESSA THOMPSON                                                      Contingent
          1563 PACIFIC STREET
                                                                                Unliquidated
          BROOKLYN, NY 11213
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CAREY CHUNN                                                           Contingent
          5920 56TH AVE W D8
                                                                                Unliquidated
          UNIVERSITY PLACE, WA 98467
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CAREY EVERETTE                                                        Contingent
          20149 128TH AVE SE
                                                                                Unliquidated
          KENT, WA 98031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CARL CHAVEZ JR                                                        Contingent
          10347 HICKORY ST
                                                                                Unliquidated
          LOS ANGELES, CA 90002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carl Chavez Jr                                                        Contingent
          10347 HICKORY ST
                                                                                Unliquidated
          LOS ANGELES, CA 90002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CARLA BANEZA PRADO                                                    Contingent
          2213 S RIDGELEY DR APT 2
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carla Baneza Prado                                                    Contingent
          2213 S RIDGELEY DR APT 2
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CARLA MCCOY                                                           Contingent
          2920 BRODHEAD ROAD
                                                                                Unliquidated
          ALIQUIPPA, PA 15001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlito Justo Pascual Jr                                              Contingent
          1286 ORTIZ COURT
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlo Matteucci                                                       Contingent
          4560 SEQUOYAH RD
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Aguiar                                                         Contingent
          4060 HOOVER ST APT 203
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CARLOS ALBERTO GARCIA                                                 Contingent
          824 S ARDMORE AVE #H
                                                                                Unliquidated
          LOS ANGELES, CA 90005
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Alberto Garcia                                                 Contingent
          824 S ARDMORE AVE #H
                                                                                Unliquidated
          LOS ANGELES, CA 90005
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Duran                                                          Contingent
          608 VASONA STREET
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Francisco Rodriguez Jr                                         Contingent
          384 HERRICK AVE
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CARLOS GARCIA MORENO                                                  Contingent
          7337 LONGMONT LOOP
                                                                                Unliquidated
          CASTRO VALLEY, CA 94552
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Garcia Moreno                                                  Contingent
          7337 LONGMONT LOOP
                                                                                Unliquidated
          CASTRO VALLEY, CA 94552
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CARLOS GONZALEZ JR                                                    Contingent
          847 W WHITMORE AVE
                                                                                Unliquidated
          MODESTO, CA 95358
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Gonzalez Jr                                                    Contingent
          847 W WHITMORE AVE
                                                                                Unliquidated
          MODESTO, CA 95358
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Horacio Zavala                                                 Contingent
          20 NORTHUMBERLAND AVE APT 4
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Macias                                                         Contingent
          9144 GALLATIN ROAD
                                                                                Unliquidated
          DOWNEY, CA 90240
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Miguel Lucido Mangundayao                                      Contingent
          1157 CALLE ORIENTE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carlos Portillo                                                       Contingent
          2519 S HARCOURT AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carmen Cecilia Swenson                                                Contingent
          2086 TINY ST
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,687.50
          Carmine Fornaro Mail Service                                          Contingent
          18 Woodruff Rd                                                        Unliquidated
          Morristown, NJ 07960                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CARNEKA NICOLE WASHINGTON                                             Contingent
          10946 ROBLEDO DR
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carneka Nicole Washington                                             Contingent
          10946 ROBLEDO DR
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CAROLINA MERCED HERNANDEZ                                             Contingent
          13214 CHOPIN CT
                                                                                Unliquidated
          SILVER SPRING, MD 20904
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Caroline Monique Amaya                                                Contingent
          5875 CHARLOTTE DR APT 247
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carolyn Jackson                                                       Contingent
          4310 CAHUENGA BLVD UNIT 103
                                                                                Unliquidated
          TOLUCA LAKE, CA 91602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carolyn Magalona Calabia                                              Contingent
          255 GATEWAY DRIVE
                                                                                Unliquidated
          PACIFICA, CA 94044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carrie Vizconde                                                       Contingent
          10141 OTIS ST
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CASANDRA AUSTIN                                                       Contingent
          2620 LOMBARD AVE
                                                                                Unliquidated
          EVERETT, WA 98201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cassie Mae Holloway                                                   Contingent
          4163 BUCKINGHAM RD APT 201-C
                                                                                Unliquidated
          LOS ANGELES, CA 90008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cassius M Hicks                                                       Contingent
          1330 WEST H ST APT K
                                                                                Unliquidated
          DIXON, CA 95620
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Catrina Chavez                                                        Contingent
          2080 ALUM ROCK AVE #223
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CEDRICK WESLEY KENNEDY                                                Contingent
          2739 INYO AVE
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cedrick Wesley Kennedy                                                Contingent
          2739 INYO AVE
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CELIA ELIZABETH PERLA MARTINEZ                                        Contingent
          1702 WEST BLVD #16
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Celia Elizabeth Perla Martinez                                        Contingent
          1702 WEST BLVD #16
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CELIA SCHWARZ                                                         Contingent
          1734 UNION ST
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Celia Schwarz                                                         Contingent
          1734 UNION ST
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $723.05
          Central Courier LLC                                                   Contingent
          1957 Eastman Ave Ste c                                                Unliquidated
          Ventura, CA 93003                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CESAR ADRIAN SA VILLASENOR                                            Contingent
          6622 LYON WAY
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cesar Adrian Salinas Villasenor                                       Contingent
          6622 LYON WAY
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CESAR ARTURO RODRIGUEZ RAMIREZ                                        Contingent
          5467 SPINNAKER WALK WAY APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cesar Arturo Rodriguez Ramirez                                        Contingent
          5467 SPINNAKER WALK WAY APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cesar Calderon Armenta                                                Contingent
          1919 MANCHESTER RD APT 222
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cesar D Peig                                                          Contingent
          1643 VICKSBURG DR
                                                                                Unliquidated
          FAIRFIELD, CA 94533
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CESAR MACEDO                                                          Contingent
          4651 BIG VALLEY ROAD
                                                                                Unliquidated
          STONE MOUNTAIN, GA 30083
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cesar Octavio Diaz Cedano                                             Contingent
          700 SHERIDAN STREET
                                                                                Unliquidated
          VALLEJO, CA 94590
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CESAR REYES-CHAVEZ                                                    Contingent
          5515 LEAN AVE
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cesar Reyes-Chavez                                                    Contingent
          5515 LEAN AVE
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cesar Worthington-May                                                 Contingent
          101 HYDE ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94102
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CEYLON TYREE GLYMPH                                                   Contingent
          900 143RD AVE APT 204
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ceylon Tyree Glymph                                                   Contingent
          900 143RD AVE APT 204
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHAD EDWARD RICHMOND                                                  Contingent
          17206 108TH ST CT E
                                                                                Unliquidated
          BONNEY LAKE, WA 98391
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHAD FLAGG                                                            Contingent
          832 S FLOWER ST
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chad Flagg                                                            Contingent
          832 S FLOWER ST
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chad Lane Wical                                                       Contingent
          609 CARNELIAN ST
                                                                                Unliquidated
          REDONDO BEACH, CA 90277
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHAD PHILLIP PANGORANG                                                Contingent
          3245 SHADOW PARK PL
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chad Phillip Pangorang                                                Contingent
          3245 SHADOW PARK PL
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chandra Latrece Thomas                                                Contingent
          P.O. BOX 723
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chanrou Yath                                                          Contingent
          809 E NEW YORK ST
                                                                                Unliquidated
          LONG BEACH, CA 90813
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHANTAL GUOBADIA                                                      Contingent
          865 E 167 ST #6H
                                                                                Unliquidated
          BRONX, NY 10459
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chantel Bennett                                                       Contingent
          1350 LEXINGTON DR APT D-20
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHARDONNE TASCH HART                                                  Contingent
          332 W 122ND ST
                                                                                Unliquidated
          LOS ANGELES, CA 90061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chardonne Tasche Hart                                                 Contingent
          332 W 122ND ST
                                                                                Unliquidated
          LOS ANGELES, CA 90061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charlene May Avery                                                    Contingent
          908 INDIAN AVE
                                                                                Unliquidated
          SAN MATEO, CA 94401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charlene Yvette Butler                                                Contingent
          2849 10TH ST
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Andres Deleon                                                 Contingent
          4228 BOLINA DR
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHARLES CHAPA                                                         Contingent
          1639 PARKVIEW GREEN CIR
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Chapa                                                         Contingent
          1639 PARKVIEW GREEN CIR
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Chungho Lee                                                   Contingent
          972 WESTLYNN WAY APT 1
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles D Love                                                        Contingent
          188 SUNSET BLVD APT 2
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Dat Nguyen                                                    Contingent
          1835 GRENADINE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Edward Harris                                                 Contingent
          2005 SAN JOSE DR APT E122
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Emeterio Guevara                                              Contingent
          171 BRANHAM LN APT 10 - 125
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHARLES GAGE                                                          Contingent
          1343 WEBER WAY
                                                                                Unliquidated
          LANCASTER, CA 93535
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Gage                                                          Contingent
          1343 WEBER WAY
                                                                                Unliquidated
          LANCASTER, CA 93535
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Glover                                                        Contingent
          2611 YORBA LINDA BLVD #109
                                                                                Unliquidated
          FULLERTON, CA 92831
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Holloway                                                      Contingent
          2662 KIMBALL DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Lubwama                                                       Contingent
          2930 Shattuck Ave Apt 200-21
                                                                                Unliquidated
          Berkeley, CA 94705
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHARLES PAUL ELLIOTT                                                  Contingent
          9815 REDFERN AVE
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Paul Elliott                                                  Contingent
          9815 REDFERN AVE
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Reed                                                          Contingent
          5235 RIVERSIDE AVENUE APT 1
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHARLES TOPALIAN                                                      Contingent
          3211 NW 71ST ST
                                                                                Unliquidated
          SEATTLE, WA 98117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charlton Fields                                                       Contingent
          15506 SOUTH VERMONT AVENUE
                                                                                Unliquidated
          GARDENA, CA 90247
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charmaine Jayme Clemons                                               Contingent
          606 FOUNTAINHEAD DR
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chase Charles Volgenau                                                Contingent
          4976 Paseo Olivos
                                                                                Unliquidated
          San Jose, CA 95130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $205.00
          Checkr                                                                Contingent
          205 Mariposa Street                                                   Unliquidated
          San Francisco, CA 94110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chenette Edwards                                                      Contingent
          1321 S GRANDEE AVE
                                                                                Unliquidated
          COMPTON, CA 90220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cheng Hin Saechao                                                     Contingent
          3242 ANNAPOLIS AVE
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHERELLE DANKINS                                                      Contingent
          834 WOODWORTH ST
                                                                                Unliquidated
          PITTSBURGH, PA 15221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHERELLE MCBRIDE                                                      Contingent
          418 17TH STREET SE 10B
                                                                                Unliquidated
          AUBURN, WA 98002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHERYL LORRAINE CROSBY                                                Contingent
          3312 69TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cheryl Lorraine Crosby                                                Contingent
          3312 69TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cheuk Yin Lee                                                         Contingent
          26584 SUNVALE CT
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHIBUIKE OJEH                                                         Contingent
          1025 NEVIN AVE #1183
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chibuike Ojeh                                                         Contingent
          1025 NEVIN AVE #1183
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,122.00
          Chicago Messenger Service                                             Contingent
          1600 S Ashland Ave                                                    Unliquidated
          Chicago, IL 60608-2013                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHITWAN SINGH                                                         Contingent
          320 SYCAMORE HILL CT
                                                                                Unliquidated
          DANVILLE, CA 94526
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chitwan Singh                                                         Contingent
          320 SYCAMORE HILL CT
                                                                                Unliquidated
          DANVILLE, CA 94526
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHOUA YANG                                                            Contingent
          756 KIRKLAND AVE NE
                                                                                Unliquidated
          RENTON, WA 98056
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHOY WAH LOUIE                                                        Contingent
          661 WILSON AVE
                                                                                Unliquidated
          RICHMOND, CA 94805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Choy Wah Louie                                                        Contingent
          661 WILSON AVE
                                                                                Unliquidated
          RICHMOND, CA 94805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chris Edward Gillooly                                                 Contingent
          3956 ARDEN FARM PLACE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRIS FUNNELL                                                         Contingent
          1415 W COSMO RD APT 113
                                                                                Unliquidated
          EVERETT, WA 98204
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRIS J BONFIGLIO                                                     Contingent
          8330 26TH AVE NW
                                                                                Unliquidated
          BALLARD, WA 98117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chris Sterling Wittington                                             Contingent
          211 NORWICH DR
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94038
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christian Bahena                                                      Contingent
          3540 ROLISON RD APT 9
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christian E Diaz Cruz                                                 Contingent
          2601 NUESTRA CASTILLO CT
                                                                                Unliquidated
          APT 1307
          SAN JOSE, CA 95127                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTIAN I MARTIN SALCEDO                                            Contingent
          33738 11TH STREET
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christian I Martin Salcedo                                            Contingent
          33738 11TH STREET
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTIAN JAMAA COOPER                                                Contingent
          15357 CHURCHILL ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christian Jamaa Cooper                                                Contingent
          15357 CHURCHILL ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christian Josue Rodriguez                                             Contingent
          11719 1/2 ALLIN ST APT 486
                                                                                Unliquidated
          CULVER CITY, CA 90230
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTIAN PARKER                                                      Contingent
          4740 51ST AVE SW
                                                                                Unliquidated
          SEATTLE, WA 98116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christian Thomas Llanos                                               Contingent
          639 W COLDEN AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTIAN V LEMI                                                      Contingent
          1236 AVON AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christian V Lemi                                                      Contingent
          1236 AVON AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christina Glory Johnson                                               Contingent
          PO BOX 455
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER ALA JUNGLING                                              Contingent
          239 ANGELS BAY CT
                                                                                Unliquidated
          POINT RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Alan Jungling                                             Contingent
          239 ANGELS BAY CT
                                                                                Unliquidated
          POINT RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER ALL CALDWELL                                              Contingent
          1236 PEACH CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Allan Caldwell                                            Contingent
          1236 PEACH CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Aneal Iwuoma                                              Contingent
          125 PATTERSON ST APT 337
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER BRY CHAN                                                  Contingent
          1241 VISTA GLEN DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Bryan Chan                                                Contingent
          1241 VISTA GLEN DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER DAN JONES                                                 Contingent
          5697 HOLLYLEAF LANE
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Dan Jones                                                 Contingent
          5697 HOLLYLEAF LANE
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Dandan Ongaco                                             Contingent
          2308 Fashion Ave.
                                                                                Unliquidated
          Long Beach, CA 90810
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Daniel Jones                                              Contingent
          5697 HOLLYLEAF LANE
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher David Gonzalez                                            Contingent
          3592 WESLEY ST APT B
                                                                                Unliquidated
          CULVER CITY, CA 90232
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER ESKRIDGE                                                  Contingent
          202 WEST 70 ST APT 9
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Eskridge                                                  Contingent
          202 WEST 70 ST APT 9
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER F CIRAULO                                                 Contingent
          464 LILY ANN WAY
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher F Ciraulo                                                 Contingent
          464 LILY ANN WAY
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Flores                                                    Contingent
          124 N B STREET
                                                                                Unliquidated
          TUSTIN, CA 92780
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER G JOHNSON                                                 Contingent
          560 S 14TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher G Johnson                                                 Contingent
          560 S 14TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Hoke                                                      Contingent
          2818 MONTE CRESTA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER J GAUGHAN                                                 Contingent
          4846 CRESTONE NEEDLE WAY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher J Gaughan                                                 Contingent
          4846 CRESTONE NEEDLE WAY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher J Tindsley                                                Contingent
          8491 GOLF LINKS RD
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER J WEBB                                                    Contingent
          2275 D ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher J Webb                                                    Contingent
          2275 D ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Jam Sandow                                                Contingent
          2380 ST AUGUSTINE DR
                                                                                Unliquidated
          BRENTWOOD, CA 94513
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher James Alton                                               Contingent
          2483 ANNA DR UNIT C
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Lamont Williams                                           Contingent
          138 W 127 ST
                                                                                Unliquidated
          LOS ANGELES, CA 90061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Mark Norris                                               Contingent
          890 W 15TH ST APT 113
                                                                                Unliquidated
          NEWPORT BEACH, CA 92663
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Michael Jordan                                            Contingent
          752 SOUTH MAIN STREET APT 424
                                                                                Unliquidated
          LOS ANGELES, CA 90014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Michael Kulow                                             Contingent
          3255 Sawtelle Blvd. #104
                                                                                Unliquidated
          Los Angeles, CA 90066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Mitchell Lewis                                            Contingent
          1528 DWIGHT AVE
                                                                                Unliquidated
          BERKELEY, CA 94703
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER NICOLAS DE LA ROSA                                        Contingent
          772 SAINT NICOLAS PLACE 28
                                                                                Unliquidated
          NEW YORK, NY 10031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER PLASENCIA                                                 Contingent
          1287 EDWARD L GRANT HWY
                                                                                Unliquidated
          BRONX, NY 10452
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Pontod                                                    Contingent
          760 N 7st St 4109
                                                                                Unliquidated
          San Jose, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER RAN BERKLEY                                               Contingent
          271 EL PORTAL WAY
                                                                                Unliquidated
          SAN JOSE, CA 96119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Randall Berkley                                           Contingent
          271 EL PORTAL WAY
                                                                                Unliquidated
          SAN JOSE, CA 96119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Robert Hohmann                                            Contingent
          944 CLOVER DR
                                                                                Unliquidated
          SANTA ROSA, CA 95401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER S SHEA                                                    Contingent
          1665 DOLORES DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Steve Marroquin Oviedo                                    Contingent
          5805 HAROLD WAY #7
                                                                                Unliquidated
          LOS ANGELES, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Thinh Ngo                                                 Contingent
          1860 N PARK VICTORIA DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Vi Tran                                                   Contingent
          5579 LEAN AVE
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHRISTOPHER YOUNG                                                     Contingent
          1065 CONTRA COSTA DR
                                                                                Unliquidated
          EL CERRITO, CA 94530
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Young                                                     Contingent
          1065 CONTRA COSTA DR
                                                                                Unliquidated
          EL CERRITO, CA 94530
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christy Alexandra Arsky                                               Contingent
          225 N CLARK AVE
                                                                                Unliquidated
          LOS ALTOS, CA 94022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHUKWUNONYELUM AKALI                                                  Contingent
          140 CROCKER DRIVE APT K209
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chukwunonyelum Jude Akali                                             Contingent
          140 CROCKER DRIVE APT K209
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chun Ho Cheung                                                        Contingent
          34776 PLATT RIVER PL
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHUONG HOANG PHAM                                                     Contingent
          3620 MECHALYS WAY
                                                                                Unliquidated
          MODESTO, CA 95357
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chuong Hoang Pham                                                     Contingent
          3620 MECHALYS WAY
                                                                                Unliquidated
          MODESTO, CA 95357
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chynna Alexandra Smith                                                Contingent
          9500 ZELZAH AVE APT M230
                                                                                Unliquidated
          NORTHRIDGE, CA 91325
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cigna                                                                 Contingent
          900 Cottage Grove Road                                                Unliquidated
          Bloomfield, CT 06002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CINTHIA DE DOMI RAMOS                                                 Contingent
          9226 BANCROFT AVE APT D
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cinthia De Domilica Ramos                                             Contingent
          9226 BANCROFT AVE APT D
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,957.43
          CIT                                                                   Contingent
          Attn: Customer Service                                                Unliquidated
          PO Box 550599                                                         Disputed
          Jacksonville, FL 32255-0599
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Citlalic Rodriguez                                                    Contingent
          9701 C ST
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $38.00
          City of Hermosa Beach Parking Violations                              Contingent
          1315 Valley Drive                                                     Unliquidated
          Hermosa Beach, CA 90254                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $412.58
          City of Inglewood                                                     Contingent
          PO BOX 30878                                                          Unliquidated
          Los Angeles, CA 90030-0878                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $195.00
          City Sprint Delivery (OR)                                             Contingent
          8812 NE Alderwood Rd                                                  Unliquidated
          Portland, OR 97220                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,371.29
          CitySprint                                                            Contingent
          5555 W 78th Street                                                    Unliquidated
          Ste D                                                                 Disputed
          Edina, MN 55439
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLARENCE WHITING                                                      Contingent
          28904 19TH AVE S
                                                                                Unliquidated
          FEDERAL WAY, WA 98003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Claro Nguyen Saba                                                     Contingent
          1147 87TH STREET
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Claude Anthony Barker Sr.                                             Contingent
          1236 PEACH CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Claudia Garcia Vargas                                                 Contingent
          3832 WEST 113TH STREET
                                                                                Unliquidated
          INGLEWOOD, CA 90303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLAUDIA LAUFFER                                                       Contingent
          909 COMET DR
                                                                                Unliquidated
          WEST NEWTON, PA 15089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Claudia Mae Gates                                                     Contingent
          1232 cypress st
                                                                                Unliquidated
          East Palo Alto, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLAUDIA NATHALI GARCIA                                                Contingent
          3708 CARDIFF AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Claudia Nathalie Garcia                                               Contingent
          3708 CARDIFF AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ClaudioMiro Dos Santos                                                Contingent
          1600 E 3RD AVE APT 2104
                                                                                Unliquidated
          SAN MATEO, CA 94401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLAYTON AGUEL MAGSANAY                                                Contingent
          3365 SUTTON LOOP
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clayton Aguel Magsanay                                                Contingent
          3365 SUTTON LOOP
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clayton Tran                                                          Contingent
          4633 MIA CIRCLE
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLEMENT JOSEPH CARRIG                                                 Contingent
          391 S PASTORIA AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clement Joseph Carrig                                                 Contingent
          391 S PASTORIA AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clementine Johnson Jones                                              Contingent
          PO BOX 51439
                                                                                Unliquidated
          PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clevelon Barnes Jr                                                    Contingent
          6401 SHELLMOUND STREET 7109
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLIFFARD O SATTERWHITE                                                Contingent
          4703 309TH ST
                                                                                Unliquidated
          AUBURN, WA 98001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clifford Dione Roberson                                               Contingent
          4310 MLK JR BLVD
                                                                                Unliquidated
          Apt D
          LYNWOOD, CA 90262                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clifford Tayon Grant                                                  Contingent
          2162 MARKET ST APT 103
                                                                                Unliquidated
          SAN FRANCISCO, CA 94114
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLINT SYLVESTER                                                       Contingent
          1722 RALPH AVENUE APT 6E
                                                                                Unliquidated
          BROOKLYN, NY 11236
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clinton Matthew Ingalls                                               Contingent
          3673 REMUDA WY
                                                                                Unliquidated
          PINOLE, CA 94564
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLIVE CHIN-HOW                                                        Contingent
          4224 193 STREET FLUSHING
                                                                                Unliquidated
          FLUSHING, NY 11358
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,800.00
          Clockwork Logistics Inc                                               Contingent
          4765 E 131st Street                                                   Unliquidated
          Cleveland, OH 44105                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLOTEE RENE JOHNSON                                                   Contingent
          579 EL PASEO DR
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clotee Rene Johnson                                                   Contingent
          579 EL PASEO DR
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cody Allen Stevens                                                    Contingent
          15200 MONTEREY RD #165
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cody Christopher Brajevich                                            Contingent
          3737 CASA VERDE ST APT 148
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cody Paul Stephens                                                    Contingent
          654 S 16TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CODY PHILIP CAMPBELL                                                  Contingent
          568 EMERSON STREET
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cody Philip Campbell                                                  Contingent
          568 EMERSON STREET
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CODY SCOTT                                                            Contingent
          17103 SE 144TH ST C
                                                                                Unliquidated
          RENTON, WA 98059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          COLE CREVELING                                                        Contingent
          P.O. BOX 986
                                                                                Unliquidated
          ISSAQUAH, WA 98027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          COLIN SEBASTIAN DUKE                                                  Contingent
          1034 MARIANAS LANE
                                                                                Unliquidated
          ALAMEDA, CA 94502
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Colin Sebastian Duke                                                  Contingent
          1034 MARIANAS LANE
                                                                                Unliquidated
          ALAMEDA, CA 94502
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Collin Jeffrey Hahn                                                   Contingent
          2155 LANAI AVE APT 4
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Colman Ga-ming Chow                                                   Contingent
          512 HANOVER ST
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $579.06
          Comcast                                                               Contingent
          PO Box 530098                                                         Unliquidated
          Atlanta, GA 30353-0098                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $144.85
          Comcast-Seattle WA                                                    Contingent
          PO Box 34744                                                          Unliquidated
          Seattle, WA 98124-1744                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,579.50
          Competitive Courier Service                                           Contingent
          1055 Commerce Ave                                                     Unliquidated
          Union, NJ 07083                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,270.00
          Continental Courier Solutions                                         Contingent
          11697 W Grand Ave                                                     Unliquidated
          Northlake, IL 60164-1302                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CORA LEE COATS                                                        Contingent
          1277 100TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cora Lee Coats                                                        Contingent
          1277 100TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Corazon Balmaceda Bonifacio                                           Contingent
          300 EL CORTEZ AVE
                                                                                Unliquidated
          S SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          COREY ALEXANDER GONZALES MABUTAS                                      Contingent
          1545 SHUMAKER WAY
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Corey Alexander Gonzales Mabutas                                      Contingent
          1545 SHUMAKER WAY
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Corey Curtis Cotman                                                   Contingent
          73 ALAMITOS AVE APT 7
                                                                                Unliquidated
          LONG BEACH, CA 90802
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CORI HOLINESS                                                         Contingent
          3848 MILL GLEN DRIVE
                                                                                Unliquidated
          DOUGLASVILLE, GA 30135
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.824    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CORNELL WHITEN                                                        Contingent
          1251 S 134TH ST
                                                                                Unliquidated
          BURIEN, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.825    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $150.11
          Cornerstone Cookie                                                    Contingent
          330 Franklin Rd                                                       Unliquidated
          Ste A                                                                 Disputed
          Marietta, GA 30067
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.826    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cory Leven Broussard                                                  Contingent
          134 E 84TH PLACE
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.827    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CORY MASTALSKI                                                        Contingent
          44 WALDORF ST
                                                                                Unliquidated
          PITTSBURGH, PA 15214
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.828    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cory Wayne Furse                                                      Contingent
          777 BLUE SAGE DR
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.829    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $945.15
          Courier Depot                                                         Contingent
          PO Box 93097                                                          Unliquidated
          Austin, TX 78709-3097                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.830    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $275.13
          Courier Express                                                       Contingent
          PO Box 6877                                                           Unliquidated
          Marietta, GA 30065-0877                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.831    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $820.00
          Courier Systems                                                       Contingent
          PO Box 2707                                                           Unliquidated
          Pismo Beach, CA 93448                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.832    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,553.40
          Cova DBA Central Delivery Serv                                        Contingent
          7801 N Shepherd Dr Ste #107                                           Unliquidated
          Houston, TX 77088                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.833    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $730.00
          Cox Communication                                                     Contingent
          PO Box 53280                                                          Unliquidated
          Phoenix, AZ 85072-3280                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.834    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Craig Steven McCoy                                                    Contingent
          3553 ATLANTIC AVE. STE.1321
                                                                                Unliquidated
          LONG BEACH, CA 90807
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.835    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Crisolo Ursonal Pantonial                                             Contingent
          660 sylvan st.
                                                                                Unliquidated
          Daly City, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.836    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cristal Marquez                                                       Contingent
          5356 W 99TH PL 6
                                                                                Unliquidated
          LOS ANGELES, CA 90045
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.837    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cristian Lopez Tapia                                                  Contingent
          419 CEDAR ST APT 3
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.838    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cristopher Anthony Lerma                                              Contingent
          768 MELANNIE CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.839    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,066.37
          Crossroads Courier Inc.                                               Contingent
          4348 Green Ash Drive                                                  Unliquidated
          Earth City, MO 98057                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.840    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,547.00
          Crosstown Courier Inc                                                 Contingent
          1450 Gould Blvd                                                       Unliquidated
          La Vergne, TN 37086-3513                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.841    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CRYSTAL HOMAYUN                                                       Contingent
          5829 KYLER LANE
                                                                                Unliquidated
          SAN RAMON, CA 94582
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.842    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Crystal Homayun                                                       Contingent
          5829 KYLER LANE
                                                                                Unliquidated
          SAN RAMON, CA 94582
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.843    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Crystal Marie Alexandra Smith                                         Contingent
          2836 68TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.844    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,267.70
          CS Logistics Inc                                                      Contingent
          11001 W Mitchell Street                                               Unliquidated
          Milaukee, WI 53214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.845    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CUONG Q LIEU                                                          Contingent
          3156 KAMILLE CT
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.846    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cuong Q Lieu                                                          Contingent
          3156 KAMILLE CT
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.847    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cuong Van Phan                                                        Contingent
          1576 FROST DR
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.848    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CURTIS WASHINGTON                                                     Contingent
          912 FREY RD
                                                                                Unliquidated
          PITTSBURGH, PA 15235
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.849    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CYNTHIA ANTHONY                                                       Contingent
          512 FLORENCE AVE
                                                                                Unliquidated
          PITTSBURGH, PA 15202
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.850    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cynthia Jo Smith                                                      Contingent
          423 N 2ND ST APT 138
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.851    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cypress Street LLC                                                    Contingent
          545 Cypress Street                                                    Unliquidated
          Hermosa Beach, CA 90254                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.852    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daene Renee Burns                                                     Contingent
          1683 S LONGWOOD AVE APT 6
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.853    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAHIR ABDULLAHI                                                       Contingent
          3815 S OTHELLO ST 100-127
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.854    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAHIR D ELMI                                                          Contingent
          6510 30TH AVE SW
                                                                                Unliquidated
          SEATTLE, WA 98126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.855    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAHIR HAJI-YUSUF                                                      Contingent
          412 NOVAK LN E106
                                                                                Unliquidated
          KENT, WA 98032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.856    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAISY MENDOZA                                                         Contingent
          486 N. 14TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.857    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daisy Mendoza                                                         Contingent
          486 N. 14TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.858    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daisy Vivanco David                                                   Contingent
          748 VENICE WAY
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.859    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DALE ERIC DEWITT                                                      Contingent
          101 W WEDDELL DR APT 129
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.860    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dale Eric Dewitt                                                      Contingent
          101 W WEDDELL DR APT 129
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.861    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DALE JOHN BILOG                                                       Contingent
          472 CURTNER DRIVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.862    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dale John Bilog                                                       Contingent
          472 CURTNER DRIVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.863    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DALE LEE BAXLEY                                                       Contingent
          629 TAMARACK DR
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.864    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dale Lee Baxley                                                       Contingent
          629 TAMARACK DR
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.865    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dalisia Marie Morgan                                                  Contingent
          3419 BARMOUTH DR
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.866    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dameian O'Sullivan                                                    Contingent
          3858 ASHRIDGE LN
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.867    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAMEIAN OSULLIVAN                                                     Contingent
          3858 ASHRIDGE LN
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.868    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAMIAN CHRISTOP WHITE                                                 Contingent
          33524 7TH ST
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.869    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Damian Christop White                                                 Contingent
          33524 7TH ST
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.870    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAMIAN MAXIMILL MORA                                                  Contingent
          215 N CAPITAL AVE APT 4
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.871    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Damian Maximill Mora                                                  Contingent
          215 N CAPITAL AVE APT 4
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.872    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAMIAN PEREZ                                                          Contingent
          316 AVALON BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90744
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.873    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Damian Perez                                                          Contingent
          316 AVALON BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90744
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.874    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAMIEN LAMONT COLEMAN II                                              Contingent
          37033 MAPLE ST
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.875    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Damien Lamont Coleman II                                              Contingent
          37033 MAPLE ST
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.876    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAMION HARRY                                                          Contingent
          120 SOUTH 11TH AVENUE
                                                                                Unliquidated
          MOUNT VERNON, NY 10550
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.877    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAMON JAMAL LYNCH                                                     Contingent
          1741 B ST APT 1
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.878    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Damon Jamal Lynch                                                     Contingent
          1741 B ST APT 1
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.879    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Damon Michael Wilks                                                   Contingent
          36149 CABRILLO DR
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.880    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Damon Paul Musselman                                                  Contingent
          711 OLD CANYON RD APT 147
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.881    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dan Bautista Munoz                                                    Contingent
          2345 ASHGLEN WAY
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.882    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dan Ngo                                                               Contingent
          375 OLIVER STREET
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.883    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANAYSHA HARRIS                                                       Contingent
          446 BERRIMAN ST 2B
                                                                                Unliquidated
          BROOKLYN, NY 11208
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.884    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danesha Ebony Sapp                                                    Contingent
          705 SOUTH ALMANSOR STREET
                                                                                Unliquidated
          ALHAMBRA, CA 91801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.885    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL AGUILAR                                                        Contingent
          37640 26TH DRIVE S
                                                                                Unliquidated
          FEDERAL WAY, WA 98003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.886    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL BRYANT                                                         Contingent
          15905 SE 144TH ST
                                                                                Unliquidated
          RENTON, WA 98059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.887    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Diaz Hernandez Jr                                              Contingent
          3512 ROLISON RD
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.888    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL E BARBA MORALES                                                Contingent
          334 ROEDER CT
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.889    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel E Barba Morales                                                Contingent
          334 ROEDER CT
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.890    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Epifone Borjon Jr                                              Contingent
          2181 NORTH TRACY BLVD APT 193
                                                                                Unliquidated
          TRACY, CA 95376
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.891    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL F MESIANO                                                      Contingent
          26808 171ST PL SE APT C207
                                                                                Unliquidated
          COVINGTON, WA 98042
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.892    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL JAMES HOPPNER                                                  Contingent
          1506 BIRD AVE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.893    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel James Hoppner                                                  Contingent
          1506 BIRD AVE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.894    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel James Klay                                                     Contingent
          1350 JUANITA WAY
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.895    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel James Stoch                                                    Contingent
          2361 LOMA PARK CT
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.896    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL JEAN-BAPTISTE                                                  Contingent
          22623 16TH AVE S
                                                                                Unliquidated
          DES MOINES, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.897    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Lander                                                         Contingent
          2858 REGNART WAY
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.898    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Liang                                                          Contingent
          1015 BRUSSELS STREET
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.899    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Murrell                                                        Contingent
          1516 RALSTON AVE APT 7
                                                                                Unliquidated
          BURLINGAME, CA 94010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.900    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Nguyen                                                         Contingent
          299 ASPEN RIDGE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.901    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL PENN                                                           Contingent
          2113 VILLAGE DRIVE
                                                                                Unliquidated
          PITTSBURGH, PA 15221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.902    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL QUINONEZ                                                       Contingent
          822 SINBAD AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.903    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Quinonez                                                       Contingent
          822 SINBAD AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.904    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Raymond Ballard                                                Contingent
          340 UNION SQUARE APT 294
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.905    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Reeb                                                           Contingent
          407 SANDSTONE DRIVE
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.906    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Rosales                                                        Contingent
          315 SOUTH BERNARDO AVE UNIT 3
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.907    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL ROY CALDERA                                                    Contingent
          1085 TASMAN DR SPC 697
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.908    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Roy Caldera                                                    Contingent
          1085 TASMAN DR SPC 697
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.909    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL STEPHEN HARRISTAKIS                                            Contingent
          1730 LAKE ST
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.910    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Stephen Harristakis                                            Contingent
          1730 LAKE ST
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.911    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Tsegaye                                                        Contingent
          3865 MLK JR WAY
                                                                                Unliquidated
          Oakland, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.912    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIEL YEMANE HAGOS                                                   Contingent
          P O BOX 28891
                                                                                Unliquidated
          SAN JOSE, CA 95159
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.913    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel Yemane Hagos                                                   Contingent
          P O BOX 28891
                                                                                Unliquidated
          SAN JOSE, CA 95159
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.914    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danielle Denise Serrano                                               Contingent
          734 LEXINGTON PL 118
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.915    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danielle Marie Shroyer                                                Contingent
          213 DEL ROSA WY
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.916    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIELLE MARIE VADEN                                                  Contingent
          551 12TH ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.917    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danielle Marie Vaden                                                  Contingent
          551 12TH ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.918    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANIELLE MILLER                                                       Contingent
          819 BOQUET ST
                                                                                Unliquidated
          MCKEES ROCKS, PA 15236
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.919    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danita Churchill                                                      Contingent
          1730 Bay Road # 403
                                                                                Unliquidated
          East Palo Alto, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.920    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danny Andrew Horning                                                  Contingent
          797 WILLOW GLEN WAY
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.921    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danny Andrew Horning II                                               Contingent
          14581 CHARMERAN AVE
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.922    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANNY DINH                                                            Contingent
          2214 GALVESTON APT A
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.923    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danny Dinh                                                            Contingent
          2214 GALVESTON APT A
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.924    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danny Nguyen                                                          Contingent
          1832 ROCK SPRINGS DR APT 4
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.925    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANNY WILSON                                                          Contingent
          19502 28TH DR SE
                                                                                Unliquidated
          BOTHELL, WA 98012
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.926    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANTE FALLS                                                           Contingent
          32200 MILITARY RD S APT V 350
                                                                                Unliquidated
          FEDERAL WAY, WA 98001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.927    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DANUAL JOEL VON KERRY                                                 Contingent
          724 LEWELLING BLVD APT 241
                                                                                Unliquidated
          SAN FRANCISCO, CA 94115
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.928    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danual Joel Von Kerry                                                 Contingent
          724 LEWELLING BLVD APT 241
                                                                                Unliquidated
          SAN FRANCISCO, CA 94115
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.929    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daphne Darlene Davis                                                  Contingent
          1801 E SONORA ST
                                                                                Unliquidated
          STOCKTON, CA 95205
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.930    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DARICO GREGORY                                                        Contingent
          837 LAKE SHORE DR
                                                                                Unliquidated
          BOWIE, MD 20721
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.931    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dario Duenas                                                          Contingent
          330 CARSON DR
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.932    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darisha Mae Singleton                                                 Contingent
          1122 73RD AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.933    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darius Deante Fields                                                  Contingent
          338 CHESTER ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.934    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darnell Lemar Sweazie                                                 Contingent
          9414 S SAN PEDRO ST APT # 2
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.935    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darnisha Monique Koonce                                               Contingent
          238 EAST 83RD ST
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.936    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darrail Stallworth                                                    Contingent
          1526 W 20TH ST APT D
                                                                                Unliquidated
          LONG BEACH, CA 90810
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.937    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DARREL VINCENT ALAMEIDA                                               Contingent
          325 SYLVAN AVE SPC 19
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.938    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darrel Vincent Alameida                                               Contingent
          325 SYLVAN AVE SPC 19
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.939    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DARRELL FISHER                                                        Contingent
          7903 CROWS NEST CT 31
                                                                                Unliquidated
          LAUREL, MD 20707
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.940    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DARREN XIE                                                            Contingent
          41 YALE ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.941    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darren Xie                                                            Contingent
          41 YALE ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.942    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darriel Ballesteros                                                   Contingent
          PO BOX 6455
                                                                                Unliquidated
          BUENA PARK, CA 90622
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.943    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darryl Bickley                                                        Contingent
          805 SHARMON PALMS LN APT B
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.944    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Darshan Singh                                                         Contingent
          5405 CURTIS ST
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.945    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $472.90
          Dash Courier Service                                                  Contingent
          PO Box 6704                                                           Unliquidated
          Greenville, SC 29606                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.946    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DASHANIQUE CHRI REED                                                  Contingent
          77 AMBROSE AVE
                                                                                Unliquidated
          BAY POINT, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.947    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dashanique Christine Reed                                             Contingent
          77 AMBROSE AVE
                                                                                Unliquidated
          BAY POINT, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.948    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dashonya Monitque Renee Ross                                          Contingent
          1600 82ND AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.949    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVE JEAN-BAPTISTE                                                    Contingent
          1497 CARROLL ST APT 56
                                                                                Unliquidated
          BROOKLYN, NY 11213
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.950    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Allen Lopez                                                     Contingent
          8480 MORENO DR APT 1
                                                                                Unliquidated
          RANCHO CUCAMONGA, CA 91730
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.951    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Amanuel Julius                                                  Contingent
          706 Modesto ave
                                                                                Unliquidated
          Santa Cruz, CA 95060
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.952    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID ANTHONY FLORES JR                                               Contingent
          855 APPLE ST
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.953    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Anthony Flores Jr                                               Contingent
          855 APPLE ST
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.954    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Anthony Nye                                                     Contingent
          123 E SAN CARLOS AVE APT 193
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.955    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID ANTONIO RODRIGUEZ                                               Contingent
          433 W 48TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.956    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Antonio Rodriguez                                               Contingent
          433 W 48TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.957    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Arteaga                                                         Contingent
          422 E 56TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.958    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID BOOKMAN                                                         Contingent
          133 W 90TH ST 10E
                                                                                Unliquidated
          NEW YORK, NY 10024
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.959    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David C. Van Horn                                                     Contingent
          4147 BYRON ST
                                                                                Unliquidated
          PALO ALTO, CA 94306
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.960    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Cano                                                            Contingent
          7148 CLARENDON ST
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.961    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID CASTRO CELESTINO                                                Contingent
          2791 CHRISTOPHER CT
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.962    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Castro Celestino                                                Contingent
          2791 CHRISTOPHER CT
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.963    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Damaso Weinstein                                                Contingent
          766 BAYSHORE ST
                                                                                Unliquidated
          MARTINEZ, CA 94553
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.964    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Do                                                              Contingent
          1626 RIDGETREE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.965    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID HARDY                                                           Contingent
          1459 DRUID VALLEY DR
                                                                                Unliquidated
          ATLANTA, GA 30329
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.966    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID HIEN DUC BUI                                                    Contingent
          3394 NORWOOD AVE
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.967    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Hien Duc Bui                                                    Contingent
          3394 NORWOOD AVE
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.968    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Hong Duc Mai                                                    Contingent
          5015 PAGE MILL DR
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.969    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID IAN QUIRIMIT                                                    Contingent
          2364 ALCALDE ST
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.970    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Ian Quirimit                                                    Contingent
          2364 ALCALDE ST
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.971    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID JAMES CAUGHEY                                                   Contingent
          1108 CREED ST
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.972    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David James Caughey                                                   Contingent
          1108 CREED ST
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.973    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID JAY KOBZEV                                                      Contingent
          PO BOX 2903
                                                                                Unliquidated
          WOODINVILLE, WA 98072
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.974    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID JOSEPH GONZALES JR                                              Contingent
          2999 HOSTETTER RD
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.975    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Joseph Gonzales Jr                                              Contingent
          2999 HOSTETTER RD
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.976    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID JOSEPH RIOS                                                     Contingent
          2 PINEHURST AVE #D2
                                                                                Unliquidated
          NEW YORK, NY 10033
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.977    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Lee King Jr                                                     Contingent
          1314 SOUTHGATE AVE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.978    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID LEON FONTENETTE                                                 Contingent
          1019 CENTER ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.979    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Leon Fontenette                                                 Contingent
          1019 CENTER ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.980    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Leon Sosa                                                       Contingent
          3339 QUESADA DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.981    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Luevano                                                         Contingent
          1225 Bay Port Circle
                                                                                Unliquidated
          Pomona, CA 91768
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.982    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Manuel Lemos                                                    Contingent
          396 ROYCE DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.983    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Marquez                                                         Contingent
          4315 E 55TH ST
                                                                                Unliquidated
          MAYWOOD, CA 90270
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.984    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID MARTINEZ                                                        Contingent
          12121 SE 319TH PL                                                     Unliquidated
          AUBURN, WA 98002
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    6 mo term
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.985    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID MOON                                                            Contingent
          552 SINCLAIR ST APT 311
                                                                                Unliquidated
          MCKEESPORT, PA 15132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.986    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Peter Dreyfous                                                  Contingent
          533 ROBIN DR
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.987    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Renato Aguirre                                                  Contingent
          2717 NEVIN AVE
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.988    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Reveles                                                         Contingent
          1925 E 23RD ST
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.989    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Rincon                                                          Contingent
          515 REDONDO AVE APT 1
                                                                                Unliquidated
          LONG BEACH, CA 90814
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.990    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Russell Quick                                                   Contingent
          648 ARMANINI AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.991    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID SCHOENE                                                         Contingent
          102 TAPIA DR
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.992    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Schoene                                                         Contingent
          102 TAPIA DR
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.993    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Thomas Smith                                                    Contingent
          1463 30th Ave
                                                                                Unliquidated
          San Francisco, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.994    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Valdes Reyes                                                    Contingent
          1291 PLUM ST #2
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.995    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Van Duong                                                       Contingent
          1387 DORNOCH AVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.996    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID VIN                                                             Contingent
          507 SINCLAIR DR
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.997    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Vin                                                             Contingent
          507 SINCLAIR DR
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.998    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Wayne Miller                                                    Contingent
          483 LINCOLN AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.999    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID WUEST                                                           Contingent
          19721 BOTHELL EVERETT HIGHWAY
                                                                                Unliquidated
          APT 507
          BOTHELL, WA 98012                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.100
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAVID YUNG KIM                                                        Contingent
          6564 TIMBERVIEW DR
                                                                                Unliquidated
          SAN JOSE, CA 95120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Yung Kim                                                        Contingent
          6564 TIMBERVIEW DR
                                                                                Unliquidated
          SAN JOSE, CA 95120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Davit Davtyan                                                         Contingent
          2460 W 239TH ST APT 31
                                                                                Unliquidated
          TORRANCE, CA 90501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAWIT THIRUNEH                                                        Contingent
          8450 DELRIDGE WAY SW APT 2A
                                                                                Unliquidated
          SEATTLE, WA 98106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAWIT YIHDEGO                                                         Contingent
          3604 S 100TH ST APT B42
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAWN HIRSCH                                                           Contingent
          1317 S BRADDOCK AVE APT 5
                                                                                Unliquidated
          PITTSBURGH, PA 15218
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.100
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAWOOD AUCKBARAULLEE                                                  Contingent
          3710 CHARLTON IVES DR
                                                                                Unliquidated
          LILBURN, GA 30047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAYTON JOSEPH KNOLES                                                  Contingent
          1690 CIVIC CENTER DR #501
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dayton Joseph Knoles                                                  Contingent
          1690 CIVIC CENTER DR #501
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAYVON JAMERE DAVIS                                                   Contingent
          10900 EAST TAYLOR RD APT 163
                                                                                Unliquidated
          GULFPORT, MS 39503
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dayvon Jamere Davis                                                   Contingent
          10900 EAST TAYLOR RD APT 163
                                                                                Unliquidated
          GULFPORT, MS 39503
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DCT Williams Street LLC                                               Contingent
          555 17th Street                                                       Unliquidated
          Suite 3700                                                            Disputed
          Denver, CO 80202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.101
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DE ANDRE JAY CUMMINGS                                                 Contingent
          625 BERRY AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          De Andre Jay Cummings                                                 Contingent
          625 BERRY AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DE JON MONEIL VASQUEZ                                                 Contingent
          1482 12TH ST. APT B
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          De Jon Moneil Vasquez                                                 Contingent
          1482 12TH ST. APT B
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          De Yuan Zheng                                                         Contingent
          7315 STARWARD DR APT 53
                                                                                Unliquidated
          DUBLIN, CA 94568
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          De Zaun Jaquell Bruce                                                 Contingent
          15215 EDGEMOOR ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.101
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEANA LEE CAIN                                                        Contingent
          328 SUFFOLK DR
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deana Lee Cain                                                        Contingent
          328 SUFFOLK DR
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deandre Cash                                                          Contingent
          882 WILLOW ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEANDRE OFFORD                                                        Contingent
          3445 S 176TH STREET APT 302
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deaneane Shonte Oberlton Chambers                                     Contingent
          463 WOOSTER AVE APT G15
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEANKA JACQUELI DOPLER-PANTOJA                                        Contingent
          3838 TWIN FALLS CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.102
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deanka Jacqueline Dopler-Pantoja                                      Contingent
          3838 TWIN FALLS CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DeAnna Briones                                                        Contingent
          604 ROUGH AND READY RD
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deanna Lynne Wanzo                                                    Contingent
          10241 MCBROOM ST
                                                                                Unliquidated
          SUNLAND, CA 91040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEAUNDRE TYSON                                                        Contingent
          1219 W 92ND
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deaundre Tyson                                                        Contingent
          1219 W 92ND
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Debbie Anita Alcala                                                   Contingent
          2132 MAIN ST APT 2
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.103
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Debbie Lynn Hudson                                                    Contingent
          616 W PARR AVE #7
                                                                                Unliquidated
          LOS GATOS, CA 95032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deborah Alley Gerkin                                                  Contingent
          531 MOUNTAIN HOME DR
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEBORAH ANN SCHWENKE                                                  Contingent
          282 REY ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deborah Ann Schwenke                                                  Contingent
          282 REY ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEBORAH DENISE LANPHEAR                                               Contingent
          1760 CHEVALIER DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deborah Denise Lanphear                                               Contingent
          1760 CHEVALIER DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.103
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deborah Lynn Gales                                                    Contingent
          1230 BROOKSIDE DR APT 28
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEBORAH RENEE LAFROM                                                  Contingent
          360 E EVELYN AVE APT 234
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deborah Renee Lafrom                                                  Contingent
          360 E EVELYN AVE APT 234
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deborah Sue Valle                                                     Contingent
          4271 N FIRST ST #140
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dee Jay Caparra Mahinan                                               Contingent
          1318 CASSLAND CT
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEERICKA SHROND RICHARDSON                                            Contingent
          667 SYCAMORE AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.104
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deericka Shronda Richardson                                           Contingent
          667 SYCAMORE AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEIRDRE SANDRA MONTGOMERIE                                            Contingent
          934 ADAMS STREET
                                                                                Unliquidated
          ALBANY, CA 94706
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deirdre Sandra Montgomerie                                            Contingent
          934 ADAMS STREET
                                                                                Unliquidated
          ALBANY, CA 94706
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEJANE COOPER                                                         Contingent
          1014 1/2 W 84TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dejane Cooper                                                         Contingent
          1014 1/2 W 84TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dejanet Garrett                                                       Contingent
          5408 AEGEAN WAY APT 1
                                                                                Unliquidated
          LAS VEGAS, NV 89149
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.104
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deje Devante Silas                                                    Contingent
          1419 GATEWAY DR
                                                                                Unliquidated
          VALLEJO, CA 94589
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Delanna Marshun Grayson                                               Contingent
          22522 THIRD ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Delano Villacarillo                                                   Contingent
          382 SILVERTIP CT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $201.62
          Delivery Express Inc                                                  Contingent
          405 Evans Black Drive                                                 Unliquidated
          Tukwila, WA 98188                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $176.38
          Delta Airlines                                                        Contingent
          PO Box 934946                                                         Unliquidated
          Atlanta, GA 31193-4946                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Delvin Ray Nix                                                        Contingent
          1504 W TICHENOR ST
                                                                                Unliquidated
          COMPTON, CA 90220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.105
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Delynn Lakita Rose                                                    Contingent
          584 58th St
                                                                                Unliquidated
          Oakland, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEMARCUS SHAMBLEY                                                     Contingent
          15 MOSEL AVE 1B
                                                                                Unliquidated
          STATEN ISLAND, NY 10304
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEMAREA LEWIS RADFORD                                                 Contingent
          2607 67TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEMARIA AVRAHAM SHAPIRO                                               Contingent
          1357 136TH AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Demaria Avraham Shapiro                                               Contingent
          1357 136TH AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Demario Megele Henderson                                              Contingent
          1231 ELGIN ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.106
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEMAUREA M SMITH                                                      Contingent
          2942 FRUITVALE AVENUE
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Demaurea M Smith                                                      Contingent
          2942 FRUITVALE AVENUE
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Demba Baldeh                                                          Contingent
          1116 NW 54TH APT 202
                                                                                Unliquidated
          SEATTLE, WA 98107
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEMELASH MEKONE GEBRU                                                 Contingent
          1083 N ABBOTT AVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Demelash Mekonene Gebru                                               Contingent
          1083 N ABBOTT AVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEMETRIUS DARNE SNEED                                                 Contingent
          2697 HAVENSCOURT APT 13
                                                                                Unliquidated
          OAKLAND, CA 95601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.106
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Demetrius Darnell Sneed                                               Contingent
          2697 HAVENSCOURT APT 13
                                                                                Unliquidated
          OAKLAND, CA 95601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEMETRIUS LAMON DAVIS                                                 Contingent
          1641 SUBURBAN AVE
                                                                                Unliquidated
          PITTSBURGH, PA 15216
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dena Tayebipoor                                                       Contingent
          14248 DICKENS ST APT #116
                                                                                Unliquidated
          SHERMAN OAKS, CA 91423
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DENIKKO HOWARD                                                        Contingent
          6339 34TH AVE SW 112
                                                                                Unliquidated
          SEATTLE, WA 98126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Denis Shneyder                                                        Contingent
          15375 TROPIC CT APT 6
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Denise Cheri Zangrando                                                Contingent
          529 JACKSON AVE
                                                                                Unliquidated
          REDWOOD CITY, CA 94061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.107
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DENISE YVONNE JOHNSON                                                 Contingent
          2966 ROSSMORE LN
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Denise Yvonne Johnson                                                 Contingent
          2966 ROSSMORE LN
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dennard Lenore Earl Robinson                                          Contingent
          2104 MANZANITA WAY APT A
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DENNIS FRASER                                                         Contingent
          111-31 125 ST
                                                                                Unliquidated
          RICHMOND HILL, NY 11420
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dennis Jermaine Williams                                              Contingent
          187 1/2 ELLIS STREET
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Denny Aldana                                                          Contingent
          925 E ADAMS BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.107
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Denrick Ivan Sebastian                                                Contingent
          2350 TRADE ZONE BLVD
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEONN ALBERTO ORTIZ                                                   Contingent
          1425 CHIPLAY DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deonn Alberto Ortiz                                                   Contingent
          1425 CHIPLAY DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deonte Williams                                                       Contingent
          6435 FOOTHILL BLVD 214
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,725.00
          Derby Logistics Solutions Inc                                         Contingent
          215 R Salem Street                                                    Unliquidated
          Ste A                                                                 Disputed
          Woburn, MA 01801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.108
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEREJE GEDA                                                           Contingent
          917 105TH PL SE
                                                                                Unliquidated
          EVERETT, WA 98208
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.108
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEREK BRYAN ROGERS                                                    Contingent
          34583 CALCUTTA DR
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Derek Bryan Rogers                                                    Contingent
          34583 CALCUTTA DR
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEREK JAMES WILLIAMS JR                                               Contingent
          1170 ELGIN ST
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Derek James Williams Jr                                               Contingent
          1170 ELGIN ST
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Derreck Duarte                                                        Contingent
          9715 1/2 Alexander.ave
                                                                                Unliquidated
          South Gate, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DERRICK BUSH                                                          Contingent
          8502 KADEN DRIVE
                                                                                Unliquidated
          JONESBORO, GA 30238
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.109
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DERRICK HOOKS                                                         Contingent
          794 MIDWOOD STREET 5C
                                                                                Unliquidated
          BROOKLYN, NY 11203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DERRICK LORENZO PRESSLEY                                              Contingent
          6505 FARMER DRIVE
                                                                                Unliquidated
          FORT WASHINGTON, MD 20744
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DERRICK NII ATTRAM ASHONG                                             Contingent
          3042 DRIFTWOOD DR APT 36
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Derrick Nii Attram Ashong                                             Contingent
          3042 DRIFTWOOD DR APT 36
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Derrick Norfleet                                                      Contingent
          3423 MT EVEREST DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DERRON JACKSON                                                        Contingent
          826 S FLOWER ST APT 2
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.109
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Derron Jackson                                                        Contingent
          826 S FLOWER ST APT 2
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DESALEGN ALEMU                                                        Contingent
          14200 LINDEN AVE N APT 304
                                                                                Unliquidated
          SEATTLE, WA 98133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desenta Renee Mcdaniels                                               Contingent
          133 W HILLCREST BLVD APT 4
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DESHONIQUE PORC JEFFERSON                                             Contingent
          4105 MARKET ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deshonique Porcha Luveya Jefferson                                    Contingent
          4105 MARKET ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desiree Beltran                                                       Contingent
          271 EL PORTAL WAY
                                                                                Unliquidated
          SAN JOSE, CA 95119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.110
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desiree Christine Harris                                              Contingent
          715 MILITARY EAST
                                                                                Unliquidated
          BENICIA, CA 94510
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DESIRES PEREZ                                                         Contingent
          1385 5TH AVE
                                                                                Unliquidated
          NEW YORK, NY 10027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DESTINY CARTER                                                        Contingent
          4105 161ST AVE SE
                                                                                Unliquidated
          BELLEVUE, WA 98006
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deundre Grice                                                         Contingent
          12903 Roselle Ave #1
                                                                                Unliquidated
          Hawthorne, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Devante William-Markell Harris                                        Contingent
          2130 MAIN ST APT 1
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEVAUGHN WHITE                                                        Contingent
          226 CLAY DR
                                                                                Unliquidated
          PITTSBURGH, PA 15235
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.110
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Devin Kilpatrick                                                      Contingent
          1432 W 121ST
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEVONNA LYNN JONES                                                    Contingent
          2901 MARY ANN LANE APT 227
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Devonna Lynn Jones                                                    Contingent
          2901 MARY ANN LANE APT 227
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DeVontae LaJaun Smith                                                 Contingent
          500 RAILWAY AVE #305
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEXTER MCKENLEY GIVENS                                                Contingent
          P O BOX 51520
                                                                                Unliquidated
          PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dexter Mckenley Givens                                                Contingent
          P O BOX 51520
                                                                                Unliquidated
          PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.111
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DIAKA BURKE                                                           Contingent
          765 VEDADO WAY NE APT.1
                                                                                Unliquidated
          ATLANTA, GA 30308
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Diamon Jakeyna Hamilton                                               Contingent
          1616 G STREET APT D
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DIANNE TAM                                                            Contingent
          1517 ONTARIO AVE
                                                                                Unliquidated
          LAKE CITY, GA 30260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Diego Reyna                                                           Contingent
          6901 Flora Ave
                                                                                Unliquidated
          Bell, CA 90201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $89.00
          Diligent Delivery Service                                             Contingent
          28338 Constellation Rd                                                Unliquidated
          Unit 940                                                              Disputed
          Valencia, CA 91355
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dindo C Dupa                                                          Contingent
          736 GELLERT BLVD
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.112
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dinesha Lakesha Knox                                                  Contingent
          1006 W GRAND AVE
                                                                                Unliquidated
          POMONA, CA 91766
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dion Joseph Hudson Starr                                              Contingent
          619 TOPAZ STREET APT #5
                                                                                Unliquidated
          REDWOOD CITY, CA 94061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dione Alex Mason                                                      Contingent
          2326 88TH AVE APT C
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,662.20
          Discount Courier Services                                             Contingent
          2549-B EastBluff Dr                                                   Unliquidated
          #276                                                                  Disputed
          Newport Beach, CA 92660
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.112
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $391.00
          Dispatch Delivery K B Inc                                             Contingent
          PO Box 12069                                                          Unliquidated
          Oklahoma City, OK 73157                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,471.54
          Distribution Management Corp                                          Contingent
          PO Box 94150                                                          Unliquidated
          Albuquerque, MN 87199                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $97.75
          Diversified Delivery Service                                          Contingent
          546 W. 9560 S                                                         Unliquidated
          Sandy, UT 84070                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


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 3.112
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DIYA IMANI JONES                                                      Contingent
          722 31ST ST
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Diya Imani Jones                                                      Contingent
          722 31ST ST
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $400.00
          DJJ Technologies                                                      Contingent
          PO Box 420296                                                         Unliquidated
          Atlanta, GA 30342                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DJUAN MILLER                                                          Contingent
          22416 88TH AVE S K206
                                                                                Unliquidated
          KENT, WA 98031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          DLS Discovery                                                         Contingent
          PO Box 226                                                            Unliquidated
          Wilmington, DE 19899                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DOMINIC ALLEN ALVIDREZ                                                Contingent
          1989 ELDEN DR
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.113
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dominic Allen Alvidrez                                                Contingent
          1989 ELDEN DR
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DOMINIC DANIEL DURON                                                  Contingent
          P O BOX 3650
                                                                                Unliquidated
          SANTA CLARA, CA 95055
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dominic Daniel Duron                                                  Contingent
          P O BOX 3650
                                                                                Unliquidated
          SANTA CLARA, CA 95055
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dominik Rogers                                                        Contingent
          762 BATISTA DR
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DOMINIQUE DEVAR CENTERS                                               Contingent
          2675 PARKER AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dominique Devar Centers                                               Contingent
          2675 PARKER AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.113
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DOMINIQUE HARRIS                                                      Contingent
          10419 22ND AVE SW
                                                                                Unliquidated
          SEATTLE, WA 98146
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DOMINIQUE RACHE JOHNSON                                               Contingent
          3610 PERALTA ST APT 220
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dominique Rache Johnson                                               Contingent
          3610 PERALTA ST APT 220
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DOMONIQUE ROBINSON                                                    Contingent
          3970 WARNER AVE APT A7
                                                                                Unliquidated
          LANDOVER HILLS, MD 20784
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donald Ray Pittman                                                    Contingent
          3942 S WILTON PLACE
                                                                                Unliquidated
          LOS ANGELES, CA 90062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donald Roberts                                                        Contingent
          3520 WEST 39TH STREET
                                                                                Unliquidated
          LOS ANGELES, CA 90008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.114
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DONALD RUSTE BAUTISTA                                                 Contingent
          2706 COLIN CT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donald Ruste Bautista                                                 Contingent
          2706 COLIN CT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donielle Lyles                                                        Contingent
          8635 SOMERSET BLVD APT 141
                                                                                Unliquidated
          PARAMOUNT, CA 90723
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $296,676.21
          Donlen                                                                Contingent
          3000 Lakeside Dr., 2nd Floor                                          Unliquidated
          Bannockburn, IL 60015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donn John Juvida Delacruz                                             Contingent
          2957 NIEMAN BLVD APT 301
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donna Simpson                                                         Contingent
          4901 GREENRIVER RD #248
                                                                                Unliquidated
          CORONA, CA 92880
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.115
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DONNA TAPIA                                                           Contingent
          3638 E F ST
                                                                                Unliquidated
          TACOMA, WA 98404
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donneld Lawrence Elder                                                Contingent
          728 E 121ST
                                                                                Unliquidated
          LOS ANGELES, CA 90059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DONOVAN DAJON WASHINGTON                                              Contingent
          25518 SOTO RD APT 9
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donovan Dajon Washington                                              Contingent
          25518 SOTO RD APT 9
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DONTE MAURICE BROWN                                                   Contingent
          1780 BANCROFT AVE #4502
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donte Maurice Brown                                                   Contingent
          1780 BANCROFT AVE #4502
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.115
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DONTE WILLIAMS                                                        Contingent
          445 S 3RD ST 15
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donte Williams                                                        Contingent
          445 S 3RD ST 15
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Doreen Joy Isaacs                                                     Contingent
          1624 THE ALAMEDA APT 15
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DORIS LAVONNE A GAFFNEY                                               Contingent
          1330 CONTRA COSTA AVE
                                                                                Unliquidated
          APT J107
          RICHMOND, CA 94806                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.116
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Doris Lavonne A Gaffney                                               Contingent
          1330 CONTRA COSTA AVE
                                                                                Unliquidated
          APT J107
          RICHMOND, CA 94806                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.116
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DOUGLAS ALAN HOPKINS                                                  Contingent
          1498 CATHY WAY
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.116
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Douglas Alan Hopkins                                                  Contingent
          1498 CATHY WAY
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Douglas Duaine Cupp                                                   Contingent
          PO BOX 391287
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94039
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Drake Wilson                                                          Contingent
          4677 DEMARET DR
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Du Ngoc Bui                                                           Contingent
          3351 FLINTMONT DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DUANE ECHOLS                                                          Contingent
          810 KIRKPATRICK AVE APT 2
                                                                                Unliquidated
          BRADDOCK, PA 15104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DUANISHA SARDE GOODE                                                  Contingent
          2700 GRAND CONCOURSE APT 611
                                                                                Unliquidated
          BRONX, NY 10458
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.116
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Duante Dedron Rentie                                                  Contingent
          1346 BECKET DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Duong Thai Dang                                                       Contingent
          3547 LISBON DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DUQUERLEAU PRINSILMA                                                  Contingent
          2511 NEWKIRK AVE APT A15
                                                                                Unliquidated
          BROOKLYN, NY 11226
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Duriel Lamont Walker                                                  Contingent
          999 W EVELYN TERRACE # 80
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DUSTIN ASHLEY                                                         Contingent
          11038 DAYTON AVE N
                                                                                Unliquidated
          SEATTLE, WA 98133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DUSTIN BOULDING                                                       Contingent
          13 PLEASANTVIEW HOMES
                                                                                Unliquidated
          BEAVER FALLS, PA 15010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.117
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dustin Jared Ross                                                     Contingent
          14420 KITTRIDGE STREET
                                                                                Unliquidated
          APT 304
          VAN NUYS, CA 91405                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.117
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DUSTIN LAW                                                            Contingent
          1720 MORRILL AVE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dustin Law                                                            Contingent
          1720 MORRILL AVE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DUY CU                                                                Contingent
          3181 LONE BLUFF WAY
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Duy Cu                                                                Contingent
          3181 LONE BLUFF WAY
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DWAIN DERRICK BRAZIL II                                               Contingent
          17701 S AVALON BLVD SP 190
                                                                                Unliquidated
          CARSON, CA 90746
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.118
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dwain Derrick Brazil II                                               Contingent
          17701 S AVALON BLVD SP 190
                                                                                Unliquidated
          CARSON, CA 90746
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dwayne A Holland                                                      Contingent
          4096 PIEDMONT AVE SUITE 329A
                                                                                Unliquidated
          OAKLAND, CA 94611
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DWAYNE ALDRIDGE                                                       Contingent
          103 MORELAND ST
                                                                                Unliquidated
          ALIQUIPPA, PA 15001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DWAYNE ALGERNON MACK                                                  Contingent
          40 S TERRACE AVE, # 1
                                                                                Unliquidated
          MOUNT VERNON, NY 10550
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DWAYNE ALLEN JONES                                                    Contingent
          7907 WESTWOOD COURT
                                                                                Unliquidated
          CLINTON, MD 20735-1456
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DWAYNE O KEMP JR                                                      Contingent
          106 KAREN DR
                                                                                Unliquidated
          MCDONALD, PA 15057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.118
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dwayne Vanier Davis                                                   Contingent
          2342 SHATTUCK AVE APT 303
                                                                                Unliquidated
          BERKELEY, CA 94704
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dylan Adams                                                           Contingent
          18342 PATTERSON LANE UNIT 1
                                                                                Unliquidated
          HUNTINGTON BEACH, CA 92646
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dylan Yei Lin Chan                                                    Contingent
          1845 GENEVA AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dylann Fezeukemgue                                                    Contingent
          201 PENNSYLVANIA AVE APT 226
                                                                                Unliquidated
          FAIRFIELD, CA 94533
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $643.75
          Dynamex-Las Vegas                                                     Contingent
          PO Box 803496                                                         Unliquidated
          Dallas, TX 75380                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $775.00
          Dynamex-NJ                                                            Contingent
          PO Box 803496                                                         Unliquidated
          Dallas, TX 75380                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.119
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,121.01
          Dynamex-OR                                                            Contingent
          PO Box 803496                                                         Unliquidated
          Dallas, TX 75380                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,256.74
          Dynamex-UT                                                            Contingent
          PO Box 803496                                                         Unliquidated
          Dallas, TX 75380                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DZEVAD SALI                                                           Contingent
          1825 NE 3RD ST APT 8
                                                                                Unliquidated
          RENTON, WA 98056
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          E-Courier Inc                                                         Contingent
          776 Live Oak Drive                                                    Unliquidated
          Millersville, MD 21108                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $447,789.80
          Ean Services                                                          Contingent
          PO Box 402383                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Earl Crockett III                                                     Contingent
          1722 SIXTH ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EARLENE E STEWART                                                     Contingent
          1808 88TH AVE APT A
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes


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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.120
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Earlene E Stewart                                                     Contingent
          1808 88TH AVE APT A
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EARNEST LEE                                                           Contingent
          3005 S 152ND STREET
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EarthLink                                                             Contingent
          PO Box 2252                                                           Unliquidated
          Birmingham, AL 35246-1058                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EARVIN JUSTIN VILLAFLOR                                               Contingent
          821 CALIFORNIA AVE APT A
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Earvin Justin Villaflor                                               Contingent
          821 CALIFORNIA AVE APT A
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $601.94
          Ed Scott Express                                                      Contingent
          PO Box 648                                                            Unliquidated
          Springfield, MO 65801                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.120
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDDER JAVIER GONZALEZ                                                 Contingent
          1608 N SERRANO AVE APT 5
                                                                                Unliquidated
          LOS ANGELES, CA 90027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edder Javier Gonzalez                                                 Contingent
          1608 N SERRANO AVE APT 5
                                                                                Unliquidated
          LOS ANGELES, CA 90027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDDIE DEAN MORRIS                                                     Contingent
          443 DIMM ST
                                                                                Unliquidated
          RICHMOND, CA 94805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eddie Dean Morris                                                     Contingent
          443 DIMM ST
                                                                                Unliquidated
          RICHMOND, CA 94805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $318.58
          Eddy Messenger Service                                                Contingent
          5 West Main Street                                                    Unliquidated
          Elmsford, NY 10523                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDDY SHAFER                                                           Contingent
          3106 GLENDALE AVE
                                                                                Unliquidated
          PITTSBURGH, PA 15227
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.121
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edgar Armando Esturban                                                Contingent
          1815 W 36TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDGAR DAVID ALARCON JR                                                Contingent
          864 SILVER AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edgar David Alarcon Jr                                                Contingent
          864 SILVER AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edgar Hernando Gomez                                                  Contingent
          19608 PRUNERIDGE AVE #9205
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edgar Javier Cartagena                                                Contingent
          177 COLERIDGE GREEN
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edgar Joya                                                            Contingent
          3268 FLINTVIEW COURT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.121
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edgar Ogeese                                                          Contingent
          759 6TH AVE APT B
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edgar Racanac                                                         Contingent
          505 VIA LUNETO
                                                                                Unliquidated
          MONTEBELLO, CA 90640
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edgar Torres Granados                                                 Contingent
          2113 LINCOLN ST
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDINALDO DOS SANTOS                                                   Contingent
          8626 26TH AVE SW A
                                                                                Unliquidated
          SEATTLE, WA 98106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eduardo D Micu                                                        Contingent
          983 LAKEHAVEN DR
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Alan Ederra                                                    Contingent
          221 WASHINGTON DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.122
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Albert Jerry Peter Stamper                                     Contingent
          142 SONDRA WAY
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDWARD ALBERT STAMPER                                                 Contingent
          142 SONDRA WAY
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Allen Ricks                                                    Contingent
          9805 CIMARRON ST
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Calderon                                                       Contingent
          2755 SAN LEANDRO BLVD
                                                                                Unliquidated
          APT. 205
          SAN LEANDRO, CA 94578                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.122
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDWARD DUKE SCOTT III                                                 Contingent
          853 DEL TREN AVE
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Duke Scott III                                                 Contingent
          853 DEL TREN AVE
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.123
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Heshan                                                         Contingent
          2059 Camden Ave.,#288
                                                                                Unliquidated
          San Jose, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Huy Nguyen                                                     Contingent
          709 CREEKLAND CIR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Jerome Mcgadney Jr                                             Contingent
          2449 ACTON ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Kunle Dale                                                     Contingent
          902 KIRKHAM WAY
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDWARD LATIMORE                                                       Contingent
          1704 DAVIS AVE APT 3
                                                                                Unliquidated
          PITTSBURGH, PA 15212
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Lee Johnson                                                    Contingent
          1232 CARLTON AVE
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.123
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward M Habimana                                                     Contingent
          20641 VANOWEN ST #106
                                                                                Unliquidated
          WINNETKA, CA 91306
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDWARD NORWOOD                                                        Contingent
          35156 LIDO BLVD APT J
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Norwood                                                        Contingent
          35156 LIDO BLVD APT J
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDWARD RIENKS                                                         Contingent
          4320 CRESCENT AVE
                                                                                Unliquidated
          EVERETT, WA 98203-2125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward Takayuki Uto                                                   Contingent
          3934 Alla Road
                                                                                Unliquidated
          Los Angeles, CA 90066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwardo Calles                                                        Contingent
          1132 PECOS WAY
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.124
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwardo Tlatenchi Jr                                                  Contingent
          1638 84TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDWIN BRUAN ICBAN                                                     Contingent
          2746 CROFT DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwin Bruan Icban                                                     Contingent
          2746 CROFT DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDWIN COLBERT                                                         Contingent
          917 EUREKA ST
                                                                                Unliquidated
          PITTSBURGH, PA 15210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwin Sereno Coria                                                    Contingent
          10371 MILLER AVE #2
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDWIN ULISES SANCHEZ LINARES                                          Contingent
          48 VIEWMONT AVE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.124
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwin Ulises Sanchez Linares                                          Contingent
          48 VIEWMONT AVE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwinds Ayala Jr                                                      Contingent
          305 TYRELLA AVE APT A
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwinds Ayala Nizama                                                  Contingent
          305 TYRELLA AVE APT A
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELI SAUL ROMAN                                                        Contingent
          1674 MACOMBS RD 4A
                                                                                Unliquidated
          BRONX, NY 10453
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELI VEGA                                                              Contingent
          2612 OHIO AVE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eli Vega                                                              Contingent
          2612 OHIO AVE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.125
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elias Ayala                                                           Contingent
          10261 REGAN ST
                                                                                Unliquidated
          SAN JOSE, CA 94034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELIAS GEBRAGAIZT                                                      Contingent
          1700 17TH AVE 204
                                                                                Unliquidated
          SEATTLE, WA 98122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elisabeth L Nelson                                                    Contingent
          21382 LAKE FOREST DRIVE APT F
                                                                                Unliquidated
          LAKE FOREST, CA 92630
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elizabeth Anne Ware                                                   Contingent
          1021 N 7TH ST APT 4
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elizabeth Ashworth                                                    Contingent
          1427 HAVENCOURT
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elizabeth Perez                                                       Contingent
          1450 EAST GROVE AVE
                                                                                Unliquidated
          ORANGE, CA 92865
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.126
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELIZABETH SCHWAB                                                      Contingent
          1505 WEST CASINO RD APT 20
                                                                                Unliquidated
          EVERETT, WA 98204
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELIZABETH SHERR BRINSON                                               Contingent
          249 THOMAS S BOYLAND APT 12D
                                                                                Unliquidated
          BROOKLYN, NY 11233
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elizabeth Thuy Phan                                                   Contingent
          2650 Whispering Hills dr
                                                                                Unliquidated
          San Jose, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELIZER PANLAQUI PONIO                                                 Contingent
          1051 SONOMA AVE
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elizer Panlaqui Ponio                                                 Contingent
          1051 SONOMA AVE
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELLIOTT DRAPER                                                        Contingent
          1500 27TH AVE APT 1
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.126
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elliott Draper                                                        Contingent
          2120 65TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELLIOTT TOTURA                                                        Contingent
          71 CRAVEN DR
                                                                                Unliquidated
          CHARLEROI, PA 15022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elmer Elliot Huezo                                                    Contingent
          433 W 48TH STREET
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elodio Rubio Soto                                                     Contingent
          14023 DOTY AVE
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELOUISE CELESTINE-HOUSTON                                             Contingent
          625 W VERNON ST APT 2
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elouise Celestine-Houston                                             Contingent
          625 W VERNON ST APT 2
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.127
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EMANDY OLIVIA HELMER                                                  Contingent
          1430 HALIBUT CT UNIT A
                                                                                Unliquidated
          SAN FRANCISCO, CA 94130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emandy Olivia Helmer                                                  Contingent
          1430 HALIBUT CT UNIT A
                                                                                Unliquidated
          SAN FRANCISCO, CA 94130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EMANUEL ESPINOZA                                                      Contingent
          7223 CLARENDON ST APT 6
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emanuel Espinoza                                                      Contingent
          7223 CLARENDON ST APT 6
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EMEBET GETACHEW                                                       Contingent
          4525 164TH ST SW Y-203
                                                                                Unliquidated
          LYNNWOOD, WA 98087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emerlito Buenaventur Fernandez                                        Contingent
          54 2Shepherd Avenue,Apt.3
                                                                                Unliquidated
          Hayward, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.127
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emil Broderick Carter                                                 Contingent
          427 WESTERN AVE APT 1
                                                                                Unliquidated
          GLENDALE, CA 91201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emil Joseph Vale Salvador                                             Contingent
          1943 LOYOLA DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emil Naim                                                             Contingent
          10394 Rochester Ave.
                                                                                Unliquidated
          Los Angeles, CA 90024
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EMILIO F BLOISE                                                       Contingent
          13214 CHOPIN CT
                                                                                Unliquidated
          SILVER SPRING, MD 20904
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emilio Reyes Castrejon                                                Contingent
          812 STATE ST
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emmanuel Alvarez Castaneda                                            Contingent
          E 76TH ST APT 811
                                                                                Unliquidated
          LOS ANGELES, CA 90001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.128
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EMMANUEL MARTINEZ                                                     Contingent
          2015 S 7TH ST
                                                                                Unliquidated
          ALHAMBRA, CA 91803
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emmanuel Martinez                                                     Contingent
          2015 S 7TH ST
                                                                                Unliquidated
          ALHAMBRA, CA 91803
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Emory Rodriguez                                                       Contingent
          1808 S COCHRAN AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ENDYYA PRESCOTT                                                       Contingent
          9001 BARING CROSS ST
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Endyya Prescott                                                       Contingent
          9001 BARING CROSS ST
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ENRIQUE ALFONSO FORD                                                  Contingent
          2A DREYER AVE
                                                                                Unliquidated
          STATEN ISLAND, NY 10314
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.129
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ENRIQUE DE LA TORRE                                                   Contingent
          P O BOX 2301
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Enrique De La Torre                                                   Contingent
          P O BOX 2301
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,929.86
          Enterprise FM Trust                                                   Contingent
          PO Box 800089                                                         Unliquidated
          Kansas City, MO 64180                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,139.86
          Enterprise Rent-A-Car                                                 Contingent
          PO Box 843369                                                         Unliquidated
          Kansas City, MO 64184                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EPHRAIM BAUTIST RASTRULLO                                             Contingent
          1108 WOODBOROUGH PL
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ephraim Bautista Rastrullo                                            Contingent
          1108 WOODBOROUGH PL
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.129
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Bin                                                              Contingent
          855 NORTH BAYSHORE RD
                                                                                Unliquidated
          WEST # B205
          SAN JOSE, CA 95112                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.129
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Christopher Aguirre                                              Contingent
          2316 MARSHGLEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Claude Domejean                                                  Contingent
          39368 SUNDALE DR
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERIC DANIEL RODRIGUEZ                                                 Contingent
          22142 THELMA ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Daniel Rodriguez                                                 Contingent
          22142 THELMA ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERIC EUGENE MOSSETT                                                   Contingent
          6925 GREENWOOD ST
                                                                                Unliquidated
          PITTSBURGH, PA 15206
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.130
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERIC FANCHER                                                          Contingent
          6775 LISA LANE
                                                                                Unliquidated
          SANDY SPRINGS, GA 30338
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Fei Lee                                                          Contingent
          1008 CONNIE DR
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric James Sanchagrin                                                 Contingent
          973 PERREIRA DR
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERIC JOSEPH HUMMEL                                                    Contingent
          3 SOMER RIDGE DR APT 123
                                                                                Unliquidated
          ROSEVILLE, CA 95661
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Joseph Hummel                                                    Contingent
          3 SOMER RIDGE DR APT 123
                                                                                Unliquidated
          ROSEVILLE, CA 95661
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Ka-Wai Cheung                                                    Contingent
          211 DIXON RD
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.130
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Luong                                                            Contingent
          1035 BILLINGS BLVD
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Nelson                                                           Contingent
          603 SKYLINE DR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Nguyen                                                           Contingent
          1308 ABERFORD DR
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Norris                                                           Contingent
          2323 moorpark ave Apt 2
                                                                                Unliquidated
          San Jose, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Reyna                                                            Contingent
          10321 HICKORY ST
                                                                                Unliquidated
          LOS ANGELES, CA 90002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Sturtz Ward                                                      Contingent
          3934 SUNNY RD
                                                                                Unliquidated
          STOCKTON, CA 95215
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.131
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERIC TIMMINS                                                          Contingent
          25350 1/2 OAK ST
                                                                                Unliquidated
          LOMITA, CA 90717
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Timmins                                                          Contingent
          25350 1/2 OAK ST
                                                                                Unliquidated
          LOMITA, CA 90717
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERICA LENAY WILLIAMS                                                  Contingent
          10927 ACALANES DR
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erica Lenay Williams                                                  Contingent
          10927 ACALANES DR
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERICA PRESSLEY                                                        Contingent
          2918 OTIS ST
                                                                                Unliquidated
          BERKELEY, CA 94703
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erica Pressley                                                        Contingent
          2918 OTIS ST
                                                                                Unliquidated
          BERKELEY, CA 94703
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.132
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erick F Ortega                                                        Contingent
          24909 AVOCADO CT
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erick Henry Lopez                                                     Contingent
          1927 S SHENANDOAH ST APT #6
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERICSON CABEBE EVANGELISTA                                            Contingent
          224 VERANO DR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ericson Cabebe Evangelista                                            Contingent
          224 VERANO DR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERIK DAMON ELMORE                                                     Contingent
          6233 VERDICT CT
                                                                                Unliquidated
          CHESTERFIELD, VA 23832
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erik John Camacho                                                     Contingent
          4141 DEEP CREEK RD SPC 16
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.132
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erik Joseph Sanchez                                                   Contingent
          10432 MCNERNEY AVE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erik Laron Martin Jr                                                  Contingent
          522 CARTER ST APT 307 D
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERIK MAURICE PATTERSON                                                Contingent
          630 PANJON ST
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erik Maurice Patterson                                                Contingent
          630 PANJON ST
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erik Michael Friedlander                                              Contingent
          713 SUTTER AVE
                                                                                Unliquidated
          PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erik Stephen Haccou                                                   Contingent
          2643 TARTAN DR
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.133
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erine Aisha Robertson                                                 Contingent
          1112 DEL NORTE AVE
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERNEST JON LABI ODOYA                                                 Contingent
          28622 BAY PORT CT
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ernest Jon Labi Odoya                                                 Contingent
          28622 BAY PORT CT
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ernesto Gomez                                                         Contingent
          676 GIRAUDO DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erwin Giovanni Toscano                                                Contingent
          5414 11TH AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ESKANDER ABDELLA                                                      Contingent
          25621 27TH PL S C102
                                                                                Unliquidated
          KENT, WA 98032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.133
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ESMERALDA DOMINGUEZ NOYOLA                                            Contingent
          3268 FLINTVIEW CT
                                                                                Unliquidated
          SAN JOSE, CA 95418-9541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Esmeralda Dominguez Noyola                                            Contingent
          3268 FLINTVIEW CT
                                                                                Unliquidated
          SAN JOSE, CA 95418
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Esperanza Fletcher                                                    Contingent
          39270 Paseo Padre Parkway
                                                                                Unliquidated
          Fremont, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,680.00
          Esquire Express Inc                                                   Contingent
          2275 E 11th Ave                                                       Unliquidated
          Hialeah, FL 33013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ESTEBAN TOBON                                                         Contingent
          17221 164TH WAY SE
                                                                                Unliquidated
          RENTON, WA 98058
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Esther Zaragoza Magallon                                              Contingent
          325 UNION AVE APT 131
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.134
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Etienne Barnes                                                        Contingent
          3459 GRASS VALLEY CT.
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EUFRACIO CARONA VARGAS                                                Contingent
          219 MCCREERY AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eufracio Carona Vargas                                                Contingent
          219 MCCREERY AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EUGENE BRAMBLE                                                        Contingent
          2287 LYON AVE
                                                                                Unliquidated
          BRONX, NY 10462
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EUGENE HENDERSON                                                      Contingent
          13101 WEST LOOP VIEW DR
                                                                                Unliquidated
          GRANITE FALLS, WA 98252
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eugene Marceau Pettigrew                                              Contingent
          2021 WEST 54TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.135
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EUGENE THOMAS CLEWLOW                                                 Contingent
          5371 KING ESTATES COURT
                                                                                Unliquidated
          SAN JOSE, CA 95135
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eugene Thomas Clewlow                                                 Contingent
          5371 KING ESTATES COURT
                                                                                Unliquidated
          SAN JOSE, CA 95135
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eva-Ruth Banuelos                                                     Contingent
          PO BOX 640488
                                                                                Unliquidated
          SAN JOSE, CA 95164
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Evan Larry Souza                                                      Contingent
          65 MARIAN LN
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eve Medina                                                            Contingent
          2461 MOORPARK AVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Evelyn Larizza Dubois                                                 Contingent
          1159 s Bronson Ave *
                                                                                Unliquidated
          Los Angeles, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.135
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Everardo Huerta Torres                                                Contingent
          2084 POAS CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Everett Allen Robinson Jr                                             Contingent
          6646 MACARTHUR BLVD APT 19
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Evert Antonio Mejia                                                   Contingent
          175 LELAND AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $160.95
          Expedited Courier & Distributon LLC                                   Contingent
          PO Box 13082                                                          Unliquidated
          Baltimore, MD 21203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,528.17
          Express Connection                                                    Contingent
          12021 Wilshire Blvd Ste 922                                           Unliquidated
          Los Angeles, CA 90025                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,202.48
          Express Courier Intl MEM                                              Contingent
          PO Box 678576                                                         Unliquidated
          Dallas, TX 75267                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.136
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EYOB ABEBE                                                            Contingent
          PO BOX 55305
                                                                                Unliquidated
          SHORELINE, WA 98155
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,466.71
          EZ Trucking                                                           Contingent
          PO Box 518                                                            Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Faaitua Logo                                                          Contingent
          1153 SARATOGA AVE
                                                                                Unliquidated
          E PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Faazil Farhaan Ali                                                    Contingent
          658 MEMORIAL WAY APT 8
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fabiola Carrillo-Padilla                                              Contingent
          4767 DON ZAREMBO DRIVE #5
                                                                                Unliquidated
          LOS ANGELES, CA 90008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fahad Siddiqi                                                         Contingent
          1545 FLINIGAN DRIVE UNIT 143
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.136
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Faisel Rehman                                                         Contingent
          27267 SLEEPY HOLLOW AVE
                                                                                Unliquidated
          APT 105
          HAYWARD, CA 94545                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.136
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FAIZ R AHMED                                                          Contingent
          9429 LEFFERTS BOULAVARD
                                                                                Unliquidated
          SOUTH RICHMOND HILL, NY 11410
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FARES ALMOUZANI                                                       Contingent
          1079 FULTON AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fares Almouzani                                                       Contingent
          1079 FULTON AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Farhad Sharifov                                                       Contingent
          4251 SHELTER CREEK LANE
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FARHAN ALI                                                            Contingent
          12919 ROSELLE AVE APT 4
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.137
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Farhan Ali                                                            Contingent
          12919 ROSELLE AVE APT 4
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Farid Mohandesi                                                       Contingent
          19600 VOSE ST
                                                                                Unliquidated
          RESEDA, CA 91335
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $248.00
          Fast Lane Courier                                                     Contingent
          1751 W Alexander St #100                                              Unliquidated
          Salt Lake City, UT 84119                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,884.30
          Fast Track                                                            Contingent
          109 Price Lane                                                        Unliquidated
          Voorheesville, NY 12186                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $538.20
          Fastrack                                                              Contingent
          109 Price Lane                                                        Unliquidated
          Voorheeseville, NY 12186                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Faycal Zaidi                                                          Contingent
          2156 TASMAN DR APT 246
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.138
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FEHED ABUKBAKAR                                                       Contingent
          5920 HIGH POINT DR SW
                                                                                Unliquidated
          SEATTLE, WA 98126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Felicia Ingram                                                        Contingent
          2784 HOMESTEAD ROAD UNIT 106
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FELIPE IVAN AMEZCUA BARAJAS                                           Contingent
          135 EASTWOOD CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Felipe Ivan Amezcua Barajas                                           Contingent
          135 EASTWOOD CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Felipe Martinez                                                       Contingent
          3312 W 108TH ST
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Felix Opulencia Dizon                                                 Contingent
          2210 RUMRILL BLVD
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.138
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Felton R Buckholtz                                                    Contingent
          4130 EDGEHILL DR
                                                                                Unliquidated
          LOS ANGELES, CA 90008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FERDINAND VENAS SWEDI                                                 Contingent
          743 FALLON AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ferdinand Venas Swedi                                                 Contingent
          743 FALLON AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FERNANDA MARIEL FLORES                                                Contingent
          1775 MARCO POLO WAY APT 8
                                                                                Unliquidated
          BURLINGAME, CA 94010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fernanda Marielos Flores                                              Contingent
          1775 MARCO POLO WAY APT 8
                                                                                Unliquidated
          BURLINGAME, CA 94010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fernando Garnica                                                      Contingent
          427 PINE ST
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.139
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fidel Flores                                                          Contingent
          3755 W 58TH PL
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $122,000.00
          Fifth Third Bank                                                      Contingent
          3344 Peachtree Road, NE                                               Unliquidated
          Suite 800                                                             Disputed
          Atlanta, GA 30326
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Finast Michael Brown                                                  Contingent
          5273 CAMDEN AVE APT 197
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $430.86
          First Choice Coffee Service                                           Contingent
          6700 Dawson Blvd Bld 3-E                                              Unliquidated
          Norcross, GA 30093                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $25.00
          First Choice Courier Service                                          Contingent
          PO Box 2317                                                           Unliquidated
          Owasso, OK 74055                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fissehaye Ghebregziabiher Ghebremichael                               Contingent
          1305 WEST CAMPBELL AVE APT #4
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.139
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FISSEHAYE GHEBREMICHAEL                                               Contingent
          1305 WEST CAMPBELL AVE APT #4
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,655.25
          Fleet Wash                                                            Contingent
          PO Box 36014                                                          Unliquidated
          Newark, NJ 07188-6014                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fnu Abdulhamid                                                        Contingent
          1811 27TH AVE FOOTHILL
                                                                                Unliquidated
          APT 105
          OAKLAND, CA 94601                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.140
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fnu Hares                                                             Contingent
          1811 27TH FOOTHILL BLVD
                                                                                Unliquidated
          BOX 105
          OAKLAND, CA 94601                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.140
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FOWSIYA IBRAHIM                                                       Contingent
          3445 S 144TH ST 113
                                                                                Unliquidated
          SEATTLE, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Frances Puzon                                                         Contingent
          5200 BIRKDALE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.140
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francine G Bass                                                       Contingent
          3561 HOMESTEAD RD APT 265
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francis Aldrin Valencia                                               Contingent
          2215 SAN RAFAEL AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francis G. Zapanta Macaraeg                                           Contingent
          3125 VESUVIUS LN
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FRANCIS GITAU NDUNGU                                                  Contingent
          30602 PACIFIC HWY S APT E201
                                                                                Unliquidated
          FEDERAL WAY, WA 98003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francis Javier Villanueva                                             Contingent
          1933 Drumhead Ct.
                                                                                Unliquidated
          San Jose, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FRANCIS KWABENA MENSAH                                                Contingent
          8545 LIQUID AMBER WAY
                                                                                Unliquidated
          ELK GROVE, CA 95757
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.141
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francis Kwabena Mensah                                                Contingent
          8545 LIQUID AMBER WAY
                                                                                Unliquidated
          ELK GROVE, CA 95757
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francis Rovert Reyes                                                  Contingent
          33300 MISSION BLVD APT 52
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francis W Sudieh                                                      Contingent
          2195 CRESTVIEW DR APT 138
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FRANCISCO BAGA MATEO JR                                               Contingent
          1661 N WILTON PL APT 2
                                                                                Unliquidated
          LOS ANGELES, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francisco Baga Mateo Jr                                               Contingent
          1661 N WILTON PL APT 2
                                                                                Unliquidated
          LOS ANGELES, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francisco Ernesto Miranda                                             Contingent
          2437 CORINTH AVE APT 308
                                                                                Unliquidated
          LOS ANGELES, CA 90054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.141
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francisco J Gonzalez                                                  Contingent
          4316 CESAR E CHAVEZ AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francisco Javier Camarena                                             Contingent
          6340 LANKESHIM BLVD APT 224
                                                                                Unliquidated
          NORTH HOLLYWOOD, CA 91606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francisco Javier Del Rio Chave                                        Contingent
          947 Mouton cir
                                                                                Unliquidated
          E Palo Alto, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FRANK FRANKLIN                                                        Contingent
          9831 STANLEY AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Frank Franklin                                                        Contingent
          9831 STANLEY AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FRANKLIN SPOLORIC                                                     Contingent
          321 S 177TH PL APT K301
                                                                                Unliquidated
          SEATTLE, WA 98148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.142
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fred Taylor Jr                                                        Contingent
          120 GARDINER AVE APT C
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Freddie Bobby Dabney Jr                                               Contingent
          2022 84TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FREDDIE THOMAS BULLOCK                                                Contingent
          380 SCHENCK AVE APT#1A
                                                                                Unliquidated
          BROOKLYN, NY 11207
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Freddy Anthony Blanco-Rojas                                           Contingent
          950 PINE ST 307
                                                                                Unliquidated
          SAN FRANCISCO, CA 94108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FREDERICK L SMITH                                                     Contingent
          1635 - 92ND AVENUE #4
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Frederick L Smith                                                     Contingent
          1635 - 92ND AVENUE #4
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.142
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FREDRICK FLOURNOY                                                     Contingent
          54 EVELYN PLACE 4E
                                                                                Unliquidated
          BRONX, NY 10468
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FREDRICK HARDWELL                                                     Contingent
          125 SW CAMPUS DR APT 27-103
                                                                                Unliquidated
          FEDERALWAY, WA 98023
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FREDRICK M WILLIAMS IV                                                Contingent
          2411 S 2332ND ST
                                                                                Unliquidated
          DES MOINES, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fredrick Rodolph Roberts                                              Contingent
          3900 RIVERLAKES DR #10 J
                                                                                Unliquidated
          BAKERSFIELD, CA 93312
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FRIESY J MEJIA JIMENEZ                                                Contingent
          1126 METCOVE AVE APT 2F
                                                                                Unliquidated
          BRONX, NY 10472
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Frontier Communications                                               Contingent
          PO Box 740407                                                         Unliquidated
          Cincinnati, OH 45274-0407                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.143
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fuad Ali Mohamed                                                      Contingent
          6167 CARLING WAY #7
                                                                                Unliquidated
          SAN DIEGO, CA 92115
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FUAD MOHAMED HUSSEIN                                                  Contingent
          3240 S 180TH ST APT 53
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FUNG CHAN                                                             Contingent
          9085 ALCOSTA BLVD APT 400
                                                                                Unliquidated
          SAN RAMON, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fung Chan                                                             Contingent
          9085 ALCOSTA BLVD APT 400
                                                                                Unliquidated
          SAN RAMON, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fusion/Network Billing Systems                                        Contingent
          155 Willowbrook Blvd                                                  Unliquidated
          Wayne, NJ 07470                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,040.00
          G & E Delivery                                                        Contingent
          PO Box 5872                                                           Unliquidated
          Burlington, VT 05402                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.144
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GABE MICHAEL GAISER                                                   Contingent
          215 W MACARTHUR BLVD APT 126
                                                                                Unliquidated
          OAKLAND, CA 94611
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gabe Michael Gaiser                                                   Contingent
          215 W MACARTHUR BLVD APT 126
                                                                                Unliquidated
          OAKLAND, CA 94611
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gabriel Arturo Mendoza Jr                                             Contingent
          26691 CAMPECHE ST
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gabriel Gonzalez Jr                                                   Contingent
          18691 CRABTREE AVENUE
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gabriel Rios                                                          Contingent
          537 N.Colonia de los Cedros
                                                                                Unliquidated
          Los Angeles, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GABRIEL SETH LONG                                                     Contingent
          1522 TUCKER ST
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.144
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gabriel Seth Long                                                     Contingent
          1522 TUCKER ST
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GABRIEL STEVENS ZOLDI                                                 Contingent
          825 POLLARD RD STE 207
                                                                                Unliquidated
          LOS GATOS, CA 95032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GABRIEL TOMMIE MIJARES                                                Contingent
          39800 FREMONT BLVD
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gabriel Tommie Mijares                                                Contingent
          39800 FREMONT BLVD
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gabriel Valencia Magana                                               Contingent
          2400 Gloria Way Apt. 404
                                                                                Unliquidated
          E Palo Alto, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gabriel Vasilakis                                                     Contingent
          4193 CHEENEY ST
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.145
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GAGANDEEP SINGH                                                       Contingent
          31105 VARNI PL
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gagandeep Singh                                                       Contingent
          31105 VARNI PL
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Galicia Alena Fajardo                                                 Contingent
          211A WHITLING ST
                                                                                Unliquidated
          EL SEGUNDO, CA 90245
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GALMESA ELEMO                                                         Contingent
          1209 EVERETT AVE
                                                                                Unliquidated
          EVERETT, WA 98201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gameli Bettina Dorcoo                                                 Contingent
          6400 WEST BLVD APT 107
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ganter Hoc                                                            Contingent
          1440 LOGAN ST APT 10
                                                                                Unliquidated
          LOS ANGELES, CA 90026
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.145
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GARAD NUR                                                             Contingent
          3510 S 180TH ST C11
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Garfield Leung                                                        Contingent
          219 FARALLONES ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Garin A Rosen                                                         Contingent
          4400 CENTRAL AVE APT 415
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Garrick Gran Goods                                                    Contingent
          10234 S VANNESS AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          Gary Anderson Courier Co                                              Contingent
          4227 Commonwealth Ave                                                 Unliquidated
          Toledo, OH 43612                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GARY ANTHONY NELSON                                                   Contingent
          3357 HOLLY DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.146
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gary Anthony Nelson                                                   Contingent
          3357 HOLLY DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GARY CHARLES WATSON III                                               Contingent
          1479 SHAFTER AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gary Charles Watson Iii                                               Contingent
          1479 SHAFTER AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gary John Govola II                                                   Contingent
          796 GWEN DR
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gary Leonard Blowers Jr                                               Contingent
          2929 CHEVY WAY
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gary Philip Tognetti                                                  Contingent
          3177 FAIR OAKS AVE.
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.147
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GARY SIMON                                                            Contingent
          74 EDGEMONT DRIVE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gary Simon                                                            Contingent
          74 EDGEMONT DRIVE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GARY SUBLETT                                                          Contingent
          208 DIAMOND AVE
                                                                                Unliquidated
          BROWNSVILLE, PA 15417
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GARY VARANO JR                                                        Contingent
          1116 STARDUST WAY
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gary Varano Jr                                                        Contingent
          1116 STARDUST WAY
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gemma Joyce David De Dios                                             Contingent
          2420 BERMUDA AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.147
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gene Chi Wong                                                         Contingent
          5629 WALLACE PL
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $586.15
          General Courier                                                       Contingent
          PO Box 1072                                                           Unliquidated
          Portland, ME 04104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GEOFFREY BRIAN PHELPS                                                 Contingent
          1269A NOGAL DR
                                                                                Unliquidated
          SALINAS, CA 93905
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GEOFFREY KENNED YOON                                                  Contingent
          857 LEXINGTON DR
                                                                                Unliquidated
          SALINAS, CA 93906
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Geoffrey Kennedy Yoon                                                 Contingent
          857 LEXINGTON DR
                                                                                Unliquidated
          SALINAS, CA 93906
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GEORDAN ALBERT                                                        Contingent
          2223 BENSON RD S V101
                                                                                Unliquidated
          RENTON, WA 98055
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.148
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          George Chatillon Collins                                              Contingent
          225 S MORRISON AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          George Morado                                                         Contingent
          641 N 19th Street
                                                                                Unliquidated
          San Jose, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          George Ophelia                                                        Contingent
          4514 WEBSTER ST
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GEORGE ROBIN HAWIL                                                    Contingent
          323 VIEWPARK CIRCLE
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          George Robin Hawil                                                    Contingent
          323 VIEWPARK CIRCLE
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          George Wendell Glass                                                  Contingent
          2020 CULLIVAN ST
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.148
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          George William Capers Iii                                             Contingent
          6503 EASTLAWN ST
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GEORGINA R HEAROD                                                     Contingent
          215 W MACARTHUR APT #548
                                                                                Unliquidated
          OAKLAND, CA 94611
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Georgina R Hearod                                                     Contingent
          215 W MACARTHUR APT #548
                                                                                Unliquidated
          OAKLAND, CA 94611
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Geovany Erwin Torres Godinez                                          Contingent
          2017 NEWTON AVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gerald Baroy Chan                                                     Contingent
          355 PARKVIEW TER UNIT I 1
                                                                                Unliquidated
          VALLEJO, CA 94589
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GERALD SENCHEK                                                        Contingent
          3963 3RD STREET, PO BOX 418
                                                                                Unliquidated
          WEST PITTSBURG, PA 16160-1616
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.149
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GERALDINE ELIZA CABRERA                                               Contingent
          11212 RAYMOND AVE APT B
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Geraldine Elizabeth Cabrera                                           Contingent
          11212 RAYMOND AVE APT B
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Geraldine Williams                                                    Contingent
          872 E 55th Street
                                                                                Unliquidated
          Los Angeles, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gerardo Corrales                                                      Contingent
          946 W BRAZIL ST
                                                                                Unliquidated
          COMPTON, CA 90220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GERARDO VILLASENOR AYALA                                              Contingent
          500 HARMONY LN
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gerardo Villasenor Ayala                                              Contingent
          500 HARMONY LN
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.150
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GERMA YAYIH                                                           Contingent
          220 NW 184TH ST
                                                                                Unliquidated
          SHORELINE, WA 98177
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GERMAN ALCIDES AGUILAR MEJIA                                          Contingent
          1737 NORANDA DR APT 3
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          German Alcides Aguilar Mejia                                          Contingent
          1737 NORANDA DR APT 3
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GERONE DARIN COLE                                                     Contingent
          3978 SEASELL CT
                                                                                Unliquidated
          DISCOVERY BAY, CA 94505
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gerone Darin Cole                                                     Contingent
          3978 SEASELL CT
                                                                                Unliquidated
          DISCOVERY BAY, CA 94505
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GERRY GORDON                                                          Contingent
          1012 109TH ST CT E 72
                                                                                Unliquidated
          TACOMA, WA 98445
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.150
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gersson Paolo Martell                                                 Contingent
          1843 FOREST CT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GETENET MULUGETA                                                      Contingent
          9061 SEWARD PARK AVE S 344
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gholam Reza Shafazand                                                 Contingent
          17203 DEER PARK RD
                                                                                Unliquidated
          LOS GATOS, CA 95032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gibson Cassidy Falepouono                                             Contingent
          559 OAKSIDE AVENUE APT C
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gilbert David Reyes                                                   Contingent
          417 EAST FRANKLIN AVENUE
                                                                                Unliquidated
          EL SEGUNDO, CA 90245
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gilberto Angel Landa                                                  Contingent
          332 W HILLCREST BLV
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.151
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GILBERTO G LOPEZ LUA                                                  Contingent
          240 S 163RD PL
                                                                                Unliquidated
          BURIEN, WA 98148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gina Marie Ricci                                                      Contingent
          632 EASTVIEW WAY
                                                                                Unliquidated
          REDWOOD CITY, CA 94062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gina Whitson                                                          Contingent
          956 CASTLEWOOD DRIVE APT 3
                                                                                Unliquidated
          LOS GATOS, CA 95032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gino Lazaro Peynado                                                   Contingent
          270 GATEWAY DR
                                                                                Unliquidated
          PACIFICA, CA 94044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GISELE TROIE-MENDOZA                                                  Contingent
          50 WEST EDMUNDSON AVE APT 8
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gisele Troie-Mendoza                                                  Contingent
          50 WEST EDMUNDSON AVE APT 8
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.151
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Giselle Baizas                                                        Contingent
          5720 SAGEWELL WAY
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GISSETTE ANNDERHERZ                                                   Contingent
          5327 VILLAGE PARK DRIVE
                                                                                Unliquidated
          APT. 2142
          BELLEVUE, WA 98006                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.152
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GIULIANO FINAMORE                                                     Contingent
          3700 SW 328TH PL
                                                                                Unliquidated
          FEDERAL WAY, WA 98023
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GLADYS MARITZA HERNANDEZ                                              Contingent
          2211 WEST AVE 136TH ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gladys Maritza Hernandez                                              Contingent
          2211 WEST AVE 136TH ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Glen Cubillo                                                          Contingent
          15047 NORTON ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.152
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Glenn Garcia                                                          Contingent
          1321 LEONARD DR
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,543.76
          GlobalTranz                                                           Contingent
          PO Box 71730                                                          Unliquidated
          Phoenix, AZ 85050                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GLORINDA KATRIN WINSOR                                                Contingent
          983 HELEN AVE APT 4
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Glorinda Katrina Winsor                                               Contingent
          983 HELEN AVE APT 4
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GLYNNIS ROY                                                           Contingent
          18666 REDMOND WAY APT II2065
                                                                                Unliquidated
          REDMOND, WA 98052
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,239.63
          Go Getter                                                             Contingent
          PO Box 552                                                            Unliquidated
          West Sacramento, CA 95691                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.153
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,423.40
          Gold Rush Express Delivery                                            Contingent
          PO Box 549                                                            Unliquidated
          San Jose, CA 95106-0549                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GONATHAN YANN                                                         Contingent
          6744 SIGNAL PEAK CT
                                                                                Unliquidated
          STOCKTON, CA 95210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gonathan Yann                                                         Contingent
          6744 SIGNAL PEAK CT
                                                                                Unliquidated
          STOCKTON, CA 95210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GONDA LAPONI                                                          Contingent
          20910 39TH WAY S APT D203
                                                                                Unliquidated
          DES MOINES, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GOPALAKRISHNAN KRISHNAN NAIR                                          Contingent
          142 ARLA DR
                                                                                Unliquidated
          PITTSBURGH, PA 15220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Grace Mei Ling Teo                                                    Contingent
          287 WOODCREEK TER
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.153
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Graeme Castro                                                         Contingent
          4823 ST ELMO DR
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Greg Schmitt                                                          Contingent
          1580 Tennessee Street                                                 Unliquidated
          San Francisco, CA 94107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GREGG MURRAY                                                          Contingent
          1366 ROSE AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90291
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gregg Murray                                                          Contingent
          1366 ROSE AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90291
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gregorio Rodriguez                                                    Contingent
          9941 B ST APT A
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GREGORY EARL HOLMAN                                                   Contingent
          700 W LAUREL ST H220
                                                                                Unliquidated
          COMPTON, CA 90220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.154
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gregory Earl Holman                                                   Contingent
          700 W LAUREL ST H220
                                                                                Unliquidated
          COMPTON, CA 90220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GREGORY FISHERKELLER                                                  Contingent
          23340 13TH AVE SE
                                                                                Unliquidated
          BOTHELL, WA 98021
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gregory M Calabretta                                                  Contingent
          7 WAKEFIELD CT
                                                                                Unliquidated
          BELMONT, CA 94002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gregory Michael Garcia                                                Contingent
          980 MAGNOLIA AVE APT 316
                                                                                Unliquidated
          LOS ANGELES, CA 90006
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GREGORY MOORE JR                                                      Contingent
          515 MCMASTERS AVE
                                                                                Unliquidated
          TURTLE CREEK, PA 15145
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GREGORY P SCHMIDT                                                     Contingent
          82 LOWER ROAD
                                                                                Unliquidated
          PITTSBURGH, PA 15215
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.154
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gregory Surigao                                                       Contingent
          50 Edgemont Way
                                                                                Unliquidated
          Oakland, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GUADALUPE C VARGAS LOPEZ                                              Contingent
          323 W VIRGINIA ST
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Guadalupe C Vargas Lopez                                              Contingent
          323 W VIRGINIA ST
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Guadalupe Richard Fuentes Rosas                                       Contingent
          2738 KOLLMAR DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gucake Iosefo Rabosea                                                 Contingent
          29083 Mission Blvd Rm
                                                                                Unliquidated
          Hayward, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Guillermo Barrios                                                     Contingent
          2651 VISTA VERDE DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.155
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Guillermo Wilfredo Hernandez Jr                                       Contingent
          3340 SAN BRUNO AVE APT 4
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gurdeep Singh                                                         Contingent
          11852 Fellows Ave
                                                                                Unliquidated
          San Fernando, CA 91340
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gurmej Singh                                                          Contingent
          4200 THE WOODS DR APT #507
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gurmit Singh Kang                                                     Contingent
          639 BRANHAM LN
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GURPREET SIDHU                                                        Contingent
          14118 53RD AVE S
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gurpreet Singh                                                        Contingent
          4425 BIDWELL DR #1206
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.156
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GUSSA LOKE                                                            Contingent
          12118 HWY 99 G202
                                                                                Unliquidated
          EVERETT, WA 98204
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Guy Eugene Alford                                                     Contingent
          13613 LEMOLI AVE APT 219
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Guy Eugene Partin                                                     Contingent
          1024 W 227TH ST
                                                                                Unliquidated
          TORRANCE, CA 90502
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Guy Lau                                                               Contingent
          120 SARATOGA AVENUE #86
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HABTAMU TSEGA MENGISTIE                                               Contingent
          380 NORTHLAKE DR APT 19
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Habtamu Tsega Mengistie                                               Contingent
          380 NORTHLAKE DR APT 19
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.156
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hai Huang                                                             Contingent
          801 S WINCHESTER BLVD #1209
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAILEE HINDS                                                          Contingent
          7510 S HALLDALE AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hailee Hinds                                                          Contingent
          7510 S HALLDALE AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAITHAM ABDULLA JASIM                                                 Contingent
          3848 BARKER DR APT #3
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Haitham Abdulla Jasim                                                 Contingent
          3848 BARKER DR APT #3
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Haitham Elias Shaheen                                                 Contingent
          562 BLAIRBURRY WAY
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.157
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $724.55
          Halls Atlanta                                                         Contingent
          630 Angier Ave, NE                                                    Unliquidated
          Atlanta, GA 30308                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hamed Ghafuri                                                         Contingent
          1515 west st apt 16
                                                                                Unliquidated
          Concord, CA 94521
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAMIDREZA MAJIDI                                                      Contingent
          1642 LEXINGTON ST APT 5
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hamidreza Majidi                                                      Contingent
          1642 LEXINGTON ST APT 5
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hamidullah Jamal                                                      Contingent
          20928 WILBEAM AVE APT 44
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAMSE YUSUF                                                           Contingent
          8414 MLK JR WAY S
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.157
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hamza Mohammad Mohammad                                               Contingent
          2513 GALLUP DR
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAMZA SAYIDI                                                          Contingent
          7910 RAINIER AVE S 205
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAMZA WALUPUPU                                                        Contingent
          1515 38TH AVE APT #5
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hamza Walupupu                                                        Contingent
          1515 38TH AVE APT #5
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Han Ming Hsu                                                          Contingent
          4517 VIA LA PAZ
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Han Ngoc Ho                                                           Contingent
          2532 COCONUT DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.158
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hanh Thi My Do                                                        Contingent
          3167 OAKGATE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HANK MAMERTO YACAT                                                    Contingent
          401 JOAQUIN AVE APT #3
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hank Mamerto Yacat                                                    Contingent
          401 JOAQUIN AVE APT #3
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hannah Louise Zulueta                                                 Contingent
          46722 CRAWFORD ST 6
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hannah Wright                                                         Contingent
          13949 DOOLITTLE DRIVE APT 115
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HANS FLEURIMONT                                                       Contingent
          14508 W THORNE LANE
                                                                                Unliquidated
          LAKEWOOD, WA 98498
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.159
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HARDEEP SINGH GILL                                                    Contingent
          409 GEMMA DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hardeep Singh Gill                                                    Contingent
          409 GEMMA DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harinder Batra                                                        Contingent
          358 ALIDA WAY #21
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hariqbal Singh                                                        Contingent
          39626 WALL COMMON
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HARMIT S LIDHRAN                                                      Contingent
          2396 CENTRAL RD
                                                                                Unliquidated
          EVERSON, WA 98247
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harold J Villanueva                                                   Contingent
          3054 DAVID AVE APT #8
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.159
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HARRY ANTHONY WILLIAMS III                                            Contingent
          346 105TH AVE APT I
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harry Anthony Williams III                                            Contingent
          346 105TH AVE APT I
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HARRY M HUNKE III                                                     Contingent
          9320 161ST STREET COURT E
                                                                                Unliquidated
          PUYALLUP, WA 98375
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harsh Kumar                                                           Contingent
          4909 ASHWORTH ST
                                                                                Unliquidated
          LAKEWOOD, CA 90712
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harvin Thomas Lawrence Camacho                                        Contingent
          1515 ALTA GLEN DR APT 11
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HASSAMI BAGA                                                          Contingent
          2503 MIRAMAR AVE APT 221
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.160
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hassami Baga                                                          Contingent
          2503 MIRAMAR AVE APT 221
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HASSAN ABDINUR                                                        Contingent
          3726 S 180TH ST APT E101
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HASSAN MOHAMUD                                                        Contingent
          2616 SOUTH 224 ST APT A304
                                                                                Unliquidated
          DES MOINES, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAYMUUN ADEN                                                          Contingent
          3913 SE 280 PL
                                                                                Unliquidated
          KENT, WA 98042
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,510.19
          HealthEx Courier                                                      Contingent
          35 Powerhouse Rd                                                      Unliquidated
          Roslyn Heights, NY 11577                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Heather Joan Leighton                                                 Contingent
          38660 LEXINGTON ST APT 601
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.160
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hector Miguel Gonzalez                                                Contingent
          689 WYANDOTTE AVE
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Helen Voong                                                           Contingent
          3616 TUNIS AVE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hendry Halim                                                          Contingent
          48823 SUMMIT VIEW
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HENOCK ABAYNEH                                                        Contingent
          14727 BOTHELL WAY NE 27
                                                                                Unliquidated
          SHORELINE, WA 98155
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henri James Valley Picardo                                            Contingent
          37950 FREMONT BLVD APT 11
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henri Juhani Wu Pietila                                               Contingent
          1222 SUSAN WAY
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.161
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HENRY BOLAR                                                           Contingent
          140 23RD AVE S UNIT 301
                                                                                Unliquidated
          SEATTLE, WA 98144
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henry Eduard Keydeniers                                               Contingent
          1320 LEXINGTON DR APT 5
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henry Elijah Bartley Jr                                               Contingent
          44710 DIVISION STREET
                                                                                Unliquidated
          APT # 804
          LANCASTER, CA 93535                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.161
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henry Hoang                                                           Contingent
          535 PENETENCIA ST APT#1
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henry Hoanghai Tran                                                   Contingent
          705 SIRICA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henry Pineda Cajucom                                                  Contingent
          3287 LANGHORN DR
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.162
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HENRY YAN CHIN HO                                                     Contingent
          31 BEATRICE LN #1
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henry Yan Chin Ho                                                     Contingent
          31 BEATRICE LN #1
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Herman Hiu Nam Li                                                     Contingent
          1039 DOUGLAS CT
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HERMAN HOWARD WILSON JR                                               Contingent
          3726 S 180TH ST E-301
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hi Chan Huynh                                                         Contingent
          270 UMBARGER RD SPC 66
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hieu Ngoc Tran                                                        Contingent
          3118 WHITEROSE COURT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.162
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hilda Amalia Valencia                                                 Contingent
          410 N WHITE RD APT 1104
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hilda Blanco                                                          Contingent
          732 E PARK WAY
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HIRAD SAJADI                                                          Contingent
          HIRADSAJADI@GMAIL.COM
                                                                                Unliquidated
          SEATTLE, WA 98104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hiram Granados                                                        Contingent
          27804 BALDWIN ST
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $635.00
          HireRight                                                             Contingent
          PO Box 847891                                                         Unliquidated
          Dallas, TX 75284-7891                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hirpa Ayane Tulu                                                      Contingent
          360 MERIDIAN AVE APT 233
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.163
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HOA A DUONG                                                           Contingent
          1626 12TH AVE APT B
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hoa A Duong                                                           Contingent
          1626 12TH AVE APT B
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hoa Duc Huynh                                                         Contingent
          900 GOLDEN WHEEL PARK DRIVE
                                                                                Unliquidated
          SPACE 86
          SAN JOSE, CA 95112                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.163
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hoa Thanh Nguyen                                                      Contingent
          800 HILLSDALE AVE #527
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HONG THI KIM HO                                                       Contingent
          439 N 8TH ST APT D
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hong Thi Kim Ho                                                       Contingent
          439 N 8TH ST APT D
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.163
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,369.10
          Hot Shot                                                              Contingent
          PO Box 701189                                                         Unliquidated
          Houston, TX 77270                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hugo Banda                                                            Contingent
          1126 EAST ADAMS BLVD APT 4
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Humberto Hernandez                                                    Contingent
          6605 PLASKA AVE
                                                                                Unliquidated
          HUNTINGTON PARK, CA 90255
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HUMPHREY OMAGHO ABESON JR                                             Contingent
          1776 PANDA WAY APT 108
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Humphrey Omaghomi Abeson Jr                                           Contingent
          1776 PANDA WAY APT 108
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hung Nguyen Dang                                                      Contingent
          668 N 4TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.164
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HUNG SY BUI                                                           Contingent
          1341 OLD ROSE PL
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hung Sy Bui                                                           Contingent
          1341 OLD ROSE PL
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hung Tuan Luu                                                         Contingent
          360 Los Encinos ct
                                                                                Unliquidated
          San Jose, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HURRE IBRAHIM                                                         Contingent
          18439 MILITARY RD S
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HUSSEIN FARAH                                                         Contingent
          12344 14TH AVE
                                                                                Unliquidated
          SEATTLE, WA 98125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hussein Hammoud                                                       Contingent
          461 ZATON AVE
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.165
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HUSSEIN SHEGOW                                                        Contingent
          2402 S MORGAN ST
                                                                                Unliquidated
          SEATTLE, WA 98108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HUY HA PHONG PHAM                                                     Contingent
          4016 KANSAS ST APT C
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Huy Ha Phong Pham                                                     Contingent
          4016 KANSAS ST APT C
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HYAKUB EDWARD HERRING JR                                              Contingent
          PO BX 1194
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hyakub Edward Herring Jr                                              Contingent
          PO BX 1194
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          IGOR RUSU                                                             Contingent
          1109 IDLEWOOD DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.165
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Igor Rusu                                                             Contingent
          1109 IDLEWOOD DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Iisha Marie Latimore-Cosey                                            Contingent
          1170 ELGIN ST
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $26.20
          IIX Insurance Information Exch                                        Contingent
          1716 Briarcrest Drive                                                 Unliquidated
          Suite 200                                                             Disputed
          Bryan, TX 77802
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.165
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ikechukwu Akajiobi                                                    Contingent
          531 RIDGEWAY LANE
                                                                                Unliquidated
          LA HABRA, CA 90631
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ileanna Angelina Vilorio                                              Contingent
          4065 PERLITA AVE APT A
                                                                                Unliquidated
          LOS ANGELES, CA 90039
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ILEISHA MONE HAYES                                                    Contingent
          654 26TH ST
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.166
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ileisha Mone Hayes                                                    Contingent
          654 26TH ST
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Imani Shepel Shuttleworth-Derrick                                     Contingent
          1140 MARTIN LUTHER KING DR
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Imran Inayat                                                          Contingent
          2346 AGUA VISTA DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Indira Mercado                                                        Contingent
          168 DELTA 1
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ineisha Ro Shae Mccray                                                Contingent
          270 E O`KEEFE ST #C
                                                                                Unliquidated
          E PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $132.00
          Infinisource                                                          Contingent
          PO Box 889                                                            Unliquidated
          Coldwater, MI 49036-0889                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.166
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $458.80
          Instant Delivery                                                      Contingent
          103 Johnson Street                                                    Unliquidated
          E Syracuse, NY 13057                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $937.08
          IntelliQuick Delivery                                                 Contingent
          PO Box 34964                                                          Unliquidated
          Phoenix, AZ 85067                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Iraj Farzad                                                           Contingent
          1671 HAMILTON AVE APT 37
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Iraj Hashemitaheri                                                    Contingent
          1301 ANTWERP LANE
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Irene Elacre Eugenio                                                  Contingent
          766 Moscow st
                                                                                Unliquidated
          San Francisco, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Irene Taylor                                                          Contingent
          133 S ALEXANDRIA AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90004
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.167
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Irene Virginia Taylor-White                                           Contingent
          183 Rey St
                                                                                Unliquidated
          San Francisco, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Irvin Armando Zuniga Rojas SR                                         Contingent
          37171 SYCAMORE ST
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          IRVING HERNANDEZ                                                      Contingent
          2823 IOWA AVE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Irving Hernandez                                                      Contingent
          2823 IOWA AVE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Isabelo Aldip Revadavia Jr                                            Contingent
          650 BUCKWHEAT COURT APT 6307
                                                                                Unliquidated
          HAYWARD, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Isaiah Anthony Rodriguez                                              Contingent
          1727 DE MARIETTA AVE APT 3
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.168
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ISAIAH FREEMAN                                                        Contingent
          13606 CERISE AVE
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Isaiah Freeman                                                        Contingent
          13606 CERISE AVE
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ISAIAH JORDAN TAYLOR-TERRY                                            Contingent
          4810 FAIRFAX AVE APT D
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Isaiah Jordan Taylor-Terry                                            Contingent
          4810 FAIRFAX AVE APT D
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Isaiah Samson Revestir                                                Contingent
          2846 RAINWOOD CT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ISAIAH SHAKIR WALLACE                                                 Contingent
          2309 POTRERO CT
                                                                                Unliquidated
          PINOLE, CA 94564
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.168
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Isaiah Shakir Wallace                                                 Contingent
          2309 POTRERO CT
                                                                                Unliquidated
          PINOLE, CA 94564
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Isiah Jones Jr                                                        Contingent
          4328 LEIMERT BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Isileli Fakalata                                                      Contingent
          267 TERMINAL ST
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ISMAIL AHMED                                                          Contingent
          9440 27TH AVE SW B102
                                                                                Unliquidated
          SEATTLE, WA 98126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ISMAIL J FARAH                                                        Contingent
          3240 S 180TH ST APT 53
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ISRAEL AUGUSTIN JIMENEZ                                               Contingent
          251 SAN MARCO AVE APT 4
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.169
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Israel Augustin Jimenez                                               Contingent
          251 SAN MARCO AVE APT 4
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ISRAEL BLAS                                                           Contingent
          958 KENWOOD ST
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Israel Blas                                                           Contingent
          958 KENWOOD ST
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          IYESHA MICHELLE LEE                                                   Contingent
          3501 SAN PABLO AVE APT 437
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Iyesha Michelle Lee                                                   Contingent
          3501 SAN PABLO AVE APT 437
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JACK DOYLE                                                            Contingent
          1710 UNION ST
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.169
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jack Doyle                                                            Contingent
          1710 UNION ST
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JACK FULMORE JR                                                       Contingent
          1021 JONES AVE
                                                                                Unliquidated
          BRADDOCK, PA 15104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jackielou Bayari                                                      Contingent
          2723 RIVERRUN DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jackson Duong                                                         Contingent
          4907 CALLE DE ESCUELA
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacky Ri Hui Huang                                                    Contingent
          149 Mariposa Ave
                                                                                Unliquidated
          Daly City, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacob Baptista                                                        Contingent
          5304 BELLAS ARTES CIRCLE
                                                                                Unliquidated
          SAN RAMON, CA 94582
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.170
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacob Eli Sleep                                                       Contingent
          327 TRENTON WAY
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacob James Gehnert                                                   Contingent
          1610 N NORMANDIC AVE #308
                                                                                Unliquidated
          LOS ANGELES, CA 90027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JACOB LOUIE FRANKLIN                                                  Contingent
          1174 BAYARD DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacob Louie Franklin                                                  Contingent
          1174 BAYARD DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JACOB MATTHEW GARNER                                                  Contingent
          873 LEWIS AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacob Matthew Garner                                                  Contingent
          873 LEWIS AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.171
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacob Mitchell Gann                                                   Contingent
          PO BOX 5682
                                                                                Unliquidated
          SANTA CRUZ, CA 95063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JACOB PORTER                                                          Contingent
          27 DEER RUN COURT
                                                                                Unliquidated
          NEW CUMBERLAND, WV 26047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacqueline Washington                                                 Contingent
          29009 DIXON ST APT 6
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacqunisha Willinisha Smith                                           Contingent
          1515 E BIANCHI RD APT 608
                                                                                Unliquidated
          STOCKTON, CA 95210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAE PIL RO                                                            Contingent
          1550 TECHNOLOGY DR APT 2082
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jae Pil Ro                                                            Contingent
          1550 TECHNOLOGY DR APT 2082
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.171
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAFAR ALI                                                             Contingent
          12225 OCCIDENTAL AVE S
                                                                                Unliquidated
          SEATTLE, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jagmit Singh Josan                                                    Contingent
          1760 Halford Avenue #158
                                                                                Unliquidated
          Santa Clara, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jagtar Singh Sanghera                                                 Contingent
          43225 VALIANT DR
                                                                                Unliquidated
          CHANTILLY, VA 20152
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaime Chavez V                                                        Contingent
          828 MORSE AVE #55
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAIME GONZALEZ                                                        Contingent
          14404 CHADRON AVE
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaime Gonzalez                                                        Contingent
          14404 CHADRON AVE
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.172
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaime Medina                                                          Contingent
          1216 N NEW HAMPSHIRE AVE
                                                                                Unliquidated
          APT 5
          LOS ANGELES, CA 90029                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.172
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jairo Armando Romero                                                  Contingent
          5811 LOVELAND ST APT E
                                                                                Unliquidated
          BELL GARDENS, CA 90201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAKENDA ANITA WILLIAMS                                                Contingent
          1106 ALPINE AVE
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jakenda Anita Williams                                                Contingent
          1106 ALPINE AVE
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jalen Rehawn Lawson                                                   Contingent
          756 EAST TAYLOR ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jalil Nazmjo                                                          Contingent
          3188 MOORPARK AVE
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.172
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMAL JEYLANI                                                         Contingent
          5025 PUGET BLVD SW
                                                                                Unliquidated
          SEATTLE, WA 98106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jamal Lavell Miller                                                   Contingent
          435 HAIGHT AVE
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jamar Kyle Smithe                                                     Contingent
          8727 D ST
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMARR POILET SMITH                                                   Contingent
          1542 SHAFTER AVE APT B
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jamarr Poilet Smith                                                   Contingent
          1542 SHAFTER AVE APT B
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jameel Rizwan Hussain                                                 Contingent
          11808 TURTLE SPRINGS LANE
                                                                                Unliquidated
          PORTER RANCH, CA 91326
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.173
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMEL DINGLE                                                          Contingent
          415 W 128TH ST 2
                                                                                Unliquidated
          NEW YORK, NY 10027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES CARTER JEFFERSON                                                Contingent
          155 BURBANK ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Carter Jefferson                                                Contingent
          155 BURBANK ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Charles Rego                                                    Contingent
          22242 QUEEN ST
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES CHEATHAM                                                        Contingent
          134 SHANNON HIGHTS DR
                                                                                Unliquidated
          VERONA, PA 15147
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Clark                                                           Contingent
          155 NANTUCKET LN APT 155
                                                                                Unliquidated
          VALLEJO, CA 94590
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.174
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Cortez                                                          Contingent
          2019 FOXWORTHY AVE
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES DUY DAO                                                         Contingent
          1214 CLAYBURN LN
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Duy Dao                                                         Contingent
          1214 CLAYBURN LN
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Edward Belton                                                   Contingent
          912 TEAKWOOD CT APT 2
                                                                                Unliquidated
          LOS GATOS, CA 95032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Evans                                                           Contingent
          Po Box 60203
                                                                                Unliquidated
          Sunnyvale, CA 94088
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Graston                                                         Contingent
          1645 SALISBURY
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.174
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES HALL                                                            Contingent
          110 NORMAN DR
                                                                                Unliquidated
          PITTSBURGH, PA 15108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES JEAN-BAPTISTE                                                   Contingent
          107-46 90TH STREET
                                                                                Unliquidated
          OZONE PARK, NY 11417
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES JORDAN BLIESNER                                                 Contingent
          5034 117TH AVE SE
                                                                                Unliquidated
          BELLEVUE, WA 98006
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Manriquez II                                                    Contingent
          2643 YERBA VISTA CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Marcus Goulden                                                  Contingent
          169 BENDER CIRCLE
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Marcus Turner                                                   Contingent
          4523 LE CONTE CIRCLE
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.175
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES MICHAEL CANNON                                                  Contingent
          1605 THE STRAND AVE
                                                                                Unliquidated
          SAN JOSE, CA 95120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Michael Cannon                                                  Contingent
          1605 THE STRAND AVE
                                                                                Unliquidated
          SAN JOSE, CA 95120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Nicholas Vinyard                                                Contingent
          5043 LE MICCINE TER
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES OSCAR THOMAS                                                    Contingent
          23633 SCHULTIES RD
                                                                                Unliquidated
          LOS GATOS, CA 95033
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Oscar Thomas                                                    Contingent
          23633 SCHULTIES RD
                                                                                Unliquidated
          LOS GATOS, CA 95033
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES PRESTRIDGE                                                      Contingent
          4126 37TH AVE SW
                                                                                Unliquidated
          SEATTLE, WA 98126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.175
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES QUANG PHA NGUYEN                                                Contingent
          3065 MELCHESTER DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Quang Phan Nguyen                                               Contingent
          3065 MELCHESTER DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES ROBERT HESSINGER                                                Contingent
          2240 TAMIE LANE
                                                                                Unliquidated
          SAN JOSE, CA 95130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Robert Hessinger                                                Contingent
          2240 TAMIE LANE
                                                                                Unliquidated
          SAN JOSE, CA 95130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES SANDS                                                           Contingent
          2239 MIDTOWN SQUARE
                                                                                Unliquidated
          PITTSBURGH, PA 15219
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES VU                                                              Contingent
          3776 ROUEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.176
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Vu                                                              Contingent
          3776 ROUEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Wanjohi Kahenya                                                 Contingent
          834 DOYLE ROAD
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMES WILLIAM VEJVODA                                                 Contingent
          SADDLE BROOK, 114
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James William Vejvoda                                                 Contingent
          SADDLE BROOK, 114
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMIE NEHRENBERG                                                      Contingent
          985 MARVIEW AVE APT 5
                                                                                Unliquidated
          LOS ANGELES, CA 90012
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMIE WOLFE                                                           Contingent
          1174 FOREST AVE
                                                                                Unliquidated
          PITTSBURGH, PA 15236
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.177
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMIKA LATRICE PROCTOR-WATTS                                          Contingent
          638 21ST APT 315
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jamika Latrice Proctor-Watts                                          Contingent
          638 21ST APT 315
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMIL OCTAVIO JOHNSON-BENNETT                                         Contingent
          4839 STATE COURT
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jamil Octavio Johnson-Bennett                                         Contingent
          4839 STATE COURT
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jamila Brantley                                                       Contingent
          3120 SAN ANDREAS DR
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMILL LAMAR SPARROW                                                  Contingent
          3629 BROWNSVILLE RD APT 2
                                                                                Unliquidated
          PITTSBURGH, PA 15227
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.177
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jan Clement Zacarias Olidan                                           Contingent
          1371 LASSEN AVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jan Marc Oropesa Enriquez                                             Contingent
          101 W MOLTKE ST
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jan Ron Palmiery Tolentino                                            Contingent
          658 KODIAK CT APT 4
                                                                                Unliquidated
          SAN JOSE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JANAYA NICOLE GILKEY                                                  Contingent
          2820 CROSSMILL COURT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Janaya Nicole Gilkey                                                  Contingent
          2820 CROSSMILL COURT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JANCIN ROBINSON                                                       Contingent
          120 ERSKINE PL 225
                                                                                Unliquidated
          BRONX, NY 10475
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.178
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Janelle Lynn Rodricks                                                 Contingent
          853 COMMODORE #421
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Janet Williams                                                        Contingent
          4162 DON MARIANO DRIVE
                                                                                Unliquidated
          LOS ANGELES, CA 90008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JANICE G DUNCAN                                                       Contingent
          1880 N CAPITOL AVE APT 321
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Janice G Duncan                                                       Contingent
          1880 N CAPITOL AVE APT 321
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Janjo Cruz Mangalindan                                                Contingent
          895 NORTH BAYSHORE ROAD WEST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JARED SUTTON                                                          Contingent
          16061 SE 173RD ST
                                                                                Unliquidated
          RENTON, WA 98058
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.178
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jarod Justin Holmes                                                   Contingent
          1900 CALIFORNIA ST APT 21
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaroslava Popova                                                      Contingent
          1539 7TH AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jasmine Gomez                                                         Contingent
          52 DEARBORN STREET 52
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASMINE INES ROSADO                                                   Contingent
          254 W 154 STREET APT 4C
                                                                                Unliquidated
          NEW YORK, NY 10039
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASMINE JAMILA MILLER                                                 Contingent
          1475 167TH AVE APT 52
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jasmine Jamila Miller                                                 Contingent
          1475 167TH AVE APT 52
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.179
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASMINE MARIA RODRIGUEZ                                               Contingent
          20646 BLOSSOM COMMON
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jasmine Maria Rodriguez                                               Contingent
          20646 BLOSSOM COMMON
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jasmine Yazareth Delcid                                               Contingent
          14726 GREVILLIA AVE
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Adam Freedman                                                   Contingent
          1019 S CURSON AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASON CHRISTOPH FAILLA                                                Contingent
          7220 DUMAS PL
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Christopher Failla                                              Contingent
          7220 DUMAS PL
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.180
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASON DARNELL ROBINSON                                                Contingent
          214 LOVERIDGE CIRCLE
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Darnell Robinson                                                Contingent
          214 LOVERIDGE CIRCLE
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason David Perez                                                     Contingent
          1003 FOXCHASE DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Ernest Cabral                                                   Contingent
          2881 ARMSTEAD CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASON FOON LEE                                                        Contingent
          59 CYMBIDIUM CIRCLE
                                                                                Unliquidated
          S SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Foon Lee                                                        Contingent
          59 CYMBIDIUM CIRCLE
                                                                                Unliquidated
          S SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.180
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Gancedo                                                         Contingent
          3114 LOWELL AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASON ISAAC LEVINE                                                    Contingent
          250 WEST EL CAMINO REAL #6100
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Isaac Levine                                                    Contingent
          250 WEST EL CAMINO REAL #6100
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Jerome Mcgehee                                                  Contingent
          793 S TRACY BLVD UNIT 159
                                                                                Unliquidated
          TRACY, CA 95376
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Kalid Noorzai                                                   Contingent
          4920 CHISM WAY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Lee Sumpter                                                     Contingent
          890 HAYES ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.181
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Luc                                                             Contingent
          3204 PARKHAVEN DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Matthew Marrero                                                 Contingent
          1900 NICE DRIVE #201
                                                                                Unliquidated
          CORONA, CA 92882
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASON PAUL CORNELIUS                                                  Contingent
          720 N 10TH ST STE A 264
                                                                                Unliquidated
          RENTON, WA 98057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASON PEREZ                                                           Contingent
          1003 FOXCHASE DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason S Poon                                                          Contingent
          950 Linden Ave #212
                                                                                Unliquidated
          Sunnyvale, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASON TIN HUYNH                                                       Contingent
          2538 HURAN COURT
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.181
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Tin Huynh                                                       Contingent
          2538 HURAN COURT
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASON TODD                                                            Contingent
          3090 LOS PRADOS ST APT 17
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Todd                                                            Contingent
          3090 LOS PRADOS ST APT 17
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JASPER OLYMPIO                                                        Contingent
          1451 COMPTON DRIVE
                                                                                Unliquidated
          MABLETON, GA 30126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JATINDER PAL SINGH                                                    Contingent
          25200 SANTA CLARA ST APT 242
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jatinder Pal Singh                                                    Contingent
          25200 SANTA CLARA ST APT 242
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.182
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jatinder Singh                                                        Contingent
          25200 SANTA CLARA ST APT 242
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAUREL PAYABYAB JULAO                                                 Contingent
          11 EDINBURGH ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaurel Payabyab Julao                                                 Contingent
          11 EDINBURGH ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Java Leon Bacot                                                       Contingent
          1362 64th ave
                                                                                Unliquidated
          Oakland, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAVANTE WATSON                                                        Contingent
          12519 SE 216TH ST
                                                                                Unliquidated
          KENT, WA 98031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Javier Chavez Salas                                                   Contingent
          1981 TATE ST APT #B301
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.183
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAVIER LOPEZ URENDA                                                   Contingent
          4011 DARWIN DR
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Javier Lopez Urenda                                                   Contingent
          4011 DARWIN DR
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Javier Villanueva                                                     Contingent
          805 SAN VERON AVE
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAVIS MICHAEL ABREGANO                                                Contingent
          1142 ZURICH COURT
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Javis Michael Abregano                                                Contingent
          1142 ZURICH COURT
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jay Edward Mitchell                                                   Contingent
          1435 KIM CT APT 2
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.183
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAY KATOFSKY                                                          Contingent
          725 LITTLE FOOT DR
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jay Katofsky                                                          Contingent
          725 LITTLE FOOT DR
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jay Young Kim                                                         Contingent
          3585 Sandpebble Dr
                                                                                Unliquidated
          San Jose, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jayme Renee Hutchins                                                  Contingent
          P O BOX 2311
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaymie Alan Rekdahl                                                   Contingent
          1737 REDWOOD AVE
                                                                                Unliquidated
          REDWOOD CITY, CA 94061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAYVON VANPELT                                                        Contingent
          1033 60TH ST APT 2
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.184
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jayvon Vanpelt                                                        Contingent
          1033 60TH ST APT 2
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAZMINE PAIGE HERNANDEZ                                               Contingent
          460 E 147 ST 2B
                                                                                Unliquidated
          BRONX, NY 10455
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAZMINE SHANDAL EWING                                                 Contingent
          5905 MAURITANIA AVE APT 4
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jazmine Shandal Ewing                                                 Contingent
          5905 MAURITANIA AVE APT 4
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEAN BERNARD                                                          Contingent
          1565 NOSTRAND AVE 5H
                                                                                Unliquidated
          BROOKLYN, NY 11226
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEANETE MALDONADO                                                     Contingent
          917 W HYDE PARK BLVD
                                                                                Unliquidated
          SUITE 105
          INGLEWOOD, CA 95131-1730                                              Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.184
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeanete Maldonado                                                     Contingent
          917 W HYDE PARK BLVD
                                                                                Unliquidated
          SUITE 105
          INGLEWOOD, CA 95131                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.184
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeanette Leah Davis                                                   Contingent
          714 VARSI PL
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEANETTE VILLALOBOS                                                   Contingent
          338 E 82 ST
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeanette Villalobos                                                   Contingent
          338 E 82 ST
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeannette Estelle Oguinn                                              Contingent
          2915 N TEXAS ST APT 115
                                                                                Unliquidated
          FAIRFIELD, CA 94533
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeff Lung Chen                                                        Contingent
          38780 HUNTINGTON CIR
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.185
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeff M Zaklit                                                         Contingent
          1179 W 11TH ST APT 7
                                                                                Unliquidated
          SAN PEDRO, CA 90731
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEFFERY DEAKINGS                                                      Contingent
          1129 MELLON STREET
                                                                                Unliquidated
          PITTSBURGH, PA 15206
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffery Wade Jr                                                       Contingent
          258 LANSING WAY
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey Allen Stevenson                                               Contingent
          1151 PECOS WAY
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEFFREY BELTRAN                                                       Contingent
          423 GALAXY CT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey Briscoe                                                       Contingent
          771 clark way
                                                                                Unliquidated
          Palo Alto, CA 94304
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.186
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEFFREY JAMES HARTUNG                                                 Contingent
          1798 STARLITE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey James Hartung                                                 Contingent
          1798 STARLITE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey John Dauz Beltran                                             Contingent
          423 GALAXY CT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEFFREY LEE ROWLAND                                                   Contingent
          1510 AWALT COURT
                                                                                Unliquidated
          LOS ALTOS, CA 94024
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey Lee Rowland                                                   Contingent
          1510 AWALT COURT
                                                                                Unliquidated
          LOS ALTOS, CA 94024
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEFFREY LYONS                                                         Contingent
          6418 HAWTHORNE ST
                                                                                Unliquidated
          LANDOVER, MD 20785
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.186
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey Macabeo Encarnacion                                           Contingent
          2845 CORDA DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEFFREY MICHAEL YOUNGBLOOD                                            Contingent
          846 LAKEWOOD DR.
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey Michael Youngblood                                            Contingent
          846 LAKEWOOD DR.
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey Tellez                                                        Contingent
          219 ALBION AVENUE APT #3
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey Welti Jones                                                   Contingent
          7486 BRIGHTON CT
                                                                                Unliquidated
          DUBLIN, CA 94568
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEFFY TARUC SIMON                                                     Contingent
          66 GREENTREE WAY
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.187
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffy Taruc Simon                                                     Contingent
          66 GREENTREE WAY
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jena Gillin                                                           Contingent
          3433 LEIGH AVE
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JENAYA FRA CATO                                                       Contingent
          24230 SILVA AVE APT 29
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jenaya Fra Cato                                                       Contingent
          24230 SILVA AVE APT 29
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JENE MARIE CRAVANAS                                                   Contingent
          1629 CAVALLO RD APT D
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jene Marie Cravanas                                                   Contingent
          1629 CAVALLO RD APT D
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.187
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jennifer Anne Fisser                                                  Contingent
          489 SNYDER AVE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JENNIFER BARAJAS                                                      Contingent
          4229 W 102ND ST
                                                                                Unliquidated
          INGLEWOOD, CA 90304
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jennifer Barajas                                                      Contingent
          4229 W 102ND ST
                                                                                Unliquidated
          INGLEWOOD, CA 90304
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JENNIFER HALL                                                         Contingent
          124 KISSICK LN
                                                                                Unliquidated
          FREEPORT, PA 16229
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jennifer McDonald                                                     Contingent
          1553 PROVINCETOWN DR
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JENNIFER RUTH MOSS                                                    Contingent
          501 W 189TH ST APT 3
                                                                                Unliquidated
          NEW YORK, NY 10040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.188
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JENNIFER TAN                                                          Contingent
          6110 181ST PL SW
                                                                                Unliquidated
          LYNNWOOD, WA 98037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jenny Mercedes Jimenez                                                Contingent
          2517 LOGSDEN WAY
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerahmeel Lemuel Blanco                                               Contingent
          29149 SUNRISE CT
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEREMIAH AKINI CHARLES                                                Contingent
          172 WEST 130TH ST APT 5B
                                                                                Unliquidated
          NEW YORK, NY 10027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEREMIAH BYRON CLAUSS                                                 Contingent
          2104 LA TERRACE CIRCLE
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeremiah Byron Clauss                                                 Contingent
          2104 LA TERRACE CIRCLE
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.189
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEREMIAH JOHN STUDEBAKER                                              Contingent
          1315 GORDON ST
                                                                                Unliquidated
          VALLEJO, CA 94590
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeremiah John Studebaker                                              Contingent
          1315 GORDON ST
                                                                                Unliquidated
          VALLEJO, CA 94590
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeremie Fontanilla Aldana                                             Contingent
          518 PENTENCIA ST 3
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeremy Active                                                         Contingent
          3427 KETTMANN RD
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeremy David Coatney                                                  Contingent
          1236 PEACH COURT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEREMY LUCAS SOUZA                                                    Contingent
          65 MARIAN LANE
                                                                                Unliquidated
          SAN JOSE, CA 95127-9512
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.189
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeremy Lucas Souza                                                    Contingent
          65 MARIAN LANE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeremy Richard Lopez                                                  Contingent
          94 POAS CIR
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEREMY SMITH                                                          Contingent
          23634 129TH AVE SE
                                                                                Unliquidated
          KENT, WA 98031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeremy Vincent Di Salvo                                               Contingent
          460 DIXON DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEREMY WILLIAM SCHULTZ                                                Contingent
          53 CLEAVES AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeremy William Schultz                                                Contingent
          53 CLEAVES AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.190
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jericho Ganado Tottoc                                                 Contingent
          569 PARK JOHNSON PL
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerico Elijah Cruz Galuego                                            Contingent
          2656 GREAT ARBOR WAY
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeries Bahu                                                           Contingent
          700 PRONTO DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jermiah Lakapi Sao                                                    Contingent
          2359 PENTLAND WAY
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerold Keith Bacon                                                    Contingent
          1055 LAKEVIEW DRIVE
                                                                                Unliquidated
          HILLSBOROUGH, CA 94010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerome Bright                                                         Contingent
          510 ARGONAUT AVE                                                      Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Class List
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.190
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEROME LEROY FINLEY                                                   Contingent
          1713 164TH AVE APT 5
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerome Leroy Finley                                                   Contingent
          1713 164TH AVE APT 5
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerome Pinkney                                                        Contingent
          5816 WARING AVENUE 102
                                                                                Unliquidated
          LOS ANGELES, CA 90038
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEROME WARTHEN                                                        Contingent
          4079 W 142ND ST APT E
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerome Warthen                                                        Contingent
          4079 W 142ND ST APT E
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JERROLD FORD JR                                                       Contingent
          2128 FLORIDA AVE
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.191
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerrold Ford Jr                                                       Contingent
          2128 FLORIDA AVE
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JERRY CHARLOT                                                         Contingent
          88-35 162ST 3H
                                                                                Unliquidated
          JAMAICA, NY 11432
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerry David Candelaria                                                Contingent
          934 ADAMS ST
                                                                                Unliquidated
          ALBANY, CA 94706
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerry Kim                                                             Contingent
          3751 W 6TH ST #76227
                                                                                Unliquidated
          LOS ANGELES, CA 90076
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerry Obi                                                             Contingent
          1461 NAVY ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerry Toan Pham                                                       Contingent
          270 UMBARGER RD SPC 6
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.192
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,200.00
          Jersey Shore Courier Service                                          Contingent
          501 Prospect St Unit 90                                               Unliquidated
          Lakewood, NJ 08701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jerum Polloso                                                         Contingent
          555 WASHINGTON AVENUE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesse Anthony Montes                                                  Contingent
          3519 WELLINGTON RD
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesse Anthony Quiroz                                                  Contingent
          3443 MCKINLEY AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESSE BAUER                                                           Contingent
          692 FLORIDA AVE APT A
                                                                                Unliquidated
          MOUNT LEBANON, PA 15228
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesse Edgar Diaz                                                      Contingent
          1920 W 41ST ST
                                                                                Unliquidated
          LOS ANGELES, CA 90062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.192
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESSE JOHN AVILES                                                     Contingent
          336 N CHAPEL AVE APT J
                                                                                Unliquidated
          ALHAMBRA, CA 91801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesse John Aviles                                                     Contingent
          336 N CHAPEL AVE APT J
                                                                                Unliquidated
          ALHAMBRA, CA 91801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesse Montoya                                                         Contingent
          483 BIXBY DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESSICA CIENA BRAVO                                                   Contingent
          2340 ORLANDO DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95122-9512
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jessica Ciena Bravo                                                   Contingent
          2340 ORLANDO DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESSICA E ALLEN                                                       Contingent
          494 63RD ST APT 1
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.193
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jessica E Allen                                                       Contingent
          494 63RD ST APT 1
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jessica Hernandez Berrios                                             Contingent
          225 BOCANA ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESSICA LARKIN                                                        Contingent
          8106 19TH AVE NE A
                                                                                Unliquidated
          MARYSVILLE, WA 98271
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jessica Mai Thanh Nguyen                                              Contingent
          525 TIROL CT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESSICA MARTINEZ                                                      Contingent
          691 W SAN CARLOS ST
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jessica Martinez                                                      Contingent
          691 W SAN CARLOS ST
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.193
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jessica Sanchez Garcia                                                Contingent
          564 TROY DR APT 2
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESSICA TORRES ZAMBRANO                                               Contingent
          73 LAMMERHAVEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jessica Torres Zambrano                                               Contingent
          73 LAMMERHAVEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jessie Postremo Gumban                                                Contingent
          142 PLYMOUTH CIR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESUS ADRIAN BALLOTE-BURGOS                                           Contingent
          515 FILLMORE ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesus Adrian Ballote-Burgos                                           Contingent
          515 FILLMORE ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.194
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesus C Mejia                                                         Contingent
          1249 HOPKINS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesus Carvente Quinto                                                 Contingent
          PO BOX 40221
                                                                                Unliquidated
          LONG BEACH, CA 90804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESUS DE LA CRUZ                                                      Contingent
          2723 WEBB AVE 1-G
                                                                                Unliquidated
          BRONX, NY 10468
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesus Grimaldo                                                        Contingent
          14016 YUKON AVE
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JESUS LUNA JR                                                         Contingent
          121 BIRCH LANE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesus Manuel Romero Duarte                                            Contingent
          2782 FOLSOM STREET #3
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.195
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesus Meza Juarez                                                     Contingent
          2052 OLIVE AVE APT A
                                                                                Unliquidated
          LONG BEACH, CA 90806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesus Uriel Samano Soto                                               Contingent
          3853 LYMAN RD
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JIAN EN ZHENG                                                         Contingent
          1109 GRACE ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jian En Zheng                                                         Contingent
          1109 GRACE ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jianbin Liang                                                         Contingent
          284 ELLINGTON AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JIMMY CAM                                                             Contingent
          919 RUTLAND ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.195
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jimmy Cam                                                             Contingent
          919 RUTLAND ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jimmy Dean Scott Jr                                                   Contingent
          979 60TH ST
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jimmy Hieu Cao                                                        Contingent
          2877 Hostetter Rd
                                                                                Unliquidated
          San Jose, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jimmy James Sugar                                                     Contingent
          1227 W 39TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JIMMY JEFFERSON LOBO ORDONEZ                                          Contingent
          5522 VIRGINIA AVE APT 1
                                                                                Unliquidated
          LOS ANGELES, CA 90038
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jimmy Jefferson Lobo Ordonez                                          Contingent
          5522 VIRGINIA AVE APT 1
                                                                                Unliquidated
          LOS ANGELES, CA 90038
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.196
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jimmy Karoll Sigmon                                                   Contingent
          832 W 134 PLACE
                                                                                Unliquidated
          COMPTON, CA 90220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JIMMY RIGGINS                                                         Contingent
          7158 TILDEN STREET
                                                                                Unliquidated
          PITTSBURGH, PA 15206
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JoAnn Ray                                                             Contingent
          744 E 85TH STREET
                                                                                Unliquidated
          LOS ANGELES, CA 90001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joanna Marie Ebon Magpayo                                             Contingent
          548 Saint Anton way
                                                                                Unliquidated
          Hayward, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOANNA MARIE GA ACALA                                                 Contingent
          34112 VIA LUCCA
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joanna Marie Ga Acala                                                 Contingent
          34112 VIA LUCCA
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.196
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jody Ray Mccoy Jr                                                     Contingent
          1229 OAK HILL CT                                                      Unliquidated
          PINOLE, CA 94564
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Class List
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joe Abraham Murillo Cortes                                            Contingent
          2912 SUNWOOD DR
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joe Duc Wong                                                          Contingent
          1372 Trestlewood lane dr
                                                                                Unliquidated
          San Jose, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joe Dung Chi Dam                                                      Contingent
          1267 OXTON DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joe Ornelas                                                           Contingent
          2330 PATRICIA DR
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOEL ANTONIO CONTRERAS                                                Contingent
          3843 AGNES AVE
                                                                                Unliquidated
          LYNWOOD, CA 90262
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.197
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joel Antonio Contreras                                                Contingent
          3843 AGNES AVE
                                                                                Unliquidated
          LYNWOOD, CA 90262
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOEL BERRY                                                            Contingent
          512 E ST. APT B
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joel Berry                                                            Contingent
          512 E ST. APT B
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOEL GUITY                                                            Contingent
          345 THATFORD AVENUE 2B
                                                                                Unliquidated
          BROOKLYN, NY 11212
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joey Phuc Cong Nguyen                                                 Contingent
          510 SADDLEBROOK DR SPC# 309
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johanna Campos                                                        Contingent
          3972 E. 5th Street
                                                                                Unliquidated
          Los Angeles, CA 90026
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.198
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johe Altamirano                                                       Contingent
          870 E EL CAMINO REAL APT 160
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN ANTHONY DIAZ                                                     Contingent
          867 MALONE RD
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Anthony Diaz                                                     Contingent
          867 MALONE RD
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Anthony Perdomo                                                  Contingent
          16601 KELSLOAN ST
                                                                                Unliquidated
          VAN NUYS, CA 91406
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Bang Tran                                                        Contingent
          2630 GLEN FERGUSON CIRCLE
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN CARL TERRAZAS JR                                                 Contingent
          104 GLEN EYRIE AVE APT 5
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.198
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Carl Terrazas Jr                                                 Contingent
          104 GLEN EYRIE AVE APT 5
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN CHRISTOPHE HANKS                                                 Contingent
          1702 65TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Christophe Hanks                                                 Contingent
          1702 65TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Constantine Dela Pena                                            Contingent
          341 CARNEGIE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Edward Beltran II                                                Contingent
          10275 EARLANDER ST
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Ervin Bagby                                                      Contingent
          16180 Marcella st
                                                                                Unliquidated
          San Leandro, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.199
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN FRANKLIN                                                         Contingent
          1150 RANCHERO WAY #1
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN INOCENCIO                                                        Contingent
          22652 BYRON ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Inocencio                                                        Contingent
          22652 BYRON ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN JOSEPH ACEDILLO                                                  Contingent
          2761 VALLEYWOOD DR
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Joseph Acedillo                                                  Contingent
          2761 VALLEYWOOD DR
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN KEVIN SYKI NOLASCO                                               Contingent
          900 HENDERSON AVE SPACE 66
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.199
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Kevin Sykimte Nolasco                                            Contingent
          900 HENDERSON AVE SPACE 66
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN KIM                                                              Contingent
          35739 30TH AVE S
                                                                                Unliquidated
          FEDERAL WAY, WA 98003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Lawrence W Schofield                                             Contingent
          176 JASMINE WAY
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Le                                                               Contingent
          4504 BISON WAY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN LE-NAM DANG                                                      Contingent
          6975 ROCKTON PLACE
                                                                                Unliquidated
          SAN JOSE, CA 95119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Le-Nam Dang                                                      Contingent
          6975 ROCKTON PLACE
                                                                                Unliquidated
          SAN JOSE, CA 95119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.200
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Nels Lindstrom                                                   Contingent
          16 MANZANITA AVE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Ortega Chagoya                                                   Contingent
          2509 BLUESTONE CT
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John P Deguzman                                                       Contingent
          43 HEATH ST
                                                                                Unliquidated
          MILPITAS, CA 95036
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Paul Braga Murillo                                               Contingent
          22790 OLIVE PL
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Paul Realon                                                      Contingent
          2555 KOLNES CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Robert Haynes-Brakebill Ii                                       Contingent
          21242 MEEKLAND AVE
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.201
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN SALVADOR CALDERON                                                Contingent
          PO BOX 24865
                                                                                Unliquidated
          SAN JOSE, CA 95154
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Salvador Calderon                                                Contingent
          PO BOX 24865
                                                                                Unliquidated
          SAN JOSE, CA 95154
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHN SLIMICK JR                                                       Contingent
          333 HANKEY FARMS DR
                                                                                Unliquidated
          OAKDALE, PA 15071
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John W Shepherd                                                       Contingent
          13302 BLUE SPRUCE AVE
                                                                                Unliquidated
          GARDEN GROVE, CA 92840
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John William Spurlock                                                 Contingent
          29004 MIRADA CIRCULO
                                                                                Unliquidated
          VALENCIA, CA 91354
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnathan Talo Ludka                                                  Contingent
          3393 Ivan Way
                                                                                Unliquidated
          Mountain View, CA 94040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.201
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnny Lewis Allen Jr                                                 Contingent
          5526 OLANDA ST
                                                                                Unliquidated
          LYNWOOD, CA 90262
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHNNY MORENO                                                         Contingent
          3047 NELSON LN
                                                                                Unliquidated
          TRACY, CA 95377
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnny Moreno                                                         Contingent
          3047 NELSON LN
                                                                                Unliquidated
          TRACY, CA 95377
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnny Ray Florence Jr                                                Contingent
          1475 FLORIDA AVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnny Ray Willis                                                     Contingent
          1227 WEST AVE H14
                                                                                Unliquidated
          LANCASTER, CA 93534
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnny Valdez                                                         Contingent
          928 S FERRIS AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.202
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnson Huang                                                         Contingent
          560 HURON AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jomar Santos Yanos                                                    Contingent
          196 LONETREE CT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jon Daniel Croft                                                      Contingent
          299 MELIN AVE
                                                                                Unliquidated
          BEN LOMOND, CA 95005
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jon Mark Ashe                                                         Contingent
          PO BOX 1967
                                                                                Unliquidated
          NOVATO, CA 94948
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JONAI FULLARD                                                         Contingent
          817 12TH STREET A13
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonai Fullard                                                         Contingent
          817 12TH STREET A13
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.202
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Antonio Montano                                              Contingent
          2261 CLINTON AVE APT A
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Bonilla                                                      Contingent
          3970 BRIGHTON AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Charles Walker                                               Contingent
          541 W CAPITOL EXPRESSWAY
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JONATHAN CHAVEZ                                                       Contingent
          1225 VIENNA DR SPACE 127
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Chavez                                                       Contingent
          1225 VIENNA DR SPACE 127
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JONATHAN DAVIS ROMERO                                                 Contingent
          961 NEIL WAY
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.203
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Davis Romero                                                 Contingent
          961 NEIL WAY
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JONATHAN DOMINGO                                                      Contingent
          4729 S 284TH PL
                                                                                Unliquidated
          AUBURN, WA 98001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Elliot Figueroa                                              Contingent
          3903 W 119TH PL
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Lam                                                          Contingent
          441 BATAAN CT
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Marquis Rodgers                                              Contingent
          1519 W 123RD ST
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JONATHAN MENEFEE                                                      Contingent
          537 W 7TH AVE APT 2
                                                                                Unliquidated
          HOMESTEAD, PA 15120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.204
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Montinol Bialoglovski                                        Contingent
          10466 MILLER AVENUE
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JONATHAN R BLUNT                                                      Contingent
          295 EAST 57TH ST APT 2
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan R Flowers                                                    Contingent
          1214 E 49TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Raven Banting Silvestre                                      Contingent
          2264 DENAIR AVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Richards Blunt                                               Contingent
          295 EAST 57TH ST APT 2
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JONATHAN SANTOS                                                       Contingent
          316 E HYDE PARK APT. 7
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.204
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Santos                                                       Contingent
          316 E HYDE PARK APT. 7
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JONESHA MARIE HEMPSTEAD                                               Contingent
          1633 NEWCOMB AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonesha Marie Hempstead                                               Contingent
          1633 NEWCOMB AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JONETTA LORETTA WILLIAMS                                              Contingent
          2229 E 24TH ST APT 3
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonetta Loretta Williams                                              Contingent
          2229 E 24TH ST APT 3
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JORDAN BLAKE                                                          Contingent
          304 SOUTH STREET
                                                                                Unliquidated
          WEST MIFFLIN, PA 15122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.205
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jordan Jayson Tabula                                                  Contingent
          600 EAST WEDDELL DR #132
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jordan Kealohapauole Gagne                                            Contingent
          1066 SUMMERPLACE DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JORDAN LEE TRUPPNER                                                   Contingent
          5306 S 3RD AVENUE
                                                                                Unliquidated
          EVERETT, WA 98203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jordan Stephan Flores                                                 Contingent
          3120 CHAPMAN ST APT C
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JORGE ALEJANDRO MALDONADO SALAS                                       Contingent
          1658 ORLANDO DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jorge Alejandro Maldonado Salas                                       Contingent
          1658 ORLANDO DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.205
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jorge Amezcua Anaya                                                   Contingent
          26112 REGAL AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jorge Chacon                                                          Contingent
          6 SPRUCE AVE APT #1
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jorge Guerrero                                                        Contingent
          446 E 47TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jorge Huberto Salazar                                                 Contingent
          3026 CRYSTAL CREEK DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jorge Luis Trejo                                                      Contingent
          5257 BORLAND ROAD UNIT D
                                                                                Unliquidated
          LOS ANGELES, CA 90032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JORGE MORALES                                                         Contingent
          15339 FLORWOOD AVE
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.206
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jorge Morales                                                         Contingent
          15339 FLORWOOD AVE
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jorge Villalobos                                                      Contingent
          10223 BUFORD AVE APT 11
                                                                                Unliquidated
          INGLEWOOD, CA 90304
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JORGE VLADIMIR GARCIA                                                 Contingent
          6858 FULTON AVE APT 17
                                                                                Unliquidated
          NORTH HOLLYWOOD, CA 91605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jorge Vladimir Garcia                                                 Contingent
          6858 FULTON AVE APT 17
                                                                                Unliquidated
          NORTH HOLLYWOOD, CA 91605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose A Garcia                                                         Contingent
          1548 ALMADEN EXPWY APT 302
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Alberto Rosales Garcia                                           Contingent
          2868 LONGACRE CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.207
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Alejandro Calderon Bazurto                                       Contingent
          178 DELTA ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Alexander Herrera                                                Contingent
          1842 W 49TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Angel Briones                                                    Contingent
          4321 LENNOX BLVD
                                                                                Unliquidated
          INGLEWOOD, CA 90304
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Antonio Jimenez Hernandez Jr                                     Contingent
          1207 HOPKINS AVE APT 5
                                                                                Unliquidated
          REDWOOD CITY, CA 94062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Armando Garcia                                                   Contingent
          1939 JONES AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose De Jesus Flores Santoyo                                          Contingent
          2036 S HUNTER ST.
                                                                                Unliquidated
          STOCKTON, CA 95206
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.207
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose De Jesus Loza                                                    Contingent
          11947 ALLIN ST APT 586
                                                                                Unliquidated
          CULVER CITY, CA 90230
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose De Jesus Quevedo Jr                                              Contingent
          160 PARK PLACE APT 4
                                                                                Unliquidated
          SANTA CRUZ, CA 95060
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose DeJesus Gonzalez                                                 Contingent
          189 ACACIA STREET
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Enrique Martinez Gatica                                          Contingent
          282 VELVET LAKE DR
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSE ESCOBAR GONZALES                                                 Contingent
          10603 S VAN NESS ST APT 1
                                                                                Unliquidated
          INGLEWOOD, CA 90303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Escobar Gonzales                                                 Contingent
          10603 S VAN NESS ST APT 1
                                                                                Unliquidated
          INGLEWOOD, CA 90303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.208
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSE FRANCISCO CERVANTES AGUILAR                                      Contingent
          1040 CLYDE AVE APT 3
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Francisco Cervantes Aguilar                                      Contingent
          1040 CLYDE AVE APT 3
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSE G RICO                                                           Contingent
          19983 FOREST AVE APT 15
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose G Rico                                                           Contingent
          19983 FOREST AVE APT 15
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Isaias Garcia Ramirez                                            Contingent
          200 RANDOLPH ST APT 13
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSE J MONTES DE OCA ACOSTA                                           Contingent
          2308 SW 333RD ST
                                                                                Unliquidated
          FEDERAL WAY, WA 98023
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.208
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSE JUAN GONZALEZ SOTELO                                             Contingent
          1179 AYALA DR APT D
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Juan Gonzalez Sotelo                                             Contingent
          1179 AYALA DR APT D
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Luis Cejalanda                                                   Contingent
          1001 S 12TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Luis Gurrola                                                     Contingent
          861 BIRCH AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Luis Monzon Torres                                               Contingent
          333 N BERENDO ST #108
                                                                                Unliquidated
          LOS ANGELES, CA 90004
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Manuel Hernandez                                                 Contingent
          4313 E PALMERSTONE ST
                                                                                Unliquidated
          COMPTON, CA 90221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.209
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSE MUNOZ JR                                                         Contingent
          35 UNION AVE APT 23
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Munoz Jr                                                         Contingent
          35 UNION AVE APT 23
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSE NAVAREZ                                                          Contingent
          555 EAST CARSON STREET APT 43
                                                                                Unliquidated
          CARSON, CA 90745
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Navarez                                                          Contingent
          555 EAST CARSON STREET APT 43
                                                                                Unliquidated
          CARSON, CA 90745
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Pablo Colmenares                                                 Contingent
          10502 MCNERNEY AVENUE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Ramon Torres                                                     Contingent
          4936 WEWWORLD DR
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.210
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Reynaldo Hernandez Perez                                         Contingent
          55 NEWELL RD APT 103
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Ricardo Calderon                                                 Contingent
          178 DELTA ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Steven Gonzalez                                                  Contingent
          4976 1/2 MARIONWOOD DR APT#21
                                                                                Unliquidated
          CULVER CITY, CA 90230
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSE TOMAYLLA                                                         Contingent
          4324 W 145TH ST
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Tomaylla                                                         Contingent
          4324 W 145TH ST
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Valencia                                                         Contingent
          230 CARNEGIE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.210
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSE YAHIR MEZA                                                       Contingent
          473 21ST ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jose Yahir Meza                                                       Contingent
          473 21ST ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSEPH ALEXANDE CERVANTES                                             Contingent
          109 FLORENCE ST
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Alexander Cervantes                                            Contingent
          109 FLORENCE ST
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Bautista                                                       Contingent
          3237 CLIFFORD CIR
                                                                                Unliquidated
          PLEASANTON, CA 94588
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSEPH BERNARD MATTHEWS                                               Contingent
          71 MINERVA ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.211
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Bernard Matthews                                               Contingent
          71 MINERVA ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Daniel Garber                                                  Contingent
          7643 HOLLANDERRY PL
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Enzio Dill                                                     Contingent
          3134 MLK JR WAY
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSEPH FIORE                                                          Contingent
          814 JUSTINE DRIVE
                                                                                Unliquidated
          PITTSBURGH, PA 15239
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Gifford                                                        Contingent
          10 9TH AVE APT 203
                                                                                Unliquidated
          SAN MATEO, CA 94401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Lee Rodriguez                                                  Contingent
          11301 WILSHIRE BLVD
                                                                                Unliquidated
          BLD 209 APT 205
          LOS ANGELES, CA 90073                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.211
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Michael Castro                                                 Contingent
          918 NORTH SOLDANO AVE.
                                                                                Unliquidated
          AZUSA, CA 91702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Michael Gerosa                                                 Contingent
          4291 26TH ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSEPH PATTERSON                                                      Contingent
          87 GREENBRIAR DR
                                                                                Unliquidated
          PITTSBURGH, PA 15220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSEPH PAUL CAIANIELLO                                                Contingent
          1248 LUCILLE STREET
                                                                                Unliquidated
          SAN LEANDRO, CA 94577-1433
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Paul Caianiello                                                Contingent
          1248 LUCILLE STREET
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSEPH PAUL SETO                                                      Contingent
          18953 ALMOND RD
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.212
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Paul Seto                                                      Contingent
          18953 ALMOND RD
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Perez                                                          Contingent
          3078 CRATER LN
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSEPH PERRY JR                                                       Contingent
          4322 ABRAM DR
                                                                                Unliquidated
          CONLEY, GA 30288
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSEPH PINCHOTTI                                                      Contingent
          49 VERNON DRIVE
                                                                                Unliquidated
          ALIQUIPPA, PA 15001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSEPH RAMONE ROBINSON                                                Contingent
          6438 HERZOG ST
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Ramone Robinson                                                Contingent
          6438 HERZOG ST
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.213
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Josephine Rosemary Alnajjar                                           Contingent
          5901 Central Ave
                                                                                Unliquidated
          Newark, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSH WOLFE                                                            Contingent
          506 208TH ST SE
                                                                                Unliquidated
          BOTHELL, WA 98012
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Aaron Vicente                                                  Contingent
          2665 SPINDRIFT CIRCLE
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Alan Howard-Taylor                                             Contingent
          601 N MARKET ST B-8
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Albright                                                       Contingent
          718 E 47TH ST APT 718
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA ALLEN KOLKMANN                                                 Contingent
          15812 INDEPENDENCE AVE
                                                                                Unliquidated
          LATHROP, CA 95330
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.213
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Allen Kolkmann                                                 Contingent
          15812 INDEPENDENCE AVE
                                                                                Unliquidated
          LATHROP, CA 95330
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA ANDREW DUCOTE                                                  Contingent
          1949 WALNUT GROVE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Andrew Ducote                                                  Contingent
          1949 WALNUT GROVE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA ANTON DUSAN                                                    Contingent
          2200 CURTNER AVENUE APT 86
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Anton Dusan                                                    Contingent
          2200 CURTNER AVENUE APT 86
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA ARP                                                            Contingent
          2507 S 286TH PL APT C301
                                                                                Unliquidated
          FEDERAL WAY, WA 98003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.214
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA BOYKIN                                                         Contingent
          49 MEADOW RD
                                                                                Unliquidated
          BURGETTSTOWN, PA 15021
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Ebrado Deleon                                                  Contingent
          449 GEMMA DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA EMALE HATCHER                                                  Contingent
          2056 40TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94601-9460
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Emale Hatcher                                                  Contingent
          2056 40TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA ESAU LOPEZ                                                     Contingent
          651 N 10TH ST APT B
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Esau Lopez                                                     Contingent
          651 N 10TH ST APT B
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.214
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA LAVELL RHODES                                                  Contingent
          1213 SWEET PEA DR
                                                                                Unliquidated
          PATTERSON, CA 95363
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Lavell Rhodes                                                  Contingent
          1213 SWEET PEA DR
                                                                                Unliquidated
          PATTERSON, CA 95363
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Mark Simoes                                                    Contingent
          1111 MORSE AVE #73
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Mccain                                                         Contingent
          530 BAILWAY AVENUE 828
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA MICHAEL FRANCIA                                                Contingent
          501 MINERVA STREET
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Michael Francia                                                Contingent
          501 MINERVA STREET
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.215
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Minh Nghiem                                                    Contingent
          4040 HIDDEN VALLEY LN
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA SABATEN SIAPNO                                                 Contingent
          15501 OCEANSIDE WAY
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA SHEETS                                                         Contingent
          620 S CENTRAL AVENUE
                                                                                Unliquidated
          CANONSBURG, PA 15317
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Shelby Damon Jones                                             Contingent
          100 9TH ST APT 117
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA T MCLACHLAN                                                    Contingent
          125 BUSS LANE
                                                                                Unliquidated
          SAXONBURG, PA 16056
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA VICTOR M WOOD                                                  Contingent
          29375 TAYLOR AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.216
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joshua Victor Martin Wood                                             Contingent
          29375 TAYLOR AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUA WITTMER                                                        Contingent
          304 SHOREHAM RD
                                                                                Unliquidated
          ALLISON PARK, PA 15101
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSHUAH L BURGER                                                      Contingent
          4703 S 309TH ST
                                                                                Unliquidated
          AUBURN, WA 98001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSUE FRANCISCO RAMOS                                                 Contingent
          1318 HOPE DR APT 202
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Josue Francisco Ramos                                                 Contingent
          1318 HOPE DR APT 202
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSUE HERNANDEZ                                                       Contingent
          56 LOIS LN
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.216
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Josue Hernandez                                                       Contingent
          56 LOIS LN
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSUE ISAAC CAMPOS IRAHETA                                            Contingent
          1560 SIERRA CREEK WAY
                                                                                Unliquidated
          SAN JOSE, CA 95132-9513
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Josue Isaac Campos Iraheta                                            Contingent
          1560 SIERRA CREEK WAY
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOSUE ZAMBRANO                                                        Contingent
          1357 ELM AVE APT 8
                                                                                Unliquidated
          LONG BEACH, CA 90813
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Josue Zambrano                                                        Contingent
          1357 ELM AVE APT 8
                                                                                Unliquidated
          LONG BEACH, CA 90813
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOUN APRIM BINYAMIN                                                   Contingent
          5320 WONG CT APT 243
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.217
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joun Aprim Binyamin                                                   Contingent
          5320 WONG CT APT 243
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOVAN ROBERT ALVAREZ-ALABA                                            Contingent
          720 MUSCADET CT
                                                                                Unliquidated
          LOS BANOS, CA 93635
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jovan Robert Alvarez-Alaba                                            Contingent
          720 MUSCADET CT
                                                                                Unliquidated
          LOS BANOS, CA 93635
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOVAN WILLIAMS                                                        Contingent
          1621 80TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jovan Williams                                                        Contingent
          1621 80TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOVOHN ONEIL GIBSON                                                   Contingent
          727 PERALTA AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.217
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jovohn Oneil Gibson                                                   Contingent
          727 PERALTA AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $783.28
          JS Express                                                            Contingent
          PO box 88                                                             Unliquidated
          St Louis, MO 63166                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUAN ANTONIO BANUELOS                                                 Contingent
          854 JEANNE ST APT 1                                                   Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    6 mo term
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Antonio Banuelos                                                 Contingent
          854 JEANNE ST APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Antonio Roa Reza                                                 Contingent
          1229 FLORA AVE
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Antonio Rosales Jr                                               Contingent
          2758 AIDA AVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.218
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Antonio Ugarte Jr                                                Contingent
          2762 AIDA AVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Botello                                                          Contingent
          4233 1/2 FLORAL DR
                                                                                Unliquidated
          LOS ANGELES, CA 90063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUAN CARLOS AGUILERA                                                  Contingent
          117 FERRARI AVE
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Carlos Aguilera                                                  Contingent
          117 FERRARI AVE
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Carlos Barrios                                                   Contingent
          9355 MONTEREY RD APT 101
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Colio                                                            Contingent
          17527 Victory Blvd
                                                                                Unliquidated
          Van Nuys, CA 91406
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.219
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan David Monsalve                                                   Contingent
          5659 LATHROP DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUAN DONOSO                                                           Contingent
          4 TOMAHAWK LANE
                                                                                Unliquidated
          CARSON, CA 90745
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Donoso                                                           Contingent
          4 TOMAHAWK LANE
                                                                                Unliquidated
          CARSON, CA 90745
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUAN EDUARDO QUEZADA                                                  Contingent
          5528 TYHURST CT APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Eduardo Quezada                                                  Contingent
          5528 TYHURST CT APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Felipe Romero                                                    Contingent
          600 E WEDDELL DR SP 158
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.219
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUAN FRANCISCO PEREZ                                                  Contingent
          1131 FINDLAY AVENUE APT 2E
                                                                                Unliquidated
          BRONX, NY 10456
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Gabriel Barboza                                                  Contingent
          38730 LEXINGTON ST APT 168
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUAN MANUEL SABA                                                      Contingent
          2603 S ROBERTSON BLVD APT C
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Manuel Saba                                                      Contingent
          2603 S ROBERTSON BLVD APT C
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUAN PABLO DELGADILLO RODRIGUEZ                                       Contingent
          1072 S 11 STREET
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Pablo Delgadillo Rodriguez                                       Contingent
          1072 S 11 STREET
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.220
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juan Rafael Martinez-Medrano                                          Contingent
          7204 PASEO DEL RIO
                                                                                Unliquidated
          COMMERCE, CA 90040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juanita Renee Diamond                                                 Contingent
          3103 EAST AVE Q16
                                                                                Unliquidated
          PALMDALE, CA 93550
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,323.00
          Judge Courier                                                         Contingent
          PO Box 61884                                                          Unliquidated
          King Of Prussia, PA 19046                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUDITH KAY NAMOKI                                                     Contingent
          5449 YGNACIO AVE
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Judith Kay Namoki                                                     Contingent
          5449 YGNACIO AVE
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julia Sanchez Leyva                                                   Contingent
          438 WADDINGTON AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.220
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JULIAN BANTON-NAVARRETE                                               Contingent
          2313 S SPAULDING AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julian Banton-Navarrete                                               Contingent
          2313 S SPAULDING AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JULIAN DAVID BETANCOURT RENGIFO                                       Contingent
          4950 CHERRY AVE APT 7
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julian David Betancourt Rengifo                                       Contingent
          4950 CHERRY AVE APT 7
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JULIAN R MILES                                                        Contingent
          412 HIGHLAND AVE
                                                                                Unliquidated
          PITCAIRN, PA 15140
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julian Rafael Gomez                                                   Contingent
          13152 WOOL AVE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.221
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JULIAN WRIGHT                                                         Contingent
          3333 JULIET ST
                                                                                Unliquidated
          PITTSBURGH, PA 15213
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JULIAN YEE                                                            Contingent
          4199 RAINBOW TERRACE
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julian Yee                                                            Contingent
          4199 RAINBOW TERRACE
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JULIE WEN HSUAN CHOU                                                  Contingent
          606 SANTA CRUZ TER
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julie Wen Hsuan Chou                                                  Contingent
          606 SANTA CRUZ TER
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JULIEN PAUL MODELISTE                                                 Contingent
          1813 BUENA VISTA AVE APT B
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.222
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julien Paul Modeliste                                                 Contingent
          1813 BUENA VISTA AVE APT B
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juliet Shenice Burton                                                 Contingent
          4332 W 167TH ST
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julio Alberto Nieto                                                   Contingent
          21236 SANTOS ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julio Amaya                                                           Contingent
          226 WEST 85 PL
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julio Cesar Oregel                                                    Contingent
          2384 MCBRYDE AVE
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JULIO CURIEL                                                          Contingent
          2836 CHAPMAN ST
                                                                                Unliquidated
          OAKLAND, CA 94601-9460
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.222
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julio Curiel                                                          Contingent
          2836 CHAPMAN ST
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Julius Franklin                                                       Contingent
          2139 ALSACE ST #3
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juper Almalel Corpuz                                                  Contingent
          131 ROSS WAY
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jurgen Alexander Lagos                                                Contingent
          483 ARLETA AVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JURI TEPPER                                                           Contingent
          1327 W PARK WESTERN DR APT 10
                                                                                Unliquidated
          SAN PEDRO, CA 90732
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juri Tepper                                                           Contingent
          1327 W PARK WESTERN DR APT 10
                                                                                Unliquidated
          SAN PEDRO, CA 90732
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.223
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUSTIN AMILLIO INGLEZ                                                 Contingent
          PO BOX 701253
                                                                                Unliquidated
          EAST ELMHURST, NY 11370
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Dilesh Chand                                                   Contingent
          1812 90TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUSTIN FORD                                                           Contingent
          345 E 101 STREET APT 4C
                                                                                Unliquidated
          MANHATTAN, NY 10029
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Grewe                                                          Contingent
          2737 GONZAGA ST
                                                                                Unliquidated
          MILLBRAE, CA 94030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUSTIN HALLAHAN                                                       Contingent
          904 MONACA ROAD # A
                                                                                Unliquidated
          MONACA, PA 15061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Hastings                                                       Contingent
          714 VARSI PLACE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.223
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUSTIN JASON KIM                                                      Contingent
          5623 GLEN HAVEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Jason Kim                                                      Contingent
          5623 GLEN HAVEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Jude Calderon                                                  Contingent
          5366 CHENIN BLANC PL
                                                                                Unliquidated
          VALLEJO, CA 94591
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Max Hudspeth                                                   Contingent
          620 W HYDE PARK BLVD APT 126
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Michael Chase                                                  Contingent
          PO BOX 303
                                                                                Unliquidated
          LA HONDA, CA 94020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Niya Gayle                                                     Contingent
          5157 SHELTER CREEK LN
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.224
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Noel Campbell                                                  Contingent
          10585 MISSOURI AVE APT 4
                                                                                Unliquidated
          LOS ANGELES, CA 90025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justin Ray Kenery                                                     Contingent
          51 HANGOVER ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JUSTINE VENTURA                                                       Contingent
          1800 TAMBOUR WAY
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justine Ventura                                                       Contingent
          1800 TAMBOUR WAY
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Justus Lynn Miles                                                     Contingent
          1117 GORHAM AVE
                                                                                Unliquidated
          MODESTO, CA 95350
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,600.00
          K & K And Associates Inc                                              Contingent
          PO Box 11084                                                          Unliquidated
          Apollo Mail/1st Class Presort                                         Disputed
          Charlotte, NC 28220
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.225
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ka Heng Chio                                                          Contingent
          618 BUSH ST APT 51
                                                                                Unliquidated
          SAN FRANISCO, CA 94108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ka Kit Ngai                                                           Contingent
          14141 NASSAU RD
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ka Po Tong                                                            Contingent
          782 Brooklyn ave
                                                                                Unliquidated
          Oakland, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kabrea Andrea Smith                                                   Contingent
          4839 BAYSIDE WAY
                                                                                Unliquidated
          OAKLEY, CA 94561
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KADEJA RENAE JOHNSON                                                  Contingent
          1475 167TH AVE APT 80
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kadeja Renae Johnson                                                  Contingent
          1475 167TH AVE APT 80
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 356 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.225
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KADIR HUSSEIN                                                         Contingent
          30638 GENESEE ST 2B
                                                                                Unliquidated
          SEATTLE, WA 98108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAI AJENE RICHARD                                                     Contingent
          750 43RD ST
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kai Ajene Richard                                                     Contingent
          750 43RD ST
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAI DANIEL CHEESEMAN                                                  Contingent
          750 24TH ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94107
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kai Daniel Cheeseman                                                  Contingent
          750 24TH ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94107
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KALID A MAHAMMED                                                      Contingent
          5231 39TH AVE S #308
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.226
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KALILA IMAN LUJA                                                      Contingent
          3912 MEADOWBROOK CIRCLE
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kalila Iman Luja                                                      Contingent
          3912 MEADOWBROOK CIRCLE
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kall8                                                                 Contingent
          417 2nd Ave W                                                         Unliquidated
          Seattle, WA 98119                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAMAL OSMAN                                                           Contingent
          1325 S. HUDSON ST
                                                                                Unliquidated
          SEATTLE, WA 98108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAMEI ANDREWS                                                         Contingent
          142 PEPPERTREE WAY
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kamei Andrews                                                         Contingent
          142 PEPPERTREE WAY
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 358 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.226
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAMEL FERHATI                                                         Contingent
          124 14TH ST 19
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kamel Ferhati                                                         Contingent
          124 14TH ST 19
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAMERON LOUIS HANDY                                                   Contingent
          1404 SONOMA DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kameron Louis Handy                                                   Contingent
          1404 SONOMA DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kamran Aslam                                                          Contingent
          924 LARCH ST APT 11
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KANEESHA SHARIE PIERCE                                                Contingent
          4228 MASTERSON ST APT 1
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.227
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kaneesha Sharie Pierce                                                Contingent
          4228 MASTERSON ST APT 1
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAO HER                                                               Contingent
          116 MYRTLE RD #1
                                                                                Unliquidated
          BURLINGAME, CA 94010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kao Her                                                               Contingent
          116 MYRTLE RD #1
                                                                                Unliquidated
          BURLINGAME, CA 94010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Karen Higgins                                                         Contingent
          1520 E CAPITOL EXPWY 89
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAREN YVETTE GONZALEZ                                                 Contingent
          821 4TH ST UNIT 2
                                                                                Unliquidated
          MODESTO, CA 95351
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KARIN LEIGH BERNAL                                                    Contingent
          550 RAILROAD AVE
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.228
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Karl Patrick Afalla Vasquez                                           Contingent
          965 COURTLAND CT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KARLTZ FLEURIMONT                                                     Contingent
          4408 FOSTER AVE
                                                                                Unliquidated
          BROOKLYN, NY 11203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kasio Varma                                                           Contingent
          120 CHURCH ST APT 4
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Katherine Ann Shannon                                                 Contingent
          1931 LINDEN ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KATHERINE GISSE ZELAYANDIA                                            Contingent
          5708 6TH AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Katherine Gissell Zelayandia                                          Contingent
          5708 6TH AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.228
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kathleen Annmarie Spillane                                            Contingent
          2056 Ticonderoga Drive
                                                                                Unliquidated
          San Mateo, CA 94402
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kathleen Louise Mundorff                                              Contingent
          950 MARION WAY
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Katia Stephanie Motley                                                Contingent
          54 LAFAYETTE AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Katie Ann Coy                                                         Contingent
          1800 EVANS LANE APT 2218
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Katrina Marie Delgado                                                 Contingent
          10261 REGAN ST
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KATRINA REANN OSBOURNE                                                Contingent
          456 E HULLETT ST APT 3
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.229
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Katrina Reann Osbourne                                                Contingent
          456 E HULLETT ST APT 3
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KATSHUNGA KADISHA                                                     Contingent
          98-38 57TH AVE 2B
                                                                                Unliquidated
          CORONA, NY 11368
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAYCEE SOUTHICHACK                                                    Contingent
          6431 KNOTT AVE
                                                                                Unliquidated
          EL CERRITO, CA 94530
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kaycee Southichack                                                    Contingent
          6431 KNOTT AVE
                                                                                Unliquidated
          EL CERRITO, CA 94530
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAYLA JONNILE I SCOTT                                                 Contingent
          5632 WEAVER PL
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kayla Jonnile Imani Scott                                             Contingent
          5632 WEAVER PL
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.229
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAYLA MARY HAYES                                                      Contingent
          792 EMERSON CT
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kayla Mary Hayes                                                      Contingent
          792 EMERSON CT
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KAYLAH MARTIKA JACKSON-KEY                                            Contingent
          10710 PEARMAIN ST
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kaylah Martika Jackson-Key                                            Contingent
          10710 PEARMAIN ST
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEANNA APPLETON                                                       Contingent
          226 MOUNT HOPE PL APT 3B
                                                                                Unliquidated
          BRONX, NY 10457
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keianya Townes                                                        Contingent
          1449 1/2 WEST 108 ST
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.230
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEIDA MUTI BREWER                                                     Contingent
          27320 MANON AVE APT 18
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keida Muti Brewer                                                     Contingent
          27320 MANON AVE APT 18
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keila Vega Stevens                                                    Contingent
          421 SOUTH ST
                                                                                Unliquidated
          ANDREWS PLACE APT 2
          LOS ANGELES, CA 90020                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.230
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEITH LLOYD TATE II                                                   Contingent
          1334 EAST 58TH PLACE
                                                                                Unliquidated
          LOS ANGELES, CA 90001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keith Lloyd Tate II                                                   Contingent
          1334 EAST 58TH PLACE
                                                                                Unliquidated
          LOS ANGELES, CA 90001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEITH MARIO WILLIAMS                                                  Contingent
          1558 SHAFTER AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.231
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keith Mario Williams                                                  Contingent
          1558 SHAFTER AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEITH WISE                                                            Contingent
          721 N EDGEWOOD ST APT 18
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keith Wise                                                            Contingent
          721 N EDGEWOOD ST APT 18
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KELLIE MILLER                                                         Contingent
          238 KINVARA DRIVE
                                                                                Unliquidated
          PITTSBURGH, PA 15237
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KELLY ELIZABETH GRAVETT                                               Contingent
          1409 LEMOS LN
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kelly Elizabeth Gravett                                               Contingent
          1409 LEMOS LN
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.231
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kelly Michele Hart                                                    Contingent
          9 BROOKDALE AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kelsey Allyn Miller                                                   Contingent
          339 BROADWAY APT 216
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kelsey Sousa                                                          Contingent
          1232 IOWA AVE
                                                                                Unliquidated
          LOS BANOS, CA 93635
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KELVIN JENNINGS                                                       Contingent
          880 ST NICHOLAS AVE 23
                                                                                Unliquidated
          NEW YORK, NY 10032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KELVING HERNANDEZ                                                     Contingent
          2444 DELANOY AVE 2
                                                                                Unliquidated
          BRONX, NY 10469
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEMALI TASHEEM GREEN                                                  Contingent
          191 HOLLIS AVENUE
                                                                                Unliquidated
          JAMAICA, NY 11423
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.232
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENDALL RICHARD NATROP                                                Contingent
          1806 N VAN NESS AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kendall Richard Natrop                                                Contingent
          1806 N VAN NESS AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kendell L Beverly                                                     Contingent
          2426 HIGHLAND AVE
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenia Zuniga Zuniga                                                   Contingent
          1140 STARBIRD CIR APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNEDY MOHAMED                                                       Contingent
          2700 S 256TH ST 0307
                                                                                Unliquidated
          KENT, WA 98032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNEDY NYAMBURA                                                      Contingent
          1710 98TH ST S APT J18
                                                                                Unliquidated
          TACOMA, WA 98444
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.232
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH ANDREW BOWERS                                                 Contingent
          1120 EATON AVE APT 13
                                                                                Unliquidated
          SAN CARLOS, CA 94070
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenneth Andrew Bowers                                                 Contingent
          1120 EATON AVE APT 13
                                                                                Unliquidated
          SAN CARLOS, CA 94070
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH ANTHONY FREEMAN                                               Contingent
          14868 UNION AVE
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH COURIE                                                        Contingent
          69 CUMBERLAND VILLAGE
                                                                                Unliquidated
          CARMICHAELS, PA 15320
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenneth Courtenay Jr                                                  Contingent
          12124 SOUTH HARVARD BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH FRANKEL                                                       Contingent
          2198 HAROLD LANE
                                                                                Unliquidated
          SMYRNA, GA 30080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.233
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH GARDEN                                                        Contingent
          119 W 135TH STREET APT 4B
                                                                                Unliquidated
          NEW YORK, NY 10030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH JOHN LE AKAU                                                  Contingent
          905 SELBY LANE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenneth John Lee Akau                                                 Contingent
          905 SELBY LANE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH JOSEPH COMBS II                                               Contingent
          715 SUNRISE DR
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenneth Joseph Combs Ii                                               Contingent
          715 SUNRISE DR
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH SCOTT GATES                                                   Contingent
          2133 TRINITY PLACE
                                                                                Unliquidated
          MARTINEZ, CA 94553
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.234
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenneth Scott Gates                                                   Contingent
          2133 TRINITY PLACE
                                                                                Unliquidated
          MARTINEZ, CA 94553
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH TOBIAS HARMON                                                 Contingent
          3266 INDUS CT
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenneth Tobias Harmon                                                 Contingent
          3266 INDUS CT
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENNETH VALERIE                                                       Contingent
          1535 BERGEN ST 2
                                                                                Unliquidated
          BROOKLYN, NY 11213
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenny Vuong Truong                                                    Contingent
          12832 WYNANT DR
                                                                                Unliquidated
          GARDEN GROVE, CA 92841
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KENT BROWN                                                            Contingent
          623 3RD STREET
                                                                                Unliquidated
          HERMOSA BEACH, CA 90254
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.234
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kent Dana Connick                                                     Contingent
          6786 LAZY RIVER WAY
                                                                                Unliquidated
          SAN JOSE, CA 95120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenya Mechelle Johnson                                                Contingent
          10602 GRAFFIAN ST
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kenya Nicole Clark                                                    Contingent
          654 SYLVAN ST #2
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keoreyontaye Donnie Saunders                                          Contingent
          3720 PINTAIL DR
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KERN KIRTON                                                           Contingent
          2105 FLATBUSH AVE APT 36
                                                                                Unliquidated
          BROOKLYN, NY 11234
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KESHA RANKINS                                                         Contingent
          525 SOUTH 9TH ST
                                                                                Unliquidated
          CUPERTINO, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.235
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kesha Rankins                                                         Contingent
          525 SOUTH 9TH ST
                                                                                Unliquidated
          CUPERTINO, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEVIN ALAN BATCHELDER                                                 Contingent
          2786 GREENWOOD DR
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Alan Batchelder                                                 Contingent
          2786 GREENWOOD DR
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Angelo Belisario                                                Contingent
          2984 IRWINDALE DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Art Brown                                                       Contingent
          9407 CHERRY ST
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin B Rosas                                                         Contingent
          2742 CASTLETON DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.235
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Brian Thach                                                     Contingent
          1641 VIRGINIA AVE APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEVIN BRYANT DEL CID                                                  Contingent
          3623 DUNN DR APT 6
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Bryant Del Cid                                                  Contingent
          3623 DUNN DR APT 6
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin E Sandoval                                                      Contingent
          1612 CORTEZ ST
                                                                                Unliquidated
          LOS ANGELES, CA 90026
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Gar Hing Wu                                                     Contingent
          2571 46TH AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Guerra                                                          Contingent
          13016 ROSELLE AVE APT 6
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.236
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Harper                                                          Contingent
          1918 BIG BEND DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Hin-Fai Lau                                                     Contingent
          819 RUSSELL LANE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Huu Le                                                          Contingent
          3776 MASTERS CT
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Kehaulani Hoohuli Jr                                            Contingent
          22228 Grace Avenue Apt 204a
                                                                                Unliquidated
          Richmond, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Lee Tsugawa-Oliverio                                            Contingent
          6403 NEPO COURT
                                                                                Unliquidated
          SAN JOSE, CA 95119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEVIN MARK HAILEY                                                     Contingent
          5485 SPINNAKER WALKWAY APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.237
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Mark Hailey                                                     Contingent
          5485 SPINNAKER WALKWAY APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Matthew Flood                                                   Contingent
          825 SEABURY DR
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Matthew Williams                                                Contingent
          1067 4th st
                                                                                Unliquidated
          st santa rosa, CA 95404
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEVIN MICHAEL NERI                                                    Contingent
          3283 TULIPWOOD LANE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Michael Neri                                                    Contingent
          3283 TULIPWOOD LANE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Michael Subijano                                                Contingent
          39645 Bruning St
                                                                                Unliquidated
          Fremont, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.237
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEVIN MICHAEL YOUNG JR                                                Contingent
          1043 MUIR CREEK DR
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Michael Young Jr                                                Contingent
          1043 MUIR CREEK DR
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEVIN MICKENS                                                         Contingent
          114-49 124TH ST
                                                                                Unliquidated
          SOUTH OZONE PARK, NY 11420
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Musyoka Mului                                                   Contingent
          22706 PEAK ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Ngoc C Nguyen                                                   Contingent
          2869 PELICAN DRIVE
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEVIN PAUL HANLEY                                                     Contingent
          3923 CENTER AVE
                                                                                Unliquidated
          HOMESTEAD, PA 15120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.238
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kevin Villanueva                                                      Contingent
          1647 N AVALON BLVD
                                                                                Unliquidated
          WILMINGTON, CA 90744
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEVIN WALLACE                                                         Contingent
          314 RIDGEVIEW DR
                                                                                Unliquidated
          BRADDOCK, PA 15104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KEWANNA BROWN                                                         Contingent
          5102 RAVENNA AVE NE
                                                                                Unliquidated
          SEATTLE, WA 98105
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Khai Hoang Nguyen                                                     Contingent
          521 SINCLAIR DR
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Khalfani Fadori Toles                                                 Contingent
          5434 BROOKDALE AVE
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KHALID AHMED                                                          Contingent
          9716 S 204TH CT
                                                                                Unliquidated
          KENT, WA 98031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.238
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KHALIL FOSTER                                                         Contingent
          17328 121ST LN SE APT TT303
                                                                                Unliquidated
          RENTON, WA 98058
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kham K Lam                                                            Contingent
          293 WESTRIDGE AVENUE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Khanh-Truong Dat Hoang                                                Contingent
          362 Chateau La Salle Drive
                                                                                Unliquidated
          San Jose, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KHIEM NGUYEN                                                          Contingent
          7005 GOLDENSPUR LOOP
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Khiem Nguyen                                                          Contingent
          7005 GOLDENSPUR LOOP
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KHOA ANH LE                                                           Contingent
          531 NOKOMIS DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.239
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Khoa Anh Le                                                           Contingent
          531 NOKOMIS DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Khoa Nguyen                                                           Contingent
          305 LASSEN PARK CIR
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Khoi Minh Pham                                                        Contingent
          2600 Corde Terra Ct #5322
                                                                                Unliquidated
          San Jose, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Khoi Xuan Nguyen                                                      Contingent
          1807 WELCH AVE APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kiarash Omrani                                                        Contingent
          5055 DENT AVE APT 99
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KIMBERLY ANN SOBIECH                                                  Contingent
          20446 FOREST AVE APT 13
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.240
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kimberly Ann Sobiech                                                  Contingent
          20446 FOREST AVE APT 13
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kimberly Kay Downs                                                    Contingent
          245 SINGINGWOOD ST #22
                                                                                Unliquidated
          ORANGE, CA 92869
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kimberly Monique Monks                                                Contingent
          12010 S VERMONT AVE #207
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $637.96
          Kimberly Mustafa                                                      Contingent
          151 19th Ave                                                          Unliquidated
          Seattle, WA 98122                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kimberly Thi Huynh                                                    Contingent
          1075 SPACE PARK WY SP 122
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KIMSAN CHEA                                                           Contingent
          27539 SEBASTIAN WY
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.240
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kimsan Chea                                                           Contingent
          27539 SEBASTIAN WY
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KINDERJIT GREWAL                                                      Contingent
          9020 CALLE DEL REY
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kinderjit Grewal                                                      Contingent
          9020 CALLE DEL REY
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,208.75
          King Delivery Service                                                 Contingent
          101 E 5th                                                             Unliquidated
          Des Moines, IA 50309                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KIRK ADAMS                                                            Contingent
          437 DANNA COURT
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kirk Ronald Adams                                                     Contingent
          437 DANNA COURT
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.241
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kit Tsz Cheung                                                        Contingent
          851 VIDELL STREET
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KITO OGARTO                                                           Contingent
          6211 S 249TH ST D205
                                                                                Unliquidated
          KENT, WA 98032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Krishell Renee Robinson                                               Contingent
          562 ALEMANY BLVD
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kristen Lakota Benson                                                 Contingent
          168 DAKOTA ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94107
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kristin Colette Roland                                                Contingent
          90 KILARNEY LN
                                                                                Unliquidated
          SANTA ROSA, CA 95403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kristina Cassandra Steben                                             Contingent
          207 Atherton ave
                                                                                Unliquidated
          Atherton, CA 94027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.241
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kristine Jennifer Del Rosario                                         Contingent
          33 FOREST GROVE DR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Krystal Johnson                                                       Contingent
          2319 S GARTH AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kurt Hoelzer                                                          Contingent
          708 VENICE WAY APT 5
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kurt Owen Dwiggins                                                    Contingent
          1239 Rose st
                                                                                Unliquidated
          Crockett, CA 94525
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kurtona Evelyn Milum                                                  Contingent
          9510 SUNNYSIDE ST APT 7
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kushoun Anthony Burch                                                 Contingent
          2020 CHEYENNE WAY APT
                                                                                Unliquidated
          MODESTO, CA 95356
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.242
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kwame Attim Jenkins Jr                                                Contingent
          709 98TH AVE APT B
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kwanza H Grigsby                                                      Contingent
          613 E 73RD ST
                                                                                Unliquidated
          LOS ANGELES, CA 90001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kwokying Chan                                                         Contingent
          2142 42ND AVE
                                                                                Unliquidated
          San Francisco, CA 94116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KYAING TUN                                                            Contingent
          1605 8TH AVE APT 2
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kyaing Tun                                                            Contingent
          1605 8TH AVE APT 2
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KYANDRE RASHUN LONG                                                   Contingent
          99 AUSTIN AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.243
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kyle Ortiz                                                            Contingent
          1085 TASMAN DRIVE UNIT 45
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kyle Phillip Esmenda                                                  Contingent
          43218 GATEWOOD ST
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kyle Sahid Fernandez Torres                                           Contingent
          2491 WHITNEY DR APT 1
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KYLE WILLIAMS                                                         Contingent
          7182 GEORGES WAY
                                                                                Unliquidated
          MORROW, GA 30260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kymberley Anne Whitlow                                                Contingent
          753 ALMA ST APT 338
                                                                                Unliquidated
          PALO ALTO, CA 94301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lafron Shawnee Britton Jr                                             Contingent
          2037 E 23RD ST
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.243
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LAKEA BAILEY                                                          Contingent
          450 BREMERTON AVE NE H
                                                                                Unliquidated
          RENTON, WA 98059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LAKPA DENDI SHERPA                                                    Contingent
          1333 W STEEL LINE 210
                                                                                Unliquidated
          SANTA ROSA, CA 95403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lakpa Dendi Sherpa                                                    Contingent
          1333 W STEEL LINE 210
                                                                                Unliquidated
          SANTA ROSA, CA 95403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lalita Carol Myrick                                                   Contingent
          1837 IDAHO ST
                                                                                Unliquidated
          FAIRFIELD, CA 94533
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lam Hoang Nguyen                                                      Contingent
          92 ALEXANDER CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          lam SithambaramSidath Vengadasa                                       Contingent
          40 ALICE ST
                                                                                Unliquidated
          Arcadia, CA 91006
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.244
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lam Son Nguyen                                                        Contingent
          4128 AREZZO POINTE LANE
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LAMAR SAMPSON                                                         Contingent
          1514 W 137TH ST
                                                                                Unliquidated
          COMPTON, CA 90222
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lamar Sampson                                                         Contingent
          1514 W 137TH ST
                                                                                Unliquidated
          COMPTON, CA 90222
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lamont Charles Angelo                                                 Contingent
          102 TUOLUMNE ST
                                                                                Unliquidated
          VALLEJO, CA 94591
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lamont M Christopher Jones III                                        Contingent
          718 HENRY ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LaMont Vaughn Davis Jr                                                Contingent
          400 Davis St #204
                                                                                Unliquidated
          San Leandro, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.244
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LANCE CHEADLE                                                         Contingent
          1765 SKYLINE DRIVE APT 49
                                                                                Unliquidated
          WHITEHALL, PA 15227
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lance Gabriel Hooks                                                   Contingent
          621 CORONADO AVE
                                                                                Unliquidated
          LONG BEACH, CA 90814
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Laprease Caldwell                                                     Contingent
          3524 FALLS CT
                                                                                Unliquidated
          PALMDALE, CA 93551
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LAQUISHA DENISE SCOTT                                                 Contingent
          1505 DESDEMONA CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Laquisha Denise Scott                                                 Contingent
          1505 DESDEMONA CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lareisha Lewis                                                        Contingent
          6401 SHELLMOUND ST 7109
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.245
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Larry Allen Williams Jr                                               Contingent
          4018 SAINT ANDREWS WAY
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LARRY AUCENSIO BACACAO                                                Contingent
          1002 S SHERBOURNE DR
                                                                                Unliquidated
          LOS ANGELES, CA 90035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Larry Aucensio Bacacao                                                Contingent
          1002 S SHERBOURNE DR
                                                                                Unliquidated
          LOS ANGELES, CA 90035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LARRY BEMBRY                                                          Contingent
          509 S EUCALYPTUS AVE APT 5
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Larry Bembry                                                          Contingent
          509 S EUCALYPTUS AVE APT 5
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LARRY COLLINS A SHULAR III                                            Contingent
          27851 HUMMINGBIRD
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.246
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Larry Collins Arthur Shular III                                       Contingent
          27851 HUMMINGBIRD
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Larry Rey Ardoin                                                      Contingent
          175 CHARTER OAK ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Larry Tyree Horne                                                     Contingent
          8107 IDLEWOOD ST
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Larry Wu                                                              Contingent
          3897 FORESTWOOD DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lasandra Wauline Hamlin                                               Contingent
          332 W 122ND ST
                                                                                Unliquidated
          LOS ANGELES, CA 90061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,566.33
          LaserShip                                                             Contingent
          PO Box 1335                                                           Unliquidated
          Charlotte, NC 28201-1335                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.246
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LASHANDRA KING                                                        Contingent
          818 GREENWOOD AVENUE, NE
                                                                                Unliquidated
          , #106
          ATLANTA, GA 30306-3740                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.246
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lashapale Alisia Copes                                                Contingent
          1973 TATE F103
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lashaun Lloyd                                                         Contingent
          875 CINNIBAR ST 1422
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LASHAY HARTLE                                                         Contingent
          145 SNYDER DR
                                                                                Unliquidated
          ROCHESTER, PA 15074
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LATISHA FRANKLIN                                                      Contingent
          9251 15TH AVENUE SW
                                                                                Unliquidated
          SEATTLE, WA 98106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LATISHA LASHAND BROUGHTON                                             Contingent
          532 16TH ST APT 409
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.247
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Latisha Lashand Broughton                                             Contingent
          532 16TH ST APT 409
                                                                                Unliquidated
          OAKLAND, CA 94612
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LATOYA DENISE ALVAREZ                                                 Contingent
          2420 S MARVIN AVE APT 6
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Latoya Denise Alvarez                                                 Contingent
          2420 S MARVIN AVE APT 6
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Latoya Neshe Love                                                     Contingent
          19 TURNER TERRACE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94107
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LAURENT PAUL PUGH                                                     Contingent
          1158 W WASHINGTON AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Laurent Paul Pugh                                                     Contingent
          1158 W WASHINGTON AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.247
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LAVELL LAMONT KENDRICKS                                               Contingent
          9047 LANGDON AVE APT 4
                                                                                Unliquidated
          NORTH HILLS, CA 91343
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lavell Lamont Kendricks                                               Contingent
          9047 LANGDON AVE APT 4
                                                                                Unliquidated
          NORTH HILLS, CA 91343
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lavell Robert Russell                                                 Contingent
          1750 WASHINGTON STREET APT 3
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LAWRENCE MAH                                                          Contingent
          2298 SHADE TREE LN
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lawrence Mah                                                          Contingent
          2298 SHADE TREE LN
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lawrence Rushing                                                      Contingent
          728 N MARKET ST APT 12
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.248
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lawrence Wayne Price                                                  Contingent
          5051 SUTTER CREEK CIR
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Layshorn Renee Daniel                                                 Contingent
          9414 S SAN PEDRO ST APT 2
                                                                                Unliquidated
          LOS ANGELES, CA 90063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Le Ron Atmore                                                         Contingent
          326 LIME ST APT C
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Le T Doan                                                             Contingent
          3995 AMBLER CT
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEANDRO AVILA                                                         Contingent
          639 SW 307TH ST
                                                                                Unliquidated
          FEDERAL WAY, WA 98023
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEE FRANKS                                                            Contingent
          4951 GOLD MINE DR
                                                                                Unliquidated
          SUGAR HILL, GA 30518
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.249
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEE PAONESSA                                                          Contingent
          18306 104TH ST CT E
                                                                                Unliquidated
          BONNEY LAKE, WA 98391
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEEPO JAMAAL RUSSELL                                                  Contingent
          3172 MOORPARK AVE APT 3
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leepo Jamaal Russell                                                  Contingent
          3172 MOORPARK AVE APT 3
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEILAH EMANUEL-KINNIEBREW                                             Contingent
          1828 YALE AVE
                                                                                Unliquidated
          SEATTLE, WA 98101
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lena Marie Loreto                                                     Contingent
          275 CALLAN ST
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LENARD ANTHONY GANT JR                                                Contingent
          28821 LOGAN WAY
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.249
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lenard Anthony Gant Jr                                                Contingent
          28821 LOGAN WAY
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leo Salinas Larios                                                    Contingent
          1666 VIRGINIA PL
                                                                                Unliquidated
          SAN JOSE 95116, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leon Bendana Melendres Jr                                             Contingent
          1465 B STREET
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEON CORNUTE                                                          Contingent
          12447 OBERLIN DR
                                                                                Unliquidated
          DALLAS, TX 75243
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEON HAUGHTON                                                         Contingent
          305 W SYCAMORE STREET
                                                                                Unliquidated
          PITTSBURGH, PA 15211
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leonard Dalian Rideau III                                             Contingent
          4038 AMBLER WAY
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.250
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEONARD JACKSON                                                       Contingent
          2748 KOLLMAN DR APT 5
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leonard Jackson                                                       Contingent
          2748 KOLLMAN DR APT 5
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leonard Morris Jr                                                     Contingent
          1114 KENTUCKY ST
                                                                                Unliquidated
          VALLEJO, CA 94590
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEONARD SHAFER                                                        Contingent
          120 GRAND VIEW AVENUE
                                                                                Unliquidated
          ALIQUIPPA, PA 15001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEONARDO DANIEL ROCHA                                                 Contingent
          316 N GAGE AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leonardo Daniel Rocha                                                 Contingent
          316 N GAGE AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.250
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leonel Christian Canales Andalis                                      Contingent
          24395 DIXON ST
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEONID V RIBALKO                                                      Contingent
          2125 SAFFARIAN CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leonid V Ribalko                                                      Contingent
          2125 SAFFARIAN CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leslie Ann Shraifer                                                   Contingent
          6341 N. Devonshire Drive
                                                                                Unliquidated
          Los Angeles, CA 90012
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LESLIE MARK SNELL                                                     Contingent
          1495 DON AVE APT 161
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lester Dwight Toles                                                   Contingent
          3641 LAFAYETTE ST APT 02
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.251
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LESTER FRANK PATILLA                                                  Contingent
          20667 BLOSSOM COMMONS
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lester Frank Patilla                                                  Contingent
          20667 BLOSSOM COMMONS
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leticia Tolentino Trejo                                               Contingent
          2717 BURLINGAME WAY
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEWIS DAVIS                                                           Contingent
          1109 PROGRESS ST
                                                                                Unliquidated
          MC KEES ROCKS, PA 15136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lewis Sustaita Jr                                                     Contingent
          8060 SWANSTON LN
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Librado Roberto Medina Martinez                                       Contingent
          2220 MEADOWGATE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.252
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Liliah Ondera Mabon                                                   Contingent
          2020 SAGE SPARROW ST.
                                                                                Unliquidated
          BRENTWOOD, CA 94513
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Linnie Thi Nguyen                                                     Contingent
          3221 LONE BLUFF WAY
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lisa Latasha Hollman                                                  Contingent
          4675 APPIAN WAY APT 105
                                                                                Unliquidated
          EL SOBRANTE, CA 94803
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LISA LYNN DRAKE                                                       Contingent
          120 DIXON LANDING RD APT 120
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lisa Lynn Drake                                                       Contingent
          120 DIXON LANDING RD APT 120
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lisiane Carvalho De Castro                                            Contingent
          4096 18TH ST APT 8
                                                                                Unliquidated
          SAN FRANCISCO, CA 94114
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.252
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LISSETTE ROSAS-VILLA                                                  Contingent
          436 CLINTON ST APT 4
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lissette Rosas-Villa                                                  Contingent
          436 CLINTON ST APT 4
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LIZ MUNOZ                                                             Contingent
          442 51ST STREET APT 1R
                                                                                Unliquidated
          BROOKLYN, NY 11220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lizbeth Paola Barronmontoya                                           Contingent
          14758 MARTELL AVE APT B
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LLOYD MAXIMILLI WASHINGTON                                            Contingent
          1845 S ST ANDREWS PL APT 9
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lloyd Maximillian Washington                                          Contingent
          1845 S ST ANDREWS PL APT 9
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.253
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Loc Ba Giang                                                          Contingent
          1520 E CAPITOL EXPY 129
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Loc Dinh Hoang                                                        Contingent
          1652 CRUCERO DR APT # 4
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,500.00
          Long Building Technologies                                            Contingent
          PO Box 5501                                                           Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Long Duc Dao                                                          Contingent
          3167 HERITAGE SPRINGS CT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Long Thanh Nguyen                                                     Contingent
          1223 SYLVIA DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LONG THANH VU TRAN                                                    Contingent
          1902 BEVERLY BLVD
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.253
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Long Thanh Vu Tran                                                    Contingent
          1902 BEVERLY BLVD
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Long Van Nguyen                                                       Contingent
          3155 PAYNE AVE #15
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LOREN STEELE                                                          Contingent
          1288 6TH STREET
                                                                                Unliquidated
          WESTMORELAND, PA 15692
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lorena Lisette Navarrete                                              Contingent
          275 PARK PASEO LN APT F
                                                                                Unliquidated
          LOS ANGELES, CA 90033
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LORI ZAVACKY                                                          Contingent
          334 VIRGINIA AVE
                                                                                Unliquidated
          MOUNT WASHINGTON, PA 15211
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LORIE CABUDIL MARINICK                                                Contingent
          7555 MISSION ST UNIT 204
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.254
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lorie Cabudil Marinick                                                Contingent
          7555 MISSION ST UNIT 204
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Louis Anthony Barreto                                                 Contingent
          748 CLARA VISTA AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Louis Centeno                                                         Contingent
          11740 ALLIN ST #138
                                                                                Unliquidated
          CULVER CITY, CA 90230
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LOUIS GEBRETENSAI                                                     Contingent
          11555 17TH AVE NE
                                                                                Unliquidated
          SEATTLE, WA 98125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lounes Ziam                                                           Contingent
          6040 WENK AVE APT 5
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Loureuna Tamrea Wytch                                                 Contingent
          1216 HASKELL ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.255
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lovee Precious Stanberry                                              Contingent
          1370 10TH ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lovevina Johnson                                                      Contingent
          3445 SUMMER PARK DR APT 190
                                                                                Unliquidated
          SACRAMENTO, CA 95834
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $21.04
          LSO Final Mile                                                        Contingent
          Po Box 678576                                                         Unliquidated
          Dallas, TX 75267-8576                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LUBER DANILO ARAYA                                                    Contingent
          2969 GLEN CROW COURT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luber Danilo Araya                                                    Contingent
          2969 GLEN CROW COURT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LUCAS VADER                                                           Contingent
          19902 113TH ST E
                                                                                Unliquidated
          BONNEY LAKE, WA 98391
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.255
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lucretia Anne Walker                                                  Contingent
          647 VIRGINIA CIRCLE UNIT A
                                                                                Unliquidated
          SAN BERNARDINO, CA 92405
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LUCRETIA LORIA-PUNCH                                                  Contingent
          2800 HERRINGTON WOODS COURT
                                                                                Unliquidated
          LAWRENCEVILLE, GA 30044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LUIS ALBERTO CANCINO BOLANOS                                          Contingent
          1285 AYALA DR. APT 2
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Alberto Cancino Bolanos                                          Contingent
          1285 AYALA DR. APT 2
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Alberto Santiago                                                 Contingent
          16560 DEL MONTE AVE
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Alberto Zamarripa Granados                                       Contingent
          1323 MADERA AVE
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.256
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Angel Hernandez Martinez                                         Contingent
          2780 WESTBERRY DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Antonio C Miranda                                                Contingent
          516 OREGON ST
                                                                                Unliquidated
          WATSONVILLE, CA 95076
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Antonio Ramirez Macias                                           Contingent
          166 LACROSSE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Banuelos                                                         Contingent
          18222C HALE AVE
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LUIS ENRIQUE QUIROZ                                                   Contingent
          1082 OAKMONT DR APT #6
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Enrique Quiroz                                                   Contingent
          1082 OAKMONT DR APT #6
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.256
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Felipe Benites                                                   Contingent
          240 E OKEEFE ST APT 10
                                                                                Unliquidated
          E PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Giron Yuja                                                       Contingent
          3241 BENTON STREET
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Julio Aleman                                                     Contingent
          636 MAC ARTHUR AVE
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Manuel Solis Cardoza                                             Contingent
          5908 WYMAN ST
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luis Miguel Alvarez                                                   Contingent
          776 BAIRD AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LUIS RENDON                                                           Contingent
          414 E 130TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.257
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LUNGRIG GYALTSEN                                                      Contingent
          2717 LINCOLN AVE
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lungrig Gyaltsen                                                      Contingent
          2717 LINCOLN AVE
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Luzmila Maria Evens                                                   Contingent
          1075 SPACE PARK WAY #140
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lydia Castro                                                          Contingent
          922 PRINCESS ANNE DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lydia Quintero                                                        Contingent
          1550 EVERTT ST APT C
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LYNDSEY RENEE JOHNSON                                                 Contingent
          1617 QUEEN CHARLOTTE DR
                                                                                Unliquidated
          APT 17
          SUNNYVALE, CA 94087                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.258
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lyndsey Renee Johnson                                                 Contingent
          1617 QUEEN CHARLOTTE DR
                                                                                Unliquidated
          APT 17
          SUNNYVALE, CA 94087                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.258
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAAN SHAKIR MAH RAOOF                                                 Contingent
          2868 S NORFOLK APT H
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maan Shakir Mahmood Raoof                                             Contingent
          2868 S NORFOLK APT H
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mack Edward Moore                                                     Contingent
          346 105TH AVE APT I
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mack Kong San                                                         Contingent
          PO BOX 14913
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAE SAECHAO                                                           Contingent
          3201 LOMA VERDE DR APT 120
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.258
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mae Saechao                                                           Contingent
          3201 LOMA VERDE DR APT 120
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAGDALENA MORALES                                                     Contingent
          4064 LACONIA AVE 2A
                                                                                Unliquidated
          BRONX, NY 10466
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mahendra Ranabhat                                                     Contingent
          39648 WALL COMMON APT N
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maher Hamood Alghazali                                                Contingent
          2035 PLACER DR
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,929.09
          Mail Delivery Service                                                 Contingent
          PO Box 33022                                                          Unliquidated
          Detroit, MI 48232-2065                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,686.32
          Mail Delivery Service of KC Inc                                       Contingent
          PO Box 418099                                                         Unliquidated
          Kanas City, MO 64141                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.259
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $773.22
          Mail Dispatch                                                         Contingent
          PO Box 85430                                                          Unliquidated
          San Diego, CA 92186                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $871.50
          MailCo USA Inc                                                        Contingent
          3186 South School Ave                                                 Unliquidated
          Fayetteville, AR 72701                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,400.00
          Mailroom Specialist                                                   Contingent
          PO Box 37286                                                          Unliquidated
          Oak Park, MI 48237                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Majid Wajdi Hamdi                                                     Contingent
          2775 W BALL RD
                                                                                Unliquidated
          ANAHEIM, CA 92804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MALACHI WALTON                                                        Contingent
          3406 HOYT AVE
                                                                                Unliquidated
          EVERETT, WA 98201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MALCOLM JAMAAL LANE                                                   Contingent
          30600 ENGINE HOUSE DR
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.259
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Malcolm Jamaal Lane                                                   Contingent
          30600 ENGINE HOUSE DR
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MALCOLM JOHNSON                                                       Contingent
          680 SHADE AVE APT 4B
                                                                                Unliquidated
          PITTBURGH, PA 15202
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Malcolm Xavier Gattis                                                 Contingent
          1019 CENTER STREET
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAMADOU CISSE                                                         Contingent
          2101 SW SUNSET BLVD E410
                                                                                Unliquidated
          RENTON, WA 98057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAMADOU THIAM                                                         Contingent
          22831 30TH AVE 305
                                                                                Unliquidated
          DES MOINES, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Man Duong                                                             Contingent
          8 JACKRABBIT LANE
                                                                                Unliquidated
          CARSON, CA 90745
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.260
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MANDY FROMAN                                                          Contingent
          PO BOX 12741
                                                                                Unliquidated
          MILL CREEK, WA 98082
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mangrove Cay LP                                                       Contingent
          2500 Eldo Road                                                        Unliquidated
          Monroeville, PA 15146                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Manpreet Singh Bains                                                  Contingent
          34248 ASPEN LOOP
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MANUEL F GONZALES                                                     Contingent
          4027 DOANE ST
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Manuel F Gonzales                                                     Contingent
          4027 DOANE ST
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Manuel Felix Salazar                                                  Contingent
          1523 SCOTT RD APT C
                                                                                Unliquidated
          BURBANK, CA 91504
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.261
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Manuel Nicolas Candia                                                 Contingent
          1478 caliente way
                                                                                Unliquidated
          San Jose, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Manuel Perez                                                          Contingent
          315 GREY GHOST AVE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MANUEL RIVERA JR                                                      Contingent
          538 CAPITOL ST
                                                                                Unliquidated
          SALINAS, CA 93901
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Manuel Rivera Jr                                                      Contingent
          538 CAPITOL ST
                                                                                Unliquidated
          SALINAS, CA 93901
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maraj U Baha                                                          Contingent
          9274 FRANKLIN BLVD APT 257
                                                                                Unliquidated
          ELK GROVE, CA 95758
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,245.45
          Marathon Express                                                      Contingent
          3210 Coffey Lane                                                      Unliquidated
          Ste A                                                                 Disputed
          Santa Rosa, CA 95403-1924
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.261
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marbelyn Galo                                                         Contingent
          5551 BLACKWELDEN ST
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marc Alexander Siegel                                                 Contingent
          1901 IRON PEAK CT
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marc Andro Vicera                                                     Contingent
          505 SHELL PARKWAY 1204
                                                                                Unliquidated
          REDWOOD CITY, CA 94065
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marc Horace Spencer                                                   Contingent
          4522 WAGON CT
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marc Lester Zapata Jamilano                                           Contingent
          1256 N HILLVIEW DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcel Derron Frazier                                                 Contingent
          7950 NEY AVE APT 10
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.262
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcel Walker                                                         Contingent
          456 BURLWOOD AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcela Lombard                                                       Contingent
          3434 MONROE ST #4
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARCELL LAUMONT LEWIS                                                 Contingent
          8889 SPRINGHURST DR
                                                                                Unliquidated
          ELK GROVE, CA 95715
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcell Laumont Lewis                                                 Contingent
          8889 SPRINGHURST DR
                                                                                Unliquidated
          ELK GROVE, CA 95715
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcello Norris                                                       Contingent
          380 Northlake dr apt 4
                                                                                Unliquidated
          San Jose, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARCELO A HENANDEZ                                                    Contingent
          2712 SEA CREST AVE
                                                                                Unliquidated
          LONG BEACH, WA 98631
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
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 3.262
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARCELO TINGZON GABUYA                                                Contingent
          160 CHECKERS DR
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcelo Tingzon Gabuya                                                Contingent
          160 CHECKERS DR
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARCO ANTONIO BARRERA                                                 Contingent
          15326 WASHINGTON AVE
                                                                                Unliquidated
          COMPTON, CA 90221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marco Antonio Barrera                                                 Contingent
          15326 WASHINGTON AVE
                                                                                Unliquidated
          COMPTON, CA 90221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marco Antonio Gomez                                                   Contingent
          1356 W 110TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marco Antonio Zaragoza                                                Contingent
          3217 E CESAR CHAVEZ AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.263
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARCO DOMINIC GLAUDE                                                  Contingent
          2283 INTERNATIONAL BOULEVARD
                                                                                Unliquidated
          APT 107
          OAKLAND, CA 94606                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.263
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marco Dominic Glaude                                                  Contingent
          2283 INTERNATIONAL BOULEVARD
                                                                                Unliquidated
          APT 107
          OAKLAND, CA 94606                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.263
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARCOS ANTONIO SOTO                                                   Contingent
          3480 MT MADONNA DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcos Antonio Soto                                                   Contingent
          3480 MT MADONNA DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcos C Relano                                                       Contingent
          203 OAK AVE
                                                                                Unliquidated
          REDWOOD CITY, CA 94061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcos Daniel Ferreira                                                Contingent
          6550 YUCCA ST APTO 322
                                                                                Unliquidated
          HOLLYWOOD, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 3.264
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcos Pena Jimenez                                                   Contingent
          2101 PALM BEACH WAY
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARCUS ANTHONY FORDE                                                  Contingent
          569 SOUTH SECOND ST APT 8
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcus Anthony Forde                                                  Contingent
          569 SOUTH SECOND ST APT 8
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARCUS EUGENE RICHARD                                                 Contingent
          909 MULBERRY WAY
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcus Eugene Richard                                                 Contingent
          909 MULBERRY WAY
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcus Freeman                                                        Contingent
          2124 S SYCAMORE AVE #3
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.264
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marcus Makio Davis                                                    Contingent
          1407 FOREST RUN
                                                                                Unliquidated
          HERCULES, CA 94547
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARGARET LUCY GAUTHIER                                                Contingent
          5862 OLEANDER DR
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Margaret Lucy Gauthier                                                Contingent
          5862 OLEANDER DR
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Margaret Rose Inferrera                                               Contingent
          475 CHERRY AVE
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Annette Fisher                                                  Contingent
          118 HOLLOWAY AVE APT 118
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria D Rosas Ramirez                                                 Contingent
          745 REMO ST
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.265
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARIA DE LOS AN ARELLANO MEZA                                         Contingent
          2207 LOS PADRES BLVD APT A
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Del Pilar Sanche                                                Contingent
          1257 W 41st Street 0
                                                                                Unliquidated
          Los Angeles, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Elena Saldana                                                   Contingent
          885 LAKECHIME DR.
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Lastenia Molina Aviles                                          Contingent
          670 JOHANNA AVE APT 2
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Lluvia Guerrero                                                 Contingent
          325 KENMORE AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Los Angele Arellano Meza                                        Contingent
          2207 LOS PADRES BLVD APT A
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.265
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Maciel                                                          Contingent
          1014 GRANT STREET APT C
                                                                                Unliquidated
          SANTA MONICA, CA 90405
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARIA MARGOUX R CHAVEZ                                                Contingent
          1549 BAILEY DR
                                                                                Unliquidated
          FAIRFIELD, CA 94533
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Margoux R Chavez                                                Contingent
          1549 BAILEY DR
                                                                                Unliquidated
          FAIRFIELD, CA 94533
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Marin                                                           Contingent
          1041 YORK ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARIA MURILLO                                                         Contingent
          1406 NW RICHMOND BEACH RD 15
                                                                                Unliquidated
          SEATTLE, WA 98177
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Poot                                                            Contingent
          1842 LAVONNE AVENUE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.266
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARIANA CATALIN SEEPE                                                 Contingent
          220 MARINA WAY
                                                                                Unliquidated
          REDONDO BEACH, CA 90277
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mariana Catalina Seepe                                                Contingent
          220 MARINA WAY
                                                                                Unliquidated
          REDONDO BEACH, CA 90277
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mariano Cruz Urquico                                                  Contingent
          5 MARINER LANE
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mariasha Shanice Serrao                                               Contingent
          1466 INNES AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marie Louise Gonzalez                                                 Contingent
          1496 BERONA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARILYN LUCILLE CHOUYANG                                              Contingent
          606 SANTA CRUZ TERRACE
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.267
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marilyn Lucille Rose Chouyang                                         Contingent
          606 SANTA CRUZ TERRACE
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mario A. Hernandez-Ortega                                             Contingent
          2124 8TH AVE APT B
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mario Alberto Perez Baez                                              Contingent
          22593 7TH ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mario Alberto Rodriguez                                               Contingent
          381 E WASHINGTON AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mario Aranda                                                          Contingent
          62 NORTH 33RD STREET
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mario Benjamin Cornell                                                Contingent
          1280 E 127TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.267
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARIO ELIAS CARABAJAL                                                 Contingent
          225 HYDE ST APT 221
                                                                                Unliquidated
          SAN FRANCISCO, CA 94102
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mario Elias Carabajal                                                 Contingent
          225 HYDE ST APT 221
                                                                                Unliquidated
          SAN FRANCISCO, CA 94102
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARIO GARCIA                                                          Contingent
          464 STONEFORD AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mario Garcia                                                          Contingent
          464 STONEFORD AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mario Garza                                                           Contingent
          1575 MCDANIEL AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mario Martinez Jr                                                     Contingent
          9136 THERMAL ST
                                                                                Unliquidated
          OAKLAND, CA 91765
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.268
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marissa Paschal                                                       Contingent
          1924 JULIE AVE
                                                                                Unliquidated
          FULLERTON, CA 92833
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARITZA ORTIZ                                                         Contingent
          2932 AVENUE V APT 5A
                                                                                Unliquidated
          BROOKLYN, NY 11229
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mariza Flores Krasno                                                  Contingent
          1909 LIMEWOOD DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mariza Nicole Mendez                                                  Contingent
          760 N. 7TH ST APT 3317
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark A Brulee                                                         Contingent
          2612 HUDSPETH ST
                                                                                Unliquidated
          INGLEWOOD, CA 90303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARK A RISACHER                                                       Contingent
          3010 GRANITE DR
                                                                                Unliquidated
          CONYERS, GA 30012
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.268
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Alexander Vega                                                   Contingent
          151 W 47TH PLACE
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Anthony Camaddo Llamelo                                          Contingent
          31050 NEW HAVEN ST APT #1
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Anthony Euceda                                                   Contingent
          727 S SADLER AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Anthony Haylock Jr                                               Contingent
          1507 W 36TH PL
                                                                                Unliquidated
          LOS ANGELES, CA 90018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARK ANTHONY HERNANDEZ                                                Contingent
          1549 MARIN AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Anthony Hernandez                                                Contingent
          1549 MARIN AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.269
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARK ANTHONY ORTIZ                                                    Contingent
          2996 SUNBURST DR
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Anthony Ortiz                                                    Contingent
          2996 SUNBURST DR
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARK ANTHONY POL                                                      Contingent
          14447 MERCED ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Anthony Pol                                                      Contingent
          14447 MERCED ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94579
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARK ARINGTON                                                         Contingent
          21323 95TH AVE W
                                                                                Unliquidated
          EDMONDS, WA, WA 98020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Cayabyab                                                         Contingent
          1446 H ST
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.270
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Fleuter                                                          Contingent
          153-B KITTOE DR
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Nathaniel Repat Medalle                                          Contingent
          3237 SAN CARLOS WAY
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARK ONEAL CRAWFORD                                                   Contingent
          4149 MERA ST
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Oneal Crawford                                                   Contingent
          4149 MERA ST
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark patrick Saucedo                                                  Contingent
          1333 MERRIVALE WEST SQUARE
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARK THOMPSON                                                         Contingent
          5818 15TH AVE S 203
                                                                                Unliquidated
          SEATTLE, WA 98108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.270
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark William Smith                                                    Contingent
          2568 AMARYL DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Wishowski                                                        Contingent
          3565 S. Centinela Ave. #8
                                                                                Unliquidated
          Los Angeles, CA 90066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARKELLE JERMAI SINGLETON                                             Contingent
          209 EAST HAZEL STREET
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Markelle Jermaine Singleton                                           Contingent
          209 EAST HAZEL STREET
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARLON DENARD DAVIS JR                                                Contingent
          2916 PEAR ST
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marlon Denard Davis Jr                                                Contingent
          2916 PEAR ST
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.271
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marlon Manuel Obsuna                                                  Contingent
          398 HEATH ST
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARLOW LEE                                                            Contingent
          1406 SEMINARY AVE APT A
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marlow Lee                                                            Contingent
          1406 SEMINARY AVE APT A
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marque Terrence Willis                                                Contingent
          772 SOUTH 2ND ST APT E
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marquel Maurice Balentine                                             Contingent
          1220 BRAHMS COMMON
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marques Contreras                                                     Contingent
          16227 EUCALYPTUS AVENUE
                                                                                Unliquidated
          APT 62
          BELLFLOWER, CA 90706                                                  Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.271
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARQUI MONTEL WALKER                                                  Contingent
          1255 HAYS ST APT 14
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marqui Montel Walker                                                  Contingent
          1255 HAYS ST APT 14
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marquis Bess                                                          Contingent
          1115 ELA DERA DR
                                                                                Unliquidated
          LONG BEACH, CA 90807
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARQUISE MARTEL WOODS                                                 Contingent
          113 CASSIA DR
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marquise Martel Woods                                                 Contingent
          113 CASSIA DR
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marquita A Hutchinson                                                 Contingent
          6475 FOOTHILL BLVD APT 302
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.272
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marshall William Plumeri                                              Contingent
          1601 SHREEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marshawn Omega Bluford                                                Contingent
          2619 CARNATION DR
                                                                                Unliquidated
          FAIRFIELD, CA 94533
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARSHELL TRAYCI THOMAS HEARNE                                         Contingent
          P O BOX 5691
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marshell Trayci Thomas Hearne                                         Contingent
          P O BOX 5691
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARTEL CAMPOS MEJIA                                                   Contingent
          1249 HOPKINS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martel Campos Mejia                                                   Contingent
          1249 HOPKINS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.273
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin Arana                                                          Contingent
          11122 HULME AVE
                                                                                Unliquidated
          LYNWOOD, CA 90262
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin Lavel Tate                                                     Contingent
          332 65TH ST
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin Philip Castro Jr                                               Contingent
          3201 HOOVER ST
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin Powell Craighead                                               Contingent
          1309 JAMES CT
                                                                                Unliquidated
          SAN MATEO, CA 94401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin Tuan Nguyen                                                    Contingent
          1302 DANIEL CT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARTINA MARIE THOMAS                                                  Contingent
          1601 165TH AVE APT 132
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.273
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martina Marie Thomas                                                  Contingent
          1601 165TH AVE APT 132
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARVIN HORN                                                           Contingent
          830 S FLOWER ST APT 4
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marvin Horn                                                           Contingent
          830 S FLOWER ST APT 4
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marvin Jake Cariaga                                                   Contingent
          3028 CORAL COURT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mary Elizabeth Johnson                                                Contingent
          45 W CLOVER RD
                                                                                Unliquidated
          TRACY, CA 95376
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maryam Dastagir                                                       Contingent
          406 WEST HARDER RD
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.274
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MARYLOU BALICAS ESTOLERO                                              Contingent
          33 MASSASOIT ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marylou Balicas Estolero                                              Contingent
          33 MASSASOIT ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MASTONEH MEDI                                                         Contingent
          21090 WHITE FIR CT
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mastoneh Medi                                                         Contingent
          21090 WHITE FIR CT
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Masumeh Bagherian                                                     Contingent
          382 LOS ENCINOS CT
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATHIAS ANTHONY CARREON                                               Contingent
          496 SAFARI DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.274
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mathias Anthony Carreon                                               Contingent
          496 SAFARI DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTEWOS MEBRATU                                                      Contingent
          3747 142ND ST 108
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Albert Mansilla                                               Contingent
          32595 CARMEL WAY
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Barrios                                                       Contingent
          1315 SOUTHGATE AVE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Benjamin Hoffman                                              Contingent
          1459 Montego Dr
                                                                                Unliquidated
          San Jose, CA 95120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Bernardino Espinosa                                           Contingent
          2752 VALLEY HEIGHTS DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.275
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Dado                                                          Contingent
          254 BANANA GROVE
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew David Mercado                                                 Contingent
          120 MARSH PLACE
                                                                                Unliquidated
          SAN RAMON, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Dennis Gaughan                                                Contingent
          4846 CRESTONE NEEDLE WAY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW EMMANUE BUNKLEY                                               Contingent
          1953 S CRESCENT HEIGHTS BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Emmanuel Bunkley                                              Contingent
          1953 S CRESCENT HEIGHTS BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW HARRISO SAS                                                   Contingent
          17505 SE 300TH ST
                                                                                Unliquidated
          KENT, WA 98042
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.276
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW HARTMAN                                                       Contingent
          1178 PIEDMONT AVE NE B15
                                                                                Unliquidated
          ATLANTA, GA 30309
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW HILL                                                          Contingent
          606 MILL AVE S APT 7
                                                                                Unliquidated
          RENTON, WA 98057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW JOSEPH MARTINEZ                                               Contingent
          1533 DARLENE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Joseph Martinez                                               Contingent
          1533 DARLENE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW LAW SIMON                                                     Contingent
          42925 CHARLESTON WAY
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Law Simon                                                     Contingent
          42925 CHARLESTON WAY
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.276
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Obrien Smith                                                  Contingent
          1024 PRINCESS ANNE DR.
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW OCONNOR LESNIKOSKI                                            Contingent
          135 RIO ROBLES E APT 162
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Oconnor Lesnikoski                                            Contingent
          135 RIO ROBLES E APT 162
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW PETRILL                                                       Contingent
          3427 DOGWOOD PL
                                                                                Unliquidated
          WEST HOMESTEAD, PA 15120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW REVESTI TIANERO                                               Contingent
          1743 APRILSONG COURT
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Revestir Tianero                                              Contingent
          1743 APRILSONG COURT
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.277
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Robert Goodwin-Cruz Jr                                        Contingent
          30 SHEPARDSON LANE APT 30
                                                                                Unliquidated
          ALAMEDA, CA 94502
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Robert Oranje                                                 Contingent
          409 PENNSYLVANIA ST APT 7
                                                                                Unliquidated
          VALLEJO, CA 94590
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTHEW THOMAS HICKOX                                                 Contingent
          4819 LOUISE CT
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Thomas Hickox                                                 Contingent
          4819 LOUISE CT
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matthew Thomas Knorpp                                                 Contingent
          12 Michael ct
                                                                                Unliquidated
          San Carlos, CA 94070
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MATTIE RAIFORD                                                        Contingent
          12610 14TH AVE SW
                                                                                Unliquidated
          BURIEN, WA 98146
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.277
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAUNG AUNG A THET                                                     Contingent
          39310 LOGAN DR
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maung Aung A Thet                                                     Contingent
          39310 LOGAN DR
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maung Phyo Maung Han                                                  Contingent
          142 CAMELIA DR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAURICE ANTHONY TAYLOR JR                                             Contingent
          4056 VINCETON ST
                                                                                Unliquidated
          PITTSBURGH, PA 15214
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAURICE BROWN                                                         Contingent
          210 W 140TH ST APT 2A
                                                                                Unliquidated
          NEW YORK, NY 10030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAURICE FLOYD                                                         Contingent
          5182 SCHENLEY AVE
                                                                                Unliquidated
          PITTSBURGH, PA 15224
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.278
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mauricio Jesus Escalante                                              Contingent
          12927 ROSELLE AVE APT 7
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maurisha Maybelline Collins                                           Contingent
          1732 SUNNYDALE AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Max Huy Minh Dang                                                     Contingent
          1925 STOKES ST APT # 1
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Max S Vonerbsen                                                       Contingent
          1522 48TH AVE APT 2
                                                                                Unliquidated
          SAN FRANCISCO, CA 94122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAXWELL CHEN                                                          Contingent
          5527 110TH PL SW
                                                                                Unliquidated
          MUKILTEO, WA 98275
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,097.60
          MC Delivery                                                           Contingent
          1410 MLK JR Way                                                       Unliquidated
          Tacoma, WA 98405                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.279
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MEDOJE MAOUSE                                                         Contingent
          1163 FTELEY AVENUE APT 1F
                                                                                Unliquidated
          BRONX, NY 10472
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MEGGAN NICOLE HOWE                                                    Contingent
          921 WAINWRIGHT DR
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Meggan Nicole Howe                                                    Contingent
          921 WAINWRIGHT DR
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mehrafza Muntazir                                                     Contingent
          34932 NOVA TER
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MEHRDAD GAMSHADZAHI                                                   Contingent
          185 CLAREMONT AVE 3G
                                                                                Unliquidated
          NEW YORK, NY 10027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MEILANNY LATIES HANEY                                                 Contingent
          6109 HILTON ST APT C
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.279
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Meilanny Latiesh Haney                                                Contingent
          6109 HILTON ST APT C
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Melanie Denise Jordan                                                 Contingent
          2250 Menalto Ave
                                                                                Unliquidated
          Palo Alto, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MELDA MOLNAR                                                          Contingent
          12 RAVINE STREET
                                                                                Unliquidated
          DRAVOSBURG, PA 15034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MELES GEBREMARIAM                                                     Contingent
          19663 20TH AVE NE
                                                                                Unliquidated
          SHORELINE, WA 98155
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Melina Krasteva Hristova                                              Contingent
          95 Clarendon apt 8
                                                                                Unliquidated
          Pacifica, CA 94044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MELISSA ANN BAKER                                                     Contingent
          13305 MENLO ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.280
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Melissa Ann Baker                                                     Contingent
          13305 MENLO ST
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MELISSA ASHLEY CAMPANELLA                                             Contingent
          1409 MOCCASIN DR
                                                                                Unliquidated
          MODESTO, CA 95351
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Melissa Ashley Campanella                                             Contingent
          1409 MOCCASIN DR
                                                                                Unliquidated
          MODESTO, CA 95351
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MELVIN CHAND                                                          Contingent
          161 SIERRAWOOD AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Melvin Chand                                                          Contingent
          161 SIERRAWOOD AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Melvin Lyons                                                          Contingent
          20555 S VERMONT AVE #5
                                                                                Unliquidated
          TORRANCE, CA 90502
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.280
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Menelik Dashaun Goodwill                                              Contingent
          3571 66TH AVE APT 3
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MERAB CHANG                                                           Contingent
          1650 KIRKLAND DR APT 3D
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Merab Chang                                                           Contingent
          1650 KIRKLAND DR APT 3D
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MERANDA MARIE LUCIO                                                   Contingent
          24432 SILVA AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Meranda Marie Lucio                                                   Contingent
          24432 SILVA AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Merle Brillantes Banez                                                Contingent
          3931 STEIN CT
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 449 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.281
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MERON ALEXANDER                                                       Contingent
          4326 155TH ST SW APT A
                                                                                Unliquidated
          LYNNWOOD, WA 98087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MERRARI JAZZLYN ALAMA                                                 Contingent
          2080 ALUM ROCK APT 119
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Merrari Jazzlynn Alama                                                Contingent
          2080 ALUM ROCK APT 119
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,552.68
          Meteor Logistics Xpress                                               Contingent
          PO Box 833427                                                         Unliquidated
          Richardson, TX 75083                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,444.53
          MetLife                                                               Contingent
          PO Box 804466                                                         Unliquidated
          Kansas City, MO 64180                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Meynardo Elemia Talo Jr                                               Contingent
          3202 VINTAGE CREST DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.282
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miahn Fornoles Ibo                                                    Contingent
          1821 BURLEY DRIVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICAH DESHAWN ROBINSON                                                Contingent
          6438 HERZOG STREET
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Micah Deshawn Robinson                                                Contingent
          6438 HERZOG STREET
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Alden Ross                                                    Contingent
          7778 SURREY LN
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Alexander Vieira                                              Contingent
          4323 CHEENY STREET
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Allen Gaddy                                                   Contingent
          1855 GRAHAM LN
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.282
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Andre Quick                                                   Contingent
          1349 OLD CANYON RD APT 3
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Anthony Baltazar                                              Contingent
          881 W 40TH PLACE
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL ANTHONY VALDEZ                                                Contingent
          1096 CLYDE AVE APT 3
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Anthony Valdez                                                Contingent
          1096 CLYDE AVE APT 3
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL ANTHONY VILLEGAS                                              Contingent
          80 S MARKET ST
                                                                                Unliquidated
          SAN JOSE, CA 95113
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Anthony Villegas                                              Contingent
          80 S MARKET ST
                                                                                Unliquidated
          SAN JOSE, CA 95113
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.283
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL BURROUGHS JR                                                  Contingent
          2222 CAREY WAY
                                                                                Unliquidated
          PITTSBURGH, PA 15203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Christian Wenger                                              Contingent
          1397 ESSEX WAY
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL DAVID MAGALIT                                                 Contingent
          46 SHAWNEE AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael David Magalit                                                 Contingent
          46 SHAWNEE AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL DEAL                                                          Contingent
          5427 YOUNGRIDGE DR APT 1
                                                                                Unliquidated
          BETHEL PARK, PA 15236
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Earl Freeman                                                  Contingent
          14741 BETTY JEAN AVE
                                                                                Unliquidated
          BELLFLOWER, CA 90706
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.283
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael G Shmakov                                                     Contingent
          1334 S BERNARDO AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL GAUGHAN                                                       Contingent
          4846 CRESTONE NEEDLE WAY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Gaughan                                                       Contingent
          4846 CRESTONE NEEDLE WAY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Goodale                                                       Contingent
          80 DESCANSO DRIVE APT 1226
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL GRIFFIN                                                       Contingent
          8645 31ST AVE SW
                                                                                Unliquidated
          SEATTLE, WA 98126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL HO                                                            Contingent
          2611 44TH AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.284
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Ho                                                            Contingent
          2611 44TH AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Horton                                                        Contingent
          4123 BROADWAY APT 231
                                                                                Unliquidated
          OAKLAND, CA 94611
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL JAY SHAVER                                                    Contingent
          2113 EMORY ST
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Jay Shaver                                                    Contingent
          2113 EMORY ST
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL JESUS SILVA                                                   Contingent
          1137 FAIRFIELD AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Jesus Silva                                                   Contingent
          1137 FAIRFIELD AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.285
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael John Guillory                                                 Contingent
          121 MAY AVENUE
                                                                                Unliquidated
          SANTA CRUZ, CA 95062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Jones                                                         Contingent
          5201 COUNTRYSIDE DR
                                                                                Unliquidated
          SAN DIEGO, CA 92115
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Joseph Chiorello                                              Contingent
          756 SOUTH 3RD STREET
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Julian Topper                                                 Contingent
          627 N GUDALUPE AVE APT 5
                                                                                Unliquidated
          REDONDO BEACH, CA 90277
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL KADIAYI                                                       Contingent
          23260 26TH AVE S
                                                                                Unliquidated
          DES MOINES, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL LAMONT YOUNG JR                                               Contingent
          31252 HERSHEY WAY
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.285
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Lamont Young Jr                                               Contingent
          31252 HERSHEY WAY
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL LEE LEISHMAN                                                  Contingent
          16716 AMBAUM BLVD S
                                                                                Unliquidated
          BURIEN, WA 98148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL LICCIONE                                                      Contingent
          1539 OREGON AVENUE
                                                                                Unliquidated
          STEUBENVILLE, OH 43952-4395
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Mercado                                                       Contingent
          1053 ARLINGTON LANE
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL MONCRIEF                                                      Contingent
          5492 TRADEWINDS WALKWAY
                                                                                Unliquidated
          UNIT 4
          SAN JOSE, CA 95123                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.286
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Moncrief                                                      Contingent
          5492 TRADEWINDS WALKWAY
                                                                                Unliquidated
          UNIT 4
          SAN JOSE, CA 95123                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.286
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Patrick Demarco                                               Contingent
          710 LAKEFAIR DR
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL PAUL HAMILTON                                                 Contingent
          985 ASILOMAR TER #1
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Paul Hamilton                                                 Contingent
          985 ASILOMAR TER #1
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Ratliff                                                       Contingent
          8712 S 12TH AVE
                                                                                Unliquidated
          INGLEWOOD, CA 90305
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL RAY SMITH                                                     Contingent
          1944 94TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Ray Smith                                                     Contingent
          1944 94TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.286
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL REED HOLLEY                                                   Contingent
          6300 WINDWARD DR
                                                                                Unliquidated
          BURKE, VA 22015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Robert Ellis                                                  Contingent
          3283 TIOGA RD 101
                                                                                Unliquidated
          CONCORD, CA 94521
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Robert Erdman                                                 Contingent
          3459 LOMA VISTA AVE
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Rodriguez                                                     Contingent
          3300 LEAVESLEY ROAD
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL ROMERO MARANAN                                                Contingent
          243 ESMERALDA CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Romero Maranan                                                Contingent
          243 ESMERALDA CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.287
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL RYAN HARDEN                                                   Contingent
          3063 PAYNE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Ryan Harden                                                   Contingent
          3063 PAYNE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL S CALDWELL                                                    Contingent
          11837 SE 321ST PL
                                                                                Unliquidated
          AUBURN, WA 98092
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Santos Guinto                                                 Contingent
          427 MORETTI LN
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL SCOTT STEWART                                                 Contingent
          737 LEXINGTON STREET
                                                                                Unliquidated
          MILPITAS, CA 95035-3826
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Scott Stewart                                                 Contingent
          737 LEXINGTON STREET
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.288
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Seung Wang                                                    Contingent
          2101 SHORELINE DR APT 474
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL T PHU                                                         Contingent
          1810 OHLONE ST
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael T Phu                                                         Contingent
          1810 OHLONE ST
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Thomas Mount                                                  Contingent
          1365 KLAMATH DR
                                                                                Unliquidated
          SAN JOSE, CA 95130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL VANCE HERSH                                                   Contingent
          16150 VIA ARROYO
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Vance Hersh                                                   Contingent
          16150 VIA ARROYO
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.288
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL WELDAB                                                        Contingent
          3904 S KENYON ST APT102B
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael William Komer                                                 Contingent
          496 DEMPSEY ROAD APT 298
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHAEL WOEHL                                                         Contingent
          6708 MORGEN RD
                                                                                Unliquidated
          EVERETT, WA 98203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael-Rock Castro Martinez                                          Contingent
          710 NIDO DR APT 107
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michal Anthony Mendoza                                                Contingent
          1075 Space Park Way SPC89
                                                                                Unliquidated
          Mountain View, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michanne Elizabeth Bohanon                                            Contingent
          2679 COOLIDGE AVE
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.289
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michele Christine Thorne                                              Contingent
          442 CHATEAU LA SALLE DR
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michele Kelly Cox                                                     Contingent
          3683 VIRGINIA RD
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michelle Ann Prok                                                     Contingent
          345 EDUCATIONAL PARK DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHELLE B BURNS                                                      Contingent
          2555 INTERNATIONAL BLVD
                                                                                Unliquidated
          APT 317
          OAKLAND, CA 94601                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.289
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michelle B Burns                                                      Contingent
          2555 INTERNATIONAL BLVD
                                                                                Unliquidated
          APT 317
          OAKLAND, CA 94601                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.289
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHELLE HINDS                                                        Contingent
          6229 HAYES ST 2
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.289
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michelle Hinds                                                        Contingent
          6229 HAYES ST 2
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michelle Lupe Vargas                                                  Contingent
          159 COLERIDGE TERRACE
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michelle Q. Uribe                                                     Contingent
          1919 FIFTH ST
                                                                                Unliquidated
          ATWATER, CA 95301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHELLE RENEE HERNANDEZ                                              Contingent
          1584 SCOTTY ST
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michelle Renee Hernandez                                              Contingent
          1584 SCOTTY ST
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MICHELLE TABOR                                                        Contingent
          511 27TH AVENUE
                                                                                Unliquidated
          SEATTLE, WA 98122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.290
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miguel Angel Martinez                                                 Contingent
          80 SOUTH 5TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miguel Casarrubias                                                    Contingent
          717 W 80TH ST APT 3
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MIGUEL ESPARZA                                                        Contingent
          23020 25TH AVE S B107
                                                                                Unliquidated
          DES MOINES, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MIGUEL J ARAUJO                                                       Contingent
          805 EASTON AVE
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miguel J Araujo                                                       Contingent
          805 EASTON AVE
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miguel Miranda                                                        Contingent
          671 W O`FARRELL ST
                                                                                Unliquidated
          SAN PEDRO, CA 90731
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.291
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MIKAYLA LYNN ELLIS-CANNON                                             Contingent
          1198 CROMWELL ST
                                                                                Unliquidated
          LIVERMORE, CA 94551
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mikayla Lynn Ellis-Cannon                                             Contingent
          1198 CROMWELL ST
                                                                                Unliquidated
          LIVERMORE, CA 94551
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mikeyase Frew Bekele                                                  Contingent
          2520 S BASCOM AVE APT 1
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mildred A Roja                                                        Contingent
          30 BOSTON AVENUE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miles Clayton Rubia                                                   Contingent
          1903 CAMARGO DR
                                                                                Unliquidated
          SAN JOSE, CA 95355
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Milkyas Alemu                                                         Contingent
          3823 HARRISON ST APT 204
                                                                                Unliquidated
          Oakland, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.291
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MILO AMOS                                                             Contingent
          6115 CRENSHAW BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Milo Amos                                                             Contingent
          6115 CRENSHAW BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MINH LUU                                                              Contingent
          1363 CARTERWOOD PL
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Minh Luu                                                              Contingent
          1363 CARTERWOOD PL
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Minh Thiet Hong                                                       Contingent
          1035 MCKAY DRIVE APT 21
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Misael Cepeda                                                         Contingent
          3973 SEVEN TREES BLVD APT 5
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.292
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,551.76
          Modern Express Courier                                                Contingent
          PO Box 8195                                                           Unliquidated
          Walnut Creek, CA 94596                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Modrey George Floyd                                                   Contingent
          138 E. 36th Place
                                                                                Unliquidated
          Los Angeles, CA 90011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mohamad Rifai                                                         Contingent
          37503 mission blvd
                                                                                Unliquidated
          Fremont, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED A ABDI                                                        Contingent
          17112 118TH LN SE APT 204
                                                                                Unliquidated
          RENTON, WA 98058
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED ABDI                                                          Contingent
          14725 57TH AVE S
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED ABDI                                                          Contingent
          2137 N 153RD STREET
                                                                                Unliquidated
          SHORELINE, WA 98133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.292
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mohamed Abdullah Manea                                                Contingent
          1036 POLK ST #307
                                                                                Unliquidated
          SAN FRANCISCO, CA 94109
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED AHMED                                                         Contingent
          25617 27TH PL H305
                                                                                Unliquidated
          KENT, WA 98032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED ALI                                                           Contingent
          8340 RAINIER AVE S 22
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED AWIES HAIDAR                                                  Contingent
          28127 136TH AVE SE
                                                                                Unliquidated
          KENT, WA 98042
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED D OMAR                                                        Contingent
          6801 S 160TH ST #12
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED DEER                                                          Contingent
          3724 S 141 ST 3
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.293
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED DIRIE                                                         Contingent
          17341 32ND AVE S P219
                                                                                Unliquidated
          SEATAC, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED M JAMA                                                        Contingent
          3035 S 204TH ST APT 113
                                                                                Unliquidated
          SEATAC, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mohamed Mohamed                                                       Contingent
          120 ARDENDALE DR
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMED O ALI                                                         Contingent
          7241 38TH AVE S
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mohammad Mehdi Raza                                                   Contingent
          4444 CENTRAL AVE #218
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mohammad Reza Ahmadi                                                  Contingent
          3558 AGATE DR APT 7
                                                                                Unliquidated
          Santa Clara, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.294
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mohammad-Naim Sina Ahmadzai                                           Contingent
          28012 FARM HILL DR
                                                                                Unliquidated
          HAYWARD, CA 94542
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mohammed Jasim Mohammed                                               Contingent
          PO BOX 2995
                                                                                Unliquidated
          SANTA CLARA, CA 95055
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMMED OMAR                                                         Contingent
          14839 MILITARY RD S 108
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOHAMUD SAIDALI                                                       Contingent
          4117 SW 25TH AVE UNIT 1
                                                                                Unliquidated
          SEATTLE, WA 98106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Moises Goevanne Gonzale                                               Contingent
          689 Wyandotte Ave
                                                                                Unliquidated
          Daly City, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOISES MIGUEL M JIMENEZ                                               Contingent
          27522 ORLANDO AVE
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.294
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Moises Miguel M Jimenez                                               Contingent
          27522 ORLANDO AVE
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOISES MONSANTO                                                       Contingent
          952 INTERVALE AVENUE APT 11
                                                                                Unliquidated
          BRONX, NY 10459
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mona J Menjivar                                                       Contingent
          1806 MENTONE AVE
                                                                                Unliquidated
          PASADENA, CA 91103
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Monee Richard Seng                                                    Contingent
          2684 TOY LN
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MONICA RODRIGUE PENA                                                  Contingent
          5363 WONG CT APT 121
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Monica Rodrigue Pena                                                  Contingent
          5363 WONG CT APT 121
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.295
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Monika Mitchell                                                       Contingent
          P O BOX 4491
                                                                                Unliquidated
          SAN CLEMENTE, CA 92674
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Monique Duch                                                          Contingent
          7363 FORSUM RD
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MONIQUE S HERRERA THOMAS                                              Contingent
          689 CARPINO AVE
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Monique S Herrera Thomas                                              Contingent
          689 CARPINO AVE
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MORAIMA BULLIS                                                        Contingent
          337 105TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Moraima Bullis                                                        Contingent
          337 105TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.295
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MORGAN MEDEIROS                                                       Contingent
          1519 OAKMONT DRIVE
                                                                                Unliquidated
          ACWORTH, GA 30102
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morgan Taylor Tschaen                                                 Contingent
          3129 KEATS ST
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morgan Wiley Merrihew                                                 Contingent
          3801 THIRD ST STE 585
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUHADDIN SULUB                                                        Contingent
          9300 51ST AVE APT 2
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUHAMED MOHAMED                                                       Contingent
          6511 RAINIER AVE 102
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Muhammad Tayyab Mehfooz                                               Contingent
          38655 PASEO PADRE PKWY
                                                                                Unliquidated
          APT 209
          FREMONT, CA 94536                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.296
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUHAMMAD W HAQ                                                        Contingent
          50 AUSTIN AVE APT 917
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Muhammad W Haq                                                        Contingent
          50 AUSTIN AVE APT 917
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mujtaba Ilyaszada                                                     Contingent
          20611 CENTER ST
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUKHTAR A ABDULKADIR                                                  Contingent
          5915 DELRIDGE WAY SE APT S202
                                                                                Unliquidated
          SEATTLE, WA 98106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MULUBERHAN GOSHO                                                      Contingent
          7917 WOLCOTT AVE S
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MULUME FATAKI                                                         Contingent
          39 RANCHO DR APT 8
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.297
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mulume Fataki                                                         Contingent
          39 RANCHO DR APT 8
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUSIE GEBREMARIAM                                                     Contingent
          600 SW 5TH CT G302
                                                                                Unliquidated
          RAVENSDALE, WA 98051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUSSE WACAYS                                                          Contingent
          9805 AVONDALE RD NE APT I-130
                                                                                Unliquidated
          REDMOND, WA 98052
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUSTAFA KHAN                                                          Contingent
          1739 MCLAUGHLIN AVE APT F
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mustafa Khan                                                          Contingent
          1739 MCLAUGHLIN AVE APT F
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUSTAFE AHMED                                                         Contingent
          14432 MILITARY RD S STE 5
                                                                                Unliquidated
          TUKWILA, WA 98168
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.297
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Muwafaq Ahmed Yaseen Bakar                                            Contingent
          1577 POMEROY AVE APT #303
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MYLINH TRUONG                                                         Contingent
          16133 EVANSTON AVE N
                                                                                Unliquidated
          SHORELINE, WA 98133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MYRONE NIGEL LOUIS                                                    Contingent
          429 21ST ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Myrone Nigel Louis                                                    Contingent
          429 21ST ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MYTRESS COLLINS                                                       Contingent
          2500 WALLACE ST APT 9
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mytress Collins                                                       Contingent
          2500 WALLACE ST APT 9
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.298
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nacanieli Sega                                                        Contingent
          2045 GLENWAY
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NADDR ALI HUGAIS                                                      Contingent
          2456 DOLAN WAY
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Naddr Ali Hugais                                                      Contingent
          2456 DOLAN WAY
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nadia Bernadette Ahumada                                              Contingent
          965 BELLHURST AVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NADINE ADDISA BANTON                                                  Contingent
          917 ENTERPRISE AVE APT 7
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nadine Addisa Banton                                                  Contingent
          917 ENTERPRISE AVE APT 7
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.298
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Naeemah Henderson                                                     Contingent
          342 MARIPOSA STREET, #4
                                                                                Unliquidated
          SAN ANDREAS, CA 95249
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nahid Bastani Elahabadi                                               Contingent
          225 AVERY LANE
                                                                                Unliquidated
          LOS GATOS, CA 95032
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nakisa A Boyd                                                         Contingent
          3039 BROADWAY UNIT B
                                                                                Unliquidated
          REDWOOD CITY, CA 94062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NAM THANH NGUYEN                                                      Contingent
          120 CHATEAU LA SALLE DR
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nam Thanh Nguyen                                                      Contingent
          120 CHATEAU LA SALLE DR
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Narciso Rafael Gonzalez                                               Contingent
          5929 DENVER AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.299
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Naser Aliabadizadeh                                                   Contingent
          1649 COLBY AVE #102
                                                                                Unliquidated
          LOS ANGELES, CA 90025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nasrin Sabokpa                                                        Contingent
          7745 RESEDA BLVD APT 49
                                                                                Unliquidated
          RESEDA, CA 91335
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,169.95
          Nassau Transportation Inc                                             Contingent
          PO Box 7276                                                           Unliquidated
          Princeton, NJ 08543-7276                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NASSER AHMED                                                          Contingent
          3642 33RD AVE S A719
                                                                                Unliquidated
          SEATTLE, WA 98144
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Natalie Mavromatis                                                    Contingent
          2403 BRIDLE PATH DR
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Natalie Mier                                                          Contingent
          9315 PARROT AVE
                                                                                Unliquidated
          DOWNEY, CA 90240
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.300
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Natalie Pepe Mortenson                                                Contingent
          69 COLE DR APT 8
                                                                                Unliquidated
          SAUSALITO, CA 94965
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nataniela Tununamo Talasinga                                          Contingent
          552 HERMITAGE COURT
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATASHA DENISE WRIGHT                                                 Contingent
          P.O. BOX 1112
                                                                                Unliquidated
          FRENCH CAMP, CA 95231
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Natasha Denise Wright                                                 Contingent
          P.O. BOX 1112
                                                                                Unliquidated
          FRENCH CAMP, CA 95231
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Natasha Shevon Coleman                                                Contingent
          132 MISSION DR
                                                                                Unliquidated
          E PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATASHA SMITH                                                         Contingent
          301 SUTTER AVE 17H
                                                                                Unliquidated
          BROOKLYN, NY 11212
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.300
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATHAN BRAUN                                                          Contingent
          231 PARKLANE DRIVE
                                                                                Unliquidated
          PITTSBURGH, PA 15104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATHAN ELLIS                                                          Contingent
          5012 REAVVAN
                                                                                Unliquidated
          SEATTLE, WA 98105
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATHAN JAMESAKR ASSAF                                                 Contingent
          340 S TEMPLE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nathan Jamesakram Assaf                                               Contingent
          340 S. Temple Dr
                                                                                Unliquidated
          Milpitas, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nathan Michael Dewain Mertz                                           Contingent
          2071 BOWERS AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATHAN WANG                                                           Contingent
          2615 WHISPERING HILLS CIR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.301
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nathan Wang                                                           Contingent
          2615 WHISPERING HILLS CIR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nathan William Falkoff                                                Contingent
          3727 KELTON AVE APT 4
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATHANIEL B ANTHONY                                                   Contingent
          17 MANSION AVE
                                                                                Unliquidated
          PITTSBURGH, PA 15209
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATHANIEL PRUITT                                                      Contingent
          1616 BRANHAM LN APT 59
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nathaniel Pruitt                                                      Contingent
          1616 BRANHAM LN APT 59
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATHANIEL THOMAS                                                      Contingent
          201 CLARA STREET
                                                                                Unliquidated
          PITTSBURGH, PA 15209
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.301
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATHANIEL VARGAS                                                      Contingent
          201 S 4TH ST APT 718
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nathaniel Vargas                                                      Contingent
          201 S 4TH ST APT 718
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATHANIEL WHITE IV                                                    Contingent
          275 DE LONG ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nathaniel White IV                                                    Contingent
          275 DE LONG ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NATNAEL GEBREMEDHIN                                                   Contingent
          11532 STONE AVE A402
                                                                                Unliquidated
          SEATTLE, WA 98133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NAVEEN KUMAR BALLEY                                                   Contingent
          2382 FIELDGATE DR
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.302
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Naveen Kumar Balley                                                   Contingent
          2382 FIELDGATE DR
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NAWID AHMAD                                                           Contingent
          4969 ANTIOCH LOOP
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nawid Ahmad                                                           Contingent
          4969 ANTIOCH LOOP
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,076.48
          NDS                                                                   Contingent
          PO Box 61002                                                          Unliquidated
          Anaheim, CA 92803                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NEALPATRICK VAR JARANILLA                                             Contingent
          150 BEVERLY ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NealPatrick Vargas Jaranilla                                          Contingent
          150 BEVERLY ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.303
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nehal Parashar                                                        Contingent
          2749 Lavender Terr
                                                                                Unliquidated
          San Jose, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Neil Nombrado                                                         Contingent
          22228 Grace Avenue Apt 204a
                                                                                Unliquidated
          Carson, CA 90745
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NELLEY ARLETE HERNANDEZ                                               Contingent
          3319 INNERWICK LANE
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nelley Arlete Hernandez                                               Contingent
          3319 INNERWICK LANE
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nelson Rubang Lopez                                                   Contingent
          385 EASY ST APT 1
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NERSES ARZUMANOV                                                      Contingent
          19818 50TH AVE W 921
                                                                                Unliquidated
          LYNNWOOD, WA 98036
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 3.303
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,024.32
          Network Billing Systems, LLC.                                         Contingent
          PO Box 74301                                                          Unliquidated
          Cleveland, OH 44194-4301                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NEUMAN ANTHONY ROBINSON                                               Contingent
          1023 GRIFFIN DR
                                                                                Unliquidated
          VALLEJO, CA 94589
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Neuman Anthony Robinson                                               Contingent
          1023 GRIFFIN DR
                                                                                Unliquidated
          VALLEJO, CA 94589
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nhan Edison Trung Tran                                                Contingent
          2862 scottsdale dr.
                                                                                Unliquidated
          San Jose, CA 96148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nhan Thanh Tran                                                       Contingent
          754 DELAWARE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nhon Sang Do                                                          Contingent
          2312 PARK BLVD APT 2
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.304
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICCOLO PAOLO BARTIDO                                                 Contingent
          1553 BRENNER WAY
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Niccolo Paolo Bartido                                                 Contingent
          1553 BRENNER WAY
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICHOLAI ALLEN                                                        Contingent
          2330 WEST 11TH STREET 2
                                                                                Unliquidated
          BROOKLYN, NY 11223
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICHOLAS S DERDAK                                                     Contingent
          3652 EL GRANDE CT
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICHOLAS ALEXAN MARSHALL                                              Contingent
          15694 WASHINGTON AVE
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholas Alexan Marshall                                              Contingent
          15694 WASHINGTON AVE
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.304
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICHOLAS EMILO MEDINA                                                 Contingent
          1225 SIERRA AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholas Emilo Medina                                                 Contingent
          1225 SIERRA AVE
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICHOLAS JASON TORRES                                                 Contingent
          1047 KELLY ST APT 1A
                                                                                Unliquidated
          BRONX, NY 10459
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholas Lee St Amant                                                 Contingent
          576 SMALLEY AVE APT 3
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICHOLAS LLERA                                                        Contingent
          20312 132ND AVE NE
                                                                                Unliquidated
          WOODINVILLE, WA 98072
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholas Moussa Fares                                                 Contingent
          38416 MISSION BLVD APT 142
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.305
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholas Nhut Truong                                                  Contingent
          2019 SHELLBACK PL
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholas S Derdak                                                     Contingent
          3652 EL GRANDE CT
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICHOLAS SCOTT VALORIE                                                Contingent
          3237 W LIBERTY AVE APT 3
                                                                                Unliquidated
          PITTSBURGH, PA 15216
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholas William Patty                                                Contingent
          2038 S HOLT AVE APT 1A
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nico Quiocho Tingzon                                                  Contingent
          20 OLD RODGERS RANCH CT
                                                                                Unliquidated
          PLEASANT HILL, CA 94523
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICOLA MICOMONACO                                                     Contingent
          27541 43RD AVE S
                                                                                Unliquidated
          AUBURN, WA 98001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.306
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NICOLAS RAMON ATENCIO                                                 Contingent
          595 JOHN MUIR DR APT C311
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicolas Ramon Atencio                                                 Contingent
          595 JOHN MUIR DR APT C311
                                                                                Unliquidated
          SAN FRANCISCO, CA 94132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicole Louise Osibin                                                  Contingent
          2813 SACRAMENTO ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NIJAL RAMIL MIR MONTES                                                Contingent
          1794 CORTEZ AVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nijal Ramil Mir Montes                                                Contingent
          1794 CORTEZ AVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nikhil Beri                                                           Contingent
          1532 EDEN AVE APT 3
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.306
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NIKOLAI ALEKSAN GRIBENKO                                              Contingent
          320 HARBOR LIGHT DR
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nikolai Aleksan Gribenko                                              Contingent
          320 HARBOR LIGHT DR
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nimai Pandit Gough                                                    Contingent
          168 S 10TH ST APT B
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NINA LINDERS                                                          Contingent
          1326 3RD ST SE UNIT A
                                                                                Unliquidated
          AUBURN, WA 98002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nitosha Khadija M E J Strother                                        Contingent
          131 NORTHRIDGE RD
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NOAH WHITE                                                            Contingent
          100 N WHISMAN RD APT 3711
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.307
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Noah White                                                            Contingent
          100 N WHISMAN RD APT 3711
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Noe Perez Aguilar                                                     Contingent
          236 COY DR APT 3
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NOEL BLAS                                                             Contingent
          958 KENWOOD ST
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Noel Blas                                                             Contingent
          958 KENWOOD ST
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Noel Ramirez                                                          Contingent
          2445 CAMERON DR
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NOEMI FRANCO                                                          Contingent
          506 S WOODS AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.307
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Noemi Franco                                                          Contingent
          506 S WOODS AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Norbert Rafael Vargas                                                 Contingent
          99 SCHOOL STREET APT 116
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NORMA BERENICE FAUSTO                                                 Contingent
          16161 HESPERIAN BLVD
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Norma Berenice Fausto                                                 Contingent
          16161 HESPERIAN BLVD
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Norma Torres                                                          Contingent
          1092 THORNDALE CT
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NORMAN CHANDLER                                                       Contingent
          102 LAKEVIEW
                                                                                Unliquidated
          MC KEES ROCKS, PA 15136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.308
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NORMAN GOOLSBY JR                                                     Contingent
          16802 LOS REYES AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Norman Goolsby Jr                                                     Contingent
          16802 LOS REYES AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,040.69
          Northside Flower Imports Inc                                          Contingent
          4591 Winter Chapel Rd                                                 Unliquidated
          Atlanta, GA 30360                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NOUR ARTEN                                                            Contingent
          22416 88TH AVE S K101
                                                                                Unliquidated
          KENT, WA 98031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,466.00
          Nova Delivery                                                         Contingent
          2800 Gallows Rd                                                       Unliquidated
          Vienna, VA 22180-7445                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $142.22
          Now Courier (IN)                                                      Contingent
          PO Box 6066                                                           Unliquidated
          Indianapolis, IN 46206                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.309
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Noy Boonnam                                                           Contingent
          2618 BROOK WAY
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NUR ABDI                                                              Contingent
          3716 14TH AVE S
                                                                                Unliquidated
          SEATTLE, WA 98144
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,542.69
          NY Minute Messenger                                                   Contingent
          PO Box 1935                                                           Unliquidated
          Long Island City, NY 11101                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nyoka Janette Phung                                                   Contingent
          527 W REGENT ST 138
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Obaidullah Mohammadi                                                  Contingent
          6324 JERILYNN AVE
                                                                                Unliquidated
          RICHMOND, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Octavia Marlish Spencer                                               Contingent
          2698 78TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.309
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ODONTUNGALAG CHUNAGSUREN                                              Contingent
          418 25TH AVE APT 5
                                                                                Unliquidated
          SAN FRANCISCO, CA 94121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Odontungalag Chunagsuren                                              Contingent
          418 25TH AVE APT 5
                                                                                Unliquidated
          SAN FRANCISCO, CA 94121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OLADAPO O AKANBI                                                      Contingent
          407 OLDE MILL LANE
                                                                                Unliquidated
          NORCROSS, GA 30093
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OLAYANJU MUSLIU YUSSUFF                                               Contingent
          1265 PEPPERWOOD CT
                                                                                Unliquidated
          CARSON, CA 90746
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Olayanju Musliudeen Yussuff                                           Contingent
          1265 PEPPERWOOD CT
                                                                                Unliquidated
          CARSON, CA 90746
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OLLIE A CHAPLE                                                        Contingent
          1436 SEMINARY AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.310
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ollie A Chaple                                                        Contingent
          1436 SEMINARY AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Omar Canales                                                          Contingent
          15170 FROST AVE
                                                                                Unliquidated
          CHINO HILLS, CA 91709
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Omar Garcia                                                           Contingent
          1821 EAST 4TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90033
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Omar Taha Hindam                                                      Contingent
          2038 Calaveras Road
                                                                                Unliquidated
          Milpitas, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Omar Valdez                                                           Contingent
          928 S FERRIS AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Omer Abraao Abdelnur                                                  Contingent
          950 E Hillsdale Blvd apt 210
                                                                                Unliquidated
          Foster City, CA 94404
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.310
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,216.40
          On SameDay Delivery                                                   Contingent
          PO Box 20467                                                          Unliquidated
          Greeley Sq Station 4 E 27th St                                        Disputed
          New York, NY 10001-9998
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.310
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,523.24
          One Ring                                                              Contingent
          2030 Powers Ferry Rd                                                  Unliquidated
          Ste 200                                                               Disputed
          Atlanta, GA 30339
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.311
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,723.00
          OnTrac                                                                Contingent
          41 Northern Stacks Dr Ste 200                                         Unliquidated
          Fridley, mn 55421                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,482.00
          Orcas Business Park LLC                                               Contingent
          PO Box 81024                                                          Unliquidated
          Seattle, WA 98108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ORELL RASHAI JACKSON                                                  Contingent
          644 1ST ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Orell Rashai Jackson                                                  Contingent
          644 1ST ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.311
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ORIANA SAPORTAS                                                       Contingent
          1330 VIRGINIA ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oriana Saportas                                                       Contingent
          1330 VIRGINIA ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Orlando Alvarez-Barragan                                              Contingent
          308 IVY DR
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSAMA SAID                                                            Contingent
          13000 MLK JR WAY S 31
                                                                                Unliquidated
          SEATTLE, WA 98178
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oscar Bautista Coa                                                    Contingent
          PO BOX 51344
                                                                                Unliquidated
          SAN JOSE, CA 95151
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSCAR LEMUS                                                           Contingent
          6131 AFTON PL APT 1
                                                                                Unliquidated
          LOS ANGELES, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.312
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oscar Lemus                                                           Contingent
          6131 AFTON PL APT 1
                                                                                Unliquidated
          LOS ANGELES, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oscar Pasillas Panuco                                                 Contingent
          1050 W 43RD ST
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSCAR SANCHEZ                                                         Contingent
          5847 AGRA ST
                                                                                Unliquidated
          BELL GARDENS, CA 90201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oscar Sanchez                                                         Contingent
          5847 AGRA ST
                                                                                Unliquidated
          BELL GARDENS, CA 90201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSHANE TROY HENRY                                                     Contingent
          80 ATLANTIC CIRCLE APT 206
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Osiri Darleni Medrano Sierra                                          Contingent
          10290 SHOREHAM CT
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.312
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSMAN AFRAH                                                           Contingent
          16200 NE 13TH PL APT G201
                                                                                Unliquidated
          BELLEVUE, WA 98008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSMAN NUUR                                                            Contingent
          8320 RAINIE RAYE STREET APT D
                                                                                Unliquidated
          SEATTLE, WA 38118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSVALDO A MADERA                                                      Contingent
          132 SEAMAN AVENUE APT 3E
                                                                                Unliquidated
          NEW YORK, NY 10034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSVALDO ORTIZ RODRIGUEZ                                               Contingent
          3466 WILLOW PASS ROAD SPC 49
                                                                                Unliquidated
          CONCORD, CA 94519
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Osvaldo Ortiz Rodriguez                                               Contingent
          3466 WILLOW PASS ROAD SPC 49
                                                                                Unliquidated
          CONCORD, CA 94519
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oswaldo Madrigal Cisneros                                             Contingent
          11847 167 ST
                                                                                Unliquidated
          ARTESIA, CA 90701
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.313
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OUMOU CAMARA                                                          Contingent
          1343 PROSPECT AVE #BSMT
                                                                                Unliquidated
          BRONX, NY 10459
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pablo Antonio Hernandez Gonzalez                                      Contingent
          22142 THELMA STREET
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PABLO ANTONIO SARAVIA                                                 Contingent
          645 MYRTLE AVE
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pablo Antonio Saravia                                                 Contingent
          645 MYRTLE AVE
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pablo Barahona                                                        Contingent
          419 OXFORD ST APT 1
                                                                                Unliquidated
          REDWOOD CITY, CA 94061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pablo Jesus Bernal                                                    Contingent
          2464 SUMMER ST
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.313
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PABLO MARTINEZ MADRIGAL                                               Contingent
          5727 ALMADEN RD APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pablo Martinez Madrigal                                               Contingent
          5727 ALMADEN RD APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pamela Jane Gurule                                                    Contingent
          4400 ALUM ROCK AVE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paris Alexander Strong                                                Contingent
          2422 4TH AVENUE
                                                                                Unliquidated
          LOS ANGELES, CA 90018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PATRICE CALLIGARIS                                                    Contingent
          1030 E. EL CAMINO REAL, #117
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patrice Calligaris                                                    Contingent
          1030 E. EL CAMINO REAL, #117
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.314
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PATRICIA ANN STEWART                                                  Contingent
          8714 MACARTHUR BLVD APT B
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patricia Ann Stewart                                                  Contingent
          8714 MACARTHUR BLVD APT B
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patricia Anne DeBose                                                  Contingent
          527 W REGENT ST #140
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patricia Anne Vaughn                                                  Contingent
          4101 POLARIS AVE
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patricia Lynn Guard                                                   Contingent
          885 BOULDER DR
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patricia Xiomara Samayoa-Herrera                                      Contingent
          291 PUTNAM ST APT G
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.315
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patrick David Weismann                                                Contingent
          586 LEYTE TERRACE
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patrick Legaspi                                                       Contingent
          646 GELLERT BOULEVARD
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PAUL D FAST HORSE                                                     Contingent
          8327 5TH AVE W A4
                                                                                Unliquidated
          EVERETT, WA 98203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul Erias Stelly                                                     Contingent
          PO BOX 4343
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul Francisco                                                        Contingent
          40638 MAX DRIVE
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PAUL GUERRERO                                                         Contingent
          6704 235TH ST SW
                                                                                Unliquidated
          MOUNTLAKE TERRACE, WA 98043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.315
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul Hernandez                                                        Contingent
          785 NORTH FAIR OAKS AVE APT 7
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul J Gregoire                                                       Contingent
          40 BELLA BLVD UNIT 10425
                                                                                Unliquidated
          SAN RAFAEL, CA 94912
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul Joseph Neven                                                     Contingent
          4470 FILLMORE ST
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PAUL NATURALE                                                         Contingent
          4455 NE 12TH ST 19-10
                                                                                Unliquidated
          RENTON, WA 98059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul Nicolas Citraro                                                  Contingent
          1008 E EL CAMINO REAL 4
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul Robert Gallegos                                                  Contingent
          1464 LASSEN AVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.316
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul Victor Catayoc Delos Reyes                                       Contingent
          1931 RIPPLE ST
                                                                                Unliquidated
          LOS ANGELES, CA 90039
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul Wong Lam                                                         Contingent
          1056 SCHWERIN ST
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paula Kay Robinson Enos                                               Contingent
          1059 VIA ROBLE APT 54
                                                                                Unliquidated
          LAFAYETTE, CA 94549
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PAULINE HALL                                                          Contingent
          PO BOX 591
                                                                                Unliquidated
          LILBURN, GA 30048
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PAVEL BARAM                                                           Contingent
          16110 HORNELL ST WHITTIER
                                                                                Unliquidated
          WHITTIER, CA 90603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pavel Baram                                                           Contingent
          16110 HORNELL ST WHITTIER
                                                                                Unliquidated
          WHITTIER, CA 90603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.316
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pavel Golovlev                                                        Contingent
          2350A SHAFER AVE                                                      Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Class List
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paycom                                                                Contingent
          7501 W Memorial Road                                                  Unliquidated
          Oklahoma City, OK 73142                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pearl Marisa Perez                                                    Contingent
          735 STATE ST
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pedro Antune Palacios                                                 Contingent
          1322 W Summit St Apt. D
                                                                                Unliquidated
          Long Beach, CA 90810
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PEDRO DE JESUS ALONZO                                                 Contingent
          4391 WEST 135 ST
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pedro De Jesus Alonzo                                                 Contingent
          4391 WEST 135 ST
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.317
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pedro Jr Huitron                                                      Contingent
          580 7TH AVE
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peni Hengehenga Mesui                                                 Contingent
          3284 ADAMS ST
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $368.00
          Peninsula Messenger LLC (Monterey)                                    Contingent
          8 Harris Street                                                       Unliquidated
          Ste C3                                                                Disputed
          Monterey, CA 93940
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.317
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $672.44
          Peninsula Messenger Service                                           Contingent
          PO Box 1487                                                           Unliquidated
          Visalia, CA 93279                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pepito Gonzales Joves                                                 Contingent
          230 SAN ANTONIO AVE APT 2
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PERCY FLOYD ROBINSON JR                                               Contingent
          469 MARBELLA LN
                                                                                Unliquidated
          VACAVILLE, CA 95688
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.318
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Percy Floyd Robinson Jr                                               Contingent
          469 MARBELLA LN
                                                                                Unliquidated
          VACAVILLE, CA 95688
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PERRY NATHAN SANFORD                                                  Contingent
          1780 9TH ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Perry Nathan Sanford                                                  Contingent
          1780 9TH ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peter Acosta Perez                                                    Contingent
          2107 SHORTRIDGE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PETER AJANG                                                           Contingent
          29947 49TH LANE S
                                                                                Unliquidated
          AUBURN, WA 95001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PETER HA LUU                                                          Contingent
          3273 ROCKPORT AVE APT D
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.318
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peter Ha Luu                                                          Contingent
          3273 ROCKPORT AVE APT D
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PETER KAHARE                                                          Contingent
          1703 97TH ST CT S F22
                                                                                Unliquidated
          TACOMA, WA 98444
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peter Kevin Cheung                                                    Contingent
          1423 FUNSTON AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peter Patrick Hayes                                                   Contingent
          2320 SIERRA COURT
                                                                                Unliquidated
          PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $222.32
          Pettyco Express                                                       Contingent
          PO Box 41336                                                          Unliquidated
          Jacksonville, FL 32203                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pharoah Rahsaan Khalil Thomas Jr                                      Contingent
          21701 FOOTHILL BLVD APT 248
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.319
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PHAROAH RAHSAAN THOMAS JR                                             Contingent
          21701 FOOTHILL BLVD APT 248
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phat Phu Dam                                                          Contingent
          216 GRAMERCY PL #3
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phat Tuan Luu                                                         Contingent
          360 LOS ENCINOS CT
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phelan P Mom                                                          Contingent
          750 N KING RD APT 1112
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Philip Andreu Stith                                                   Contingent
          2020 SOUTHWEST EXPWY APT 87
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Philip Isaac Morowitz                                                 Contingent
          1260 AYALA DRIVE APT #207
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.319
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PHILIP MATTHEW SHAMOUN                                                Contingent
          1200 HIGHLAND AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Philip Matthew Shamoun                                                Contingent
          1200 HIGHLAND AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PHILIP MICHAEL WASHINGTON                                             Contingent
          965 DELMAS AVENUE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Philip Michael Washington                                             Contingent
          965 DELMAS AVENUE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PHILIP REYNOLDS JR                                                    Contingent
          332 TOCCOA AVE
                                                                                Unliquidated
          MCCAYSVILLE, GA 30555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PHILLIP HOANG TRAN                                                    Contingent
          385 HAZEN ST
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.320
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phillip Hoang Tran                                                    Contingent
          385 HAZEN ST
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phillip Stephen Chapot                                                Contingent
          1528 COURT ST
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PHILLIP WELLINGTON                                                    Contingent
          112-29 DILLON ST
                                                                                Unliquidated
          JAMAICA, NY 11433
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PHOLETT GALAZ CHAVEZ                                                  Contingent
          8113 XAVIER WAY
                                                                                Unliquidated
          EVERETT, WA 98203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phuong Quang Nguyen                                                   Contingent
          39573 Dorrington ct
                                                                                Unliquidated
          Fremont, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PHYLLIS DEAN FREEMAN                                                  Contingent
          611 16TH ST APT A
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.321
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phyllis Dean Freeman                                                  Contingent
          611 16TH ST APT A
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierre A Marks Blaude                                                 Contingent
          580 BONNIE VIEW COURT
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PIERRE CRAYTON                                                        Contingent
          3332 GLENDORA DR
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierre Crayton                                                        Contingent
          3332 GLENDORA DR
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierre Eduardo Garcia                                                 Contingent
          6355 PRICHARD ST
                                                                                Unliquidated
          BELLFLOWER, CA 90706
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PIERRE LANG NGUYEN                                                    Contingent
          1341 ABERFORD DR
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.321
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierre Lang Nguyen                                                    Contingent
          1341 ABERFORD DR
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierry Kabamba Ngonzo                                                 Contingent
          481 CARPENTIER WAY
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          POMPIDOU CHERY                                                        Contingent
          175 EAST 52ND ST APT C6
                                                                                Unliquidated
          KINGS, NY 11203
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Poolod Daryabeigi                                                     Contingent
          1134 OAKMONT DRIVE UNIT 9
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Porchea Carroll                                                       Contingent
          127 Cameron Ct.
                                                                                Unliquidated
          Ventura, CA 93001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Porsche Thompson                                                      Contingent
          942 TAMARACK DRIVE APT 13206
                                                                                Unliquidated
          FAYETTEVILLE, NC 28311
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.322
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Porshae Shermi Johnson                                                Contingent
          2540 Indiana Ave
                                                                                Unliquidated
          South Gate, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PORSHAONA SIMS                                                        Contingent
          8625 10TH AVE S
                                                                                Unliquidated
          SEATTLE, WA 98108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,092.24
          Postal Express                                                        Contingent
          PO Box 864                                                            Unliquidated
          Bellevue, WA 98009-0864                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PRATEEK PARDASANI                                                     Contingent
          36202 SALISBURY DR
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Prateek Pardasani                                                     Contingent
          36202 SALISBURY DR
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PRATIK BARALY                                                         Contingent
          271 N 6TH ST APT 7
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.322
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pratik Baraly                                                         Contingent
          271 N 6TH ST APT 7
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PRAVEENA DHARMLINGAM                                                  Contingent
          27289 S SLEEPY HOLLOW AVE 202
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Praveena Dharmlingam                                                  Contingent
          27289 S SLEEPY HOLLOW AVE 202
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PRECIOUS DENISE MILLER                                                Contingent
          2047 84TH AVE APT B
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Precious Denise Miller                                                Contingent
          2047 84TH AVE APT B
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Precious Dungey                                                       Contingent
          747 EAST 84TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.323
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PREETINDER S SIVIA                                                    Contingent
          161 LIMESTONE DR
                                                                                Unliquidated
          VALLEJO, CA 94589
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Preetinder S Sivia                                                    Contingent
          161 LIMESTONE DR
                                                                                Unliquidated
          VALLEJO, CA 94589
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Princess Cabrera                                                      Contingent
          38875 HELEN WAY
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $863.75
          Priority Dispatch CVG                                                 Contingent
          PO Box 391                                                            Unliquidated
          Middletown, OH 45042                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,710.88
          ProCourier                                                            Contingent
          PO Box 54846                                                          Unliquidated
          Los Angles, CA 90054                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $736.78
          ProCourier (CT)                                                       Contingent
          25 Harlbut Street                                                     Unliquidated
          W Hartford, CT 06110                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $195.00
          Professional Express Inc                                              Contingent
          PO Box 327                                                            Unliquidated
          Greenville, SC 29602                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.324
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          QIANG LIU                                                             Contingent
          36554 CORONADO DR
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Qiang Liu                                                             Contingent
          36554 CORONADO DR
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quang Dac Trang                                                       Contingent
          1512 PYRAMID CT
                                                                                Unliquidated
          SAN JOSE, CA 95130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quang Dat Trieu                                                       Contingent
          3019 GAYWOOD CTE
                                                                                Unliquidated
          SAN JOSE, CA 95135
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          QUANG NHAT LE PHAN                                                    Contingent
          4270 SAYOKO CIRCLE
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quang Nhat Le Phan                                                    Contingent
          4270 SAYOKO CIRCLE
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.324
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quang Vinh Chu                                                        Contingent
          200 FORD ROAD SPC 172
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quentin Bernard Frazier                                               Contingent
          137 LIME ST 4
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          QUENTYN TERRELL LINSEY                                                Contingent
          2738 HAVENSCOURT BLVD APT 5
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quentyn Terrell Linsey                                                Contingent
          2738 HAVENSCOURT BLVD APT 5
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,490.77
          Quick Delivery Inc-MO                                                 Contingent
          PO Box 418099                                                         Unliquidated
          Kanas City, MO 64141                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,697.34
          Quick Delivery Service (IL)                                           Contingent
          632 Pratt Ave North                                                   Unliquidated
          Schaumburg, IL 60193                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.325
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,131.55
          QuickSilver Express Courier                                           Contingent
          PO Box 64417                                                          Unliquidated
          St Paul, Mn 55164-0417                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          QUIJAAN LAWSON                                                        Contingent
          17209 WOODSIDE DR
                                                                                Unliquidated
          RENTON, WA 98058
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          R S Ferdinand Rabara Domingo                                          Contingent
          685 LUCAS AVE APT 206
                                                                                Unliquidated
          LOS ANGELES, CA 90017
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rachel Blair Silber                                                   Contingent
          5433 OCEAN UNIT 103
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rachel Diane B Alonzo                                                 Contingent
          3247 GAWAIN DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rachel Nicole Sabre                                                   Contingent
          493 Thompson Ave
                                                                                Unliquidated
          Mountain View, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.325
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rachel Rebecca Johnson                                                Contingent
          7575 STERLING DR
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rachel-Ann Roque                                                      Contingent
          2402 OHARA CT
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rafael Alfonso Fernando                                               Contingent
          21565 Banyan St Apt 9
                                                                                Unliquidated
          Hayward, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAFAEL GUIZAR                                                         Contingent
          11938 SE 251ST ST
                                                                                Unliquidated
          KENT, WA 98030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rafael V Ovando Lopez                                                 Contingent
          2171 107TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rafael Valenzuela                                                     Contingent
          1610 PINE AVE
                                                                                Unliquidated
          LONG BEACH, CA 90813
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.326
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rahman Aidi Mashhoof Alkaabi                                          Contingent
          1290 LEIGH AVE APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rahul Kumar                                                           Contingent
          10 BOXWOOD CT
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAINEIR ASUNCIO GARCIA                                                Contingent
          22515 BAYVIEW AVE
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raineir Asuncio Garcia                                                Contingent
          22515 BAYVIEW AVE
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAJWINDER SINGH                                                       Contingent
          2947 CAPEWOOD LN
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rajwinder Singh                                                       Contingent
          2947 CAPEWOOD LN
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.327
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RALPH CLIFTON PRICE III                                               Contingent
          532 GREGORY ST
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ralph Clifton Price III                                               Contingent
          532 GREGORY ST
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAMIN KIAMALOV                                                        Contingent
          14500 NE 29TH PL 43G
                                                                                Unliquidated
          BELLEVUE, WA 98007
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ramiro Baca                                                           Contingent
          1340 NAVARRO DR
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ramon Barbosa                                                         Contingent
          3430 3RD AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ramon Biteng Chuatico Jr.                                             Contingent
          364 INNISFREE DR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.327
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ramon Jarrell                                                         Contingent
          1360 CALLE ORIENTE DR APT 2
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ramon Ortega                                                          Contingent
          119 PINE HEAVEN DR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ramses Leroi Bulatao                                                  Contingent
          282 N MAYFAIR AVE
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAMYAR SIASI                                                          Contingent
          4285 PAYNE AVE APT 10681
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ramyar Siasi                                                          Contingent
          4285 PAYNE AVE APT 10681
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Randal James Guitierrez                                               Contingent
          473 87TH ST APT 3
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.328
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RANDY MUSE                                                            Contingent
          200 ALRIES
                                                                                Unliquidated
          PITTSBURGH, PA 15210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Randy Slone                                                           Contingent
          2050 S RIDGELEY
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $84.14
          Rap Express Inc                                                       Contingent
          2486 Waynoka Road                                                     Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raphael Cabusas Subijano                                              Contingent
          31414 SAN JACINTO CT
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,260.00
          Rapid Express Courier System                                          Contingent
          PO Box 5796                                                           Unliquidated
          Santa Rosa, CA 95402                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAQUEL RODRIGUEZ-DOMINGUEZ                                            Contingent
          2855 GRAND CONCOURSE APT 2B
                                                                                Unliquidated
          BRONX, NY 10468
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.328
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RASHAD DENT                                                           Contingent
          30 TUNNEL WAY
                                                                                Unliquidated
          MCKEES ROCKS, PA 15136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RASHAD MALIK AM ZAID                                                  Contingent
          435 STARBRIDGE CT
                                                                                Unliquidated
          PLEASANT HILL, CA 94523
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rashad Malik Am Zaid                                                  Contingent
          435 STARBRIDGE CT
                                                                                Unliquidated
          PLEASANT HILL, CA 94523
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rasheka Michell Bernard                                               Contingent
          4441 Renaissance Dr. #432
                                                                                Unliquidated
          San Jose, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rashima Simpson                                                       Contingent
          29581 HIGHATE DR APT 117
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raul Antonio Masias                                                   Contingent
          2157 BROADMORE AVE
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.329
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAUL ERNESTO TOBIAS                                                   Contingent
          415 S BUENA VISTA AVE APT 5
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raul Ernesto Tobias                                                   Contingent
          415 S BUENA VISTA AVE APT 5
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raul Ornelas -Velazquez                                               Contingent
          801 SUEIRRO ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raulito Jonathan F. Teano                                             Contingent
          36543 SAN PEDRO DR APT 292
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raven Freeman                                                         Contingent
          1223 VINE ST APT A
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAVI AACHARYA                                                         Contingent
          1212 W MCKINLEY AVE APT 10
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.330
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ravi Aacharya                                                         Contingent
          1212 W MCKINLEY AVE APT 10
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAVONNE DEANA OLIVER                                                  Contingent
          4510 MAGI CT
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ravonne Deana Oliver                                                  Contingent
          4510 MAGI CT
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAVONNIE SAMONE WARREN                                                Contingent
          23046 KLAMATH RD.
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ravonnie Samone Warren                                                Contingent
          23046 KLAMATH RD.
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ray Anthony Stribling II                                              Contingent
          1055 S 6TH ST APT 258
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.330
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ray Dexter Danan                                                      Contingent
          642 BLYTHE COURT UNIT 7
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ray Rodriguez                                                         Contingent
          3300 LEAVESLEY RD
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rayfield Shawn Brown                                                  Contingent
          27 WEST 53 STREET
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymien Henry Dale Williamson                                         Contingent
          365 JOAN VISTA
                                                                                Unliquidated
          EL SOBRANTE, CA 94803
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymon Torres                                                         Contingent
          6699 CATAWBA AVENUE
                                                                                Unliquidated
          FONTANA, CA 92336
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAYMOND ALBERT GUEVARA                                                Contingent
          3429 AGATE DR #4
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.331
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Albert Guevara                                                Contingent
          3461 SAN MARCOS WAY
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Alexander Gilliam                                             Contingent
          14108 DOTY AVE APT 25
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Alexander Vance                                               Contingent
          PO BOX 2251
                                                                                Unliquidated
          SAN JOSE, CA 95109
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAYMOND BALARBA MANUEL                                                Contingent
          493 DONAHE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Balarbar Manuel                                               Contingent
          493 DONAHE DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Bolivar                                                       Contingent
          4119 OLIVE ST
                                                                                Unliquidated
          CUDAHY, CA 90201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.331
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Chacon                                                        Contingent
          8414 MANZANAR AVE
                                                                                Unliquidated
          PICO RIVERA, CA 90660
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Garcia Sanchez                                                Contingent
          188 MORNINGSIDE DR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Joseph Perales Meza                                           Contingent
          2940 MAGLIOCCO DR APT 2
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAYMOND LAMONT MALLOY                                                 Contingent
          328 OLD FORGE LANE APT 2211
                                                                                Unliquidated
          ODENTON, MD 21113
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAYMOND NEIL TRIBBLE                                                  Contingent
          2656 EAST 55 WAY APT 6
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Neil Tribble                                                  Contingent
          2656 EAST 55 WAY APT 6
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.332
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAYMOND ROY RETZLAFF                                                  Contingent
          2900 FAIRVIEW RD APT 20
                                                                                Unliquidated
          HOLLISTER, CA 95023
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymond Roy Retzlaff                                                  Contingent
          2900 FAIRVIEW RD APT 20
                                                                                Unliquidated
          HOLLISTER, CA 95023
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Raymund Macabeo Encarnacion                                           Contingent
          2845 CORDA DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAZMIK ARAKEL                                                         Contingent
          1352 PALOS VERDES DR
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Razmik Arakel                                                         Contingent
          1352 PALOS VERDES DR
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rb Wilson                                                             Contingent
          18012 ALBURTIS AVE
                                                                                Unliquidated
          ARTESIA, CA 90701
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.333
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rebecca Diane Obryan                                                  Contingent
          127 TIMBERCOVE DR
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          REBECCA VOILES                                                        Contingent
          107 LAKERIDGE RD
                                                                                Unliquidated
          NEWNAN, GA 30263
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $210.73
          Recology San Mateo                                                    Contingent
          225 Shoreway Road                                                     Unliquidated
          San Carlos, CA 94070-2712                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Redwan Issa Oussman                                                   Contingent
          351 H AVE BLDG 442
                                                                                Unliquidated
          SAN FRANCISCO, CA 94130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Regina Nieama Nicole Blackwell                                        Contingent
          430 GATEWAY DRIVE APT #80
                                                                                Unliquidated
          PACIFICA, CA 94044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          REGINA TOMASA I VALENTIN                                              Contingent
          1587 GARVEY PL
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.333
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Regina Tomasa I Valentin                                              Contingent
          1587 GARVEY PL
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reginald Reggie Chandra                                               Contingent
          756 HILLSIDE BLVD
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rehan Qaisar                                                          Contingent
          3568 AGATE DR APT 10
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          REINISHA MCDOWELL                                                     Contingent
          4063 NICOLET AVE APT 2
                                                                                Unliquidated
          LOS ANGELES, CA 90008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reinisha McDowell                                                     Contingent
          4063 NICOLET AVE APT 2
                                                                                Unliquidated
          LOS ANGELES, CA 90008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,596.90
          Reliable Delivery                                                     Contingent
          21450 Trolley Industrial Dr                                           Unliquidated
          Taylor, MI 48180                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.334
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RENADO PARKER                                                         Contingent
          2418 70TH AVE W APT 8
                                                                                Unliquidated
          UNIVERSITY PLACE, WA 98466
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rene David Broussard                                                  Contingent
          1878 PARK AVE APT #6
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rene Odir Gonzalez                                                    Contingent
          8408 AQUEDUCT AVE
                                                                                Unliquidated
          NORTH HILLS, CA 91343
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RENEE DANIELLE SINGH                                                  Contingent
          1393 TEAKWOOD DR APT 73
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Renee Danielle Singh                                                  Contingent
          1393 TEAKWOOD DR APT 73
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RENEE MARGARET ZINSKY                                                 Contingent
          802 TORREY PINE DR
                                                                                Unliquidated
          MARS, PA 16046
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.334
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Renee Rachell Chavez                                                  Contingent
          3086 WOODS WAY
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Renee Victoria Alvarez                                                Contingent
          691 ONTARIO CT APT 2
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RENSON MATEO                                                          Contingent
          2131 PORT WAY
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Renson Raymond Mateo                                                  Contingent
          2131 PORT WAY
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RESHON WATSON                                                         Contingent
          1430 WEST CASINO RD 352
                                                                                Unliquidated
          EVERETT, WA 98204
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          REX LIAO ABAYA                                                        Contingent
          123 EL RANCHO DR
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.335
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rex Liao Abaya                                                        Contingent
          123 EL RANCHO DR
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          REYNALDO SANTOS GAVILE                                                Contingent
          515 LAUREL AVE.
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reynaldo Santos Gavile                                                Contingent
          515 LAUREL AVE.
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RHINESTON LACAN PASCUAL                                               Contingent
          8477 GOLF LINKS RD
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rhineston Lacandazo Pascual                                           Contingent
          8477 GOLF LINKS RD
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RHYEN VICTOR-AL COMBS                                                 Contingent
          101 MARQUETTE AVE
                                                                                Unliquidated
          VALLEJO, CA 94589
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.336
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rhyen Victor-Al Combs                                                 Contingent
          101 MARQUETTE AVE
                                                                                Unliquidated
          VALLEJO, CA 94589
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ricardo Fierros Sandoval                                              Contingent
          2 CORONADO AVE APT #14
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICARDO GONZALE VALDEZ                                                Contingent
          3953 WEST 59TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ricardo Gonzalez Valdez                                               Contingent
          3953 WEST 59TH ST
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ricardo O Martinez Gonzalez                                           Contingent
          17937 MONTEREY RD APT 306
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ricardo Quezada                                                       Contingent
          1047 COLORADO AVE
                                                                                Unliquidated
          PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.336
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ricardo Quijada                                                       Contingent
          1301 S ALMADEN AVE
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICHAR RODRIGUEZ                                                      Contingent
          2725 MORRIS AVENUE APT 4E
                                                                                Unliquidated
          BRONX, NY 10468
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Alex Collantes                                                Contingent
          326 CAPISTRANO AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Binh-Thuan Cao                                                Contingent
          3325 Morning View Ter
                                                                                Unliquidated
          Fremont, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICHARD CANO                                                          Contingent
          2932 DRIFTWOOD DR
                                                                                Unliquidated
          SAN JOSE,, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Cano                                                          Contingent
          2932 DRIFTWOOD DR
                                                                                Unliquidated
          SAN JOSE,, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.337
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICHARD CHEN                                                          Contingent
          641 CATAMARAN ST APT 4
                                                                                Unliquidated
          SAN MATEO, CA 94404
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Chen                                                          Contingent
          641 CATAMARAN ST APT 4
                                                                                Unliquidated
          SAN MATEO, CA 94404
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Clay Anderson                                                 Contingent
          1469 SOUTH WHITE RD
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Dean Herrera                                                  Contingent
          1655 LOS SUENOS AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICHARD FRANK GARCIA                                                  Contingent
          402 RAYMOND AVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Frank Garcia                                                  Contingent
          402 RAYMOND AVE
                                                                                Unliquidated
          SAN JOSE, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.337
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICHARD FREDIE MORELL                                                 Contingent
          527 WALKER DRIVE APT 6
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Fredie Morell                                                 Contingent
          527 WALKER DRIVE APT 6
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Ho Uy                                                         Contingent
          414 MOUNTAIN LAUREL CT
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Jackson                                                       Contingent
          911 EDGEWOOD ST #8
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Jesus Mendoza                                                 Contingent
          3027 SAN JUAN AVENUE
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICHARD JOHN CORRAL                                                   Contingent
          105 MOUNDHAVEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.338
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard John Corral                                                   Contingent
          105 MOUNDHAVEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Jovany Zelayandia                                             Contingent
          3708 CARDIFF AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Lagman Diaz                                                   Contingent
          4304 AGENA CIRCLE
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Mercado Arreza                                                Contingent
          10184 SYLVANDALE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Michael De Lara Jr                                            Contingent
          1383 EVERGREEN WAY
                                                                                Unliquidated
          TRACY, CA 95376
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Nguyen                                                        Contingent
          3421 CAROBWOOD COURT
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.339
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard P Wu                                                          Contingent
          292 Lincoln Ave
                                                                                Unliquidated
          Daly City, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Pittman                                                       Contingent
          932 IROLO STREET APT 108
                                                                                Unliquidated
          LOS ANGELES, CA 90064
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Ramos Viray                                                   Contingent
          653 CLAUSER DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Ray Magpantay                                                 Contingent
          28257 CAPITOLA ST.
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Reyes Castaneda                                               Contingent
          1437 BLACKSTONE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Steuer Silva                                                  Contingent
          15583 VIA VEGA
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.339
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICHARD VALDEZ SACLAYAN                                               Contingent
          1765 COMMODORE DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Valdez Saclayan                                               Contingent
          1765 COMMODORE DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard Watson Guy Jr                                                 Contingent
          2904 SUMMER ST APT 2904
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICHARD WHITLEY                                                       Contingent
          905 MARY ST PO BOX 89
                                                                                Unliquidated
          LANGCLOTH, PA 15054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RICKY R HOLT                                                          Contingent
          1496 ALMADEN RD APT 207
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ricky R Holt                                                          Contingent
          1496 ALMADEN RD APT 207
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.340
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rico Faithful Blevins                                                 Contingent
          133 CORBIN WAY
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,620.00
          Right Now Couriers                                                    Contingent
          96 S West Ave                                                         Unliquidated
          Fresno, CA 93706                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RIGOR DIVINA GR CAMPANO                                               Contingent
          1287 E STREET
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rigor Divina Gr Campano                                               Contingent
          1287 E STREET
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rina Chanchanian                                                      Contingent
          1570 PARKVIEW AVE
                                                                                Unliquidated
          SAN JOSE, CA 95130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rio Morales Tiglao                                                    Contingent
          561 FALLSBURG CT
                                                                                Unliquidated
          BRENTWOOD, CA 94513
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.340
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rita Espinoza                                                         Contingent
          2107 SHORTRIDGE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $936.10
          RLD Wholesale                                                         Contingent
          163 Gold Cove Ln                                                      Unliquidated
          Johns Creek, GA 30097                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          rmanJason Andrew Fedor-Thu                                            Contingent
          15065 Sunnyside ave
                                                                                Unliquidated
          Morgan Hill, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robby Ray Lockridge                                                   Contingent
          22302 CENTER ST APT 8
                                                                                Unliquidated
          CASTRO VALLEY, CA 94546
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robel Tsegay Fesseha                                                  Contingent
          740 SHARMON PALMS LN APT D
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERA E BILATA                                                       Contingent
          3320 MACARTHUR BLVD APT 2
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.341
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robera E Bilata                                                       Contingent
          3320 MACARTHUR BLVD APT 2
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT BRIAN MCCAIN                                                   Contingent
          415 EDNA ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Brian Mccain                                                   Contingent
          415 EDNA ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Cabrera                                                        Contingent
          730 1/2 SAYBROOK AVE
                                                                                Unliquidated
          LOS ANGELES, CA 90022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Dale Crawford                                                  Contingent
          484 ARIEL DR
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Edward Smith Jr                                                Contingent
          14862 FOXCROFT RD
                                                                                Unliquidated
          TUSTIN, CA 92780
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.342
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT F GARCIA                                                       Contingent
          623 BONACCORSO PLACE
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert F Garcia                                                       Contingent
          623 BONACCORSO PLACE
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Griffin                                                        Contingent
          200 EAST DANA ST APT 19
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT JAY MCCULLOCH                                                  Contingent
          978 SCOTSGLEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Jay Mcculloch                                                  Contingent
          978 SCOTSGLEN CT
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT JOHN HUBER                                                     Contingent
          1771 LAGUNA ST APT 7
                                                                                Unliquidated
          CONCORD, CA 94520
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.342
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert John Huber                                                     Contingent
          1771 LAGUNA ST APT 7
                                                                                Unliquidated
          CONCORD, CA 94520
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Lau                                                            Contingent
          81 MINERVA ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Leland                                                         Contingent
          1279 PALM STREET
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT M MITCHELL                                                     Contingent
          1338 BERGEN ST 7
                                                                                Unliquidated
          BROOKLYN, NY 11213
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Matthews Wisckol                                               Contingent
          2032 SW EXPRESSWAY APT 21
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT MCGOURTY                                                       Contingent
          524 CRIMSONBERRY WAY
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.343
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert McGourty                                                       Contingent
          524 CRIMSONBERRY WAY
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Ngoc Tran                                                      Contingent
          119 biddleford Ct
                                                                                Unliquidated
          San Jose, CA 95139
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Reed                                                           Contingent
          11463 S NORMANDIE APT 26
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT T FREGOSI                                                      Contingent
          14026 WALLINGFORD AVE N
                                                                                Unliquidated
          SEATTLE, WA 98133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert T Garfield                                                     Contingent
          2361 CABRILLO AVE
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT TERRELL ROSEMOND JR                                            Contingent
          1218 8TH ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.343
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Terrell Rosemond Jr                                            Contingent
          1218 8TH ST
                                                                                Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Thomas McNeil                                                  Contingent
          3619 SLOPEVIEW DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert Vallarta                                                       Contingent
          369 N 20TH APT B
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT VAUGHNS                                                        Contingent
          604 HOLMES STREET
                                                                                Unliquidated
          PITTSBURGH, PA 15221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERT WILLIAM CUMMINS                                                Contingent
          2124 PARKER ST APT 207
                                                                                Unliquidated
          BERKELEY, CA 94704
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert William Cummins                                                Contingent
          2124 PARKER ST APT 207
                                                                                Unliquidated
          BERKELEY, CA 94704
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.344
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERTO MANZO-PRADO                                                   Contingent
          2855 MURTHA DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roberto Manzo-Prado                                                   Contingent
          2855 MURTHA DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roberto Marcial                                                       Contingent
          1349 W. 73RD ST.
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERTO RAMON RIVERA                                                  Contingent
          440 DIXON LANDING RD APT B203
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roberto Ramon Rivera                                                  Contingent
          440 DIXON LANDING RD APT B203
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROBERTO TORRES MALICDEM                                               Contingent
          44 N JACKSON AVE APT G19
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.345
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roberto Torres Malicdem                                               Contingent
          44 N JACKSON AVE APT G19
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robin Powis Fournier                                                  Contingent
          POBOX 420305
                                                                                Unliquidated
          SAN DIEGO, CA 92142
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rocio Torres                                                          Contingent
          416 LORETO ST APT 03
                                                                                Unliquidated
          LOS ANGELES, CA 90065
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RODELIO N PAUTIN                                                      Contingent
          3972 STEIN CT
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodelio N Pautin                                                      Contingent
          3972 STEIN CT
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RODERICK J URQUHART                                                   Contingent
          12345 LAKE CITY WAY NE #375
                                                                                Unliquidated
          SEATTLE, WA 98125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 556 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 577 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.345
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roderick McGhee                                                       Contingent
          95 BUTLER ST
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RODERICK PARKS                                                        Contingent
          1503 NORTH AVENUE
                                                                                Unliquidated
          PITTSBURGH, PA 15221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodney Brooks                                                         Contingent
          2773 EULALIE DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodney Darnell Alexander                                              Contingent
          655 S 26TH ST
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RODNEY ISAIAH MORGAN                                                  Contingent
          9034 HILLSIDE ST APT A
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodney Isaiah Morgan                                                  Contingent
          9034 HILLSIDE ST APT A
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 557 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 578 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.346
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodney James Best                                                     Contingent
          5519 WALNUT ST
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RODNEY JOSEPH KNOX                                                    Contingent
          9301 BANCROFT AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodney Joseph Knox                                                    Contingent
          9301 BANCROFT AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RODOLFO MENA AUERBACH                                                 Contingent
          1176 MASTIC ST
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodolfo Mena Auerbach                                                 Contingent
          1176 MASTIC ST
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodolfo Rodriguez                                                     Contingent
          PO BOX 6673
                                                                                Unliquidated
          SANTA MARIA, CA 93456
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 558 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 579 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.346
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodric Jacarri Mcdonald                                               Contingent
          2781 SAN LEANDRO BLVD
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rodrigo Guillen                                                       Contingent
          9624 KAUFFMAN AVE
                                                                                Unliquidated
          SOUTH GATE, CA 90280
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rogelio Acosta Carrasco                                               Contingent
          1160 S 7TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rogelio Diaz Rabelo                                                   Contingent
          3928 FOOTHILL BLVD
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rohit Navnitbhai Patel                                                Contingent
          100 PALM VALLEY BLVD APT 2059
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roland Crisostomo Camacho                                             Contingent
          190 KIELY BLVD APT 2
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 559 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 580 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.347
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROLAND JAMES LA NICOLAS                                               Contingent
          435 BIXBY DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roland James Larroza Nicolas                                          Contingent
          435 BIXBY DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rolando Cordero David                                                 Contingent
          5744 OWENS DR 103
                                                                                Unliquidated
          PLEASANTON, CA 94588
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ron Gatab Bendanillo                                                  Contingent
          1346 E SAN ANTONIO ST APT 130
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RON SURRETT                                                           Contingent
          2007 LAFONTAINE AVE 2E
                                                                                Unliquidated
          BRONX, NY 10457
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronald Aries Domingo Naranja                                          Contingent
          3320 CABRILLO AVE APT 3
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 560 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 581 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.348
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronald Charles Tribble III                                            Contingent
          6301 ATLANTIC AVENUE APT 25
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronald Eugene Abercrombie                                             Contingent
          1945 W IMPERIAL HWY
                                                                                Unliquidated
          LOS ANGELES, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RONALD JEMMOTT                                                        Contingent
          102-22 188TH ST
                                                                                Unliquidated
          QUEENS, NY 11423
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronald Ross-Galindo                                                   Contingent
          825 SINGLETON RD
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RONALD SEMPUNGA                                                       Contingent
          2425 MACARTHUR BLVD APT 31
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronald Sempunga                                                       Contingent
          2425 MACARTHUR BLVD APT 31
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 561 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 582 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.348
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RONALD STEVEN SWANSON III                                             Contingent
          2900 PULLMAN AVE APT 108
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronald Steven Swanson III                                             Contingent
          2900 PULLMAN AVE APT 108
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronaldo Alberto Perez                                                 Contingent
          1948 22ND ST
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronaldo Bolante Dondoy                                                Contingent
          P O BOX 1268
                                                                                Unliquidated
          MILLBRAE, CA 94030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronaldo Morelos Ilusorio                                              Contingent
          31 MUIRFIELD CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RONNIE DEVIN PECH                                                     Contingent
          1770 KAMMERER AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 583 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.349
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronnie Devin Pech                                                     Contingent
          1770 KAMMERER AVE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RONNIE GENE FULLER JR                                                 Contingent
          90 E EDMUNDSON AVE APT 3
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronnie Gene Fuller Jr                                                 Contingent
          90 E EDMUNDSON AVE APT 3
                                                                                Unliquidated
          MORGAN HILL, CA 95037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rosa Yanira Castrillo                                                 Contingent
          166 MONROE STREET #10
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROSELLER BREGEN UY                                                    Contingent
          445 S WESTERN AVE UNIT 427
                                                                                Unliquidated
          LOS ANGELES, CA 90020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roseller Bregente Uy                                                  Contingent
          445 S WESTERN AVE UNIT 427
                                                                                Unliquidated
          LOS ANGELES, CA 90020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 584 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.349
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rosemarie Rodriguez                                                   Contingent
          6065 OAK KNOLL ROAD
                                                                                Unliquidated
          EL SOBRANTE, CA 94803
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rosio Salazar-Tapia                                                   Contingent
          6987 AVENIDA ROTELLA
                                                                                Unliquidated
          SAN JOSE, CA 95139
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROSLYNN ANNETTE BRILEY                                                Contingent
          10400 LONGFELLOW AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roslynn Annette Briley                                                Contingent
          10400 LONGFELLOW AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,000.00
          Ross Lane & Company, LLC                                              Contingent
          7000 Peachtree Dunwoody Road                                          Unliquidated
          Building One                                                          Disputed
          Atlanta, GA 30328
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.350
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roy Lee Richard Sr.                                                   Contingent
          826 44TH ST
                                                                                Unliquidated
          OAKLAND, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 564 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.350
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Royal Jamez Forcell                                                   Contingent
          3191 7TH ST APT 332
                                                                                Unliquidated
          LOS ANGELES, CA 90005
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ruben Anthony Garcia Jr                                               Contingent
          14475 JERILYN DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ruben Dario Ramirez                                                   Contingent
          3015 E BAYSHORE RD APT 400
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ruben Garcia                                                          Contingent
          4550 SANAA ANA ST APT 2
                                                                                Unliquidated
          CUDAHY, CA 90201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ruben Italo Leni                                                      Contingent
          845 SPINDRIFT WAY
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ruben Renee Holmes                                                    Contingent
          78 S LIBERTAD ST
                                                                                Unliquidated
          TRACY, CA 95391
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.351
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ruben Verduzco                                                        Contingent
          2352 kaydel Road
                                                                                Unliquidated
          Whittier, CA 90601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ruby Karyo                                                            Contingent
          905 NORTH CURSON AVE APT 8
                                                                                Unliquidated
          WEST HOLLYWOOD, CA 90046
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RUDOLPH MATTHEW MARTINEZ JR                                           Contingent
          1573 HERMOCILLA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rudolph Matthew Martinez Jr                                           Contingent
          1573 HERMOCILLA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rudy Tenas                                                            Contingent
          41 FRANCIS STREET
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rufus Raynard Gordon Jr                                               Contingent
          1058 S 5TH ST #226
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.351
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Runzhi Lin                                                            Contingent
          34457 SHENANDOAH PL
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rupinder Singh                                                        Contingent
          2150 MONROE ST APT 15
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryan Ant Ramire Pagkaliwangan                                         Contingent
          548 St Anton Way
                                                                                Unliquidated
          Hayward, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryan Joseph Santos                                                    Contingent
          1258 NIEVES COURT
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryan Kendrick Santos                                                  Contingent
          3579 SANDPEBBLE DR APT 617
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RYAN LAMONT PAYNE                                                     Contingent
          3641 FIGUEROA DRIVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.352
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryan Lamont Payne                                                     Contingent
          3641 FIGUEROA DRIVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RYAN MCCORKLE                                                         Contingent
          320 ACREVIEW DR
                                                                                Unliquidated
          ALPHARETTA, GA 30022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RYAN MUNSTER                                                          Contingent
          1791 ROCKLAND DR SE
                                                                                Unliquidated
          ATLANTA, GA 30316
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RYAN VIRICE BEASLEY                                                   Contingent
          2208 W 8TH ST APT 222
                                                                                Unliquidated
          LOS ANGELES, CA 90057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryan Virice Beasley                                                   Contingent
          2208 W 8TH ST APT 222
                                                                                Unliquidated
          LOS ANGELES, CA 90057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryan Yu                                                               Contingent
          1062 ARBOR RD
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.352
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,296.66
          Ryder                                                                 Contingent
          PO Box 402366                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          S L B VALDESPINO                                                      Contingent
          24050 SILVA AVENUE APT 24
                                                                                Unliquidated
          HAYWARD, CA 94544-1558
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          S L B Valdespino                                                      Contingent
          24050 SILVA AVENUE APT 24
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sabrina S Kelly                                                       Contingent
          4110 SANTO TOMAS DRIVE #C
                                                                                Unliquidated
          LOS ANGELES, CA 90008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SADE M BECKFORD                                                       Contingent
          2600 SAN LEANDRO BLVD APT 304
                                                                                Unliquidated
          SAN LEANDRO, CA 94578-9457
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sade M Beckford                                                       Contingent
          2600 SAN LEANDRO BLVD APT 304
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.353
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sagar Deo                                                             Contingent
          P.O.BOX 1052
                                                                                Unliquidated
          Windsor, CA 95492
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sahar Panshir                                                         Contingent
          749 CENTRAL AVE APT B
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAI K SANAKA                                                          Contingent
          4073 SAN FRANCISCO TERRACE
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sai K Sanaka                                                          Contingent
          4073 SAN FRANCISCO TERRACE
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAID DAHIR                                                            Contingent
          328 NW RICHMOND BEACH RD 303
                                                                                Unliquidated
          SHORELINE, WA 98177
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saif Ayad Alshathr                                                    Contingent
          2275 ROYAL DR APT 1
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.354
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAKARIA ABSIYA                                                        Contingent
          14442 59TH AVENUE SOUTH
                                                                                Unliquidated
          APT 27
          TUKWILA, WA 98168                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.354
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SALAAMAN E JONES                                                      Contingent
          2394 CHESHIRE PL
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Salaaman E Jones                                                      Contingent
          2394 CHESHIRE PL
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Salesh Chand                                                          Contingent
          1115 E POPLAR AVE
                                                                                Unliquidated
          SAN MATEO, CA 94401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sally Phu                                                             Contingent
          1709 CLEAR LAKE AVE
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,296.25
          Salt City Couriers Inc                                                Contingent
          451 E 300 South Ste 200                                               Unliquidated
          Salt Lake City, UT 84111                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.354
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAM ATH OUN                                                           Contingent
          2987 PATT AVE
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sam Ath Oun                                                           Contingent
          2987 PATT AVE
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sam Moon                                                              Contingent
          1730 HALFORD AVE #243
                                                                                Unliquidated
          SANTA CLARA, CA 95951
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAM VALENTI                                                           Contingent
          610 N BAYVIEW AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sam Valenti                                                           Contingent
          610 N BAYVIEW AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saman Khodaei                                                         Contingent
          1162 SARANAP AVE APT 9A
                                                                                Unliquidated
          WALNUT CREEK, CA 94595
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.355
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAMANTHA ISAAC                                                        Contingent
          240 EAST 175TH STREET APT 608
                                                                                Unliquidated
          BRONX, NY 10457
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAMETER MOHAMME ADEYS                                                 Contingent
          2010 EL CAMINO REAL APT 502
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sameter Mohammed Adeys                                                Contingent
          2010 EL CAMINO REAL APT 502
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,800.00
          Sampson Morris Group                                                  Contingent
          2500 Eldo Road                                                        Unliquidated
          Monroeville, PA 15146                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAMUEL FITZGERA CARPENTER                                             Contingent
          7339 HOLLY ST
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Samuel Fitzgerald Carpenter                                           Contingent
          7339 HOLLY ST
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 573 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.355
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Samuel Francois                                                       Contingent
          1532 N ONTARIO ST APT F
                                                                                Unliquidated
          BURBANK, CA 91505
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAMUEL SNYDER                                                         Contingent
          351 EUCLID AVE
                                                                                Unliquidated
          CANONSBURG, PA 15317
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SANDRA ARLENE GUERRERO                                                Contingent
          254 STAPLES AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sandra Arlene Guerrero                                                Contingent
          254 STAPLES AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sandra Barajas                                                        Contingent
          1096 Fleming Ave
                                                                                Unliquidated
          San Jose, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SANDRA DENISE COATNEY                                                 Contingent
          1140 E 1ST APT 1
                                                                                Unliquidated
          LONG BEACH, CA 90802
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.356
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sandra Denise Coatney                                                 Contingent
          1140 E 1ST APT 1
                                                                                Unliquidated
          LONG BEACH, CA 90802
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sandro Roberto de Oliveira                                            Contingent
          350 BUDD AVE APT L7
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SANIKA ABRAMSON                                                       Contingent
          601 N WILMINGTON AVE
                                                                                Unliquidated
          COMPTON, CA 90220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SANTANA YULIUS IRWANTO                                                Contingent
          5379 DEODARA GROVE CT
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Santiago Aguilar                                                      Contingent
          943 Lundy Road
                                                                                Unliquidated
          San Jose, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Santos A. Orellana Salinas                                            Contingent
          7811 GARFIELD AVE
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.357
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAPANPREET SAINI                                                      Contingent
          3031 MOON STAR CT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sarah Yvonne Dunbar                                                   Contingent
          1117 COLORADO AVE
                                                                                Unliquidated
          PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sarun Kheav                                                           Contingent
          2337 BARTLETT ST
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sasha Marita Edwards                                                  Contingent
          1437 ARLINGTON RD
                                                                                Unliquidated
          LIVERMORE, CA 94551
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saturnino Gonzale                                                     Contingent
          2055 range ave apt 212
                                                                                Unliquidated
          Santa Rosa, CA 95401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAU HO CHAN                                                           Contingent
          34776 PLATT RIVER PL
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.357
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sau Ho Chan                                                           Contingent
          34776 PLATT RIVER PL
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saul Andrade Estrada                                                  Contingent
          1404A OXFORD ST APT 1
                                                                                Unliquidated
          REDWOOD CITY, CA 94061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saul Carrillo                                                         Contingent
          1401 CAROB WAY
                                                                                Unliquidated
          MONTEBELLO, CA 90640
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAUL FRANCISCO OSORIO                                                 Contingent
          637 ELKINS ROAD
                                                                                Unliquidated
          LOS ANGELES, CA 90049
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saul Francisco Osorio                                                 Contingent
          637 ELKINS ROAD
                                                                                Unliquidated
          LOS ANGELES, CA 90049
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scanlan Kemper Bard Co                                                Contingent
          810 NW Marshall Street                                                Unliquidated
          Suite 300                                                             Disputed
          Portland, OR 97209
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.358
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scheherazade A Wittmanalang                                           Contingent
          142 N Milpitas Blvd 185
                                                                                Unliquidated
          Milpitas, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,125.53
          Scopelitis Garvin Light Hanson                                        Contingent
          10 West Market Street                                                 Unliquidated
          Suite 1400                                                            Disputed
          Indianapolis, IN 46204
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.358
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scott Brasil                                                          Contingent
          3375 MT VISTA DR
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scott Curtis Forgaard                                                 Contingent
          109 E SANTA CLARA ST APT 159
                                                                                Unliquidated
          SAN JOSE, CA 95113
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SCOTT THOMAS BROWN                                                    Contingent
          13801 YERBA SANTA CT
                                                                                Unliquidated
          SARATOGA, CA 95070
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scott Thomas Brown                                                    Contingent
          13801 YERBA SANTA CT
                                                                                Unliquidated
          SARATOGA, CA 95070
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.358
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN ALAN LARKE                                                       Contingent
          2428 POPLAR DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Alan Larke                                                       Contingent
          2428 POPLAR DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN ALGA FORREST                                                     Contingent
          1236 PEACH COURT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Alga Forrest                                                     Contingent
          1236 PEACH COURT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN ANTHONY SMITH                                                    Contingent
          257 SULLIVAN WAY
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Anthony Smith                                                    Contingent
          257 SULLIVAN WAY
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.359
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Anthony Taber                                                    Contingent
          59 CYMBIDIUM CIRCLE
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN ANTHONY WILSON                                                   Contingent
          1192 E 46 STREET
                                                                                Unliquidated
          BROOKLYN, NY 11234
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN CADORE                                                           Contingent
          1279 EAST 103RD ST
                                                                                Unliquidated
          BROOKLYN, NY 11236
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Christopher Hernandez                                            Contingent
          1061 SCHWERIN ST
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Donough Gil                                                      Contingent
          344 WEST CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN DRAKE                                                            Contingent
          3183 GUS ROBINSON RD
                                                                                Unliquidated
          POWDER SPRINGS, GA 30127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.360
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN EDWARD ALBRECHT                                                  Contingent
          2631 ESTELLA DR
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Edward Albrecht                                                  Contingent
          2631 ESTELLA DR
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN GAUVIN MARSHALL                                                  Contingent
          4271 N 1ST ST APT 27
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Gauvin Marshall                                                  Contingent
          4271 N 1ST ST APT 27
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN GUNYONG YI                                                       Contingent
          6400 CHRISTIE AVE #4419
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Gunyong Yi                                                       Contingent
          6400 CHRISTIE AVE #4419
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 581 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.360
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Hunter Crane                                                     Contingent
          429 Irving Ave.
                                                                                Unliquidated
          San Jose, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Igor Pollock                                                     Contingent
          38 N ALMADEN BLVD APT 823
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Ireland Hester                                                   Contingent
          902 WIND DRIFT DRIVE
                                                                                Unliquidated
          CARLSBAD, CA 92011
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN KELLY                                                            Contingent
          204 ELTON AVENUE
                                                                                Unliquidated
          PITTSBURGH, PA 15227
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Michael McAllister                                               Contingent
          61 S 13TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEAN MOSS                                                             Contingent
          100 CATON AVENUE APT 3C
                                                                                Unliquidated
          BROOKLYN, NY 11218
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 582 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 603 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.361
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Ocasey Moore                                                     Contingent
          351 E 55TH ST
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Patrick Finneran                                                 Contingent
          1959 QUESADA AVE
                                                                                Unliquidated
          San Francisco, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sean Thomas Briscoe                                                   Contingent
          646 ARBUTUS AVE APT 4
                                                                                Unliquidated
          SUNNYVALE, CA 94068
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sebastian David Bloom                                                 Contingent
          1797 SHATTUCK AVE APT 308
                                                                                Unliquidated
          BERKELEY, CA 94709
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Segundo Gilmer Chavarry                                               Contingent
          126 MARTELLA ST APT A
                                                                                Unliquidated
          SALINAS, CA 93901
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SELEMON HAILE                                                         Contingent
          3011 S WILLOW ST
                                                                                Unliquidated
          SEATTLE, WA 98108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 583 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 604 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.361
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Selina Isabel Martinez                                                Contingent
          899 N KING RD APT 1306
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SEQUOYAH D THOMAS                                                     Contingent
          1042 75TH AVE APT 3
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sequoyah D Thomas                                                     Contingent
          1042 75TH AVE APT 3
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SERGIO A DELGADILLO WHEELOCK                                          Contingent
          513 ELM CT
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SERGIO FLORES                                                         Contingent
          41-12 BENHAM ST APT 1FL
                                                                                Unliquidated
          ELMHURST, NY 11373
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Seyedhamed Mirnezami                                                  Contingent
          1225 SARATOGA AVE APT 308A
                                                                                Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 584 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 605 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.362
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAAFI SAYIDI                                                         Contingent
          7552 245TH AVE SW 2
                                                                                Unliquidated
          SEATTLE, WA 98106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAEQUANDA TYKE KERMAN                                                Contingent
          4600 DUKE ST APT 516
                                                                                Unliquidated
          ALEXANDRIA, VA 22309
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAHEED MUHAMMAD                                                      Contingent
          14323 SOUTH CORLETT AVENUE
                                                                                Unliquidated
          COMPTON, CA 90220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaheed Muhammad                                                      Contingent
          14323 SOUTH CORLETT AVENUE
                                                                                Unliquidated
          COMPTON, CA 90220
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shahryar Ghaemi Moghaddam                                             Contingent
          1586 PACIFIC AVE APT B
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAHZEB JUNEJO                                                        Contingent
          15517 CORLISS AVE N
                                                                                Unliquidated
          SHORELINE, WA 98133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 585 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.363
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaina Celine Nursey-Ford                                             Contingent
          3276 DELAWARE ST
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAKIL AHMED KHAN                                                     Contingent
          4517 CARLYLE CT APT 4309
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shakil Ahmed Khan                                                     Contingent
          4517 CARLYLE CT APT 4309
                                                                                Unliquidated
          SANTA CLARA, CA 95054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHALANDRA NICOL COTTON                                                Contingent
          624 E LEWELLING BLVD
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shalandra Nicole Cotton                                               Contingent
          624 E LEWELLING BLVD
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAMBAR BAHADUR THAPA                                                 Contingent
          1235 AYALA DR APT 35
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 586 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.363
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shambar Bahadur Thapa                                                 Contingent
          1235 AYALA DR APT 35
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAMIKA LASHAWN GREEN                                                 Contingent
          2604 SHORT ST
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,173.39
          Shamrock Delivery Inc                                                 Contingent
          7302 S Alton Way                                                      Unliquidated
          Unit 4-F                                                              Disputed
          Centennial, CO 80112
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.364
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaneice Chante Johnson                                               Contingent
          1630 PENNSYLVANIA AVE
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shanna Rae De Los Reyes                                               Contingent
          960 16TH ST APT 1
                                                                                Unliquidated
          SANTA MONICA, CA 90403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shannon Arishma Singh                                                 Contingent
          2011 ROOSEVELT AVE
                                                                                Unliquidated
          REDWOOD CITY, CA 94061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 587 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 608 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.364
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHANNON COLEASE THOMPSON                                              Contingent
          601 JEAN ST APT 102
                                                                                Unliquidated
          OAKLAND, CA 94610
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shannon Colease Thompson                                              Contingent
          601 JEAN ST APT 102
                                                                                Unliquidated
          OAKLAND, CA 94610
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHANNON MARIE KIRKPATRICK                                             Contingent
          29839 CLEARBROOK CIRCLE
                                                                                Unliquidated
          APT 60
          HAYWARD, CA 94544                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.364
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shannon Marie Kirkpatrick                                             Contingent
          29839 CLEARBROOK CIRCLE
                                                                                Unliquidated
          APT 60
          HAYWARD, CA 94544                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.364
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHANTA BELT                                                           Contingent
          PO BOX 1259
                                                                                Unliquidated
          HAWTHORNE, CA 90251
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shanta Belt                                                           Contingent
          PO BOX 1259
                                                                                Unliquidated
          HAWTHORNE, CA 90251
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.364
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHANTA D SALLEY                                                       Contingent
          2979 8TH AVE
                                                                                Unliquidated
          NEW YORK, NY 10039
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHANTE DENISE HUDSON                                                  Contingent
          452 3RD ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shante Denise Hudson                                                  Contingent
          452 3RD ST
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shantel Aleza Williams                                                Contingent
          622 LION WAY APT 104
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAQUANA JENKINS                                                      Contingent
          237 WEST 107TH STREET
                                                                                Unliquidated
          NEW YORK, NY 10025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sharai Ashley Sapp                                                    Contingent
          5427 SUNSTAR COMMON
                                                                                Unliquidated
          FREMONT, CA 94555
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.365
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sharda D Johnson                                                      Contingent
          1235 94TH AVE APT 2
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHARHONDA RENA POLK                                                   Contingent
          1167 77TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sharhonda Rena Polk                                                   Contingent
          1167 77TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHARICE CARR                                                          Contingent
          1045 THROG`S NECK EXPRESSWAY
                                                                                Unliquidated
          BRONX, NY 10465
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHARICE SAMATIA WOLRIDGE                                              Contingent
          1631 SUNNYDALE AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sharice Samatia Wolridge                                              Contingent
          1631 SUNNYDALE AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.366
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sharllynne Michelle Cruz                                              Contingent
          350 22ND AVE APT 3
                                                                                Unliquidated
          SAN FRANCISCO, CA 94121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHARMAKE JAMA                                                         Contingent
          3039 154TH STREET
                                                                                Unliquidated
          SEATAC,WA 98188, WA 98188
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHARONNA NAOMI MORRIS                                                 Contingent
          4350 DE REIMER AVE
                                                                                Unliquidated
          BRONX, NY 10466
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sharrie Michelle Lane                                                 Contingent
          2518 35TH AVE #36
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHATERRA DEDRA GRANT                                                  Contingent
          3272 SWEET WATER
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaterra Dedra Grant                                                  Contingent
          3272 SWEET WATER
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.366
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaun Edwin London                                                    Contingent
          36 S 13TH ST APT J
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaun Lanier Knight                                                   Contingent
          214 W CENTURY BLVD APT 214
                                                                                Unliquidated
          LOS ANGELES, CA 90003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaun Thomas Daley                                                    Contingent
          1033 N BROADWAY APT # D
                                                                                Unliquidated
          LOS ANGELES, CA 90012
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaundeep Singh Manak                                                 Contingent
          2975 STALLION WAY
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shawn Beaver                                                          Contingent
          135 BRENTON COURT #B
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shawn Cornwell                                                        Contingent
          4197 GEORGE AVE #4
                                                                                Unliquidated
          SAN MATEO, CA 94403
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.367
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAWN DOUGHERTY                                                       Contingent
          723 DELAWARE AVE
                                                                                Unliquidated
          GLASSPORT, PA 15045
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shawn Jones                                                           Contingent
          51W 49TH ST APT 202
                                                                                Unliquidated
          LONG BEACH, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAWN MICHAEL G OBINA                                                 Contingent
          1992 MARCROSS DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shawn Michael Garcia Obina                                            Contingent
          1992 MARCROSS DRIVE
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAWN MOORE                                                           Contingent
          2602 S 38TH STREET APT 357
                                                                                Unliquidated
          TACOMA, WA 98409
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shawn Nguyen                                                          Contingent
          6934 ROCKTON AVE
                                                                                Unliquidated
          SAN JOSE, CA 95119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.367
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shawn Stingley                                                        Contingent
          2120 VELERGA DRIVE UNIT 1
                                                                                Unliquidated
          BELMONT, CA 94002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHAWN VU TRAN                                                         Contingent
          1150 MCLAUGHLIN AVE APT 262
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shawn Vu Tran                                                         Contingent
          1150 MCLAUGHLIN AVE APT 262
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shawna Alyson Mauldin                                                 Contingent
          509 KIELY BLVD UNIT 4
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shawntaja Atheeria Jordan                                             Contingent
          2250 Menalto ave
                                                                                Unliquidated
          E Palo Alto, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shayna K Landaverde                                                   Contingent
          48 LESTER AVE APT 5
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.368
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHEENA RAQUELE ALBURY                                                 Contingent
          37938 ABRAHAM ST
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sheena Raquele Albury                                                 Contingent
          37938 ABRAHAM ST
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sheila Amigable Gapasin                                               Contingent
          67 NORTH JACKSON AVENUE
                                                                                Unliquidated
          APT E8
          SAN JOSE, CA 95116                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.368
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shelton Ray Inabinet                                                  Contingent
          26090 SANDALWOOD ST
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHEMELSE AKILILU                                                      Contingent
          77 S WASHINGTON ST
                                                                                Unliquidated
          SEATTLE, WA 98104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sheng Zhong                                                           Contingent
          875 CINNABAR ST APT 1322
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.369
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHERRY LYNN THANARS                                                   Contingent
          4877 HARTNETT AVE
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sherry Lynn Thanars                                                   Contingent
          4877 HARTNETT AVE
                                                                                Unliquidated
          RICHMOND, CA 94804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sherwin Bautista Asiatico                                             Contingent
          5817 GARDEN VIEW WAY
                                                                                Unliquidated
          SALIDA, CA 95368
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHICEAU LE ZAID                                                       Contingent
          1271 WASHINGTON AVE APT 279
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shiceau Le Zaid                                                       Contingent
          1271 WASHINGTON AVE APT 279
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHIMAR HIGGINBOTHAM                                                   Contingent
          7317 HERMITAGE STREET
                                                                                Unliquidated
          PITTSBURGH, PA 15208
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.369
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shimon Miyagi                                                         Contingent
          255 EAST ST APT #8
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHIR MOHAMMAD HAIDARI                                                 Contingent
          3206 LOMA VERDE DR APT C7
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shir Mohammad Haidari                                                 Contingent
          SHERHAIDERY@YAHOO.COM
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHIRLEY SAILAI WANG                                                   Contingent
          10481 N STELLING RD
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shirley Sailai Wang                                                   Contingent
          10481 N STELLING RD
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shoeb Qadir Kazi                                                      Contingent
          810 JAVA AVE APT 4
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.370
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Si Nguyen                                                             Contingent
          6130 MONTEREY ROAD # 198
                                                                                Unliquidated
          SAN JOSE, CA 95138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Si Van Pham                                                           Contingent
          2591 GLEN ALMA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sidath Vengadasalam Sithambaram                                       Contingent
          40 ALICE ST
                                                                                Unliquidated
          ARCADIA, CA 91006
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SIDNEY RENE HERRERA                                                   Contingent
          212 N CLAREMONT AVE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sidney Rene Herrera                                                   Contingent
          212 N CLAREMONT AVE
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sidy Diop                                                             Contingent
          890 Crestview dr
                                                                                Unliquidated
          Millbrae, CA 94030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 598 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.370
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Silver Pham                                                           Contingent
          2906 AETNA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,393.00
          Silver State Couriers                                                 Contingent
          PO Box 11795                                                          Unliquidated
          Reno, NV 89510                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Silvia P Rodriguez Molina                                             Contingent
          830 SAN VERON AVE
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Simon James Sandoval                                                  Contingent
          703 N LA BREDA AVE
                                                                                Unliquidated
          WEST COVINA, CA 91791
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SIMON KEEGA MURIITHI                                                  Contingent
          22706 PEAR ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Simon Keega Muriithi                                                  Contingent
          22706 PEAR ST
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 599 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.371
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SIMON SANTOS CALAUNAN                                                 Contingent
          3163 WHITELEAF CR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Simon Santos Calaunan                                                 Contingent
          3163 WHITELEAF CR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SINGUE TOKICO ROPER                                                   Contingent
          913 ROLLINS RD APT 3
                                                                                Unliquidated
          BURLINGAME, CA 94010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Singue Tokico Roper                                                   Contingent
          913 ROLLINS RD APT 3
                                                                                Unliquidated
          BURLINGAME, CA 94010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SIO KIFI DESHON PULU                                                  Contingent
          1186 WOODBOROUGH PL
                                                                                Unliquidated
          SAN JOSE, CA 95126-9512
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sio Kifi Deshon Pulu                                                  Contingent
          1186 WOODBOROUGH PL
                                                                                Unliquidated
          SAN JOSE, CA 95126
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 600 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.372
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sione Lavemai Lolohea                                                 Contingent
          267 TERMINAL AVE
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Siosiana Tonga                                                        Contingent
          16018 VIA CONEJO
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Siosifa Malolo Jr                                                     Contingent
          4616 WOLF WY
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SIREE AHSANTEE UPSHURPERRY                                            Contingent
          16077 ASHLAND AVE APT 284
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Siree Ahsantee Upshurperry                                            Contingent
          16077 ASHLAND AVE APT 284
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SISHAW FEYESA                                                         Contingent
          3121 TELEGRAPH AVE APT#207
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 601 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 622 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.372
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sishaw Feyesa                                                         Contingent
          3121 TELEGRAPH AVE APT#207
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SKAI SPIVEY PECSON                                                    Contingent
          3772 SAVANNAH RD
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Skai Spivey Pecson                                                    Contingent
          3772 SAVANNAH RD
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith Trinh                                                           Contingent
          119 BIDDLEFORD CT
                                                                                Unliquidated
          SAN JOSE, CA 95139
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SOA LOREI FEAGAI                                                      Contingent
          3505 WATERSTONE COURT
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Soa Lorei Feagai                                                      Contingent
          3505 WATERSTONE COURT
                                                                                Unliquidated
          SAN JOSE, CA 95127
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 623 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.373
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SOHEIL MAHANIAN                                                       Contingent
          15020 SE 177TH PLACE
                                                                                Unliquidated
          RENTON, WA 98050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SOLOMON BAYABEL                                                       Contingent
          1404 NW RICHMOND BEACH RD 25
                                                                                Unliquidated
          SHORELINE, WA 98177
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SON TRUONG NGUYEN                                                     Contingent
          705 BERKSHIRE PL
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Son Truong Nguyen                                                     Contingent
          705 BERKSHIRE PL
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sonam Dolma Sherpa                                                    Contingent
          482 HAWTHORN AVE APT 2
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $603.84
          Sonic Courier                                                         Contingent
          PO Box 152105                                                         Unliquidated
          Tampa, FL 33684-2105                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 624 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.373
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sonny Ngeth                                                           Contingent
          3583 GUMTREE DR
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sonya Leanna Lampkin                                                  Contingent
          1815 74TH AVE APT B
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SONYA SUGGS                                                           Contingent
          444 SW 155TH ST E
                                                                                Unliquidated
          BURIEN, WA 98166
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SONYA YATES                                                           Contingent
          2129 RHINE ST
                                                                                Unliquidated
          PITTSBURGH, PA 15212-1521
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SOPHIA CUEVAS KIERI                                                   Contingent
          1957 CAPE HORN DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sophia Cuevas Kieri                                                   Contingent
          1957 CAPE HORN DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 625 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.374
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sosefina Lyn Utumapu                                                  Contingent
          480 Reindollar ave
                                                                                Unliquidated
          Marina, CA 93933
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sosefo Vanila                                                         Contingent
          580 AHWANEE AVE SPC 100
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $419.42
          Southern California Edison                                            Contingent
          PO Box 600                                                            Unliquidated
          Rosemead, CA 09177-1001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SOVANNOROTH KAN                                                       Contingent
          801 SPRING ST APT 2-1401
                                                                                Unliquidated
          SEATTLE, WA 98104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $450.00
          Specialty Express Couriers                                            Contingent
          PO Box 2008                                                           Unliquidated
          Leander, TX 78646                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,582.49
          Sprint Wireless                                                       Contingent
          PO Box 4181                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 626 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.375
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stacey Renee Glover                                                   Contingent
          2905 Old Almaden Rd.
                                                                                Unliquidated
          San Jose, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Starla Pauline Settergren                                             Contingent
          828 LINDEN AVE
                                                                                Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STARLEANA Y HOLMES                                                    Contingent
          1711 DAVIDSON AVE 6I
                                                                                Unliquidated
          BRONX, NY 10453, NY 10453
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STARLYN SINGLETON                                                     Contingent
          14525 VOSE ST APT 1
                                                                                Unliquidated
          VAN NUYS, CA 91405
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Starlyn Singleton                                                     Contingent
          14525 VOSE ST APT 1
                                                                                Unliquidated
          VAN NUYS, CA 91405
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $891.10
          STAT Express                                                          Contingent
          PO Box 7528                                                           Unliquidated
          Macon, GA 31209                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.375
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $910.59
          State of CA Franchise Tax Board                                       Contingent
          PO BOX 942857                                                         Unliquidated
          Sacramenta, CA 94257-4040                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steffanie Anne Morales Holmes                                         Contingent
          2492 KAREN DR APT 3
                                                                                Unliquidated
          SAN FRANCISCO, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEPHANIE BLUNT                                                       Contingent
          124 FOSTER AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEPHANIE CALDWELL                                                    Contingent
          2254 BOULDER SPRINGS DRIVE
                                                                                Unliquidated
          ELLENWOOD, GA 30294
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephanie Marie Blunt                                                 Contingent
          124 FOSTER AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEPHANIE MARIE MASINA                                                Contingent
          826 SAN VERON AVE
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.376
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephanie Marie Masina                                                Contingent
          826 SAN VERON AVE
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephanie Marie Randall                                               Contingent
          12332 E 223RD ST HAWIIAN GDNS
                                                                                Unliquidated
          HAWAIIAN GARDENS, CA 90716
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEPHANIE PERRY                                                       Contingent
          2670 ILLINOIS ST
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephanie Perry                                                       Contingent
          2670 ILLINOIS ST
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephanie Smith                                                       Contingent
          2726 GLEN EVANS CT
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEPHEN GREGORY POLUMBUS                                              Contingent
          986 MALOTT DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 608 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.376
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephen Gregory Polumbus                                              Contingent
          986 MALOTT DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephen Guo                                                           Contingent
          1339 FITZGERALD AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEPHEN PAUL HANCOCK                                                  Contingent
          22815 VERMONT ST APT 405
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephen Paul Hancock                                                  Contingent
          22815 VERMONT ST APT 405
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephen Robinson                                                      Contingent
          501 SOUTH SLOAN AVE
                                                                                Unliquidated
          COMPTON, CA 90221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steve Roque Bialoglovski                                              Contingent
          10466 MILLER AVE
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.377
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEVEN ARTEMIO CARBAJAL                                               Contingent
          1109 IDLEWOOD DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steven Artemio Carbajal                                               Contingent
          1109 IDLEWOOD DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steven Charles Farkas                                                 Contingent
          948 CRESTVIEW DR
                                                                                Unliquidated
          SAN CARLOS, CA 94070
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steven Craig Thomas                                                   Contingent
          5901 Old School rd.
                                                                                Unliquidated
          Pleasanton, CA 94588
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEVEN DUANE SLUSHER                                                  Contingent
          722 GETTYSBURG WAY
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steven Duane Slusher                                                  Contingent
          722 GETTYSBURG WAY
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.378
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steven Florentin Ortega                                               Contingent
          4727 W 147TH ST APT 224
                                                                                Unliquidated
          LAWNDALE, CA 90260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steven Gamaliel Hernandez Rojas                                       Contingent
          137 SAN MARCO AVE APT 6
                                                                                Unliquidated
          SAN BRUNO, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEVEN GOODWIN                                                        Contingent
          27606 PACIFIC HWY S APT G206
                                                                                Unliquidated
          FEDERAL WAY, WA 98003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEVEN ISHOEEBAYAT                                                    Contingent
          5719 PLAYA DEL RAY APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steven IShoeebayat                                                    Contingent
          5719 PLAYA DEL RAY APT 1
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steven James Farrell                                                  Contingent
          1505A E SAN MARTIN AVE
                                                                                Unliquidated
          SAN MARTIN, CA 95046
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.378
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STEVEN LEWIS                                                          Contingent
          25408 17 PL SW
                                                                                Unliquidated
          DES MOINES, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steven William Iovino                                                 Contingent
          861 Wainwright Dr
                                                                                Unliquidated
          San Jose, CA 95128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stevie Ray Miramontes                                                 Contingent
          1518 RAMSGATE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,054.66
          Street Fleet                                                          Contingent
          PO Box 14947                                                          Unliquidated
          Minneapolis, MN 55414                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STUART D LE                                                           Contingent
          14968 DONALD AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stuart D Le                                                           Contingent
          14968 DONALD AVE
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.379
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SUFIYAN IBRAHIM                                                       Contingent
          7909 RAINIER AVE A
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SUNDIP JAI SINGH                                                      Contingent
          9933 WINDSOR WAY
                                                                                Unliquidated
          SAN RAMON, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sundip Jai Singh                                                      Contingent
          9933 WINDSOR WAY
                                                                                Unliquidated
          SAN RAMON, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sung Han                                                              Contingent
          59 MONTE VERANO CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SUNG YU                                                               Contingent
          1062 ARBOR RD
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sunu C Mathew                                                         Contingent
          4200 BAY ST APT 265
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.379
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Surinder Singh Hundal                                                 Contingent
          1565 Main Street #5
                                                                                Unliquidated
          Santa Clara, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SUSAN VILAIPHONE                                                      Contingent
          424 6TH ST C
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Susan Vilaiphone                                                      Contingent
          424 6TH ST C
                                                                                Unliquidated
          RICHMOND, CA 94801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SUSANA MEDRANO                                                        Contingent
          917 W HYDE PARK BLVD
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Susana Medrano                                                        Contingent
          917 W HYDE PARK BLVD
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SVEN PETER WALKER                                                     Contingent
          185 UNION AVE #59
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 614 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.380
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sven Peter Walker                                                     Contingent
          185 UNION AVE #59
                                                                                Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Syed Abdul Lateef                                                     Contingent
          1313 LEWIS ST APT 2
                                                                                Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SYED HUSSAIN                                                          Contingent
          107-28 157TH STREET APT# 3FL
                                                                                Unliquidated
          JAMAICA, NY 11433
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Syed Salman Ali                                                       Contingent
          43555GRIMMER BLVD APT D333
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sylvia Contreras                                                      Contingent
          847 TERESI CT
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tabitha Lynette Calloway                                              Contingent
          1053 43RD ST APT A
                                                                                Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 615 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.381
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tae Ho Yoon                                                           Contingent
          338 STAPLES AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TAJ MAURICE VICKERS                                                   Contingent
          1237 MILL WAY
                                                                                Unliquidated
          STOCKTON, CA 95209
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taj Maurice Vickers                                                   Contingent
          1237 MILL WAY
                                                                                Unliquidated
          STOCKTON, CA 95209
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TAJI MIKAL NAJI MEKKI                                                 Contingent
          200 MONTECITO AVE APT 204
                                                                                Unliquidated
          OAKLAND, CA 94552
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taji Mikal Naji Mekki                                                 Contingent
          200 MONTECITO AVE APT 204
                                                                                Unliquidated
          OAKLAND, CA 94552
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TALIA NICOLE HUDGENS                                                  Contingent
          1001 MADERA AVE APT 4
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.381
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Talia Nicole Hudgens                                                  Contingent
          1001 MADERA AVE APT 4
                                                                                Unliquidated
          MENLO PARK, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tamara Denae Brown                                                    Contingent
          457 NEPTUNE GARDENS APT B
                                                                                Unliquidated
          ALAMEDA, CA 94501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tameishia Leggett                                                     Contingent
          6400 WEST BLVD UNIT 107
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tamika Richardson                                                     Contingent
          2000 E 30TH APT 10
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tamikko Dawn Bennett                                                  Contingent
          2008 MT HAMILTON DR
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tammeem Gawhari                                                       Contingent
          3205 FIJI LANE
                                                                                Unliquidated
          ALAMEDA, CA 94502
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 617 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.382
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tangelia Myles                                                        Contingent
          1749 OBISPO AVE #1
                                                                                Unliquidated
          LONG BEACH, CA 90804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TANISHA RENE GREER                                                    Contingent
          1940 E 29TH ST APT 8
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tanisha Rene Greer                                                    Contingent
          1940 E 29TH ST APT 8
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TANISHA YVONNE CARTHEN                                                Contingent
          1440 TREAT WAY
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tanisha Yvonne Carthen                                                Contingent
          1440 TREAT WAY
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TANNER EDWARD FELDMAN                                                 Contingent
          477 REINA DEL MAR AVE
                                                                                Unliquidated
          PACIFICA, CA 94044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 639 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.382
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tanner Edward Feldman                                                 Contingent
          477 REINA DEL MAR AVE
                                                                                Unliquidated
          PACIFICA, CA 94044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TANYA JEAN SPARKS                                                     Contingent
          907 COYOTE COURT
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tanya Jean Sparks                                                     Contingent
          907 COYOTE COURT
                                                                                Unliquidated
          ANTIOCH, CA 94509
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TARA MARSHALL FERGUSON                                                Contingent
          7916 NEY AVE APT B
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tara Marshall Ferguson                                                Contingent
          7916 NEY AVE APT B
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TARIN ESMAN                                                           Contingent
          1915 ROBINWOOD ST
                                                                                Unliquidated
          NEW CASTLE, PA 16101
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.383
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tarryn Munz                                                           Contingent
          3900 MOORPARK AVE 143
                                                                                Unliquidated
          SAN JOSE, CA 95117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tasha Jenille Bruer                                                   Contingent
          PO BOX 341426
                                                                                Unliquidated
          LOS ANGELES, CA 90034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TASHIQUA HOLIDAY                                                      Contingent
          2388 CRESTON AVE 7C
                                                                                Unliquidated
          BRONX, NY 10468
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TATIANA JOHNSON                                                       Contingent
          2909 9TH STREET APT 401
                                                                                Unliquidated
          BERKELEY, CA 94710
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tatiana Kristin Johnson                                               Contingent
          2909 9TH STREET APT 401
                                                                                Unliquidated
          BERKELEY, CA 94710
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TATIANA LAITITI                                                       Contingent
          2401 W JEFFERSON BLVD APT 401
                                                                                Unliquidated
          LOS ANGELES, CA 90018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 641 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.384
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tatiana Laititi                                                       Contingent
          2401 W JEFFERSON BLVD APT 401
                                                                                Unliquidated
          LOS ANGELES, CA 90018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TAURIAN TYRIQUE WARING                                                Contingent
          944 KELLY STREET APT#7
                                                                                Unliquidated
          BRONX, NY 10459
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tauriona Bridget Hamilton                                             Contingent
          1220 KENTWOOD LN APT 810
                                                                                Unliquidated
          SAN LEANDRO, CA 94578
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tawsif Ahmed                                                          Contingent
          1444 NEWCOMB AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tayana Shawntee Mcleain                                               Contingent
          102 DAMSEN DR APT 102
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taylor Kiyoshi Nakaki                                                 Contingent
          11329 CHARNOCK RD
                                                                                Unliquidated
          LOS ANGELES, CA 90066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.384
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taylor Livingston Sharp                                               Contingent
          1001 Park Ave
                                                                                Unliquidated
          Long Beach, CA 90804
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taylor Mitchell                                                       Contingent
          13810 SOUTH SAN PEDRO
                                                                                Unliquidated
          SOUTH LOS ANGELES, CA 90061
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taylor Mohogany Ardelia Gray                                          Contingent
          3 REUEL CT
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ted Marcus Powell                                                     Contingent
          7330 FULLBRIGHT AVE
                                                                                Unliquidated
          WINNETKA, CA 91306
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ted Thana Assavarat                                                   Contingent
          4811 APPIAN WAY BLDG 1 APT 5
                                                                                Unliquidated
          EL SOBRANTE, CA 94803
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Teddy Gonzales Wong                                                   Contingent
          308 HIDDENLAKE DR
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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                                                           Document    Page 643 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.385
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TEDDY SHIFERAW                                                        Contingent
          4801 S OTHELLO ST
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TEKLIT MISGINA                                                        Contingent
          5502 RAINIER AVE S
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,275.64
          TelePacific Communication                                             Contingent
          PO Box 509013                                                         Unliquidated
          San Diego, CA 92150-9013                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TEONA LEROMA CASH                                                     Contingent
          33 HAMILTON STREET
                                                                                Unliquidated
          BRADDOCK, PA 15104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Terence Raynard Clay Jr                                               Contingent
          3220 MEADOWS AVE APT R
                                                                                Unliquidated
          MERCED, CA 95348
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TERESA L STOBERT                                                      Contingent
          209 MILLERSTOWN CULLMERVILLE
                                                                                Unliquidated
          TARENTUM, PA 15084
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 623 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 644 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.385
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Teresa Montanez                                                       Contingent
          701 CURTNER AVENUE APT 392
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TERESA PINONEZ VAZQUEZ                                                Contingent
          5330 MONTEREY RD L-3
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Teresa Pinonez Vazquez                                                Contingent
          5330 MONTEREY RD L-3
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TERRA LATRICE MORRIS                                                  Contingent
          1423 HUBBARD ST
                                                                                Unliquidated
          PITTSBURGH, PA 15212
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TERRELL JONES                                                         Contingent
          425 PROTECTORY PL
                                                                                Unliquidated
          PITTSBURGH, PA 15219
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Terrence Clarke Tugwell                                               Contingent
          3372 GEORGETOWN PL
                                                                                Unliquidated
          SANTA CLARA, CA 95051
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 624 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 645 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.386
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TERRENCE EDWARD REYNOLDS                                              Contingent
          1164 OCCONOR ST
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Terrence Edward Reynolds                                              Contingent
          1164 OCCONOR ST
                                                                                Unliquidated
          EAST PALO ALTO, CA 94303
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TERRENCE JOSEPH BATES                                                 Contingent
          1668 HUSTED AVE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Terrence Joseph Bates                                                 Contingent
          1668 HUSTED AVE
                                                                                Unliquidated
          SAN JOSE, CA 95125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Terrence Roberts                                                      Contingent
          8956 DALTON AVE
                                                                                Unliquidated
          LOS ANGELES,CA, CA 90047
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Terri Lynn Maldonado                                                  Contingent
          582 PARADISE BLVD
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 625 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 646 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.387
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TERRI LYNNE TAYLOR                                                    Contingent
          442 WILCOX ST
                                                                                Unliquidated
          CARNEGIE, PA 15106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TERRIELL GLENN                                                        Contingent
          1237 SUCCESS ST
                                                                                Unliquidated
          PITTSBURGH, PA 15212-1521
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Terry Simpson                                                         Contingent
          463 WOOSTER AVE APT D18
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TESFALDET TEKLE                                                       Contingent
          6521 208TH ST SW APT M14
                                                                                Unliquidated
          LYNNWOOD, WA 98036
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THANG VAN LAI                                                         Contingent
          1140 GIRARD ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thang Van Lai                                                         Contingent
          1140 GIRARD ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 626 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.387
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thanh Hoc Thai                                                        Contingent
          925 AMADOR AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thanh Minh Luong                                                      Contingent
          1297 FLICKINGER AVE
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THANH TUAN PHAM                                                       Contingent
          1567 SIERRAVILLE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thanh Tuan Pham                                                       Contingent
          1567 SIERRAVILLE AVE
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $877.96
          The Hanover Insurance Group                                           Contingent
          PO Box 580045                                                         Unliquidated
          Charlotte, NC 28258-0045                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THEODORE HARRIS                                                       Contingent
          8010 BLAIRMILL WAY 313E
                                                                                Unliquidated
          SILVER SPRING, MD 20910
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 627 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 648 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.388
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THERESA GROUDAS                                                       Contingent
          210 WEST 140TH ST
                                                                                Unliquidated
          NEW YORK, NY 10030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THERESA K FRANK                                                       Contingent
          310 MARION AVE
                                                                                Unliquidated
          PITTSBURGH, PA 15221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THERESA MARIE MARTINEZ                                                Contingent
          1170 ELGIN STREET
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Theresa Marie Martinez                                                Contingent
          1170 ELGIN STREET
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thiago Moncaio De Araujo Muniz                                        Contingent
          707 CONTINENTAL CIR APT 412
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THIEN NGUYEN HI LE                                                    Contingent
          2558 S KING RD APT 268
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 628 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 649 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.388
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thien Nguyen Hieu Le                                                  Contingent
          2558 S KING RD APT 268
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thien Van T Chau                                                      Contingent
          2326 FAIRWAY DR
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomas Birdwell                                                       Contingent
          1236 PEACH CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomas Davidson                                                       Contingent
          P O BOX 1235
                                                                                Unliquidated
          ALVISO, CA 95002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomas Edward Behnke                                                  Contingent
          800 N 8TH ST APT 111
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THOMAS EDWARD LAURANT JR                                              Contingent
          22820 126TH PLACE SE
                                                                                Unliquidated
          KENT, WA 98031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 629 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 650 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.389
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THOMAS EUGENE BARRETT                                                 Contingent
          6451 MATTHEW CT
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomas Eugene Barrett                                                 Contingent
          6451 MATTHEW CT
                                                                                Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THOMAS GERARD TAYLOR                                                  Contingent
          27230 SLEEPY HOLLOW AVE SOUTH
                                                                                Unliquidated
          APT 9
          HAYWARD, CA 94545                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.389
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomas Gerard Taylor                                                  Contingent
          27230 SLEEPY HOLLOW AVE SOUTH
                                                                                Unliquidated
          APT 9
          HAYWARD, CA 94545                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.389
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THOMAS HAYES                                                          Contingent
          530 SUMMERSET LANE
                                                                                Unliquidated
          SANDY SPRINGS, GA 30328
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomas Rightly Perry                                                  Contingent
          440 BIXBY DR
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 630 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 651 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.390
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomas Rodolfo Spillman                                               Contingent
          2657 SCOTTSDALE DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THOMAS WALTERS                                                        Contingent
          230 GLADES RUN RD
                                                                                Unliquidated
          CARMICHAELS, PA 15320
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomas Xirakis Peterson                                               Contingent
          1254 DAILY DR
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thong Ngoc Nguyen                                                     Contingent
          2084 S KING RD
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tiffany Dawn Kuhr                                                     Contingent
          279 TWINLAKE DR
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tiffany Janay Allen                                                   Contingent
          7124 ORRAL ST
                                                                                Unliquidated
          OAKLAND, CA 94621
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 631 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 652 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.390
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tiffany Ngoc Le                                                       Contingent
          2431 HARRINGTON AVE
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tiffany Rose Quintana                                                 Contingent
          P O BOX 2581
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIFFANY SMITH                                                         Contingent
          1856 E 25TH ST D
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tiffany Smith                                                         Contingent
          1856 E 25TH ST D
                                                                                Unliquidated
          OAKLAND, CA 94606
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tilahun Teshome Defere                                                Contingent
          540 CALLAN AVE APT 208
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tim Mah                                                               Contingent
          102 PAMELA CT
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 632 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 653 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.391
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timar Juwan Hooker                                                    Contingent
          430 SOUTH C STREET
                                                                                Unliquidated
          TRACY, CA 95376
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $145.85
          Time Warner Cable                                                     Contingent
          PO Box 11820                                                          Unliquidated
          Newark, NJ 07101-8120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $28.00
          TimeCycle                                                             Contingent
          PO Box 250                                                            Unliquidated
          South Hampton, PA 18966                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIMOTHY ALLAN GRAY                                                    Contingent
          12820 SYCAMORE AVE
                                                                                Unliquidated
          SAN MARTIN, CA 95046
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Allan Gray                                                    Contingent
          12820 SYCAMORE AVE
                                                                                Unliquidated
          SAN MARTIN, CA 95046
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIMOTHY ARTHUR BRACAMONTE                                             Contingent
          843 IRIS AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 633 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 654 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.391
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Arthur Bracamonte                                             Contingent
          843 IRIS AVE
                                                                                Unliquidated
          SUNNYVALE, CA 94086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Garvey                                                        Contingent
          115 VISTA DEL MONTE
                                                                                Unliquidated
          LOS GATOS, CA 95030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIMOTHY HINDLEY                                                       Contingent
          1201 PRINCETON AVE
                                                                                Unliquidated
          NATRONA HTS, PA 15065
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIMOTHY LAMAR GORDON                                                  Contingent
          105 N 1ST ST P O BOX 1572
                                                                                Unliquidated
          SAN JOSE, CA 95109
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Lamar Gordon                                                  Contingent
          105 N 1ST ST P O BOX 1572
                                                                                Unliquidated
          SAN JOSE, CA 95109
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIMOTHY MATTHEW BONILLA                                               Contingent
          677 NORTH 14TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 634 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 655 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.392
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Matthew Bonilla                                               Contingent
          677 NORTH 14TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Matthew Proctor                                               Contingent
          931 Amberstone Ln.
                                                                                Unliquidated
          San Ramon, CA 94582
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIMOTHY MICHAEL SUGDEN                                                Contingent
          317 BEECHVAKE CT
                                                                                Unliquidated
          SAN JOSE, CA 95119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Michael Sugden                                                Contingent
          317 BEECHVAKE CT
                                                                                Unliquidated
          SAN JOSE, CA 95119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIMOTHY N TOMASELLO                                                   Contingent
          121 EL MOLINO PL
                                                                                Unliquidated
          SAN RAMON, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Nicholas Tomasello                                            Contingent
          121 EL MOLINO PL
                                                                                Unliquidated
          SAN RAMON, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 635 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 656 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.393
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIMOTHY OFFORD-JACK                                                   Contingent
          12808 60TH LN S A1
                                                                                Unliquidated
          SEATTLE, WA 98178
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Perilla Quejong                                               Contingent
          109 NEWTON ST
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Reed                                                          Contingent
          6024 Hillside Dr.
                                                                                Unliquidated
          Felton, CA 95018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tingly Lam                                                            Contingent
          2403 JACKSON AVE
                                                                                Unliquidated
          ROSEMEAD, CA 91770
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tinh Xuong Pham                                                       Contingent
          661 BONITA AVE #20
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tirsa Indira Mejia                                                    Contingent
          3157 W 147TH ST
                                                                                Unliquidated
          GARDENA, CA 90249
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 636 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 657 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.393
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $904.00
          Tn'T Messenger                                                        Contingent
          5220 E Pima Street                                                    Unliquidated
          Tucson, AZ 85712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TOAN PHUC NGUYEN                                                      Contingent
          2151 OAKLAND ROAD SPC #600
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Toan Phuc Nguyen                                                      Contingent
          2151 OAKLAND ROAD SPC #600
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tobias Orlando Croffet                                                Contingent
          1428 PIEDMONT ROAD
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tod Kevin Nobriga                                                     Contingent
          16026 VIA PRIMERO
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TODD DYSON                                                            Contingent
          21235 102ND AVE SE
                                                                                Unliquidated
          KENT, WA 98031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 637 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 658 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.394
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TODD RAYMOND CRUSE                                                    Contingent
          2906 GLENSIDE DR
                                                                                Unliquidated
          CONCORD, CA 94520
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Todd Raymond Cruse                                                    Contingent
          2906 GLENSIDE DR
                                                                                Unliquidated
          CONCORD, CA 94520
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Todd William Brown                                                    Contingent
          963 SHORELINE DR
                                                                                Unliquidated
          SAN MATEO, CA 94404
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TOHID SHAERI-SEYSAN                                                   Contingent
          136900 46TH PL APT B
                                                                                Unliquidated
          BELLEVIEW, WA 98007
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tom Odom                                                              Contingent
          1586 FOUR OAKS CIRCLE
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TOMESIA RENEE FONTENETTE                                              Contingent
          301 AVIAN DR A-11
                                                                                Unliquidated
          VALLEJO, CA 94591
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 659 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.394
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tomesia Renee Fontenette                                              Contingent
          301 AVIAN DR A-11
                                                                                Unliquidated
          VALLEJO, CA 94591
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TONISHA BRIANNA HADNOT                                                Contingent
          365 98TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tonisha Brianna Hadnot                                                Contingent
          365 98TH AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tonisha Renay Harris                                                  Contingent
          4012 CARIBBEAN COMMON
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TONNICA RASHELL VALLERY                                               Contingent
          1754 B ST APT 14
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tonnica Rashell Vallery                                               Contingent
          1754 B ST APT 14
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 639 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 660 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.395
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TONY FOSTER                                                           Contingent
          2226 S 304TH ST
                                                                                Unliquidated
          FEDERAL WAY, WA 98003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tony Latroy Sawyer                                                    Contingent
          8734 RAMONA ST
                                                                                Unliquidated
          BELLFLOWER, CA 90706
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tony Quoc Phu                                                         Contingent
          PO BOX 612292
                                                                                Unliquidated
          SAN JOSE, CA 95161
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tony Stewart Walls Jr                                                 Contingent
          329 EL DORADO AVE
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TONY TAN                                                              Contingent
          1329 GOETTINGEN ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tony Tan                                                              Contingent
          1329 GOETTINGEN ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 640 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 661 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.396
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TONY TSANG                                                            Contingent
          2378 RIDGEGLEN WAY
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tony Tsang                                                            Contingent
          2378 RIDGEGLEN WAY
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tracy Cooper                                                          Contingent
          9963 ROMONA ST APT 20
                                                                                Unliquidated
          BELLFLOWER, CA 90706
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRACY FARLEY                                                          Contingent
          2723 RAINBOW RIDGE ROAD
                                                                                Unliquidated
          DECATUR, GA 30034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tracy Szeto                                                           Contingent
          2915 JO ANN DR
                                                                                Unliquidated
          SAN PABLO, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trai Lap Nguyen                                                       Contingent
          317 EDUCATIONAL PARK DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 641 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 662 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.396
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRAIJON DURON TELEBRICO                                               Contingent
          1549 W JEFFERSON BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Traijon Duron Telebrico                                               Contingent
          1549 W JEFFERSON BLVD
                                                                                Unliquidated
          LOS ANGELES, CA 90018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $328.70
          Transportation Agent Grid                                             Contingent
          PO Box 5045                                                           Unliquidated
          Hayward, CA 94540                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRAVIS EVANS                                                          Contingent
          1417 ELM ST
                                                                                Unliquidated
          PITTSBURGH, PA 15221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Travis Gary Bartlett                                                  Contingent
          3550 SLOPEVIEW DR
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Travis Lamar Elliott                                                  Contingent
          201 13TH STREET UNIT 29582
                                                                                Unliquidated
          OAKLAND, CA 94604
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 642 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 663 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.397
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Treanna Vonseal Colter                                                Contingent
          2501 WEST VIEW STREET 307
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trebien Bellows                                                       Contingent
          2404 7TH AVENUE
                                                                                Unliquidated
          LOS ANGELES, CA 90018
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRENT SHERMAN                                                         Contingent
          6616 7TH AVENUE
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trent Sherman                                                         Contingent
          6616 7TH AVENUE
                                                                                Unliquidated
          LOS ANGELES, CA 90043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRENTON JAMES BLACKWELL                                               Contingent
          32725 GOSHEN ST
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trenton James Blackwell                                               Contingent
          32725 GOSHEN ST
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 643 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 664 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.397
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trevor Lindon Lobert                                                  Contingent
          3446 Gradell Place
                                                                                Unliquidated
          San Jose, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRI NGOC NGUYEN                                                       Contingent
          2189 CINDERELLA LANE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tri Ngoc Nguyen                                                       Contingent
          2189 CINDERELLA LANE
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRI THANH PHAM                                                        Contingent
          2593 VISTA DEL SOL DR
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tri Thanh Pham                                                        Contingent
          2593 VISTA DEL SOL DR
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRICIA LEGASPI                                                        Contingent
          152 SONIA WAY
                                                                                Unliquidated
          LIVERMORE, CA 94550
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 644 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 665 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.398
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tricia Legaspi                                                        Contingent
          152 SONIA WAY
                                                                                Unliquidated
          LIVERMORE, CA 94550
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trinidad Sara Velasco                                                 Contingent
          1415 E ALONDRA BLVD APT #K
                                                                                Unliquidated
          COMPTON, CA 90221
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRINU SHAHADA HULL                                                    Contingent
          657 DOUGLAS AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trinu Shahada Hull                                                    Contingent
          657 DOUGLAS AVE
                                                                                Unliquidated
          OAKLAND, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRISTON NAGEE GIN                                                     Contingent
          635 S GREVILLEA AVE APT 9
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Triston Nagee Gin                                                     Contingent
          635 S GREVILLEA AVE APT 9
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 645 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 666 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.399
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Troy Anthony Ward                                                     Contingent
          295 Wistar rd
                                                                                Unliquidated
          Oakland, CA 94603
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TROY CUNNINGHAM                                                       Contingent
          1391 E ELMA CT.
                                                                                Unliquidated
          ONTARIO, CA 91764
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Troy Cunningham                                                       Contingent
          13611 YUKON AVE APT 216
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Troy Edward Johnston                                                  Contingent
          18939 RAINIER AVE
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Troy Wesley Hoffdahl                                                  Contingent
          1231 BRIARLEAF CIR
                                                                                Unliquidated
          SAN JOSE, CA 95113
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trung Van Pham                                                        Contingent
          2591 GLEN ALMA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95148
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 667 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.399
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tsai Hung Sam Chow                                                    Contingent
          1301 SAN DOMAR DRIVE UNIT A
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tuan Hoang                                                            Contingent
          3984 WASHINGTON BLVD #240
                                                                                Unliquidated
          FREMONT, CA 94538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TUAN LUU                                                              Contingent
          3535 SENTER RD
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tuan Luu                                                              Contingent
          3535 SENTER RD
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tuan Nguyen                                                           Contingent
          2683 SHADOWVALE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tunisia Marie Boudreaux Willis Shay                                   Contingent
          4145 PENNIMAN AVE
                                                                                Unliquidated
          OAKLAND, CA 94619
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 668 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.400
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TY COOLEY                                                             Contingent
          11845 FRIEDA DR
                                                                                Unliquidated
          IRWIN, PA 15642
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TYESCHA DASHAY SCHULZFORD                                             Contingent
          625 BERRY AVE APT 106
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyescha Dashay Schulzford                                             Contingent
          625 BERRY AVE APT 106
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyler Andrew Legaspi                                                  Contingent
          1236 PEACH CT
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TYLER AUSTIN MATHIES                                                  Contingent
          10228 FOOTHILL BLVD
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyler Austin Mathies                                                  Contingent
          10228 FOOTHILL BLVD
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 648 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 669 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.400
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyler Bates                                                           Contingent
          3621 DIAMOND AVE 3
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TYLER BYNDON                                                          Contingent
          13036 SE KENT-KANGLEY RD
                                                                                Unliquidated
          APT 182
          KENT, WA 98030                                                        Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.401
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TYLER SCOTT GOBLE                                                     Contingent
          588 59TH ST APT 5
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyler Scott Goble                                                     Contingent
          588 59TH ST APT 5
                                                                                Unliquidated
          OAKLAND, CA 94609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TYREE LANIER GOODMAN                                                  Contingent
          2763 PARK ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyree Lanier Goodman                                                  Contingent
          2763 PARK ST
                                                                                Unliquidated
          BERKELEY, CA 94702
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 649 of 681
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 670 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.401
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TYREEM TELLY SMITH                                                    Contingent
          446 BERRIMAN STREET 2B
                                                                                Unliquidated
          BROOKLYN, NY 11208
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TYRELL LAMAZ YOUNG                                                    Contingent
          31745 CHESAPEAKE AVE APT 305
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyrell Lamaz Young                                                    Contingent
          31745 CHESAPEAKE AVE APT 305
                                                                                Unliquidated
          LOS ANGELES, CA 90016
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TYRON CROCKETT                                                        Contingent
          4750 APPIAN WAY APT 62
                                                                                Unliquidated
          EL SOBRANTE, CA 94803
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyron Crockett                                                        Contingent
          4750 APPIAN WAY APT 62
                                                                                Unliquidated
          EL SOBRANTE, CA 94803
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyrone Dwayne Gums                                                    Contingent
          22759 VERMONT ST APT 1
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 650 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 671 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.402
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,913.30
          Uhaul                                                                 Contingent
          PO Box 52128                                                          Unliquidated
          Phoenix, AZ 52128                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ULYSSES CUELLAR                                                       Contingent
          1722 4TH AVENUE
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ulysses Cuellar                                                       Contingent
          1722 4TH AVENUE
                                                                                Unliquidated
          LOS ANGELES, CA 90019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Umar Khan                                                             Contingent
          2539 SPINDRIFT CIR
                                                                                Unliquidated
          HAYWARD, CA 94545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,092.00
          Union Real Estate                                                     Contingent
          301 Grant Street Ste 1250                                             Unliquidated
          Pittsburgh, PA 15219                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,191.66
          Unity Courier Service                                                 Contingent
          3231 Fletcher Drive                                                   Unliquidated
          Los Angeles, CA 90065                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 651 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 672 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.402
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          URIEL HERRERA                                                         Contingent
          1367 STAHL ST
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Uriel Herrera                                                         Contingent
          1367 STAHL ST
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $50.00
          US Healthworks                                                        Contingent
          PO Box 50042                                                          Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,354.44
          US Pack Logistics LLC Dept 3545                                       Contingent
          PO Box 123545                                                         Unliquidated
          Dallas, TX 75312                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,769.04
          US Premium Finance                                                    Contingent
          PO Box 630035                                                         Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Valentin Urquiza Pineda                                               Contingent
          4115 MIRALOMA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 652 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 673 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.403
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VALERIA FAUSTO                                                        Contingent
          16161 HESPERIAN BLVD
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Valeria Fausto                                                        Contingent
          16161 HESPERIAN BLVD
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VALISHA LYDIA MCBRIDE                                                 Contingent
          205 WENATCHEE COMMONS
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Valisha Lydia Mcbride                                                 Contingent
          205 WENATCHEE COMMONS
                                                                                Unliquidated
          FREMONT, CA 94539
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VAN TRUC CAO                                                          Contingent
          4614 SYMPHONY LANE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Van Truc Cao                                                          Contingent
          4614 SYMPHONY LANE
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 653 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 674 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.403
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vandana Sharma                                                        Contingent
          584 JANICE AVE
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VANESSA GONZALEZ                                                      Contingent
          689 WYANDOTTE AVE
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vanessa Gonzalez                                                      Contingent
          689 WYANDOTTE AVE
                                                                                Unliquidated
          DALY CITY, CA 94014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VANESSA MUNA                                                          Contingent
          1170 HARRISON ST APT 203
                                                                                Unliquidated
          SEATTLE, WA 98109
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VANESSA REINA VELASQUEZ                                               Contingent
          25684 SPRING DR APT D
                                                                                Unliquidated
          HAYWARD, CA 94542
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vanessa Reina Velasquez                                               Contingent
          25684 SPRING DR APT D
                                                                                Unliquidated
          HAYWARD, CA 94542
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 675 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.404
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VAQUANA PRIVOTT                                                       Contingent
          21837 HILLSIDE AVENUE 1F
                                                                                Unliquidated
          QUEENS VILLAGE, NY 11427
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,700.00
          Veritas Property Management                                           Contingent
          1995 Broadway Ste 1201                                                Unliquidated
          New York, NY 10023                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vernesha Lashae Potts                                                 Contingent
          1251 S ALMADEN AVE #B
                                                                                Unliquidated
          SAN JOSE, CA 95110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VERNON CHARLES JENKINS                                                Contingent
          1419 7TH ST APT 4
                                                                                Unliquidated
          BERKELEY, CA 94710
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vernon Charles Jenkins                                                Contingent
          1419 7TH ST APT 4
                                                                                Unliquidated
          BERKELEY, CA 94710
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VERNOY CHARLES MAYWEATHER                                             Contingent
          4903 WINDERMERE DR
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 655 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 676 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.405
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vernoy Charles Mayweather                                             Contingent
          4903 WINDERMERE DR
                                                                                Unliquidated
          NEWARK, CA 94560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Veronica Canalez                                                      Contingent
          1075 SPACE PARK WAY SPC 169
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Veronica M Martinez                                                   Contingent
          899 NORTH KING ROAD APT 1306
                                                                                Unliquidated
          SAN JOSE CA, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Veronica Rodriguez                                                    Contingent
          4831 W 133RD ST
                                                                                Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Baker                                                          Contingent
          278 TYRELLA AVE #10
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor David Manzano                                                  Contingent
          10410 FOOTHILL BLVD APT 6
                                                                                Unliquidated
          OAKLAND, CA 94605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 656 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.405
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Dulay Cabradilla                                               Contingent
          387 LAUREL AVE APT 12
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VICTOR JOSUE MELARA ALVARADO                                          Contingent
          1903 E BAYSHORE RD SPC 16
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Josue Melara Alvarado                                          Contingent
          1903 E BAYSHORE RD SPC 16
                                                                                Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VICTOR KENNARD RAYFORD                                                Contingent
          1870 MIDFIELD AVE APT 4
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Kennard Rayford                                                Contingent
          1870 MIDFIELD AVE APT 4
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Manuel Montes                                                  Contingent
          PO BOX 712
                                                                                Unliquidated
          HAWTHORNE, CA 90251
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 657 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.406
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VICTOR OCTAVIO VIDRIO                                                 Contingent
          2151 OAKLAND RD APT 613
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Octavio Vidrio                                                 Contingent
          2151 OAKLAND RD APT 613
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VICTOR SULLIVAN                                                       Contingent
          13611 YUKON AVE APT227
                                                                                Unliquidated
          HATHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Sullivan                                                       Contingent
          13611 YUKON AVE APT227
                                                                                Unliquidated
          HATHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VICTOR VALENTIN ACEVEDO                                               Contingent
          1224 HOPKINS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Valentin Acevedo                                               Contingent
          1224 HOPKINS DR
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 658 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 679 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.406
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VICTOR VILLASENOR                                                     Contingent
          350 N GLENDALE AVE
                                                                                Unliquidated
          STE B BX 258
          GLENDALE, CA 91206                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.407
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Villasenor                                                     Contingent
          350 N GLENDALE AVE
                                                                                Unliquidated
          STE B BX 258
          GLENDALE, CA 91206                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.407
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Vivanco David                                                  Contingent
          748 VENICE WAY
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victoria Ann Yetz                                                     Contingent
          3187 WOODCREST DR
                                                                                Unliquidated
          SAN JOSE, CA 95118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VICTORIA IRVING                                                       Contingent
          3100 LUMBY DRIVE APT 708
                                                                                Unliquidated
          DECATUR, GA 30034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VIET HOANG HO                                                         Contingent
          1363 WOODELY DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 659 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.407
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Viet Hoang Ho                                                         Contingent
          1363 WOODELY DR
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vijay Kumar                                                           Contingent
          4356 ELK DR
                                                                                Unliquidated
          ANTIOCH, CA 94531
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vikram Gill                                                           Contingent
          645 E I ST
                                                                                Unliquidated
          BENICIA, CA 94510
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vincent Ako Lozano                                                    Contingent
          1377 E 32ND ST
                                                                                Unliquidated
          OAKLAND, CA 94602
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vincent Clay Porter                                                   Contingent
          6306 Paramount Blvd Apt 4
                                                                                Unliquidated
          Long Beach, CA 90805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vincent Diamond Berry                                                 Contingent
          2077 THOMAS AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 660 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 681 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.408
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VINCENT EDWARDS                                                       Contingent
          2108 PATRICIA LN 25D
                                                                                Unliquidated
          NORTH VERSAILLES, PA 15137
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VINCENT J BROWN                                                       Contingent
          1575 THIERIOT AVE UNIT 5K
                                                                                Unliquidated
          BRONX, NY 10460
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vincent Lloyd Dizo IV                                                 Contingent
          683 SAN JUAN DR APT 3
                                                                                Unliquidated
          SUNNYVALE, CA 94085
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vincent Minh Triet Nguyen                                             Contingent
          1085 TASMAN DRIVE #446
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VINCENT NGUYEN                                                        Contingent
          1085 TASMAN DRIVE #446
                                                                                Unliquidated
          SUNNYVALE, CA 94089
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vincent Robinson                                                      Contingent
          180 NORTH 4TH STREET UNIT 402
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 682 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.408
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VINCENT SORACE                                                        Contingent
          233 MONKEY WRENCH RD
                                                                                Unliquidated
          GREENSBURG, PA 15601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vir Matthew Bor Moranta                                               Contingent
          6744 SIGNAL PEAK CT
                                                                                Unliquidated
          STOCKTON, CA 95210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VIRGILS MOISE                                                         Contingent
          573 E 22ND STREET APT 3A
                                                                                Unliquidated
          BROOKLYN, NY 11226
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VIRIDIANA MACIAS                                                      Contingent
          1085 S 10TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Viridiana Macias                                                      Contingent
          1085 S 10TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Virpal Kaur                                                           Contingent
          P O BOX 730991
                                                                                Unliquidated
          SAN JOSE, CA 95173
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 662 of 681
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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 683 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.409
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vivian Wang                                                           Contingent
          65 MCCREERY AVE #137
                                                                                Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vo Huu Duc Nguyen                                                     Contingent
          2694 Olivestone Way
                                                                                Unliquidated
          San Jose, CA 95132
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VU HOANG LE                                                           Contingent
          392 LOS ENCINOS AVE
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vu Hoang Le                                                           Contingent
          392 LOS ENCINOS AVE
                                                                                Unliquidated
          SAN JOSE, CA 95134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vu Huynh Mai                                                          Contingent
          2380 LANNING WAY
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vu Nguyen Huynh                                                       Contingent
          859 MEDFORD AVE
                                                                                Unliquidated
          HAYWARD, CA 94541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.409
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vuchleang Taing                                                       Contingent
          1817 NEWBRIDGE AVE
                                                                                Unliquidated
          SAN MATEO, CA 94401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,440.00
          Walsh Messenger Service                                               Contingent
          4 Third Street                                                        Unliquidated
          Garden City, NY 11040                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,113.72
          Waltco Inc                                                            Contingent
          PO Box 12147                                                          Unliquidated
          Green Bay, WI 54307-2147                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WALTER FRANCIS WALL IV                                                Contingent
          185 N 8TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Walter Francis Wall IV                                                Contingent
          185 N 8TH ST
                                                                                Unliquidated
          SAN JOSE, CA 95112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WALTER GARCIA                                                         Contingent
          2262 HAVILAND AVENUE
                                                                                Unliquidated
          BRONX, NY 10462
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.410
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,472.68
          Washington Express LLC                                                Contingent
          12240 Indian Creek Court                                              Unliquidated
          Ste 100                                                               Disputed
          Beltsville, MD 20705
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.410
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WAYNE DUCKWORTH                                                       Contingent
          520 WALKER DRIVE APT # 33
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wayne Duckworth                                                       Contingent
          520 WALKER DRIVE APT # 33
                                                                                Unliquidated
          MOUNTAIN VIEW, CA 94043
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wayne Graham                                                          Contingent
          614 EAST REGENT ST
                                                                                Unliquidated
          INGLEWOOD, CA 90301
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WEILIAN SHEN                                                          Contingent
          2263 ROYALTREE CIR
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Weilian Shen                                                          Contingent
          2263 ROYALTREE CIR
                                                                                Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.411
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WELI ABDI                                                             Contingent
          8730 RAINIER AVE SOUTH
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WENDY LEE STERNER                                                     Contingent
          1332 CALLE ORIENTE APT 1
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wendy Lee Sterner                                                     Contingent
          1332 CALLE ORIENTE APT 1
                                                                                Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WESLEY HEDGLIN                                                        Contingent
          330 N MAIN ST
                                                                                Unliquidated
          SLIPPERY ROCK, PA 16057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wesley J Stallings                                                    Contingent
          1045 DAISY AVE
                                                                                Unliquidated
          LONG BEACH, CA 90801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WESLEY RICKS                                                          Contingent
          30042 MISSION BLVD
                                                                                Unliquidated
          APT 121-179
          HAYWARD, CA 94544                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.411
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wesley Ricks                                                          Contingent
          30042 MISSION BLVD
                                                                                Unliquidated
          APT 121-179
          HAYWARD, CA 94544                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.411
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,349.12
          Wex Fleet                                                             Contingent
          PO Box 6293                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wilbert Leslie Knight Jr                                              Contingent
          1370 THIEL RD
                                                                                Unliquidated
          HAYWARD, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wildoctric Benjamin Hackett                                           Contingent
          659 W HOMESTEAD RD APT 2
                                                                                Unliquidated
          SUNNYVALE, CA 94087
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WILEARL PICKENS JR                                                    Contingent
          3400 RICHMOND PKWY APT 1822
                                                                                Unliquidated
          RICHMOND, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wilearl Pickens Jr                                                    Contingent
          3400 RICHMOND PKWY APT 1822
                                                                                Unliquidated
          RICHMOND, CA 94806
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.412
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William Allen Lemmon                                                  Contingent
          1839 S MAIN ST APT 401
                                                                                Unliquidated
          LOS ANGELES, CA 90015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William Anthony Moore                                                 Contingent
          5410 WESTERN AVE APT 6
                                                                                Unliquidated
          LOS ANGELES, CA 90062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William B Fernandez                                                   Contingent
          4180 REDONDO BEACH BLVD APT B
                                                                                Unliquidated
          TORRANCE, CA 90504
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WILLIAM BOILEAU                                                       Contingent
          1205 27TH ST NW
                                                                                Unliquidated
          PUYALLUP, WA 98371
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William Brian Jennings                                                Contingent
          208 SOUTH BARRANCA SPACE 29
                                                                                Unliquidated
          GLENDORA, CA 91741
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WILLIAM DELKER                                                        Contingent
          1206 S W 137TH 538
                                                                                Unliquidated
          BURIEN, WA 98166
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.412
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WILLIAM EDWARD TURNER GROTH III                                       Contingent
          239 EDELEN AVE
                                                                                Unliquidated
          LOS GATOS, CA 95030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William Edward Turner Groth III                                       Contingent
          239 EDELEN AVE
                                                                                Unliquidated
          LOS GATOS, CA 95030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WILLIAM FINKLEY                                                       Contingent
          4115 FRANKLIN ROAD
                                                                                Unliquidated
          PITTSBURGH, PA 15214
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William John Cox                                                      Contingent
          9790 NO NAME UNO A
                                                                                Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WILLIAM LUFFEY                                                        Contingent
          1216 PROSPECT RD
                                                                                Unliquidated
          PITTSBURGH, PA 15227
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WILLIAM MALIE                                                         Contingent
          319 SPIKER AVE
                                                                                Unliquidated
          BELLE VERNON, PA 15012
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.413
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William Paul Karavas                                                  Contingent
          P.O. BOX 620116
                                                                                Unliquidated
          Woodside, CA 94062
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William Russell Perry                                                 Contingent
          1431 LA MADRONA DR
                                                                                Unliquidated
          SANTA CRUZ, CA 95060
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William Serrano                                                       Contingent
          12915 VENICE BLVD APT 4
                                                                                Unliquidated
          LOS ANGELES, CA 90066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WILLIAM TODD RODRIGUEZ                                                Contingent
          2596 KENTRIDGE DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William Todd Rodriguez                                                Contingent
          2596 KENTRIDGE DR
                                                                                Unliquidated
          SAN JOSE, CA 95133
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          William Winton McCandless III                                         Contingent
          330 VAN BUREN AVE APT 8
                                                                                Unliquidated
          OAKLAND, CA 94610
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.414
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WILLIE TUCKER                                                         Contingent
          544 EVERGREEN ST APT 9
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Willie Tucker                                                         Contingent
          544 EVERGREEN ST APT 9
                                                                                Unliquidated
          INGLEWOOD, CA 90302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,652.00
          WL Westgate Venture LLC                                               Contingent
          PO Box 24051                                                          Unliquidated
          Seattle, WA 98124-0051                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WONDWOSSEN TULU                                                       Contingent
          15633 8TH AVE SW APT #4
                                                                                Unliquidated
          BURIEN, WA 98166
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wynesha Darnette Jackson                                              Contingent
          611 1/4 W 74 ST
                                                                                Unliquidated
          LOS ANGELES, CA 90044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Xavier Ramirez Campos                                                 Contingent
          5258 NORMA WAY
                                                                                Unliquidated
          LIVERMORE, CA 94551
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.414
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,386.20
          XPS Delivers.Com                                                      Contingent
          PO Box 7099                                                           Unliquidated
          Tempe, AZ 85281                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Xuming Yang                                                           Contingent
          1926 THREADNEEDLE WAY
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Xuyang Liu                                                            Contingent
          37767 FREMONT BLVD #42
                                                                                Unliquidated
          FREMONT, CA 94536
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          XZAVIER BRUCE-SOUTHERLAND                                             Contingent
          605 DIVISION AVENUE
                                                                                Unliquidated
          PITTSBURGH, PA 15202
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yale Monroe Augustine                                                 Contingent
          426 W 52ND PL
                                                                                Unliquidated
          LOS ANGELES, CA 90037
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yaneli Abraham Rodriguez                                              Contingent
          1389 FELIPE AVENUE
                                                                                Unliquidated
          SAN JOSE, CA 95122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.415
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YANNI B VALLEY                                                        Contingent
          2344 E 26TH ST
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yanni B Valley                                                        Contingent
          2344 E 26TH ST
                                                                                Unliquidated
          OAKLAND, CA 94601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yareb Ishel Garcia                                                    Contingent
          3711 BALDWIN ST APT 503
                                                                                Unliquidated
          LOS ANGELES, CA 90031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YARED YIMER                                                           Contingent
          24431 27TH AVE
                                                                                Unliquidated
          DES MOINES, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YASIN HAGI ISSE                                                       Contingent
          30838 14TH AVE S 106
                                                                                Unliquidated
          FEDERAL WAY, WA 98003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yazmin Hernandez Luna                                                 Contingent
          130 ROUNDTABLE DR. APT F2
                                                                                Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
                                                           Document    Page 694 of 724
 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.415
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YEDIDYA SEIFU                                                         Contingent
          2305 1ST AVE 203
                                                                                Unliquidated
          SEATTLE, WA 98121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yessica X Leiva Lozano                                                Contingent
          1645 BOWLING GREEN DR
                                                                                Unliquidated
          APT 107 C
          SAN JOSE, CA 95121                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Class List
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.416
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yitian Liang                                                          Contingent
          1166 VIA ESPERANZA
                                                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YIZHAO ZHANG                                                          Contingent
          1424 SILVER AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yizhao Zhang                                                          Contingent
          1424 SILVER AVE
                                                                                Unliquidated
          SAN FRANCISCO, CA 94134
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yogesh Gajanan Vyas                                                   Contingent
          21230 homestead road
                                                                                Unliquidated
          Cupertino, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.416
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YOHANNES ABRAHA                                                       Contingent
          9366 7TH AVE S
                                                                                Unliquidated
          SEATTLE, WA 98108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yolanda Huerta                                                        Contingent
          1000 National Ave
                                                                                Unliquidated
          San Bruno, CA 94066
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YOLANDA MARIE ATCHAN                                                  Contingent
          148 DABNER
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yolanda Marie Atchan                                                  Contingent
          148 DABNER
                                                                                Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YOLANDA VARELA                                                        Contingent
          2930 21ST ST APT A
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.417
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yolanda Varela                                                        Contingent
          2930 21ST ST APT A
                                                                                Unliquidated
          SAN FRANCISCO, CA 94110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.417
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YONAS BENTI                                                           Contingent
          75272 LAKE CITY WAY NE APT B
                                                                                Unliquidated
          SEATTLE, WA 98115
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.417
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YONAS NEGA                                                            Contingent
          4426 LETITIA AVE S
                                                                                Unliquidated
          SEATTLE, WA 98118
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.417
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yongkang Zeng                                                         Contingent
          6615 3RD ST
                                                                                Unliquidated
          SAN FRANCISCO, CA 94124
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.417
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YONIS MOHAMED                                                         Contingent
          1420 WESTERN AVE 410
                                                                                Unliquidated
          SEATTLE, WA 98101
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.417
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YOUNIS ABDEL-KADER                                                    Contingent
          20813 63 AVE WEST
                                                                                Unliquidated
          LYNNWOOD, WA 98036
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.417
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YUSSUF MOHAMED                                                        Contingent
          3002 S 208TH ST J5
                                                                                Unliquidated
          SEATAC, WA 98198
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.417
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yvette Marie Guerrero                                                 Contingent
          556 KING GEORGE AVENUE
                                                                                Unliquidated
          SAN JOSE, CA 95136
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.417
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ZACHARY BROSKY                                                        Contingent
          1658 DAGMAR AVE
                                                                                Unliquidated
          PITTSBURGH, PA 15216
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.417
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ZACHARY HLISTA                                                        Contingent
          663 MERCHANT STREET
                                                                                Unliquidated
          AMBRIDGE, PA 15003
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.418
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zachary Nathaniel Lembcke-Pyke                                        Contingent
          677 NORTH BERENDO ST
                                                                                Unliquidated
          LOS ANGELES, CA 90004
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.418
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zachary Nicholas Schaff                                               Contingent
          689 WYANDOTTE AVE
                                                                                Unliquidated
          DALY CITY, CA 94104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.418
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zachary Paul Rusmisel                                                 Contingent
          2635 23RD ST APT C
                                                                                Unliquidated
          SANTA MONICA, CA 90405
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.418
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zahrah Jameelah Mcdonald                                              Contingent
          2236 SANTA MARIA DR
                                                                                Unliquidated
          PITTSBURG, CA 94565
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.418
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zakir Ulfat                                                           Contingent
          31755 ALVARADO BLVD 215
                                                                                Unliquidated
          UNION CITY, CA 94587
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.418
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zaldy San Juan Anselmo                                                Contingent
          23 JOHN GLENN CIR
                                                                                Unliquidated
          DALY CITY, CA 94015
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.418
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ZANDER LOUIS LINGAD                                                   Contingent
          1617 JESSICA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.418
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zander Louis Lingad                                                   Contingent
          1617 JESSICA WAY
                                                                                Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.418
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ZARHUN KUFFA                                                          Contingent
          8433 S 113TH ST
                                                                                Unliquidated
          SEATTLE, WA 98178
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                               Desc Main
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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.418
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ZEBEDEE NOCEDA BIADORA                                                Contingent
          22713 RONAN AVENUE
                                                                                Unliquidated
          CARSON, CA 90745
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    6 mo term
                                                                             Is the claim subject to offset?     No       Yes

 3.419
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zebedee Noceda Biadora                                                Contingent
          22713 RONAN AVENUE
                                                                                Unliquidated
          CARSON, CA 90745
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.419
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ZELIMIR MCDOWELL                                                      Contingent
          27912 PACIFIC HIGHWAY SOUTH
                                                                                Unliquidated
          APT 737
          FEDERAL WAY, WA 98003                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    6 mo term
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.419
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zhilin Feng                                                           Contingent
          10685 STEVENS CANYON RD
                                                                                Unliquidated
          CUPERTINO, CA 95014
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.419
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ziad Astifo                                                           Contingent
          23839 BLUE RIDGE PLACE
                                                                                Unliquidated
          MORENO VALLEY, CA 92557
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes

 3.419
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zoe Zuniga                                                            Contingent
          2570 BANCROFT WAY APT 6
                                                                                Unliquidated
          BERKELEY, CA 94704
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Class List
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       A-1 Express Delivery Service, Inc.                                                      Case number (if known)            17-52865
              Name

 3.419
 5         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Zoltan Gemes                                                         Contingent
           10917 BLIX ST APT 9
                                                                                Unliquidated
           NORTH HOLLYWOOD, CA 91602
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Class List
                                                                             Is the claim subject to offset?      No       Yes

 3.419
 6         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Zsa Zsa Linette Randall                                              Contingent
           2348 WOODHILL DR
                                                                                Unliquidated
           PITTSBURG, CA 94565
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Class List
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       AIC Owner, LLC
           17981 Sky Park Circle                                                                      Line     3.97
           Bldg 39 J
                                                                                                             Not listed. Explain
           Irvine, CA 92614

 4.2       AT&T
           208 S Akard Street                                                                         Line     3.360
           Dallas, TX 75202
                                                                                                             Not listed. Explain

 4.3       CIT Leasing
           21146 Network Place                                                                        Line     3.771
           Chicago, IL 60673-1211
                                                                                                             Not listed. Explain

 4.4       Comcast
           1701 JFK Blvd                                                                              Line     3.813
           Philadelphia, PA 19103
                                                                                                             Not listed. Explain

 4.5       EAN Services
           600 Corporate Park Drive                                                                   Line     3.1197
           Saint Louis, MO 63105
                                                                                                             Not listed. Explain

 4.6       Enterprise Rent-a-Car
           600 Corporate Park Drive                                                                   Line     3.1293
           Saint Louis, MO 63105
                                                                                                             Not listed. Explain

 4.7       Long Building Technologies
           5700 Denver Ave S                                                                          Line     3.2534
           Seattle, WA 98108
                                                                                                             Not listed. Explain




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 Debtor       A-1 Express Delivery Service, Inc.                                                  Case number (if known)        17-52865
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any
 4.8       MetLife
           200 Park Ave                                                                          Line     3.2818
           New York, NY 10166
                                                                                                        Not listed. Explain

 4.9       Orcas Business Park
           5700 6th Ave S #200                                                                   Line     3.3111
           Seattle, WA 98108
                                                                                                        Not listed. Explain

 4.10      US Premium Finance
           280 Technology Parkway                                                                Line     3.4031
           Suite 200
                                                                                                        Not listed. Explain
           Norcross, GA 30092


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.        $                     32,454.05
 5b. Total claims from Part 2                                                                       5b.    +   $                  2,679,020.22

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.        $                    2,711,474.27




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           Case 17-52865-pmb                         Doc 86 Filed 03/21/17 Entered 03/21/17 15:53:14                                Desc Main
                                                           Document    Page 702 of 724
 Fill in this information to identify the case:

 Debtor name         A-1 Express Delivery Service, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         17-52865
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Atlanta office
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    1450 West PC LLC
             List the contract number of any                                        1450 W Peachtree Street
                   government contract                                              Atlanta, GA 30309


 2.2.        State what the contract or                   San Jose office
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          2150 TZB Inc.
                                                                                    2150 Trade Zone Blvd
             List the contract number of any                                        Suite 299
                   government contract                                              San Jose, CA 95131


 2.3.        State what the contract or                   Inglewood office
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          917 & 925 West Hyde Park
                                                                                    2459 West 208th Street
             List the contract number of any                                        Suite 203
                   government contract                                              Torrance, CA 90501


 2.4.        State what the contract or                   401(k)
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    ADP 401K
             List the contract number of any                                        1 ADP Blvd
                   government contract                                              Roseland, NJ 07068




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 Debtor 1 A-1 Express Delivery Service, Inc.                                                 Case number (if known)   17-52865
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Irvine office
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           AIC Owner, LLC
                                                                                     17981 Sky Park Circle
             List the contract number of any                                         Bldg 39 J
                   government contract                                               Irvine, CA 92614


 2.6.        State what the contract or                   Long distance phone
             lease is for and the nature of               service
             the debtor's interest

                  State the term remaining
                                                                                     AT&T
             List the contract number of any                                         208 S Akard Street
                   government contract                                               Dallas, TX 75202


 2.7.        State what the contract or                   1-800Courier number
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     AT&T
             List the contract number of any                                         208 S Akard Street
                   government contract                                               Dallas, TX 75202


 2.8.        State what the contract or                   Atlanta
             lease is for and the nature of               telecom/internet
             the debtor's interest

                  State the term remaining                                           Birch Connect
                                                                                     320 Interstate N Cir SE
             List the contract number of any                                         #300
                   government contract                                               Atlanta, GA 30339


 2.9.        State what the contract or                   Medical/vision
             lease is for and the nature of               insurance
             the debtor's interest

                  State the term remaining
                                                                                     Cigna
             List the contract number of any                                         900 Cottage Grove Road
                   government contract                                               Bloomfield, CT 06002


 2.10.       State what the contract or                   Phone system
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CIT Leasing
                                                                                     21146 Network Place
             List the contract number of any                                         Chicago, IL 60673-1211
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 Debtor 1 A-1 Express Delivery Service, Inc.                                                    Case number (if known)   17-52865
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.11.       State what the contract or                   Atlanta internet
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Comcast
             List the contract number of any                                            1701 JFK Blvd
                   government contract                                                  Philadelphia, PA 19103


 2.12.       State what the contract or                   Sunnyvale
             lease is for and the nature of               telecom/internet
             the debtor's interest

                  State the term remaining
                                                                                        Comcast
             List the contract number of any                                            PO Box 34744
                   government contract                                                  Seattle, WA 98124-1744


 2.13.       State what the contract or                   Telecom/internet
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Comcast
             List the contract number of any                                            PO Box 530098
                   government contract                                                  Atlanta, GA 30353-0098


 2.14.       State what the contract or                   Irvine telecom/internet
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Cox Communication
             List the contract number of any                                            PO Box 53280
                   government contract                                                  Phoenix, AZ 85072-3280


 2.15.       State what the contract or                   Hermosa Beach office
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Cypress Street LLC
             List the contract number of any                                            545 Cypress Street
                   government contract                                                  Hermosa Beach, CA 90254


 2.16.       State what the contract or                   San Leandro parking           DCT Williams Street LLC
             lease is for and the nature of                                             555 17th Street
             the debtor's interest                                                      Suite 3700
                                                                                        Denver, CO 80202
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 Debtor 1 A-1 Express Delivery Service, Inc.                                                 Case number (if known)   17-52865
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Equipment lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     De Lage Landen Financial Serv
             List the contract number of any                                         1111 Old Eagle School Road
                   government contract                                               Wayne, PA 19087


 2.18.       State what the contract or                   Vehicle lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Donlen
                                                                                     3000 Lakeside Drive
             List the contract number of any                                         2nd Floor
                   government contract                                               Bannockburn, IL 60015


 2.19.       State what the contract or                   Vehicle lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EAN Services
             List the contract number of any                                         600 Corporate Park Drive
                   government contract                                               Saint Louis, MO 63105


 2.20.       State what the contract or                   Burlingame
             lease is for and the nature of               telecom/internet
             the debtor's interest

                  State the term remaining
                                                                                     EarthLink
             List the contract number of any                                         PO Box 2252
                   government contract                                               Birmingham, AL 35246-1058


 2.21.       State what the contract or                   Vehicle rental
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Enterprise Rent-a-Car
             List the contract number of any                                         600 Corporate Park Drive
                   government contract                                               Saint Louis, MO 63105




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.22.       State what the contract or                   Hermosa Beach
             lease is for and the nature of               internet
             the debtor's interest

                  State the term remaining
                                                                                      Frontier Communications
             List the contract number of any                                          PO Box 740407
                   government contract                                                Cincinnati, OH 45274-0407


 2.23.       State what the contract or                   Phone lines
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Fusion/Network Billing Systems
             List the contract number of any                                          155 Willowbrook Blvd
                   government contract                                                Wayne, NJ 07470


 2.24.       State what the contract or                   Burlingame
             lease is for and the nature of               office/parking
             the debtor's interest

                  State the term remaining
                                                                                      Greg Schmitt
             List the contract number of any                                          1580 Tennessee Street
                   government contract                                                San Francisco, CA 94107


 2.25.       State what the contract or                   Toll free and local lines
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Kall8
             List the contract number of any                                          417 2nd Ave W
                   government contract                                                Seattle, WA 98119


 2.26.       State what the contract or                   Seattle parking
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Long Building Technologies
             List the contract number of any                                          5700 Denver Ave S
                   government contract                                                Seattle, WA 98108


 2.27.       State what the contract or                   Pittsburgh parking
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Mangrove Cay LP
                                                                                      2500 Eldo Road
             List the contract number of any                                          Monroeville, PA 15146
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 Debtor 1 A-1 Express Delivery Service, Inc.                                                 Case number (if known)   17-52865
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.28.       State what the contract or                   Dental insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     MetLife
             List the contract number of any                                         200 Park Ave
                   government contract                                               New York, NY 10166


 2.29.       State what the contract or                   Atlanta internet
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           One Ring
                                                                                     2030 Powers Ferry Road
             List the contract number of any                                         Suite 200
                   government contract                                               Atlanta, GA 30339


 2.30.       State what the contract or                   Seattle office
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Orcas Business Park
             List the contract number of any                                         5700 6th Ave S #200
                   government contract                                               Seattle, WA 98108


 2.31.       State what the contract or                   Payroll
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Paycom
             List the contract number of any                                         7501 W Memorial Road
                   government contract                                               Oklahoma City, OK 73142


 2.32.       State what the contract or                   San Leandro office
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Scanlan Kemper Bard Co
                                                                                     810 NW Marshall Street
             List the contract number of any                                         Suite 300
                   government contract                                               Portland, OR 97209


 2.33.       State what the contract or                   Website                    Shopify Capital Agreement
             lease is for and the nature of                                          150 Elgin Street
             the debtor's interest                                                   8th Floor
                                                                                     Ottawa, Ontario Canada K2P 1L4
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Equipment lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Susquehanna Commercial Finance
                                                                                     2 Country View Road
             List the contract number of any                                         Suite 300
                   government contract                                               Malvern, PA 19355


 2.35.       State what the contract or                   Irvine internet
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     TelePacific Communication
             List the contract number of any                                         PO Box 509013
                   government contract                                               San Diego, CA 92150-9013


 2.36.       State what the contract or                   New York
             lease is for and the nature of               telecom/internet
             the debtor's interest

                  State the term remaining
                                                                                     Time Warner Cable
             List the contract number of any                                         PO Box 11820
                   government contract                                               Newark, NJ 07101-8120


 2.37.       State what the contract or                   Pittsburgh office
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Union Real Estate Company
                                                                                     301 Grant Street
             List the contract number of any                                         Suite 1250
                   government contract                                               Pittsburgh, PA 15219


 2.38.       State what the contract or                   Umbrella insurance
             lease is for and the nature of               finance
             the debtor's interest

                  State the term remaining                                           US Premium Finance
                                                                                     280 Technology Parkway
             List the contract number of any                                         Suite 200
                   government contract                                               Norcross, GA 30092




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 Debtor 1 A-1 Express Delivery Service, Inc.                                                 Case number (if known)   17-52865
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.39.       State what the contract or                   NYC office
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Veritas Property Management
                                                                                     1995 Broadway
             List the contract number of any                                         Suite 1201
                   government contract                                               New York, NY 10023


 2.40.       State what the contract or                   Equipment lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Wells Fargo
                                                                                     800 Walnut
             List the contract number of any                                         4th Floor
                   government contract                                               Des Moines, IA 50309


 2.41.       State what the contract or                   Equipment lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Western Financial
                                                                                     PO Box 640
             List the contract number of any                                         503 Hwy 2 West
                   government contract                                               Devils Lake, ND 58301


 2.42.       State what the contract or                   Equipment lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Wintrust Capital
             List the contract number of any                                         9700 West Higgins Road
                   government contract                                               Rosemont, IL 60018




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 Fill in this information to identify the case:

 Debtor name         A-1 Express Delivery Service, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         17-52865
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Lon Fancher                       A-1 Express Delivery Service                      1450 West Peachtree                D
                                               1450 W Peachtree St, Suite 200                    Street LLC                         E/F       3.1
                                               Atlanta, GA 30309
                                                                                                                                    G




    2.2      Lon Fancher                       A-1 Express Delivery Service                      CapFusion                          D   2.2
                                               1450 W Peachtree St, Suite 200                                                       E/F
                                               Atlanta, GA 30309
                                                                                                                                    G




    2.3      Lon Fancher                       A-1 Express Delivery Service                      Fifth Third Bank                   D
                                               1450 W Peachtree St, Suite 200                                                       E/F       3.1393
                                               Atlanta, GA 30309
                                                                                                                                    G




    2.4      Lon Fancher                       A-1 Express Delivery Service                      Kings Cash Group                   D   2.5
                                               1450 W Peachtree St, Suite 200                                                       E/F
                                               Atlanta, GA 30309
                                                                                                                                    G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Lon Fancher                       A-1 Express Delivery Service                 Summit Financial                 D   2.8
                                               1450 W Peachtree St, Suite 200               Resources, LP                    E/F
                                               Atlanta, GA 30309
                                                                                                                             G




    2.6      Mark McCurry                      A-1 Express Delivery Service                 1450 West Peachtree              D
                                               917 W Hyde Prak Blvd                         Street LLC                       E/F       3.1
                                               Inglewood, CA 90302
                                                                                                                             G




    2.7      Mark McCurry                      A-1 Express Delivery Service                 American Express                 D
                                               917 W Hyde Park Blvd                                                          E/F       3.203
                                               Inglewood, CA 90302
                                                                                                                             G




    2.8      Mark McCurry                      A-1 Express Delivery Service                 CapFusion                        D   2.2
                                               917 W Hyde Park Blvd                                                          E/F
                                               Inglewood, CA 90302
                                                                                                                             G




    2.9      Mark McCurry                      A-1 Express Delivery Service                 Fifth Third Bank                 D
                                               917 W Hyde Park Blvd                                                          E/F       3.1393
                                               Inglewood, CA 90302
                                                                                                                             G




    2.10     Mark McCurry                      A-1 Express Delivery Service                 Kings Cash Group                 D   2.5
                                               917 W Hyde Park Blvd                                                          E/F
                                               Inglewood, CA 90302
                                                                                                                             G




    2.11     Mark McCurry                      A-1 Express Delivery Service                 Summit Financial                 D   2.8
                                               917 W Hyde Park Blvd                         Resources, LP                    E/F
                                               Inglewood, CA 90302
                                                                                                                             G




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 Fill in this information to identify the case:

 Debtor name         A-1 Express Delivery Service, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         17-52865
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $2,382,224.00
       From 1/01/2017 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $33,453,420.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $60,955,210.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       A-1 Express Delivery Service, Inc.                                                        Case number (if known) 17-52865



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attached List                                           (Numbers                      $7,969,255.35                Secured debt
                                                                           are in the                                                 Unsecured loan repayments
                                                                           aggregate by                                               Suppliers or vendors
                                                                           Payee)                                                     Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Lon Fancher                                                 December                         $26,500.00           Repayment of loans
               A-1 Express Delivery Service                                23, 2016 -
               1450 W Peachtree St, Suite 200                              January 2017
               Atlanta, GA 30309
               COO

       4.2.    Mark McCurry                                                November                         $51,500.00           Repayment of loans
               A-1 Express Delivery Service                                22, 2016 -
               917 W Hyde Park Blvd                                        January 2017
               Inglewood, CA 90302
               President

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address




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 Debtor       A-1 Express Delivery Service, Inc.                                                            Case number (if known) 17-52865



               Case title                                        Nature of case               Court or agency's name and           Status of case
               Case number                                                                    address
       7.1.    Andrew Chacon and Erick                           Failure to provide           U.S. District Court, C.D.                 Pending
               Lopez v. A-1 Express Delivery                     accurate                     California                                On appeal
               Service, Inc.                                     paycheck and
                                                                                                                                        Concluded
               2:15-cv-09901-DMG-AS                              failure to pay
                                                                 overtime

       7.2.    Jasmine Miller v. A-1 Express                     Failure to pay               Superior Court of Alameda                 Pending
               Delivery Service, Inc.                            correct overtime             County                                    On appeal
               rg16831996                                        pay                          Alameda, CA
                                                                                                                                        Concluded

       7.3.    Derek Williams and Theresa                        PAGA tied to                 Superior Court of California              Pending
               Martinez v. A-1 Express                           Google rapid                 - SF                                      On appeal
               Delivery Service, Inc.                            shutdown                     San Francisco, CA
                                                                                                                                        Concluded
               cgc-17-556993

       7.4.    Karin Bernal v. A-1 Express                       PAGA tied to                 San Mateo Superior Court                  Pending
               Delivery Service, Inc.                            Google rapid                 San Mateo, CA                             On appeal
               17CIV00196                                        shutdown
                                                                                                                                        Concluded

       7.5.    Leonel Andalis v. A-1 Express                     Alleged incorrect            San Jose Labor                            Pending
               Delivery Service, Inc.                            final pay                    Commissioner                              On appeal
               1295740LM                                                                      San Jose, CA
                                                                                                                                        Concluded


       7.6.    Jorge Maldonado v.                                Alleged incorrect            San Jose Labor                            Pending
               1-800Courier                                      final pay                    Commissioner                              On appeal
               12100388YN                                                                     San Jose, CA
                                                                                                                                        Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss             Value of property
       how the loss occurred                                                                                                                                     lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

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 Debtor        A-1 Express Delivery Service, Inc.                                                        Case number (if known) 17-52865



11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Scroggins & Williamson, P.C.
                 4401 Northside Parkway
                 Suite 450                                                                                                     Feb. 8 - 14,
                 Atlanta, GA 30327                                   Includes retainer and pre-petition fees                   2017                    $30,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers              Total amount or
                                                                                                                      were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer             Total amount or
                Address                                          payments received or debts paid in exchange             was made                           value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     1231 Collier Road                                                                                         July 2011 - Dec. 2014
                 Atlanta, GA 30318

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


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 Debtor      A-1 Express Delivery Service, Inc.                                                         Case number (if known) 17-52865




                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    A-1 Express Delivery Service, Inc. 401(k)                                                  EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
       USA Storage                                                   Lon Fancher, Donald                  Computers, office furniture               No
       1244 Collier Road, NW                                         Jones, Ha Hwang                                                                Yes
       Atlanta, GA 30318

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 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None


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       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       Mark McCurry                                                                                                          Jan. 2016 - Present
                    504 3rd Street
                    Hermosa Beach, CA 90254
       26a.2.       Ben Chu                                                                                                               Oct. 2014 - Jan. 2016
                    512 Wiscot Lane
                    Marietta, GA 30068
       26a.3.       Kent Brown                                                                                                            June 2015 - Jan.
                    623 3rd Street                                                                                                        2017
                    Hermosa Beach, CA 90254
       26a.4.       Barry Brouner                                                                                                         Feb. 2015 - Present
                    1776 Old Spring House Lane
                    Suite 303
                    Atlanta, GA 30338

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Mark McCurry
                    504 3rd Street
                    Hermosa Beach, CA 90254
       26c.2.       Barry Brouner
                    1776 Old Spring House Lane
                    Suite 303
                    Atlanta, GA 30338

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Mark McCurry                                   504 3rd Street                                      President                              50
                                                      Hermosa Beach, CA 90254


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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Lon Fancher                                    6775 Lisa Lane                                      COO                                   50
                                                      Atlanta, GA 30338



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Mark McCurry
       .    504 3rd Street                                                                                               Feb. 15, 2016 -    Salary/loan
               Hermosa Beach, CA 90254                           $288,269.00                                             Feb. 14, 2017      repayment

               Relationship to debtor
               President


       30.2 Lon Fancher
       .    6775 Lisa Lane                                                                                               Feb. 15, 2016 -    Salary/loan
               Atlanta, GA 30338                                 $201,887.00                                             Feb. 14, 2017      repayment

               Relationship to debtor
               COO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 21, 2017

 /s/ Lon D. Fancher                                                     Lon D. Fancher
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         COO/Owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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Name                                                Total Value Reason
Summit                                            $5,473,015.00 Secured Loan Payment
American Express                                   $566,873.91 Unsecured Loan Payment
US Premium Finance                                 $343,609.08 Unsecured Loan Payment
Capfusion                                          $199,519.20 Secured Loan Payment
Kings Cash Group                                   $161,440.50 Secured Loan Payment
American Express @Work                             $145,628.13 Unsecured Loan Payment
CIGNA                                              $126,594.49 Vendor
WEX INC                                             $80,843.95 Unsecured Loan Payment
Fifth Third                                         $78,668.22 Unsecured Loan Payment
Mayesh - Los Angeles International Airport          $73,347.90 Vendor
Google Adwords                                      $68,540.82 Vendor
PayPal                                              $54,628.09 Vendor
Jorge Morales                                       $44,795.43 Vendor
Shopify                                             $39,197.60 Unsecured Loan Payment/Vendor
Mike's Finest Wholesale Flowers                     $34,432.23 Vendor
Halls Atlanta                                       $33,942.14 Vendor
Joe Branch DBA Sound Auto body                      $32,887.99 Vendor
Scroggins & Williamson                              $31,717.00 Vendor
San Bernando Couty Recorder                         $30,025.71 Vendor
Verizon Wireless                                    $28,221.27 Vendor
Accurate Background                                 $25,631.59 Vendor
Donlen                                              $23,387.19 Vendor
1450 W Peachtree LLC                                $22,871.97 Vendor
Cut Flowers                                         $21,232.51 Vendor
Google Reimbursement for Rent                       $19,626.65 Vendor
Indeed                                              $19,316.27 Vendor
Cut Flower Wholesale                                $19,123.84 Vendor
EKI Flowers                                         $18,158.60 Vendor
Enterprise                                          $16,355.18 Vendor
San Diego County Recorder                           $15,789.00 Vendor
Suntrust                                            $13,657.52 Unsecured Loan Payment/Vendor
Full Pot of Flowers                                 $13,146.99 Vendor
Sampson Morris Group                                $11,410.00 Vendor
Carlstedt, LLC                                      $10,556.40 Vendor
Southland Greenhouses Inc                            $9,736.96 Vendor
D & D International                                  $9,136.47   Vendor
Allure Farms                                         $8,560.75   Vendor
Burton & Burton                                      $7,708.15   Vendor
Wells Fargo                                          $7,643.37   Unsecured Loan Payment
Floral Supply                                        $7,553.40   Vendor
Ryder                                                $7,108.25   Vendor
Craigslist                                           $6,940.00   Vendor
Halbeib Automotive & Collision                       $6,675.63   Vendor
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                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re       A-1 Express Delivery Service, Inc.                                                               Case No.      17-52865
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept as a retainer                                    $                 21,728.00
             Prior to the filing of this statement I have received as a retainer                          $                 21,728.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service: Allowed fees and expenses which exceed the
       retainer.

                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     03/21/2017                                                                  /s/ J. Robert Williamson
     Date                                                                        J. Robert Williamson 765214
                                                                                 Signature of Attorney
                                                                                 Scroggins & Williamson, P.C.
                                                                                 4401 Northside Parkway
                                                                                 Suite 450
                                                                                 Atlanta, GA 30327
                                                                                 404-893-3880 Fax: 404-893-3886
                                                                                 centralstation@swlawfirm.com
                                                                                 Name of law firm




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 In re      A-1 Express Delivery Service, Inc.                                                                        Case No.       17-52865
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Lon D. Fancher                                                      Common stock 50%                                            Owner
 1450 W. Peachtree Street
 Suite 200
 Atlanta, GA 30309

 Mark McCurry                                                        Common stock 50%                                            Owner
 917 W. Hyde Park Blvd.
 Inglewood, CA 90302


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the COO/Owner of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date March 21, 2017                                                         Signature /s/ Lon D. Fancher
                                                                                            Lon D. Fancher

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      A-1 Express Delivery Service, Inc.                                                            Case No.     17-52865
                                                                                  Debtor(s)               Chapter      11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for A-1 Express Delivery Service, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 21, 2017                                                       /s/ J. Robert Williamson
 Date                                                                 J. Robert Williamson 765214
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for A-1 Express Delivery Service, Inc.
                                                                      Scroggins & Williamson, P.C.
                                                                      4401 Northside Parkway
                                                                      Suite 450
                                                                      Atlanta, GA 30327
                                                                      404-893-3880 Fax:404-893-3886
                                                                      centralstation@swlawfirm.com




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